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        EXHIBIT 1
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EX-2.1 2 d310843dex21.htm EX-2.1
                                                                                    Exhibit 2.1
                                                                           EXECUTION VERSION

                                   AGREEMENT AND PLAN OF MERGER

                                              by and among

                                         X HOLDINGS I, INC.,

                                         X HOLDINGS II, INC.

                                                   and

                                            TWITTER, INC.

                                        Dated as of April 25, 2022
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                                                      AGREEMENT AND PLAN OF MERGER

      THIS AGREEMENT AND PLAN OF MERGER, dated as of April 25, 2022 (this “Agreement”), is made by and among Twitter, Inc., a Delaware
corporation (the “Company”), X Holdings I, Inc., a Delaware corporation (“Parent”), X Holdings II, Inc., a Delaware corporation and a direct wholly
owned Subsidiary of Parent (“Acquisition Sub”), and, solely for purposes of Sections 5.4, 6.2(d), 6.3, 6.8, 6.10, 6.11, 6.12 and 9.9 (the “Specified
Provisions”), Elon R. Musk (the “Equity Investor”).

                                                                  W I T N E S S E T H:

     WHEREAS, the parties desire for Parent to acquire the Company by way of a merger (the “Merger”) of Acquisition Sub with and into the
Company pursuant to the General Corporation Law of the State of Delaware (the “DGCL”) upon the terms and subject to the conditions set forth in this
Agreement;

      WHEREAS, the board of directors of Acquisition Sub (the “Acquisition Sub Board”) has determined that it is advisable to, fair to and in the best
interests of Acquisition Sub and its stockholders to effect the Merger of Acquisition Sub with and into the Company pursuant to the DGCL upon the
terms and subject to the conditions set forth in this Agreement;

        WHEREAS, the Company’s board of directors (the “Company Board”) has, by resolutions duly adopted by the unanimous vote of the directors
at a duly held meeting (i) determined that the terms and conditions of this Agreement, the Merger and the other transactions contemplated by this
Agreement are advisable and in the best interests of the Company and the Company’s stockholders, (ii) authorized the execution and delivery of this
Agreement and declared advisable and approved the consummation of the transactions contemplated by this Agreement, including the Merger,
(iii) directed that this Agreement be submitted for consideration at a meeting of the Company’s stockholders and (iv) subject to the terms of this
Agreement, recommended that the Company’s stockholders adopt this Agreement and approve the transactions contemplated by this Agreement,
including the Merger (the “Company Board Recommendation”);

       WHEREAS, the Acquisition Sub Board has, by resolutions duly adopted, (i) determined that the terms and conditions of this Agreement, the
Merger and the other transactions contemplated by this Agreement are advisable and in the best interests of the Acquisition Sub and Parent, as the sole
stockholder of Acquisition Sub; (ii) authorized the execution and delivery of this Agreement and declared advisable and approved the consummation of
the transactions contemplated by this Agreement, including the Merger, (iii) directed that this Agreement be submitted for consideration by Parent, as the
sole stockholder of Acquisition Sub and (iv) recommended that Parent, as the sole stockholder of Acquisition Sub approve the Merger, and Parent, as the
sole stockholder of Acquisition Sub, has approved this Agreement and the consummation of the transactions contemplated by this Agreement, including
the Merger;

       WHEREAS, the board of directors of Parent (the “Parent Board”) has, by resolutions duly adopted by the unanimous vote of the directors,
(i) adopted this Agreement and approved the consummation of the transactions contemplated by this Agreement, including the Merger and
(ii) determined that this Agreement and the transactions contemplated by this Agreement are advisable and in the best interests of Parent and Elon Musk,
as the sole stockholder of Parent;
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     WHEREAS, as a material inducement to, and as a condition to, the Company entering into this Agreement, concurrently with the execution of this
Agreement, Elon Musk (the “Guarantor”) has entered into a limited guarantee, dated as of the date hereof, guaranteeing certain of Parent’s and
Acquisition Sub’s obligations under this Agreement (the “Parent Guarantee”); and

     WHEREAS, each of Parent, Acquisition Sub and the Company desires to make certain representations, warranties, covenants and agreements in
connection with the Merger and also to prescribe various conditions to the Merger.

      NOW, THEREFORE, in consideration of the foregoing and the representations, warranties and covenants and subject to the conditions herein
contained, and intending to be legally bound hereby, the parties hereto hereby agree as follows:


                                                                     ARTICLE I

                                                                  DEFINITIONS

     As used in this Agreement, the following terms shall have the respective meanings set forth or referenced below:

     “Acquisition Sub” shall have the meaning set forth in the Preamble.

     “Acquisition Sub Board” shall have the meaning set forth in the Recitals.

     “Adverse Board Recommendation Change” shall have the meaning set forth in Section 6.5(d).

     “Affiliate” has the meaning set forth in Rule 12b-2 of the Exchange Act.

      “Aggregate Merger Consideration” shall mean the product of (x) the number of shares of Company Common Stock issued and outstanding
(other than those shares canceled or retired pursuant to Section 3.1(b)) immediately prior to the Effective Time multiplied by (y) the Merger
Consideration.

     “Agreement” shall have the meaning set forth in the Preamble.

     “Alternative Financing” shall have the meaning set forth in Section 6.10(c).

     “Alternative Financing Debt Commitment Letter” shall have the meaning set forth in Section 6.10(c).

     “Antitrust Laws” shall have the meaning set forth in Section 4.4(b).

     “Bank Debt Commitment Letter” shall have the meaning set forth in Section 5.4.

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      “Bank Debt Financing” shall have the meaning set forth in Section 5.4.

      “Blue Sky Laws” shall mean state securities or “blue sky” laws.

      “Book-Entry Shares” shall have the meaning set forth in Section 3.1(c).

      “Business Day” shall mean any day other than a Saturday, Sunday or a day on which all banking institutions in San Francisco, California or New
York, New York are authorized or obligated by Law or executive order to close.

      “CCC” means the California Corporations Code.

      “Certificate of Merger” shall have the meaning set forth in Section 2.3(a).

      “Certificates” shall have the meaning set forth in Section 3.1(c).

      “Closing” shall have the meaning set forth in Section 2.2.

      “Closing Date” shall have the meaning set forth in Section 2.2.

      “Code” shall mean the Internal Revenue Code of 1986, as amended.

      “Company” shall have the meaning set forth in the Preamble.

    “Company ASR Confirmations” means (i) the Master Confirmation re Accelerated Stock Repurchases, dated February 10, 2022, between the
Company and Morgan Stanley & Co. LLC and (ii) the Master Confirmation re Accelerated Stock Repurchases, dated February 10, 2022, between the
Company and Wells Fargo Bank, National Association, in each case, as amended through the date hereof.

      “Company Benefit Plan” shall mean (i) “employee benefit plan” (within the meaning of Section 3(3) of ERISA, whether or not subject to
ERISA), and (ii) each other employment agreement, bonus, stock option, stock purchase or other equity-based, benefit, incentive compensation, profit
sharing, savings, retirement (including early retirement and supplemental retirement), disability, insurance, vacation, incentive, deferred compensation,
supplemental retirement (including termination indemnities and seniority payments), severance, termination, retention, change of control and other
similar fringe, welfare or other employee benefit plans, benefit programs, benefit agreements, benefit contracts, benefit policies or benefit arrangements
(whether or not in writing), in each case, (x) which is sponsored, maintained or contributed to for the benefit of or relating to any current or former
director, officer or employee of the Company or its Subsidiaries and (y) with respect to which the Company or any of its Subsidiaries has or may have
any liability.

      “Company Board” shall have the meaning set forth in the Recitals.

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       “Company Bond Hedge Documentation” means (a)(i) the call option transaction confirmation, dated June 6, 2018, between the Company and
Barclays Bank PLC, (ii) the call option transaction confirmation, dated June 6, 2018, between the Company and JPMorgan Chase Bank, N.A., London
Branch, (iii) the call option transaction confirmation, dated June 6, 2018, between the Company and Wells Fargo Bank, National Association, (iv) the
additional call option transaction confirmation, dated June 7, 2018, between the Company and Barclays Bank PLC, (v) the additional call option
transaction confirmation, dated June 7, 2018, between the Company and JPMorgan Chase Bank, N.A., London Branch, (vi) the additional call option
transaction confirmation, dated June 7, 2018, between the Company and Wells Fargo Bank, National Association, and (b)(i) the call option transaction
confirmation, dated March 1, 2021, between the Company and Bank of America, N.A., (ii) the call option transaction confirmation, dated March 1,
2021, between the Company and Barclays Bank PLC, (iii) the call option transaction confirmation, dated March 1, 2021, between the Company and
Goldman Sachs & Co. LLC, (iv) the call option transaction confirmation, dated March 1, 2021, between the Company and Wells Fargo Bank, National
Association, (v) the additional call option transaction confirmation, dated March 12, 2021, between the Company and Bank of America, N.A., (vi) the
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transaction confirmation, dated March 12, 2021, between the Company and Goldman Sachs & Co. LLC, (viii) the additional call option transaction
confirmation, dated March 12, 2021, between the Company and Wells Fargo Bank, National Association, (ix) the letter agreement, dated March 1, 2021,
between the Company and Bank of America, N.A., (x) the letter agreement, dated March 1, 2021, between the Company and Barclays Bank PLC,
(xi) the letter agreement, dated March 1, 2021, between the Company and Goldman Sachs & Co. LLC, (xii) the letter agreement, dated March 1, 2021,
between the Company and Wells Fargo Bank, National Association, (xiii) the additional letter agreement, dated March 12, 2021, between the Company
and Bank of America, N.A., (xiv) the additional letter agreement, dated March 12, 2021, between the Company and Barclays Bank PLC, (xv) the
additional letter agreement, dated March 12, 2021, between the Company and Goldman Sachs & Co. LLC, and (xvi) the additional letter agreement,
dated March 12, 2021, between the Company and Wells Fargo Bank, National Association.

     “Company Bond Hedge Transactions” means each of the call option transactions evidenced by the Company Bond Hedge Documentation.

     “Company Bylaws” shall have the meaning set forth in Section 4.1.

     “Company Certificate of Incorporation” shall have the meaning set forth in Section 4.1.

     “Company Common Stock” shall have the meaning set forth in Section 3.1(a).

     “Company Disclosure Letter” shall mean the disclosure letter delivered by the Company to Parent simultaneously with the execution of this
Agreement.

     “Company Equity Awards” shall mean, collectively, (i) Company Options, (ii) Company PSUs, (iii) Company RSAs, and (iv) Company RSUs.

     “Company ESPP” shall mean the Company 2013 Employee Stock Purchase Plan.

     “Company Intellectual Property” shall have the meaning set forth in Section 4.14(a).

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       “Company Material Adverse Effect” means any change, event, effect or circumstance which, individually or in the aggregate, has resulted in or
would reasonably be expected to result in a material adverse effect on the business, financial condition or results of operations of the Company and its
Subsidiaries, taken as a whole; provided, however, that changes, events, effects or circumstances which, directly or indirectly, to the extent they relate to
or result from the following shall be excluded from, and not taken into account in, the determination of Company Material Adverse Effect: (i) any
condition, change, effect or circumstance generally affecting any of the industries or markets in which the Company or its Subsidiaries operate; (ii) any
change in any Law or GAAP (or changes in interpretations of any Law or GAAP); (iii) general economic, regulatory or political conditions (or changes
therein) or conditions (or changes therein) in the financial, credit or securities markets (including changes in interest or currency exchange rates) in the
United States or any other country or region in the world; (iv) any acts of God, force majeure events, natural disasters, terrorism, cyberattack, data
breach, armed hostilities, sabotage, war or any escalation or worsening of any of the foregoing; (v) any epidemics, pandemics or contagious disease
outbreaks (including COVID-19) and any political or social conditions, including civil unrest, protests and public demonstrations or any other
COVID-19 Measures that relate to, or arise out of, an epidemic, pandemic or disease outbreak (including COVID-19) or any change in such COVID-19
Measures, directive, pronouncement or guideline or interpretation thereof, or any continuation or of any of the foregoing, in the United States or any
other country or region in the world; (vi) the negotiation, execution, announcement, performance, consummation or existence of this Agreement or the
transactions contemplated by this Agreement, including (A) by reason of the identity of Elon Musk, Parent or any of their Affiliates or their respective
financing sources, or any communication by Parent or any of its Affiliates or their respective financing sources, including regarding their plans or
intentions with respect to the conduct of the business of the Company or any of its Subsidiaries and (B) any litigation, claim or legal proceeding
threatened or initiated against Parent, Acquisition Sub, the Company or any of their respective Affiliates, officers or directors, in each case, arising out of
or relating to the this Agreement or the transactions contemplated by this Agreement, and including the impact of any of the foregoing on any
relationships with customers, suppliers, vendors, collaboration partners, employees, unions or regulators; (vii) any action taken pursuant to the terms of
this Agreement or with the consent or at the direction of Parent or Acquisition Sub (or any action not taken as a result of the failure of Parent to consent
to any action requiring Parent’s consent pursuant to Section 6.1); (viii) any changes in the market price or trading volume of the Company Common
Stock, any failure by the Company or its Subsidiaries to meet internal, analysts’ or other earnings estimates or financial projections or forecasts for any
period, any changes in credit ratings and any changes in any analysts’ recommendations or ratings with respect to the Company or any of its Subsidiaries
(provided that the facts or occurrences giving rise to or contributing to such changes or failure that are not otherwise excluded from the definition of
“Company Material Adverse Effect” may be taken into account in determining whether there has been a Company Material Adverse Effect); and
(ix) any matter disclosed in the Company SEC Documents filed by the Company prior to the date of this Agreement (other than any disclosures set forth
under the headings “Risk Factors” or “Forward-Looking Statements”).

      “Company Material Contract” shall have the meaning set forth in Section 4.16(a).

      “Company Option” shall mean each outstanding option to purchase shares of Company Common Stock granted to any employee or director of,
or other Company Service Provider.

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     “Company Permits” shall have the meaning set forth in Section 4.5(a).

      “Company PSU” shall mean each performance-based restricted stock unit that vests on the basis of time and the achievement of performance
metrics and was granted to any Company Service Provider.

     “Company Related Parties” shall have the meaning set forth in Section 8.3(d).

      “Company RSA” shall mean each share of Company Common Stock granted to any Company Service Provider that remains subject to vesting,
lapse or forfeiture provisions.

      “Company RSU” shall mean each time-based restricted stock unit that vests on the basis of time and was granted to any Company Service
Provider.

     “Company SEC Documents” shall have the meaning set forth in Section 4.6(a).

       “Company Service Provider” shall mean each current or former director, employee, consultant or independent contractor of the Company or any
of its Subsidiaries

     “Company Stockholder Advisory Vote” shall have the meaning set forth in Section 4.3(a).

     “Company Stockholder Approval” shall have the meaning set forth in Section 4.20.

     “Company Stockholders’ Meeting” shall have the meaning set forth in Section 6.2(c).

       “Company Warrant Confirmations” means (a)(i) the warrant confirmation, dated June 6, 2018, between the Company and Barclays Bank PLC,
(ii) the warrant confirmation, dated June 6, 2018, between the Company and JPMorgan Chase Bank, N.A., London Branch, (iii) the warrant
confirmation, dated June 6, 2018, between the Company and Wells Fargo Bank, National Association, (iv) the additional warrant confirmation, dated
June 7, 2018, between the Company and Barclays Bank PLC, (v) the additional warrant confirmation, dated June 7, 2018, between the Company and
JPMorgan Chase Bank, N.A., London Branch, (vi) the additional warrant confirmation, dated June 7, 2018, between the Company and Wells Fargo
Bank, National Association, and (b)(i) the warrant confirmation, dated March 1, 2021, between the Company and Bank of America, N.A., (ii) the
warrant confirmation, dated March 1, 2021, between the Company and Barclays Bank PLC, (iii) the warrant confirmation, dated March 1, 2021,
between the Company and Goldman Sachs & Co. LLC, (iv) the warrant confirmation, dated March 1, 2021, between the Company and Wells Fargo
Bank, National Association, (v) the additional warrant confirmation, dated March 12, 2021, between the Company and Bank of America, N.A., (vi) the
additional warrant confirmation, dated March 12, 2021, between the Company and Barclays Bank PLC, (vii) the additional warrant confirmation, dated
March 12, 2021, between the Company and Goldman Sachs & Co. LLC, and (viii) the additional warrant confirmation, dated March 12, 2021, between
the Company and Wells Fargo Bank, National Association.

     “Competing Proposal” shall have the meaning set forth in Section 6.5(g)(i).

     “Consent” shall have the meaning set forth in Section 4.4(b).

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      “Continuation Period” shall have the meaning set forth in Section 6.9(a).

      “Continuing Employees” shall have the meaning set forth in Section 6.9(a).

       “Contract” means any written contract, subcontract, lease, sublease, conditional sales contract, purchase order, sales order, task order, delivery
order, license, indenture, note, bond, loan, instrument, understanding, permit, concession, franchise, commitment or other agreement.

      “COVID-19” means SARS-Co V-2 or COVID-19 or any evolutions, variants or mutations thereof.

      “COVID-19 Measures” means quarantine, “shelter in place,” “stay at home,” workforce reduction, social distancing, shut down, closure,
sequester, safety or similar laws, directives, restrictions, guidelines, responses or recommendations of or promulgated by any Governmental Authority,
including the Centers for Disease Control and Prevention and the World Health Organization, or other reasonable actions taken in response to the
foregoing or otherwise, in each case, in connection with or in response to COVID-19 and any evolutions, variants or mutations thereof or related or
associated epidemics, pandemics or disease outbreaks.

      “D&O Indemnified Parties” shall have the meaning set forth in Section 6.6(a).

      “Debt Commitment Letters” shall have the meaning set forth in Section 5.4.

      “Debt Financing” shall have the meaning set forth in Section 5.4.

       “Debt Financing Source” shall mean (i) the commitment parties party, as of the date hereof, to the Debt Commitment Letters that have been
delivered to the Company in accordance with Section 5.4, and (ii) the Persons, in their respective capacities as such, that have committed to arrange or
provide or have otherwise entered into agreements (including the Debt Commitment Letters or any Financing Agreements), in each case, in connection
with all or any portion of the Debt Financing or Alternative Financing in connection with the transactions contemplated hereby, and any joinder
agreements, indentures or credit agreements entered into pursuant thereto, together with their Affiliates, and any of their or their Affiliates’ respective,
direct or indirect, former, current or future stockholders, managers, members, directors, officers, employees, agents, advisors, other representatives or
any successors or assignees of any of the foregoing (it being understood that Parent, Acquisition Sub and any of their respective Affiliates shall not
constitute “Debt Financing Sources” for any purposes hereunder).

      “Debt Financing Source Related Party” means any Debt Financing Source, together with their respective Affiliates and their and their
respective Affiliates’ former, current and future officers, directors, employees, agents and representatives and their respective successors and assigns.

      “DGCL” shall have the meaning set forth in the Recitals.

      “Dissenting Shares” shall have the meaning set forth in Section 3.5.

      “DTC” shall have the meaning set forth in Section 3.2(b)(ii).

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      “Effective Time” shall have the meaning set forth in Section 2.3(a).

      “Enforceability Exceptions” shall have the meaning set forth in Section 4.3(a).

      “Equity Commitment Letter” shall have the meaning set forth in Section 5.4.

      “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

     “ERISA Affiliate” shall mean, for any Person, each trade or business, whether or not incorporated, that, together with such Person, would be
deemed a “single employer” within the meaning set forth in Section 414 of the Code.

      “Exchange Act” shall mean the Securities Exchange Act of 1934, as amended.

      “Exchange Fund” shall have the meaning set forth in Section 3.2(a).

      “Existing Credit Agreement” shall mean that certain Revolving Credit Agreement, dated as of August 17, 2018, among the Company, the lenders
from time to time party thereto and JPMorgan Chase Bank, N.A. as administrative agent, as amended, amended and restated, supplemented or otherwise
modified from time to time.

      “Existing D&O Insurance Policies” shall have the meaning set forth in Section 6.6(c).

      “Existing 2027 Senior Notes” shall mean the 3.875% Senior Notes due 2027 issued pursuant to that certain Indenture, dated December 9, 2019,
among the Company, as issuer, and U.S. Bank National Association, as trustee, as amended, amended and restated, supplemented or otherwise modified
from time to time.

      “Existing 2030 Senior Notes” shall mean the 5.000% Senior Notes due 2030 issued pursuant to that certain Indenture, dated February 25, 2022,
among the Company, as issuer, and U.S. Bank National Association, as trustee, as amended, amended and restated, supplemented or otherwise modified
from time to time.

      “Existing Convertible Notes” shall mean the (i) 0.25% Convertible Senior Notes due 2024 issued pursuant to that certain Indenture, dated
June 11, 2018, among the Company, as issuer, and U.S. Bank National Association, as trustee, (ii) 0.375% Convertible Senior Notes due 2025 issued
pursuant to that certain Indenture, dated March 12, 2020, among the Company, as issuer, and U.S. Bank National Association, as trustee, and (iii) 0%
Convertible Senior Notes due 2026 issued pursuant to that certain Indenture, dated March 4, 2021, among the Company, as issuer, and U.S. Bank
National Association, as trustee, in each case as amended, amended and restated, supplemented or otherwise modified from time to time.

      “Existing Senior Notes” shall mean the (i) the Existing 2027 Senior Notes and (ii) the Existing 2030 Senior Notes.

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      “Expenses” shall mean all out-of-pocket expenses (including all fees and expenses of counsel, accountants, investment bankers, experts and
consultants to a party hereto and its Affiliates) incurred by a party or on its behalf in connection with or related to the authorization, preparation,
negotiation, execution and performance of this Agreement, the preparation, printing, filing and mailing of the Proxy Statement and all SEC and other
regulatory filing fees incurred in connection with the Proxy Statement, the solicitation of stockholder approvals, any filing with, and obtaining of any
necessary action or non-action, Consent or approval from any Governmental Authority pursuant to any Antitrust Laws or Foreign Investment Laws,
engaging the services of the Paying Agent, any other filings with the SEC, and all other matters related to the Closing and the other transactions
contemplated by this Agreement.

      “Final Offering Period” shall have the meaning set forth in Section 3.7.

      “Financing” shall have the meaning set forth in Section 5.4.

      “Financing Agreements” shall have the meaning set forth in Section 6.10(a).

      “Financing Commitments” shall have the meaning set forth in Section 5.4.

      “Financing Sources” means the Debt Financing Sources and Elon Musk.

       “Foreign Investment Laws” shall mean any Laws designed or intended to prohibit, restrict or regulate actions (i) by foreigners to acquire
interests in or control over domestic equities, securities, entities, assets, land or interests, or (ii) to acquire interests in or control over equities, securities,
entities, assets, land or interests that might harm domestic national security or public interest, other than Antitrust Laws.

      “Foreign Plan” shall mean each Company Benefit Plan that primarily covers current or former employees, directors or individual service
providers of the Company or any of its subsidiaries based outside of the U.S. and/or that is subject to any Law other than U.S., federal, state or local law
(other than any plan or program that is required by statute or maintained by a Governmental Authority to which the Company or any of its subsidiaries
contributes pursuant to applicable Law).

      “Funding Obligations” shall have the meaning set forth in Section 5.4.

      “GAAP” shall mean the U.S. generally accepted accounting principles.

      “Goldman Sachs” shall have the meaning set forth in Section 4.21.

     “Governmental Authority” shall mean any U.S. (federal, state or local) or foreign government, or any governmental, regulatory, judicial or
administrative authority, agency or commission.

     “Hazardous Materials” means all substances (i) defined as hazardous substances, oils, pollutants or contaminants in the National Oil and
Hazardous Substances Pollution Contingency Plan, 40 C.F.R. § 300.5, or (ii) defined as hazardous substances, hazardous materials, pollutants,
contaminants, toxic substances (or words of similar import) by or regulated as such under any Environmental Law.

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      “HSR Act” shall mean the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended, and the rules and regulations thereunder.

      “Intellectual Property Rights” shall have the meaning set forth in Section 4.14(a).

      “IRS” shall mean the Internal Revenue Service.

      “Knowledge” means the actual knowledge of the directors and officers of the relevant party, following due inquiry of their direct reports and
others who would be reasonably expected to have knowledge of the subject matter in question.

      “Law” shall mean any and all domestic (federal, state or local) or foreign laws (including common law), rules, regulations, orders, judgments or
decrees promulgated by any Governmental Authority.

      “Lien” shall mean liens, claims, mortgages, encumbrances, pledges, security interests or charges of any kind.

      “Margin Loan Borrower” shall have the meaning set forth in Section 5.4.

      “Margin Loan Commitment Letter” shall have the meaning set forth in Section 5.4.

      “Margin Loan Financing” shall have the meaning set forth in Section 5.4.

      “Merger” shall have the meaning set forth in the Recitals.

      “Merger Consideration” shall have the meaning set forth in Section 3.1(c).

      “Notice of Adverse Board Recommendation Change” shall have the meaning set forth in Section 6.5(d).

      “Notice of Superior Proposal” shall have the meaning set forth in Section 6.5(d).

     “Order” shall mean any decree, order, judgment, injunction, temporary restraining order or other order in any suit or proceeding by or with any
Governmental Authority.

      “Parent” shall have the meaning set forth in the Preamble.

      “Parent Board” shall have the meaning set forth in the Recitals.

     “Parent Disclosure Letter” shall mean the disclosure letter delivered by Parent to the Company simultaneously with the execution of this
Agreement.

      “Parent Material Adverse Effect” shall mean any change, effect or circumstance which, individually or in the aggregate, has prevented or
materially delayed or materially impaired, or would reasonably be expected to prevent or materially delay or materially impair, the ability of Parent or
Acquisition Sub to consummate the Merger and the other transactions contemplated by this Agreement.

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      “Parent Related Parties” shall have the meaning set forth in Section 8.3(c).

      “Parent Termination Fee” shall mean an amount equal to $1,000,000,000.

      “Paying Agent” shall have the meaning set forth in Section 3.2(a).

      “Paying Agent Agreement” shall have the meaning set forth in Section 3.2(a).

       “Permitted Lien” shall mean (i) any Lien for Taxes not yet delinquent or that are being contested in good faith by any appropriate proceedings
and for which adequate accruals or reserves have been established in accordance with GAAP, (ii) Liens securing indebtedness or liabilities that are
reflected in the Company SEC Documents or incurred in the ordinary course of business since the end of the most recent fiscal year for which an Annual
Report on Form 10-K has been filed by the Company with the SEC and Liens securing indebtedness or liabilities that have otherwise been disclosed to
Parent in writing, (iii) such Liens or other imperfections of title, if any, that do not have a Company Material Adverse Effect, including (A) easements or
claims of easements whether or not shown by the public records, boundary line disputes, overlaps, encroachments and any matters not of record which
would be disclosed by an accurate survey or a personal inspection of the property, (B) rights of parties in possession, (C) any supplemental Taxes or
assessments not shown by the public records and (D) title to any portion of the premises lying within the right of way or boundary of any public road or
private road, (iv) Liens imposed or promulgated by Laws with respect to real property and improvements, including zoning regulations, (v) Liens
disclosed on existing title reports or existing surveys, (vi) mechanics’, carriers’, workmen’s, repairmen’s and similar Liens incurred in the ordinary
course of business, (vii) Liens securing acquisition financing with respect to the applicable asset, including refinancings thereof and (viii) licenses of
Intellectual Property Rights.

      “Person” shall mean an individual, a corporation, a limited liability company, a partnership, an association, a trust or any other entity or
organization, including a Governmental Authority.

      “Post-Closing Plans” shall have the meaning set forth in Section 6.9(b).

      “Post-Closing Welfare Plans” shall have the meaning set forth in Section 6.9(c).

      “Proxy Statement” shall have the meaning set forth in Section 4.7.

      “Representatives” shall have the meaning set forth in Section 6.4.

      “SEC” shall mean the Securities and Exchange Commission.

      “Secretary of State” shall have the meaning set forth in Section 2.3(a).

      “Securities Act” shall mean the Securities Act of 1933, as amended.

     “Silver Lake Investment Agreement” means the Investment Agreement, dated as of March 9, 2020, among Twitter, Inc. and Silver Lake Partners
V DE (AIV), L.P., as amended, restated, supplemented or otherwise modified from time to time.

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      “Solvent” shall have the meaning set forth in Section 5.12.

      “Specified Provisions” shall have the meaning set forth in the Preamble.

      “Stockholder Rights” means the rights distributed to the Stockholders pursuant to Company Stockholder Rights Agreement.

      “Stockholder Rights Plan” means the Company Stockholder Rights and the Company Stockholder Rights Agreement.

    “Stockholder Rights Agreement” means the Preferred Stock Rights Agreement, dated as of April 15, 2022, between the Company and
Computershare Trust Company, N.A., as rights agent, as amended, restated, supplemented or otherwise modified from time to time

      “Subsidiary” of any Person shall mean any corporation, partnership, joint venture or other legal entity of which such Person (either above or
through or together with any other subsidiary) owns, directly or indirectly, more than 50% of the stock or other equity interests, the holders of which are
generally entitled to vote for the election of the board of directors or other governing body of such corporation or other legal entity.

      “Superior Proposal” shall have the meaning set forth in Section 6.5(g)(iii).

      “Surviving Corporation” shall have the meaning set forth in Section 2.1.

      “Tax” or “Taxes” shall mean all federal, state, local and foreign income, profits, franchise, gross receipts, customs duty, capital stock, severance,
stamp, payroll, sales, employment, unemployment, disability, use, property, withholding, excise, license, production, value added, occupancy and other
taxes of any kind whatsoever, together with all interest, penalties and additions imposed with respect thereto.

       “Tax Returns” shall mean all returns and reports (including elections, declarations, disclosures, schedules, estimates and information returns)
filed or required to be filed with a Tax authority.

      “Termination Date” shall have the meaning set forth in Section 8.1(b)(i).

      “Termination Fee” shall mean an amount equal to $1,000,000,000.

      “Tesla Shares” means shares of common stock of Tesla, Inc., $0.001 par value.

      “Third Party” shall mean any Person or group other than Parent, Acquisition Sub and their respective Affiliates.

      “U.S.” means the United States of America and its territories, commonwealths and possessions.

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                                                                       ARTICLE II

                                                                      THE MERGER

      Section 2.1 The Merger. Upon the terms and subject to the conditions of this Agreement, and in accordance with the DGCL, at the Effective Time,
Acquisition Sub shall be merged with and into the Company, whereupon the separate existence of Acquisition Sub shall cease, and the Company shall
continue under the name “Twitter, Inc.” as the surviving corporation (the “Surviving Corporation”) and shall continue to be governed by the laws of
the State of Delaware.

      Section 2.2 The Closing. Subject to the provisions of Article VII, the closing of the Merger (the “Closing”) shall take place at 9:00 a.m. (Pacific
Time) on a date to be specified by the parties hereto, but no later than the second (2nd) Business Day after the satisfaction or waiver of all of the
conditions set forth in Article VII (other than those conditions that by their terms are to be satisfied at the Closing, but subject to the satisfaction or
waiver of such conditions at the Closing). The Closing shall take place virtually by the electronic exchange of documents, unless another time, date or
place is agreed to in writing by the parties hereto (such date, the “Closing Date”).

      Section 2.3 Effective Time.
              (a) Concurrently with the Closing, the Company, Parent and Acquisition Sub shall cause a certificate of merger with respect to the Merger
(the “Certificate of Merger”) to be executed and filed with the Secretary of State of the State of Delaware (the “Secretary of State”) in accordance
with the relevant provisions of the DGCL and any other applicable Law of the State of Delaware. The Merger shall become effective on the date and
time at which the Certificate of Merger has been duly filed with the Secretary of State or such other date and time as may be agreed to by Parent and the
Company and as set forth in the Certificate of Merger in accordance with the DGCL (such date and time hereinafter referred to as the “Effective
Time”).
               (b) The Merger shall have the effects set forth in this Agreement and in the applicable provisions of the DGCL. Without limiting the
generality of the foregoing, from and after the Effective Time, (i) the Company shall be the surviving corporation in the Merger, (ii) all the property,
rights, privileges, immunities, powers, franchises and liabilities of the Company and Acquisition Sub are vested in the Surviving Corporation, (iii) the
separate existence of Acquisition Sub shall cease and (iv) the Company shall continue to be governed by the laws of the State of Delaware.

       Section 2.4 Certificate of Incorporation and Bylaws. The parties will take all necessary actions so that at the Effective Time, the certificate of
incorporation and the bylaws of Acquisition Sub, each as in effect immediately prior to the Effective Time, will be the certificate of incorporation and
the bylaws, respectively, of the Surviving Corporation (except that the titles thereof shall read “Certificate of Incorporation of Twitter, Inc.” and “Bylaws
of Twitter, Inc.”, respectively) until, subject to Section 6.6, thereafter amended in accordance with the applicable provisions of the DGCL and the
certificate of incorporation and bylaws of the Surviving Corporation.

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       Section 2.5 Board of Directors. The board of directors of the Surviving Corporation effective as of, and immediately following, the Effective Time
shall consist of the members of the Acquisition Sub Board immediately prior to the Effective Time, each to serve in accordance with the certificate of
incorporation and bylaws of the Surviving Corporation until their respective successors shall have been duly elected and qualified, or until their earlier
death, resignation or removal in accordance with the certificate of incorporation and bylaws of the Surviving Corporation.

     Section 2.6 Officers. From and after the Effective Time, the officers of the Company at the Effective Time shall be the officers of the Surviving
Corporation, until their respective successors are duly elected or appointed and qualified in accordance with applicable Law.


                                                                      ARTICLE III

                                                EFFECT OF THE MERGER ON CAPITAL STOCK

     Section 3.1 Effect on Securities. At the Effective Time, by virtue of the Merger and without any action on the part of the Company, Parent,
Acquisition Sub or the holders of any securities of the Company or Acquisition Sub:
               (a) Conversion of Acquisition Sub Capital Stock. At the Effective Time, by virtue of the Merger and without any action on the part of the
holder thereof, each share of common stock, $0.01 par value per share, of Acquisition Sub issued and outstanding immediately prior to the Effective
Time shall be converted into and become one (1) fully paid share of common stock, $0.01 par value per share, of the Surviving Corporation and
constitute the only issued or outstanding shares of capital stock of the Surviving Corporation.
               (b) Cancellation of Certain Company Securities. Each share of common stock, par value $0.000005 per share, of the Company (the
“Company Common Stock”) held by the Company or any of its Subsidiaries or held, directly or indirectly, by the Equity Investor, Parent or
Acquisition Sub immediately prior to the Effective Time (collectively, the “Canceled Shares”) shall automatically be canceled and retired and shall
cease to exist as issued or outstanding shares, and no consideration or payment shall be delivered in exchange therefor or in respect thereof.
              (c) Conversion of Company Securities. Except as otherwise provided in this Agreement, each share of Company Common Stock issued
and outstanding immediately prior to the Effective Time (other than any Canceled Shares or Dissenting Shares) shall be converted into the right to
receive $54.20 per share of Company Common Stock in cash, without interest (the “Merger Consideration”). Each share of Company Common Stock
to be converted into the right to receive the Merger Consideration as provided in this Section 3.1(c) shall no longer be issued or outstanding and shall be
automatically canceled and shall cease to exist, and the holders of certificates (the “Certificates”) or book-entry shares (“Book-Entry Shares”) which
immediately prior to the Effective Time represented such shares of Company Common Stock shall cease to have any rights with respect to such
Company Common Stock other than the right to receive, upon surrender of such Certificates or Book-Entry Shares in accordance with Section 3.2(b),
the Merger Consideration, without interest thereon.

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               (d) Adjustments. Without limiting the other provisions of this Agreement, if at any time during the period between the date of this
Agreement and the Effective Time, any change in the number of outstanding shares of Company Common Stock shall occur as a result of a
reclassification, recapitalization, stock split (including a reverse stock split) or similar event, or combination or exchange of shares, or any stock
dividend or stock distribution with a record date during such period (in each case, other than with respect to the initial distribution of Stockholder Rights
under the Stockholder Rights Plan or such Stockholder Rights becoming exercisable as a result of Parent or any of its Affiliates or Representatives
becoming an “Acquiring Person” (as defined in the Stockholder Rights Agreement)), the Merger Consideration shall be equitably adjusted to provide the
same economic effect as contemplated by this Agreement prior to such event. Nothing in this Section 3.1(d) shall be construed to permit any party to
take any action that is otherwise prohibited or restricted by any other provision of this Agreement.

      Section 3.2 Payment for Securities; Exchange of Certificates.
              (a) Designation of Paying Agent; Deposit of Exchange Fund. Prior to the Closing, Parent shall designate a reputable bank or trust company
(the “Paying Agent”) that is organized and doing business under the laws of the U.S., the identity and the terms of appointment of which to be
reasonably acceptable to the Company, to act as Paying Agent for the payment of the Merger Consideration as provided in Section 3.1(b), and shall enter
into an agreement (the “Paying Agent Agreement”) relating to the Paying Agent’s responsibilities with respect thereto, in form and substance
reasonably acceptable to the Company. At or prior to the Effective Time, Parent shall deposit, or cause to be deposited with the Paying Agent, cash
constituting an amount equal to the Aggregate Merger Consideration (such Aggregate Merger Consideration as deposited with the Paying Agent, the
“Exchange Fund”). In the event the Exchange Fund shall be insufficient to make the payments contemplated by Section 3.1(b), Parent shall promptly
deposit, or cause to be deposited, additional funds with the Paying Agent in an amount which is equal to the deficiency in the amount required to make
such payments in full. Parent shall cause the Exchange Fund to be (A) held for the benefit of the holders of Company Common Stock and (B) applied
promptly to make payments pursuant to Section 3.1(b). The Exchange Fund shall not be used for any purpose other than to fund payments pursuant to
Section 3.1, except as expressly provided for in this Agreement.
               (b) Procedures for Exchange. As promptly as reasonably practicable following the Effective Time and in any event not later than two
(2) Business Days thereafter, the Surviving Corporation shall cause the Paying Agent to mail to each holder of record a Certificate that immediately
prior to the Effective Time represented outstanding shares of Company Common Stock (A) a letter of transmittal, which shall specify that delivery shall
be effected, and risk of loss and title to the Certificates shall pass, only upon proper delivery of the Certificates (or affidavits of loss in lieu thereof) to
the Paying Agent and which shall be in the form and have such other provisions as Parent and the Company may reasonably specify and (B) instructions
for use in effecting the surrender of the Certificates in exchange for the Merger Consideration into which the number of shares of Company Common
Stock previously represented by such Certificate shall have been converted pursuant to this Agreement (which instructions shall be in the form and have
such other provisions as Parent and the Company may reasonably specify). Any holder of Book-Entry Shares shall not be required to deliver a
Certificate or an executed letter of transmittal to receive the Merger Consideration with respect to such Book-Entry Shares.

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                (c) Timing of Exchange. Upon surrender of a Certificate (or affidavit of loss in lieu thereof) or Book-Entry Share for cancellation to the
Paying Agent, together with, in the case of Certificates, a letter of transmittal duly completed and validly executed in accordance with the instructions
thereto, or, in the case of Book-Entry Shares, receipt of an “agent’s message” by the Paying Agent (it being understood that holders of Book-Entry
Shares will be deemed to have surrendered such Book-Entry Shares upon receipt of an “agent’s message” with respect to such Book-Entry Shares), and
such other customary evidence of surrender as the Paying Agent may reasonably require, the holder of such Certificate or Book-Entry Share shall be
entitled to receive in exchange therefor (and Parent shall cause the Paying Agent to promptly deliver in exchange therefor) the Merger Consideration for
each share of Company Common Stock formerly represented by such Certificate or Book-Entry Share upon the later to occur of (i) the Effective Time or
(ii) the Paying Agent’s receipt of such Certificate (or affidavit of loss in lieu thereof) or Book-Entry Share, in accordance with Section 3.2(b), as
applicable, and the Certificate (or affidavit of loss in lieu thereof) or Book-Entry Share so surrendered shall be forthwith canceled. The Paying Agent
Agreement shall provide that the Paying Agent shall accept such Certificates (or affidavits of loss in lieu thereof) or Book-Entry Shares upon
compliance with such reasonable terms and conditions as the Paying Agent may impose to effect an orderly exchange thereof in accordance with
customary exchange practices. No interest shall be paid or accrued for the benefit of holders of the Certificates or Book-Entry Shares on the Merger
Consideration payable upon the surrender of the Certificates or Book-Entry Shares.
              (d) Termination of Exchange Fund. Any portion of the Exchange Fund which remains undistributed to the holders of the Certificates or
Book-Entry Shares for one (1) year after the Effective Time shall be delivered to the Surviving Corporation, upon written demand, and any such holders
prior to the Merger who have not theretofore complied with this Article III shall thereafter look only to the Surviving Corporation as a general creditor
thereof for payment of their claims for the Merger Consideration in respect thereof.
               (e) No Liability. None of Parent, Acquisition Sub, the Company, the Surviving Corporation or the Paying Agent shall be liable to any
Person in respect of any cash held in the Exchange Fund delivered to a public official pursuant to any applicable abandoned property, escheat or similar
Law. If any Certificates or Book-Entry Shares shall not have been surrendered immediately prior to the date on which any cash in respect of such
Certificate or Book-Entry Share would otherwise escheat to or become the property of any Governmental Authority, any such cash in respect of such
Certificate or Book-Entry Share shall, to the extent permitted by applicable Law, become the property of the Surviving Corporation, free and clear of all
claims or interest of any Person previously entitled thereto.
              (f) Investment of Exchange Fund. The Paying Agent Agreement shall provide that the Paying Agent shall invest any cash included in the
Exchange Fund as directed by Parent or, after the Effective Time, the Surviving Corporation; provided that (i) no such investment shall relieve Parent or
the Paying Agent from making the payments required by this Article III, and following any losses Parent shall promptly provide additional funds to the
Paying Agent for the benefit of the holders of Company Common Stock in the amount of such losses, (ii) no such investment shall have maturities that
could prevent or delay payments to be made pursuant to this Agreement and (iii) all such investments shall be in short-term obligations of the U.S. with
maturities of no more than thirty (30) days or guaranteed by the U.S. and backed by the full faith and credit of the U.S. Any interest or income produced
by such investments will be payable to the Surviving Corporation or Parent, as directed by Parent.

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               (g) Withholding. Each of Parent, the Surviving Corporation and the Paying Agent shall be entitled to deduct and withhold from the Merger
Consideration and any amounts otherwise payable pursuant to this Agreement to any Person such amounts as are required to be deducted and withheld
with respect to the making of such payment under any applicable Law. To the extent that amounts are so deducted and withheld, such amounts (i) shall
be promptly remitted by Parent, the Surviving Corporation or the Paying Agent, as applicable, to the applicable Governmental Authority, and (ii) shall
be treated for all purposes of this Agreement as having been paid to the Person in respect of which such deduction and withholding was made.

       Section 3.3 Lost Certificates. If any Certificate shall have been lost, stolen or destroyed, then upon the making of an affidavit, in form and
substance reasonably acceptable to Parent, of that fact by the Person claiming such Certificate to be lost, stolen or destroyed, the Paying Agent shall
issue, in exchange for such lost, stolen or destroyed Certificate, the Merger Consideration to which the holder thereof is entitled pursuant to this Article
III.

      Section 3.4 Transfers; No Further Ownership Rights. After the Effective Time, there shall be no registration of transfers on the stock transfer
books of the Company of shares of Company Common Stock that were outstanding immediately prior to the Effective Time. If Certificates or Book-
Entry Shares are presented to the Surviving Corporation, Parent or Paying Agent for transfer following the Effective Time, they shall be canceled against
delivery of the applicable Merger Consideration, as provided for in Section 3.1(b), for each share of Company Common Stock formerly represented by
such Certificates or Book-Entry Shares. Payment of the Merger Consideration in accordance with the terms of this Article III, and, if applicable, any
unclaimed dividends upon the surrender of Certificates, shall be deemed to have been paid in full satisfaction of all rights pertaining to the shares of
Company Common Stock formerly represented by such Certificates or Book-Entry Shares.

       Section 3.5 Dissenting Shares. Notwithstanding any other provision of this Agreement to the contrary, to the extent that holders thereof are entitled
to appraisal rights under Section 262 of the DGCL or similar appraisal or dissenters’ rights under any other applicable Law, shares of Company
Common Stock issued and outstanding immediately prior to the Effective Time and held by a holder who has properly exercised and perfected his or her
demand for appraisal or dissenters’ rights under Section 262 of the DGCL or such other applicable Law (the “Dissenting Shares”), shall not be
converted into the right to receive the Merger Consideration. At the Effective Time, the Dissenting Shares shall no longer be outstanding and shall
automatically be canceled and shall cease to exist, and each holder of Dissenting Shares shall cease to have any rights with respect thereto, but the
holders of such Dissenting Shares shall be entitled to receive such consideration as shall be determined pursuant to Section 262 of the DGCL or such
other applicable Law; provided, however, that if any such holder shall have failed to perfect or shall have effectively withdrawn or lost his or her right to
appraisal or dissenters’ rights and payment under the DGCL or such other applicable Law, as applicable (whether occurring before, at or after the
Effective Time), such holder’s shares of Company Common Stock shall thereupon be deemed to have been converted as of the Effective Time into the
right to receive the Merger Consideration, without any interest thereon, and such shares shall not be deemed to be Dissenting Shares. Any payments

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required to be made with respect to the Dissenting Shares shall be made by Parent (and not the Company or Acquisition Sub), and the Aggregate Merger
Consideration shall be reduced, on a dollar-for-dollar basis, as if the holder of such Dissenting Shares had not been a stockholder on the Closing Date.
The Company shall give prompt written notice to Parent of any demands for appraisal of or dissenters’ rights respecting any shares of Company
Common Stock, withdrawals of such demands and any other instruments served pursuant to the DGCL or such other applicable Law received by the
Company relating to appraisal or dissenters’ demands, and Parent shall have the right to participate in all negotiations and proceedings with respect to
such demands. Prior to the Effective Time, the Company shall not, without the prior written consent of Parent (which consent shall not be unreasonably
withheld or delayed), voluntarily make any payment with respect to, or settle or offer to settle, any such demands, or agree to do or commit to do any of
the foregoing.

      Section 3.6 Company Equity Awards.
             (a) Company Options.
                    (i) As of the Effective Time, each Company Option that is vested in accordance with its terms and outstanding as of immediately
      prior to the Effective Time (each, a “Vested Company Option”) shall be canceled and converted into the right to receive an amount in cash,
      without interest, equal to the product of (i) the total number of shares of Company Common Stock subject to such Vested Company Option and
      (ii) the excess, if any, of the Merger Consideration, over the exercise price per share of Company Common Stock underlying such Vested
      Company Option (the “Vested Option Consideration”); provided, that if the exercise price per share of Company Common Stock underlying
      such Vested Company Option is equal to or greater than the Merger Consideration, such Vested Company Option shall be canceled without any
      cash payment or other consideration being made in respect thereof.
                     (ii) As of the Effective Time, each Company Option that is outstanding and is not a Vested Company Option (each, an “Unvested
      Company Option”) shall be canceled and converted into the right to receive an amount in cash, without interest, equal to the product of (i) the
      total number of shares of Company Common Stock subject to such Unvested Company Option and (ii) the excess, if any, of the Merger
      Consideration, over the exercise price per share of Company Common Stock underlying such Unvested Company Option (the “Unvested Option
      Consideration”); provided that, if the exercise price per share of Company Common Stock underlying such Unvested Company Option is equal
      to or greater than the Merger Consideration, such Unvested Company Option shall be canceled without any cash payment or other consideration
      being made in respect thereof. Subject to the holder’s continued service with Parent and its Affiliates (including the Surviving Corporation and its
      Subsidiaries) through the applicable vesting dates, such Unvested Option Consideration will vest and become payable at the same time as the
      Unvested Company Option from which such Unvested Option Consideration was converted would have vested and been payable pursuant to its
      terms and shall otherwise remain subject to the same terms and conditions as were applicable to the underlying Unvested Company Option
      immediately prior to the Effective Time.

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             (b) Company PSUs.
                    (i) As of the Effective Time, each Company PSU that is vested in accordance with its terms and outstanding as of immediately prior
      to the Effective Time (each, a “Vested Company PSU”) shall be canceled and converted into the right to receive an amount in cash, without
      interest, equal to the product of (i) the total number of shares of Company Common Stock subject to such Vested Company PSU based on the
      achievement of the applicable performance metrics at the level of performance for which such Vested Company PSU vested in accordance with its
      terms and (ii) the Merger Consideration (the “Vested PSU Consideration”).
                    (ii) As of the Effective Time, each Company PSU that is outstanding immediately prior thereto and that is not a Vested Company
      PSU (each, an “Unvested Company PSU”) shall be canceled and converted into the right to receive an amount in cash, without interest, equal to
      the product of (i) the total number of shares of Company Common Stock subject to such Unvested Company PSU based on the achievement of the
      applicable performance metrics at the target level of performance and (ii) the Merger Consideration (the “Unvested PSU Consideration”).
      Subject to the holder’s continued service with Parent and its Affiliates (including the Surviving Corporation and its Subsidiaries) through the
      applicable vesting dates, such Unvested PSU Consideration will vest and become payable at the same time as the Unvested Company PSU from
      which such Unvested PSU Consideration was converted would have vested and been payable pursuant to its terms and shall otherwise remain
      subject to the same terms and conditions as were applicable to the underlying Unvested Company PSU immediately prior to the Effective Time
      (except that performance-based vesting metrics and criteria shall not apply from and after the Effective Time).
              (c) Company RSAs. At the Effective Time, each Company RSA that is outstanding immediately prior to the Effective Time shall be
canceled and converted into the right to receive an amount in cash, without interest, equal to the product of (i) the total number of shares of Company
Common Stock subject to such Company RSA and (ii) the Merger Consideration (the “Unvested RSA Consideration”). Subject to the holder’s
continued service with Parent and its Affiliates (including the Surviving Corporation and its Subsidiaries) through the applicable vesting dates, such
Unvested RSA Consideration will vest and become payable at the same time as the Company RSA from which such Unvested RSA Consideration was
converted would have vested and been payable pursuant to its terms and shall otherwise remain subject to the same terms and conditions as were
applicable to the underlying Company RSA immediately prior to the Effective Time; provided that the Company shall be permitted to accelerate the
vesting of any unvested Company RSA if the holder thereof would be subject to Taxes in connection with the Closing as a result of the treatment
contemplated by this Section 3.3(c).
             (d) Company RSUs.
                    (i) As of the Effective Time, each Company RSU that is vested in accordance with its terms as of immediately prior to the Effective
      Time and each Company RSU held by a non-employee member of the Company Board, in either case, that is outstanding immediately prior to the
      Effective Time, (each, a “Vested Company RSU”) shall be canceled and converted into the right to receive an amount in cash, without interest,
      equal to the product of (i) the total number of shares of Company Common Stock subject to such Vested Company RSU and (ii) the Merger
      Consideration (the “Vested RSU Consideration”).

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                    (ii) As of the Effective Time, each Company RSU that is outstanding immediately prior thereto and that is not a Vested Company
      RSU (each, an “Unvested Company RSU”) shall be canceled and converted into the right to receive an amount in cash, without interest, equal to
      the product of (i) the total number of shares of Company Common Stock subject to such Unvested Company RSU and (ii) the Merger
      Consideration (the “Unvested RSU Consideration”). Subject to the holder’s continued service with Parent and its Affiliates (including the
      Surviving Corporation and its Subsidiaries) through the applicable vesting dates, such Unvested RSU Consideration will vest and become payable
      at the same time as the Unvested Company RSU from which such Unvested RSU Consideration was converted would have vested and been
      payable pursuant to its terms and shall otherwise remain subject to the same terms and conditions as were applicable to the underlying Unvested
      Company RSU immediately prior to the Effective Time.
              (e) Delivery of Company Equity Award Payments. Parent shall cause the Surviving Corporation to pay through the payroll system of the
Surviving Corporation (to the extent applicable) the Vested Option Consideration, the Vested PSU Consideration, and the Vested RSU Consideration to
each holder of a Vested Company Option, Vested Company PSU and Vested Company RSU, as applicable, less any required withholding Taxes and
without interest, within five (5) Business Days following the Effective Time.

       Section 3.7 Company ESPP. As soon as practicable following the date of this Agreement, the Company Board or a committee thereof shall adopt
resolutions or take other actions as may be required to provide that (A) the Offering Period (as defined in the Company ESPP) in effect as of the date
hereof shall be the final Offering Period (such period, the “Final Offering Period”) and no further Offering Period shall commence pursuant to the
Company ESPP after the date hereof, and (B) each individual participating in the Final Offering Period on the date of this Agreement shall not be
permitted to (x) increase his or her payroll contribution rate pursuant to the Company ESPP from the rate in effect when the Final Offering Period
commenced or (y) make separate non-payroll contributions to the Company ESPP on or following the date of this Agreement, except as may be required
by applicable Law. Prior to the Effective Time, the Company shall take all action that may be necessary to, effective upon the consummation of the
Merger, (A) cause the Final Offering Period, to the extent that it would otherwise be outstanding at the Effective Time, to be terminated no later than ten
(10) Business Days prior to the date on which the Effective Time occurs; (B) make any pro rata adjustments that may be necessary to reflect the Final
Offering Period, but otherwise treat the Final Offering Period as a fully effective and completed Offering Period for all purposes pursuant to the
Company ESPP; and (C) cause the exercise (as of no later than ten (10) Business Days prior to the date on which the Effective Time occurs) of each
outstanding purchase right pursuant to the Company ESPP. On such exercise date, the Company shall apply the funds credited as of such date pursuant
to the Company ESPP within each participant’s payroll withholding account to the purchase of whole shares of Company Common Stock in accordance
with the terms of the Company ESPP, and such Common Shares shall be entitled to the Merger Consideration in accordance with Section 3.1(b).
Immediately prior to and effective as of the Effective Time (but subject to the consummation of the Merger), the Company shall terminate the Company
ESPP.

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                                                                      ARTICLE IV

                                          REPRESENTATIONS AND WARRANTIES OF THE COMPANY

      Except as disclosed in the Company Disclosure Letter or in the Company SEC Documents filed by the Company prior to the date of this
Agreement (other than any disclosures set forth under the headings “Risk Factors” or “Forward-Looking Statements” and any other disclosures included
therein to the extent they are forward-looking in nature), the Company hereby represents and warrants to Parent and Acquisition Sub as follows:

       Section 4.1 Organization and Qualification; Subsidiaries. Each of the Company and its Subsidiaries is a corporation, partnership or other entity
duly organized, validly existing and (to the extent applicable) in good standing under the laws of the jurisdiction of its incorporation or organization and
has the requisite entity power and authority to conduct its business as it is now being conducted, except where the failure to be duly organized, validly
existing or in good standing or to have such power and authority would not have a Company Material Adverse Effect. Each of the Company and its
Subsidiaries is duly qualified or licensed to do business and is in good standing in each jurisdiction in which the nature of the business conducted by it
makes such qualification or licensing necessary, except where the failure to be so duly qualified or licensed and in good standing would not have a
Company Material Adverse Effect. The Company’s Amended and Restated Certificate of Incorporation (as may be further amended from time to time,
the “Company Certificate of Incorporation”) and the Company’s Amended and Restated Bylaws (as may be further amended from time to time, the
“Company Bylaws”), in each case, as currently in effect, are included in the Company SEC Documents.

      Section 4.2 Capitalization.
               (a) As of March 31, 2022, the authorized capital stock of the Company consists of (i) 5,000,000,000 shares of Company Common Stock,
763,577,530 of which were issued and outstanding (including 1,386,850 Company RSAs), and none of which were held in treasury, and (ii) 200,000,000
shares of preferred stock, par value $0.000005 per share, of the Company, none of which were issued and outstanding. As of March 31, 2022, there were
(i) 953,365 Company Options outstanding, (ii) 2,900,689 Company PSUs outstanding (assuming attainment of the applicable performance metrics at the
target level of performance), (iii) 67,575,223 Company RSUs outstanding, and (iv) shares of Company Common Stock subject to outstanding purchase
rights under the Company ESPP. Except as described above and other than the Stockholder Rights, the Existing Convertible Notes, the Company
Warrant Confirmations and any issuances or grants (or promises or offers to issue or grant) Company Equity Awards since March 31, 2022 in connection
with employee hiring, retention or promotions in the ordinary course of business in an amount less than 5,000,000 Company Equity Awards (assuming
attainment of the applicable performance metrics at the target level of performance) in the aggregate, as of the date of this Agreement, there are no
additional existing and outstanding (i) options, warrants, calls, subscriptions or other rights, convertible securities, agreements or commitments of any
character to which the Company or any of its Subsidiaries is a party obligating the Company or any of its

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Subsidiaries to issue, transfer or sell any shares of capital stock or other equity interests in the Company or any of its Subsidiaries or securities
convertible into or exchangeable for such shares or equity interests, (ii) contractual obligations of the Company or any of its Subsidiaries to repurchase,
redeem or otherwise acquire any capital stock of the Company or any of its Subsidiaries, except pursuant to the other than the Company ASR
Confirmations and the Company Bond Hedging Transactions or (iii) voting trusts or similar agreements to which the Company is a party with respect to
the voting of the capital stock of the Company, other than the Silver Lake Investment Agreement.
              (b) Except as would not be material to the Company and its Subsidiaries, taken as a whole, all of the outstanding shares of capital stock or
equivalent equity interests of each of the Company’s Subsidiaries are owned of record and beneficially, directly or indirectly, by the Company or the
relevant wholly owned Subsidiary (except for de minimis equity interests held by a Third Party for local regulatory reasons) and free and clear of all
Liens except for restrictions imposed by applicable securities laws and Permitted Liens.
             (c) Prior to the Closing, the Company will provide Parent with a correct and complete list, as of such date, of all outstanding Company
Equity Awards, including the holder (by employee identification number), type of Company Equity Award, date of grant, number of shares of Company
Common Stock underlying such award (and, if applicable, assuming achievement of the applicable performance metrics at the target level of
performance), whether such Company Equity Award is intended to qualify as an “incentive stock option” under Section 422 of the Code, the equity plan
pursuant to which the Company Equity Award was granted, and, where applicable, the exercise price per share and expiration date.

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      Section 4.3 Authority Relative to Agreement.
              (a) The Company has all necessary corporate power and authority to execute and deliver this Agreement and, assuming the accuracy of the
representations and warranties set forth in the second sentence of Section 5.8 and subject to obtaining the Company Stockholder Approval and the
occurrence of the stockholder advisory vote contemplated by Rule 14a-21(c) under the Exchange Act, regardless of the outcome of such advisory vote
(the “Company Stockholder Advisory Vote”), to consummate the transactions contemplated by this Agreement, including the Merger. The execution,
delivery and performance of this Agreement by the Company, and the consummation by the Company of the transactions contemplated by this
Agreement, including the Merger, have been duly and validly authorized by all necessary corporate action by the Company, and assuming the accuracy
of the representations and warranties set forth in the second sentence of Section 5.8 and except for the Company Stockholder Approval, the occurrence
of the Company Stockholder Advisory Vote, no other corporate action or proceeding on the part of the Company is necessary to authorize the execution,
delivery and performance of this Agreement by the Company and the consummation by the Company of the transactions contemplated by this
Agreement, including the Merger. This Agreement has been duly executed and delivered by the Company and, assuming the due authorization,
execution and delivery of this Agreement by the other parties hereto, constitutes a legal, valid and binding obligation of the Company, enforceable
against the Company in accordance with its terms, except that such enforceability may be subject to applicable bankruptcy, insolvency, fraudulent
conveyance, reorganization, moratorium or other similar Laws, now or hereafter in effect, affecting creditors’ rights and remedies generally (the
“Enforceability Exceptions”).
             (b) The Company Board has, by resolutions duly adopted by the unanimous vote of the directors at a duly held meeting (i) determined that
the terms and conditions of this Agreement, the Merger and the other transactions contemplated by this Agreement are advisable and in the best interests
of the Company and the Company’s stockholders, (ii) authorized the execution and delivery of this Agreement and declared advisable and approved the
consummation of the transactions contemplated by this Agreement, including the Merger, (iii) directed that this Agreement be submitted for
consideration at a meeting of the Company’s stockholders and (iv) subject to the terms of this Agreement, resolved to recommend that the Company’s
stockholders adopt this Agreement and approve the transactions contemplated hereby, including the Merger.

      Section 4.4 No Conflict; Required Filings and Consents.
                (a) Neither the execution and delivery of this Agreement by the Company nor the consummation by the Company of the transactions
contemplated by this Agreement will (i) violate any provision of the Company Certificate of Incorporation or the Company Bylaws or (ii) assuming the
accuracy of the representations and warranties set forth in the second sentence of Section 5.8 and that the Consents, registrations, declarations, filings
and notices referred to in Section 4.4(b) have been obtained or made, any applicable waiting periods referred to therein have expired and any condition
precedent to any such Consent has been satisfied, conflict with or violate any Law applicable to the Company or any of its Subsidiaries or by which any
property or asset of the Company or any of its Subsidiaries is bound or affected or (iii) except with respect to the Existing Credit Agreement and the
Existing Notes, result in any breach of, or constitute a default (with or without notice or lapse of time, or both) under, or give rise to any right of
termination, acceleration or cancellation of, any Company Material Contract (other than any Company Benefit Plan) , other than, in the case of clauses
(ii) and (iii) any such conflict, violation, breach, default, termination, acceleration or cancellation that would not have a Company Material Adverse
Effect.

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               (b) No consent, approval, clearance, license, permit, order or authorization (each of the foregoing, a “Consent”) of, or registration,
declaration or filing with, or notice to, any Governmental Authority is required to be obtained or made by or with respect to the Company or any of its
Subsidiaries under applicable Law in connection with the execution, delivery and performance of this Agreement or the consummation of the
transactions contemplated by this Agreement, other than (i) the applicable reporting or other requirements of and filings with the SEC under the
Exchange Act (including the filing of the Proxy Statement), (ii) the filing of the Certificate of Merger with the Secretary of State in accordance with the
DGCL and appropriate documents with the relevant authorities of the other jurisdictions in which the Company or any of its Subsidiaries is qualified to
do business, (iii) the applicable requirements under corporation or Blue Sky Laws of various states, (iv) such filings as may be required in connection
with the Taxes described in Section 8.6, (v) filings with the New York Stock Exchange, (vi) such other items required solely by reason of the
participation of Parent or Acquisition Sub or any of their Affiliates in the transactions contemplated by this Agreement, (vii) compliance with and filings
or notifications under the HSR Act and any other applicable U.S. or foreign competition, antitrust or merger control Laws (together with the HSR Act,
“Antitrust Laws”), (viii) compliance with and filings or notifications under any applicable Foreign Investment Laws, and (ix) such other Consents,
registrations, declarations, filings or notices the failure of which to be obtained or made would not have a Company Material Adverse Effect.

      Section 4.5 Permits; Compliance With Laws.
               (a) As of the date of this Agreement, the Company and its Subsidiaries are in possession of all franchises, grants, authorizations, licenses,
permits, easements, variances, exceptions, consents, certificates, approvals and orders necessary for the Company and its Subsidiaries to carry on their
respective business as it is now being conducted (the “Company Permits”) and all Company Permits are in full force and effect and no suspension or
cancellation of any of the Company Permits is pending or, to the Knowledge of the Company, threatened, except where the failure to be in possession of
or be in full force and effect, or the suspension or cancellation of, any of the Company Permits would not have a Company Material Adverse Effect.
               (b) Neither the Company nor any of its Subsidiaries is in default or violation of any Law applicable to the Company, any of its Subsidiaries
or by which any of their respective properties or assets are bound, except for any such defaults or violations that would not have a Company Material
Adverse Effect. Notwithstanding the foregoing, no representation or warranty in Section 4.5(a) or this Section 4.5(b) is made with respect to Company
SEC Documents or financial statements, “disclosure controls and procedures” or “internal control over financial reporting,” employee benefits matters,
Intellectual Property Rights matters, Tax matters, which are addressed exclusively in Section 4.6 (Company SEC Documents; Financial Statements),
Section 4.8 (Disclosure Controls and Procedures), Section 4.12 (Employee Benefit Plans), Section 4.14 (Intellectual Property Rights), Section 4.15
(Taxes), respectively.

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      Section 4.6 Company SEC Documents; Financial Statements.
               (a) Since January 1, 2022, the Company has filed or furnished with the SEC all material forms, documents and reports required to be filed
or furnished prior to the date of this Agreement by it with the SEC (such forms, documents and reports filed with the SEC, including any amendments or
supplements thereto and any exhibits or other documents attached to or incorporated by reference therein, the “Company SEC Documents”). As of
their respective dates, or, if amended or supplemented, as of the date of the last such amendment or supplement, the Company SEC Documents
complied in all material respects with the requirements of the Securities Act and the Exchange Act, as the case may be, and the applicable rules and
regulations promulgated thereunder, and none of the Company SEC Documents at the time it was filed (or, if amended or supplemented, as of the date
of the last amendment or supplement) contained any untrue statement of a material fact or omitted to state any material fact required to be stated therein
or necessary to make the statements therein, in light of the circumstances under which they were made, or are to be made, not misleading.
               (b) The consolidated financial statements (including all related notes) of the Company included in the Company SEC Documents fairly
present in all material respects the consolidated financial position of the Company and its consolidated Subsidiaries as at the respective dates thereof and
its consolidated statements of operations and consolidated statements of cash flows for the respective periods then ended (subject, in the case of
unaudited interim statements, to normal year-end audit adjustments, none of which would have a Company Material Adverse Effect, to the absence of
notes and to any other adjustments described therein, including in any notes thereto) in conformity with GAAP (except, in the case of unaudited
statements, as permitted by Form 10-Q, Form 8-K or any successor form or other rules under the Exchange Act).

      Section 4.7 Information Supplied. None of the information supplied or to be supplied by or on behalf of the Company or any of its Subsidiaries
expressly for inclusion or incorporation by reference in the proxy statement relating to the matters to be submitted to the Company’s stockholders at the
Company Stockholders’ Meeting (such proxy statement and any amendments or supplements thereto, the “Proxy Statement”) shall, at the time the
Proxy Statement is first mailed to the Company’s stockholders and at the time of the Company Stockholders’ Meeting to be held in connection with the
Merger, contain any untrue statement of material fact or omit to state any material fact required to be stated therein or necessary to make the statements
therein, in light of the circumstances under which they were made, not misleading at such applicable time, except that no representation or warranty is
made by the Company with respect to statements made therein based on information supplied, or required to be supplied, by Parent or its
Representatives in writing expressly for inclusion therein. The Proxy Statement will comply as to form in all material respects with the provisions of the
Securities Act and the Exchange Act, and the rules and regulations promulgated thereunder.

      Section 4.8 Disclosure Controls and Procedures. The Company has established and maintains “disclosure controls and procedures” and “internal
control over financial reporting” (as such terms are defined in paragraphs (e) and (f), respectively, of Rule 13a-15 promulgated under the Exchange Act)
as required by Rule 13a-15 promulgated under the Exchange Act. The Company has disclosed, based on its most recent evaluation of the Company’s
internal control over financial reporting prior to the date of this Agreement, to the Company’s auditors and the

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audit committee of the Company Board (i) any significant deficiencies and material weaknesses in the design or operation of its internal controls over
financial reporting (as defined in Rule 13a-15(f) under the Exchange Act) that are reasonably likely to adversely affect the Company’s ability to record,
process, summarize and report financial information and (ii) any fraud to the Knowledge of the Company, whether or not material, that involves
management or other employees who have a significant role in the Company’s internal control over financial reporting.

       Section 4.9 Absence of Certain Changes or Events. Since January 1, 2022 and until the date of this Agreement, (a) the businesses of the Company
and its Subsidiaries have been conducted in the ordinary course of business (other than as a result of COVID-19 and COVID-19 Measures or with
respect to the Existing 2030 Notes or the transactions contemplated hereby) and (b) there has not been any adverse change, event, development or state
of circumstances that has had a Company Material Adverse Effect.

       Section 4.10 No Undisclosed Liabilities. Except (a) as reflected, disclosed or reserved against in the Company’s financial statements (as amended
or restated, as applicable) or the notes thereto included in the Company SEC Documents, (b) for liabilities or obligations incurred in the ordinary course
of business since December 31, 2021, (c) the Existing 2030 Notes, (d) for liabilities or obligations incurred in connection with the transactions
contemplated by this Agreement, including the Merger, or (e) for liabilities or obligations that would not have a Company Material Adverse Effect, as of
the date of this Agreement, the Company and its Subsidiaries do not have any liabilities of any nature, whether or not accrued, contingent or otherwise,
that would be required by GAAP to be reflected on a consolidated balance sheet (or in the notes thereto) of the Company.

       Section 4.11 Litigation. As of the date of this Agreement, there is no suit, action or proceeding pending or, to the Knowledge of the Company,
threatened in writing against the Company or any of its Subsidiaries, that would have a Company Material Adverse Effect, nor is there any judgment of
any Governmental Authority outstanding against, or, to the Knowledge of the Company, investigation by any Governmental Authority involving the
Company or any of its Subsidiaries that would have a Company Material Adverse Effect. As of the date of this Agreement, there is no suit, action or
proceeding pending or, to the Knowledge of the Company, threatened in writing seeking to prevent, hinder, modify, delay or challenge the Merger or any
of the other transactions contemplated by this Agreement.

      Section 4.12 Employee Benefit Plans.
               (a) Prior to the Closing, the Company will provide a true and complete list, as of the date of this Agreement, of each material Company
Benefit Plan (which list may reference a form of such Company Benefit Plan). Prior to the Closing, the Company will make available to Parent a true
and complete copy of each material Company Benefit Plan and all amendments thereto and a true and complete copy of the following items (in each
case, only if applicable): (i) each trust or other funding arrangement; (ii) each current summary plan description and current summary of material
modifications; (iii) the most recently filed annual report on IRS Form 5500; and (iv) the most recently received IRS determination letter or IRS opinion
letter.

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             (b) Except as would not have a Company Material Adverse Effect:
                  (i) each of the Company Benefit Plans has been maintained, operated, administered and funded in accordance with its terms and in
      compliance with applicable Laws;
                    (ii) there are no claims pending, or, to the Knowledge of the Company, threatened actions, suits, disputes or claims (other than
      routine claims for benefits) against or affecting any Company Benefit Plan, by any employee or beneficiary covered under such Company Benefit
      Plan, as applicable, or otherwise involving such Company Benefit Plan;
                (iii) neither the Company nor its Subsidiaries has any material obligations for post-termination health or life insurance benefits under
      any Company Benefit Plan (other than for continuation coverage required to be provided pursuant to Section 4980B of the Code); and
                   (iv) each Foreign Plan (A) if required to be registered or approved by a non-U.S. Governmental Authority, has been registered or
      approved and has been maintained in good standing with applicable regulatory authorities, and, to the Knowledge of the Company, no event has
      occurred since the date of the most recent approval or application therefor relating to any such Foreign Plan that would reasonably be expected to
      adversely affect any such approval or good standing, (B) that is intended to qualify for special Tax treatment meets all requirements for such
      treatment, and (C) if required to be fully funded or fully insured, is fully funded or fully insured on an ongoing and termination or solvency basis
      (determined using reasonable actuarial assumptions) in compliance with applicable Laws.
              (e) If, and to the extent, the execution or delivery of this Agreement or the consummation of the Merger (either alone or in combination
with another event) will: (i) entitle any Company Service Provider to any material payment; (ii) materially increase the amount or value of any benefit or
compensation or other obligation payable or required to be provided to any Company Service Provider; (iii) accelerate the time of payment or vesting of
amounts due to any Company Service Provider or accelerate the time of any funding (whether to a trust or otherwise) of compensation or benefits in
respect of any of the Company Benefit Plans; (iv) give rise to the payment of any amount by the Company or any of its Subsidiaries that would be
non-deductible by reason of Section 280G of the Code, then, prior to the Closing, the Company will provide a true and complete list of each Company
Benefit Plan that would trigger any of (i) through (iv) above. There is no contract, agreement, plan or arrangement to which the Company or any of its
Subsidiaries is a party by which it is required by its terms to compensate, gross-up, indemnify, or otherwise reimburse any Person for excise Taxes
imposed pursuant to Section 4999 or Section 409A of the Code.
              (f) Except as would not have a Company Material Adverse Effect, there are no claims pending, or, to the Knowledge of the Company,
threatened actions, suits, disputes or claims (other than routine claims for benefits) against or affecting any Company Benefit Plan, by any employee or
beneficiary covered under such Company Benefit Plan, as applicable, or otherwise involving such Company Benefit Plan.

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              (g) Except as would not have a Company Material Adverse Effect, neither the Company nor its Subsidiaries has any material obligations
for post-termination health or life insurance benefits under any Company Benefit Plan (other than for continuation coverage required to be provided
pursuant to Section 4980B of the Code).
               (h) Except as would not have a Company Material Adverse Effect, each Foreign Plan (i) has been maintained, operated and administered
in compliance with its terms and in compliance with applicable Laws; (ii) if required to be registered or approved by a non-U.S. Governmental
Authority, has been registered or approved and has been maintained in good standing with applicable regulatory authorities, and, to the Knowledge of
the Company, no event has occurred since the date of the most recent approval or application therefor relating to any such Foreign Plan that would
reasonably be expected to adversely affect any such approval or good standing; (iii) that is intended to qualify for special Tax treatment meets all
requirements for such treatment; (iv) if required to be fully funded or fully insured, is fully funded or fully insured on an ongoing and termination or
solvency basis (determined using reasonable actuarial assumptions) in compliance with applicable Laws; and (v) is not subject to any pending or, to the
Knowledge of the Company, threatened claims by or on behalf of any participant in any Foreign Plan, or otherwise involving any such Foreign Plan or
the assets of any Foreign Plan, other than routine claims for benefits.

      Section 4.13 Labor Matters. If, and to the extent that, the Company or any of its Subsidiaries is a party to or bound by any works council or
collective bargaining agreement and no employees of the Company or any of its Subsidiaries are represented by a labor organization with respect to their
employment with the Company or any of its Subsidiaries, then, prior to the Closing, the Company will provide a true and complete list of each such
works council or collective bargaining agreement, or labor organization, as applicable. There are no labor related strikes, walkouts or work stoppages
pending or, to the Knowledge of the Company, threatened in writing.

      Section 4.14 Intellectual Property.

              (a) Except as would not have a Company Material Adverse Effect, the Company and its Subsidiaries solely and exclusively own all
patents, trademarks, trade names, copyrights, Internet domain names, service marks, trade secrets and other intellectual property rights (the “Intellectual
Property Rights”) purported to be owned by the Company and its Subsidiaries (the “Company Intellectual Property”), free and clear of all Liens,
except Permitted Liens.
              (b) To the Knowledge of the Company, the conduct of the business of the Company and its Subsidiaries as currently conducted does not
infringe, misappropriate or otherwise violate any Intellectual Property Rights of any other Person, except for any such infringement, misappropriation or
other violation that would not have a Company Material Adverse Effect. To the Knowledge of the Company, no other Person is infringing,
misappropriating or otherwise violating any Company Intellectual Property, except for any such infringement, misappropriation or other violation as
would not have a Company Material Adverse Effect.

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              The Company and its Subsidiaries are in compliance with all applicable Laws, Contracts to which the Company or its Subsidiaries are
bound, and internal- and external-facing policies of the Company or its Subsidiaries, in each case, relating to privacy, data protection, and the collection
and use of information that constitutes “personal information” under applicable Laws (“Personal Information”) collected, used or held for use by the
Company or its Subsidiaries, except where the failure to be in compliance would not have a Company Material Adverse Effect.

              (e) Neither the Company nor any of its Subsidiaries has experienced any unauthorized access to the information technology systems
owned or used by the Company or its Subsidiaries or Personal Information collected, used, held for use or otherwise processed by the Company or its
Subsidiaries, except as would not have a Company Material Adverse Effect.

      Section 4.15 Taxes.
               (a) Except as would not have a Company Material Adverse Effect, (i) the Company and its Subsidiaries have timely filed all Tax Returns
(taking into account any extensions) required to be filed, and such Tax Returns (taking into account all amendments thereto) are complete and accurate,
and (ii) all Taxes required to be paid by the Company and its Subsidiaries have been paid.
               (b) Except as would not have a Company Material Adverse Effect, (i) neither the Company nor any of its Subsidiaries has received written
notice of any audit, examination, investigation or other proceeding from any Governmental Authority in respect of liabilities for Taxes of the Company
or any of its Subsidiaries, which have not been fully paid or settled; (ii) there are no Liens for Taxes on any of the assets of the Company or any of its
Subsidiaries other than Permitted Liens; (iii) with respect to any tax years open for audit as of the date of this Agreement, neither the Company nor any
of its Subsidiaries has granted any waiver of any statute of limitations with respect to, or any extension of a period for the assessment of, any Tax; and
(iv) neither the Company nor any of its Subsidiaries has any liability for the Taxes of any Person (other than the Company and its Subsidiaries) pursuant
to Treasury Regulation Section 1.1502-6 (or any similar provision of state, local or non-U.S. Law) as a transferee or successor, by contract (other than
contracts entered into in the ordinary course of business the primary purpose of which does not relate to Tax) or otherwise by operation of law.
             (c) Neither the Company nor any of its Subsidiaries has engaged in any “listed transaction” as defined in Treasury Regulation
Section 1.6011-4(b)(2) in any tax year for which the statute of limitations has not expired.
             (d) The Company is not nor has been during the applicable period specified in Section 897(c)(1)(A)(ii) of the Code a “United States real
property holding corporation” within the meaning of Section 897(c)(2) of the Code.
             (e) Except with respect to Section 4.12, the representations in this Section 4.15 are the sole and exclusive representations and warranties
concerning Tax matters.

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      Section 4.16 Material Contracts.

             (a) For purposes of this Agreement, “Company Material Contract” means any Contract (other than any Company Benefit Plan) to which
the Company or any of its Subsidiaries is a party or by which their respective properties or assets are bound, except for this Agreement, that constitutes a
“material contract” (as such term is defined in item 601(b)(10) of Regulation S-K of the Securities Act).

               (b) Neither the Company nor any of its Subsidiaries is in breach of or default under the terms of any Company Material Contract where
such breach or default would have a Company Material Adverse Effect. To the Knowledge of the Company, no other party to any Company Material
Contract is in breach of or default under the terms of any Company Material Contract where such breach or default would have a Company Material
Adverse Effect. Each Company Material Contract is a valid and binding obligation of the Company or its Subsidiary and, to the Knowledge of the
Company, the other parties thereto, except such as would not have a Company Material Adverse Effect; provided that (i) such enforcement may be
subject to the Enforceability Exceptions and (ii) the remedies of specific performance and injunctive and other forms of equitable relief may be subject
to equitable defenses and to the discretion of the court before which any proceeding therefor may be brought.

      Section 4.17 RESERVED.

      Section 4.18 RESERVED.

       Section 4.19 Takeover Statutes. Assuming the accuracy of the representation contained in Section 5.8, the Company Board has taken such actions
and votes as are necessary to render the provisions of any “fair price,” “moratorium,” “control share acquisition” or any other takeover or anti-takeover
statute or similar federal or state Law inapplicable to this Agreement, the Merger or any other transactions contemplated by this Agreement.

      Section 4.20 Vote Required. Assuming the accuracy of the representation contained in Section 5.8, the adoption of this Agreement by the
affirmative vote of a majority of the outstanding shares of Company Common Stock entitled to vote to adopt this Agreement (the “Company
Stockholder Approval”) are the only votes of holders of securities of the Company that are required to consummate the Merger.

       Section 4.21 Brokers. Except for Goldman Sachs & Co. LLC (“Goldman Sachs”), J.P. Morgan Securities LLC (“J.P. Morgan”) and Allen &
Company LLC, each of whose fees and expenses shall be borne solely by the Company, no broker, finder, investment banker, consultant or intermediary
is entitled to any investment banking, brokerage, finder’s or similar fee or commission in connection with the Merger or any of the other transactions
contemplated by this Agreement based upon arrangements made by or on behalf of the Company or any of its Subsidiaries.

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       Section 4.22 Opinions of Financial Advisors. The Company Board has received the oral opinion of Goldman Sachs (to be followed by delivery of
a written opinion as of the date hereof), to the effect that, as of such date, and based upon and subject to the limitations, qualifications and assumptions
set forth in the written opinion of Goldman Sachs, the Merger Consideration to be paid to the holders of Company Common Stock (other than the Equity
Investor, Parent and their respective Affiliates) pursuant to this Agreement is fair from a financial point of view to such holders. On or prior to the date
of this Agreement, the Company Board has received the opinion of J.P. Morgan to the effect that, as of the date of such opinion and subject to the
assumptions, limitations, qualifications and other factors set forth therein, the Merger Consideration to be paid to holders of Company Common Stock
pursuant to this Agreement is fair, from a financial point of view, to such holders.

      Section 4.23 Rights Agreement. The Company has taken all action necessary to render the Stockholder Rights Plan, inapplicable to the Merger
and this Agreement and the transactions contemplated hereby.

      Section 4.24 RESERVED.

      Section 4.25 No Other Representations or Warranties. Except for the representations and warranties expressly set forth in this Article IV, neither
the Company nor any other Person makes or has made any representation or warranty of any kind whatsoever, express or implied, at Law or in equity,
with respect to the Company or any of its Subsidiaries or their respective business, operations, assets, liabilities, conditions (financial or otherwise),
notwithstanding the delivery or disclosure to Parent and the Acquisition Sub or any of their Affiliates or Representatives of any documentation, forecasts
or other information with respect to any one or more of the foregoing. Without limiting the generality of the foregoing, neither the Company nor any
other Person makes or has made any express or implied representation or warranty to Parent, Acquisition Sub or any of their respective Representatives
with respect to (a) any financial projection, forecast, estimate or budget relating to the Company, any of its Subsidiaries or their respective businesses or,
(b) except for the representations and warranties made by the Company in this Article IV, any oral or written information presented to Parent,
Acquisition Sub or any of their respective Representatives in the course of their due diligence investigation of the Company, the negotiation of this
Agreement or the course of the Merger, or the accuracy or completeness thereof.


                                                                        ARTICLE V

                               REPRESENTATIONS AND WARRANTIES OF PARENT AND ACQUISITION SUB

       Except as disclosed in the Parent Disclosure Letter, Parent and Acquisition Sub hereby jointly and severally represent and warrant to the Company
as follows:

      Section 5.1 Organization and Qualification.

               (a) Each of Parent and Acquisition Sub is a corporation duly organized, validly existing and (to the extent applicable) in good standing
under the laws of the jurisdiction of its incorporation and has the requisite corporate entity power and authority to conduct its business as it is now being
conducted, except where the failure to be duly organized, validly existing or in good standing or to have such power and authority would not have a
Parent Material Adverse Effect. Each of Parent and Acquisition Sub is duly qualified or licensed to do business and is in good standing in each
jurisdiction in which the nature of the business conducted by it makes such qualification or licensing necessary, except where the failure to be so duly
qualified or licensed and in good standing would not have a Parent Material Adverse Effect.

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              (b) As of the date of this Agreement, the authorized share capital of Acquisition Sub consists of 1,000 shares, $0.01 par value per share, all
of which are validly issued and outstanding. All of the issued and outstanding share capital of Acquisition Sub is, and at the Effective Time will be,
owned by Parent. Acquisition Sub was formed solely for the purpose of acquiring the Company, and it has not conducted any business prior to the date
of this Agreement and has no, and prior to the Effective Time will have no, assets, liabilities or obligations of any nature other than those incident to its
formation and pursuant to this Agreement and the Merger and other transactions contemplated by this Agreement.

              (c) As of the date of this Agreement, all of the issued and outstanding share capital of Parent is owned by the Equity Investor.
      Section 5.2 Authority Relative to Agreement.

              (a) Parent and Acquisition Sub have all necessary corporate power and authority to (a) execute and deliver this Agreement, (b) perform its
covenants and obligations hereunder and (c) consummate the transactions contemplated by this Agreement, including the Merger. The execution,
delivery and performance of this Agreement by Parent and Acquisition Sub, and the consummation by Parent and Acquisition Sub of the transactions
contemplated by this Agreement, including the Merger, have been duly and validly authorized by all necessary corporate action by Parent and
Acquisition Sub, and no other corporate action or proceeding on the part of Parent and Acquisition Sub is necessary to authorize the execution, delivery
and performance of this Agreement by Parent and Acquisition Sub and the consummation by Parent and Acquisition Sub of the transactions
contemplated by this Agreement, including the Merger. This Agreement has been duly executed and delivered by Parent and Acquisition Sub and,
assuming the due authorization, execution and delivery of this Agreement by the other party hereto, constitutes a legal, valid and binding obligation of
Parent and Acquisition Sub, enforceable against Parent and Acquisition Sub in accordance with its terms, except that such enforceability may be subject
to the Enforceability Exceptions.

              (b) The Parent Board has, by resolutions duly adopted by the unanimous vote of the directors, (i) adopted this Agreement and approved the
consummation of the transactions contemplated by this Agreement, including the Merger, and (ii) determined that this Agreement and the transactions
contemplated by this Agreement are advisable and in the best interests of Parent and its stockholders, as applicable. No vote of, or consent by, the
holders of any class or series of capital stock of Parent is necessary to authorize the execution, delivery and performance by Parent of this Agreement
and the consummation of the transactions contemplated by this Agreement or otherwise required by the certificate of incorporation or bylaws of Parent,
applicable Law (including any stockholder approval provisions under the rules of any applicable securities exchange) or any Governmental Authority.

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               (c) The Acquisition Sub Board has, by resolutions duly adopted by the unanimous vote of the directors, (i) authorized the execution and
delivery of this Agreement and declared advisable and approved the consummation of the transactions contemplated by this Agreement, including the
Merger, (ii) directed that this Agreement be submitted for consideration by Acquisition Sub’s sole stockholder and (iii) recommended that the sole
stockholder of Acquisition Sub approve the Merger. Parent, acting in its capacity as the sole stockholder of Acquisition Sub, has approved this
Agreement and the consummation of the transactions contemplated by this Agreement, including the Merger, and no further vote is required.

      Section 5.3 No Conflict; Required Filings and Consents.

                 (a) Neither the execution and delivery of this Agreement by Parent and Acquisition Sub nor the consummation by Parent and Acquisition
Sub of the transactions contemplated by this Agreement will (i) violate any provision of Parent’s or its Subsidiaries’ certificates of incorporation or
bylaws, (ii) assuming that the Consents, registrations, declarations, filings and notices referred to in Section 5.3(b) have been obtained or made, any
applicable waiting periods referred to therein have expired and any condition precedent to any such Consent has been satisfied, conflict with or violate
any Law applicable to Parent or any of its Subsidiaries or by which any property or asset of Parent or any of its Subsidiaries is bound or affected or
(iii) result in any breach of, or constitute a default (with or without notice or lapse of time, or both) under, or give rise to any right of termination,
acceleration or cancellation of any Contract to which Parent or any of its Subsidiaries is a party, or by which any of their respective properties or assets
is bound, other than, in the case of clauses (ii) and (iii), any such conflict, violation, breach, default, termination, acceleration or cancellation that would
not have a Parent Material Adverse Effect.

               (b) No Consent of, or registration, declaration or filing with, or notice to, any Governmental Authority is required to be obtained or made
by or with respect to Parent or any of its Subsidiaries under applicable Law in connection with the execution, delivery and performance of this
Agreement or the consummation of the transactions contemplated by this Agreement, other than (i) the applicable reporting or other requirements of and
filings with the SEC under the Exchange Act (including the filing of the Proxy Statement), (ii) the filing of the Certificate of Merger with the Secretary
of State in accordance with the DGCL and appropriate documents with the relevant authorities of the other jurisdictions in which Parent or any of its
Subsidiaries is qualified to do business, (iii) such filings as may be required in connection with the Taxes described in Section 8.6, (iv) such other items
required solely by reason of the participation of the Company in the transactions contemplated by this Agreement, (v) compliance with and filings or
notifications under the HSR Act, other Antitrust Laws (vi) compliance with and filings or notifications under any Foreign Investment Laws, and
(vii) such other Consents, registrations, declarations, filings or notices the failure of which to be obtained or made would not have a Parent Material
Adverse Effect.

      Section 5.4 Financing. Parent has delivered to the Company true, correct and complete copies of the duly executed (i) debt commitment letter,
dated as of April 25, 2022, among Morgan Stanley Senior Funding, Inc., the other financial institutions party thereto, Parent and Acquisition Sub,
together with true, correct and complete copies of the executed fee letter related thereto (collectively, including all exhibits, schedules and annexes
thereto, the “Bank Debt Commitment Letter”), pursuant to which, and subject to the terms and conditions therein, the Debt Financing Sources party
thereto have committed to lend the amounts set forth therein to Acquisition Sub for the purpose of funding a portion of the amounts required to fund the
transactions contemplated by this Agreement (the “Bank Debt Financing”), (ii) debt commitment letter, dated as of April 25,

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2022, among Morgan Stanley Senior Funding, Inc., the other financial institutions party thereto and X Holdings III, LLC, a Delaware limited liability
company (the “Margin Loan Borrower”), together with true, correct and complete copies of the executed fee letter related thereto (collectively,
including all exhibits, schedules and annexes thereto, the “Margin Loan Commitment Letter” and, together with the Bank Debt Commitment Letter,
the “Debt Commitment Letters”), pursuant to which, and subject to the terms and conditions therein, the Debt Financing Sources party thereto have
committed to lend the amounts set forth therein to the Margin Loan Borrower for the purpose of funding a portion of the amounts required to fund the
transactions contemplated by this Agreement (the “Margin Loan Financing” and, together with the Bank Debt Financing, the “Debt Financing”) and
(iii) an equity commitment letter from the Equity Investor, dated as of the date hereof (including all exhibits, schedules, annexes and amendments
thereto as of the date of this Agreement, the “Equity Commitment Letter” and, together with the Debt Commitment Letters, the “Financing
Commitments”) pursuant to which the Equity Investor has committed to invest the amounts set forth therein (the “Equity Financing” and, together
with the Debt Financing, the “Financing”); provided that the fee and other economic provisions (including “flex” provisions) of fee letters may be
redacted in a customary manner so long as none of the redacted terms would (i) reduce the amount of the Debt Financing below the amount that is
required to pay the Funded Obligations, (ii) impose any new condition or otherwise adversely amend, modify or expand any conditions precedent to the
Debt Financing or (iii) affect the enforceability or impair the validity of, or prevent, impede or delay the consummation of, the Debt Financing at the
Closing. As of the date hereof, each of Parent and Acquisition Sub has accepted and is a party to the Bank Debt Commitment Letter, the Margin Loan
Borrower has accepted and is a party to the Margin Loan Commitment Letter, and the Financing Commitments are in full force and effect and, are legal,
valid and binding obligations of the Equity Investor, Parent and Acquisition Sub or the Margin Loan Borrower, as applicable, and, to the knowledge of
the Equity Investor, Parent, Acquisition Sub and the Margin Loan Borrower, each of the other parties thereto, enforceable in accordance with their
respective terms against the Equity Investor, Parent, Acquisition Sub or the Margin Loan Borrower, as applicable, and, to the knowledge of Parent and
Acquisition Sub, against each of the other parties thereto. As of the date hereof, the Financing Commitments, and the respective commitments or
obligations thereunder, have not been withdrawn, terminated, reduced, repudiated, rescinded, amended, supplemented or modified, in any respect, and
no such withdrawal, termination, reduction, repudiation, rescission, amendment, supplement or modification is contemplated by the Equity Investor,
Parent, Acquisition Sub or the Margin Loan Borrower or, to the knowledge of Parent and Acquisition Sub, any other party thereto. None of the Equity
Investor, Parent, Acquisition Sub, the Margin Loan Borrower nor any of their respective Affiliates has, nor has, to the knowledge of the Equity Investor,
Parent, Acquisition Sub or the Margin Loan Borrower, any other party to the Financing Commitments, committed any breach or threatened breach of the
performance, observance or fulfillment of any covenants, conditions or other obligations set forth in, or is in default under, any of the Financing
Commitments. No event has occurred which, with or without notice, lapse of time or both, would or would reasonably be expected to (i) constitute or
result in a breach or default on the part of Parent, Acquisition Sub, Margin Loan Borrower or any of the other parties thereto (including the Financing
Sources) under the Financing Commitments, (ii) constitute or result in a failure to satisfy a condition or other contingency set forth in the Financing
Commitments, or (iii) otherwise result in any portion of the Debt Financing or the Equity Financing not being available on the Closing Date. None of
the Equity Investor, Parent, Acquisition Sub or the Margin Loan Borrower, nor any

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of their respective Affiliates has any reason to believe (both before and after giving effect to any “flex” provisions contained in the Debt Commitment
Letters) that it will be unable to satisfy, on a timely basis (and in any event, not later than the Closing), any condition to be satisfied by it (or otherwise
within the Equity Investor’s, Parent’s, Acquisition Sub’s or the Margin Loan Borrower’s any of their respective Representatives’ or Affiliates’ control)
contained in the applicable Financing Commitments or that the full amounts committed pursuant to the applicable Financing Commitments will not be
available as of the Closing. There are no conditions precedent or other contingencies or conditions related to the Financing other than those conditions
expressly set forth in the unredacted provisions of the Financing Commitments, and there are no side letters, understandings or other agreements,
Contracts or arrangements of any kind relating to the Financing Commitments or the Financing that could adversely affect the availability,
conditionality, enforceability or amount of the Financing contemplated by the Financing Commitments. As of the date of this Agreement, Parent,
Acquisition Sub, the Margin Loan Borrower and/or their respective Affiliates have fully paid any and all commitment fees or other fees or deposits
required by the applicable Financing Commitments to be paid on or before the date of this Agreement. The aggregate proceeds from the Financing are
sufficient in amount to provide Parent and Acquisition Sub with the funds necessary to consummate the transactions contemplated hereby and to satisfy
their obligations under this Agreement, including for Parent to pay (or cause to be paid) the aggregate amounts payable pursuant to Article II and the
payment of all fees, costs and expenses to be paid by Parent related to the transactions contemplated by this Agreement, including such fees, costs and
expenses relating to the Financing, and payment of all amounts in connection with the refinancing or repayment of any outstanding indebtedness of the
Company required by this Agreement or the Financing Commitments (collectively, the “Funding Obligations”). Notwithstanding anything contained in
this Agreement to the contrary, the Equity Investor, Parent and Acquisition Sub each acknowledge and affirm that it is not a condition to the Closing or
to any of its obligations under this Agreement that the Equity Investor, Parent, Acquisition Sub and/or any of their respective Affiliates obtain any
financing (including the Debt Financing) for any of the transactions contemplated by this Agreement. As of the date of this Agreement, the Equity
Investor owns, directly or indirectly, all the issued and outstanding capital stock and other equity interests of the Margin Loan Borrower.

       Section 5.5 Information Supplied. None of the information supplied or required to be supplied by or on behalf of Parent or any of its
Representatives expressly for inclusion or incorporation by reference in the Proxy Statement shall, at the time it is first mailed to the Company’s
stockholders and at the time of the Company Stockholders’ Meeting to be held in connection with the Merger, contain any untrue statement of material
fact or omit to state any material fact required to be stated therein or necessary to make the statements therein, in light of the circumstances under which
they were made, not misleading.

      Section 5.6 Brokers. Except for Morgan Stanley & Co. LLC, Bank of America Merrill Lynch and Barclays, each of whose fees and expenses shall
be borne solely by Parent, no broker, finder, investment banker, consultant or intermediary is entitled to any investment banking, brokerage, finder’s or
similar fee or commission in connection with the Merger or any of the other transactions contemplated by this Agreement based upon arrangements
made by or on behalf of Parent, Acquisition Sub, or any of their respective Subsidiaries.

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      Section 5.7 Compliance With Laws.

              (a) Neither the Parent, Acquisition Sub nor any of their Affiliates is in default or violation of any applicable Law, except for any such
defaults or violations that would not have a Parent Material Adverse Effect.

              (b) As of the date of this Agreement, there is no suit, action or proceeding pending or, to the knowledge of Parent, threatened in writing
against Parent, Acquisition Sub or any of their Affiliates, that would have a Parent Material Adverse Effect, nor is there any judgment of any
Governmental Authority outstanding against, or, to the knowledge of Parent, investigation by any Governmental Authority involving Parent, Acquisition
Sub or any of their Affiliates or any of the transactions contemplated hereby that would have a Parent Material Adverse Effect.

       Section 5.8 Ownership of Company. As of the date hereof, the Equity Investor, Parent and Acquisition Sub beneficially own, in the aggregate,
73,115,038 shares of Company Common Stock (the “Parent Owned Shares”). None of Parent, Acquisition Sub or any of their respective directors,
officers, general partners or Affiliates has been an “interested stockholder” (as defined in Section 203 of the DGCL) of the Company, in each case during
the three years prior to the date of this Agreement.

       Section 5.9 Solvency. Neither Parent nor Acquisition Sub is entering into this Agreement with the actual intent to hinder, delay or defraud either
present or future creditors of the Company or any of its Subsidiaries. Parent is Solvent as of the date of this Agreement, and each of Parent and the
Company and its Subsidiaries (on a consolidated basis) will, after giving effect to the Merger or any other transaction contemplated by this Agreement,
including the funding of the Financing, payment of the Funding Obligations, and payment of all other amounts required to be paid in connection with
the consummation of the Merger or any other transaction contemplated by this Agreement and the payment of all related fees and expenses, be Solvent
at and immediately after the Closing. As used in this Section 5.8, the term “Solvent” shall mean, with respect to a particular date, that on such date,
(a) the sum of the assets, at a fair valuation, of Parent and, after the Closing, Parent and the Surviving Corporation and its Subsidiaries (on a
consolidated basis) and each of them (on a stand-alone basis) will exceed their debts, (b) Parent and, after the Closing, Parent and the Surviving
Corporation and its Subsidiaries (on a consolidated basis) and each of them (on a stand-alone basis) has not incurred and does not intend to incur, and
does not believe that it will incur, debts beyond its ability to pay such debts as such debts mature, and (c) Parent has and, after the Closing, the Surviving
Corporation and its Subsidiaries (on a consolidated basis) and of each of them (on a stand-alone basis) will have, sufficient capital and liquidity with
which to conduct its business. For purposes of this Section 5.8, “debt” means any liability on a claim, and “claim” means any (i) right to payment,
whether or not such a right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured or unsecured, and (ii) any right to an equitable remedy for breach of performance if such breach gives rise to a payment, whether or
not such right to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or unsecured.

       Section 5.10 Parent Guarantee. Parent has furnished the Company with a true, complete and correct copy of the Parent Guarantee. The Parent
Guarantee is in full force and effect and has not been amended, modified or terminated. The Parent Guarantee is a (i) legal, valid and binding obligation
of the Guarantor and of each of the parties thereto and (ii) enforceable in accordance with its respective terms against the Guarantor and each of the
other parties thereto. There is no default under the Parent Guarantee by the Guarantor, and no event has occurred that with the lapse of time or the giving
of notice or both would constitute a default thereunder by the Guarantor.

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       Section 5.11 Acknowledgment of Disclaimer of Other Representations and Warranties. Except for the representations and warranties expressly set
forth in this Article V, in the Equity Commitment Letter and in the Guarantee none of Parent, Acquisition Sub or any other Person makes or has made
any representation or warranty of any kind whatsoever, express or implied, at Law or in equity, with respect to Parent or Acquisition Sub or their
Affiliates or their respective business, operations, assets, liabilities, conditions (financial or otherwise), notwithstanding the delivery or disclosure to the
Company or any of its Affiliates or Representatives of any documentation, forecasts or other information with respect to any one or more of the
foregoing. Each of Parent and Acquisition Sub has conducted, to its satisfaction, its own independent investigation, review and analysis of the business,
results of operations, prospects, condition (financial or otherwise) or assets of the Company and its Subsidiaries. In making its determination to proceed
with the transactions contemplated by this Agreement, including the Merger, each of Parent and Acquisition Sub has relied solely on the results of its
own independent review and analysis and the covenants, representations and warranties of the Company contained in this Agreement. Parent and
Acquisition Sub hereby acknowledge that, notwithstanding anything contained in this Agreement to the contrary, (i) neither the Company nor any of its
Subsidiaries, nor any other Person, makes or has made or is making any express or implied representation or warranty with respect to the Company or
any of its Subsidiaries or their respective business or operations, in each case, other than those expressly given solely by the Company in Article IV; and
(ii) neither Parent nor Acquisition Sub is relying on any express or implied representation or warranty, or the accuracy or the completeness of the
representations and warranties set forth in Article IV, with respect to the Company or any of its Subsidiaries or their respective business or operations, in
each case, other than those expressly given solely by the Company in Article IV.


                                                                        ARTICLE VI

                                                           COVENANTS AND AGREEMENTS

       Section 6.1 Conduct of Business by the Company Pending the Merger. The Company covenants and agrees that, between the date of this
Agreement and the earlier of the Effective Time and the date, if any, on which this Agreement is terminated pursuant to Section 8.1, except (a) as may be
required by Law, (b) as may be agreed to in writing by Parent (which consent shall not be unreasonably withheld, delayed or conditioned), (c) as may be
expressly required or permitted pursuant to this Agreement, or (d) as set forth in Section 6.1 of the Company Disclosure Letter, (x) the Company shall
use its commercially reasonable efforts to conduct the business of the Company and its Subsidiaries in the ordinary course of business (except with
respect to actions or omissions that constitute COVID-19 Measures), and to the extent consistent therewith, the Company shall use its commercially
reasonable efforts to preserve substantially intact the material components of its current business organization, and to preserve in all material respects its
present relationships with key customers, suppliers and other Persons with which it has material business relations; provided that no action by the
Company or its Subsidiaries with respect to the matters specifically addressed by any provision of this Section 6.1 shall be deemed a breach of this
sentence, unless such action would constitute a breach of such relevant provision; and (y) the Company shall not, and shall not permit any of its
Subsidiaries to (except for actions or omissions that constitute COVID-19 Measures, following reasonable prior consultation with Parent):

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              (a) amend or otherwise change, in any material respect, the Company Certificate of Incorporation or the Company Bylaws (or, except in
the ordinary course of business, such equivalent organizational or governing documents of any of its Subsidiaries);

              (b) split, combine, reclassify, redeem, repurchase or otherwise acquire or amend the terms of any capital stock or other equity interests or
rights (except in connection with (i) the acceptance of shares of Company Common Stock as payment for the per share exercise price of the Company
Options or as payment for Taxes incurred in connection with the exercise, vesting and/or settlement of Company Equity Awards, in each case, in
accordance with the applicable Company Benefit Plan, (ii) the forfeiture of Company Equity Awards), (iii) pursuant to the exercise of purchase rights
under the Company ESPP or (iv) pursuant to other than the Company ASR Confirmations and the Company Bond Hedge Transactions;

              (c) except as permitted pursuant to Section 6.1(f), issue, sell, pledge, dispose, encumber or grant any shares of its or its Subsidiaries’
capital stock or other equity interests, or any options, warrants, convertible securities or other rights of any kind to acquire any shares of its or its
Subsidiaries’ capital stock or equity interests except for transactions among the Company and its direct or indirect wholly owned Subsidiaries or among
the Company’s direct or indirect wholly owned Subsidiaries; provided, however, that the Company may issue shares of Company Common Stock upon
the exercise of any Vested Company Option or payment of any other Company Equity Award that becomes vested, pursuant to the exercise of purchase
rights under the Company ESPP or to satisfy any obligations under the Existing Convertible Notes;

               (d) other than any shares of the Company Common Stock issuable upon conversion of any series of Existing Convertible Notes in
accordance with their terms, authorize, declare, pay or make any dividend or other distribution, payable in cash, stock, property or otherwise, with
respect to the Company’s or any of its Subsidiaries’ capital stock or other equity interests, other than dividends paid by any Subsidiary of the Company
to the Company or any wholly owned Subsidiary of the Company;

               (e) except as required pursuant to existing Company Benefit Plans, (i) increase the compensation payable or to become payable or benefits
provided or to be provided to any Company Service Provider except for increases in cash compensation or benefits to Company Service Providers in the
ordinary course of business consistent with past practice, (ii) grant or provide any severance or termination payments or benefits to any Company
Service Provider other than the payment of severance amounts or benefits in the ordinary course of business consistent with past practice and subject to
the execution and non-revocation of a release of claims in favor of the Company and its Subsidiaries, (iii) provide any obligation to gross-up, indemnify
or otherwise reimburse any Company Service Provider for any Tax incurred by any such individual, including under Section 409A or 4999 of the Code,
(iv) accelerate the time of payment or vesting of, or the lapsing of restrictions related to, or fund or otherwise secure the payment of, any compensation
or benefits (including any equity or equity-based awards) to any Company Service Provider, or (v) establish, amend or terminate any Company Benefit
Plan (or any plan, program, arrangement or agreement that would be a Company Benefit Plan if it were in existence on the

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date hereof) other than (x) entry into, amendment or termination of any Company Benefit Plan in a manner that would not materially increase costs to
the Company, Parent or the Surviving Corporation or any of their affiliates, or materially increase the benefits provided under any Company Benefit
Plan or (y) new hire offer letters entered into in the ordinary course and consistent with past practices;

               (f) except in the ordinary course of business and consistent with past practice (including with regard to aggregate grant date value, terms
and allocation) or as may be required by the terms of a Company Benefit Plan in effect as of the date hereof, grant, confer or award any Company
Equity Awards or other equity-based awards, convertible securities or any other rights to acquire any of its or its Subsidiaries’ capital stock, whether
settled in cash or shares of Company Common Stock;

              (g) unless required by Law or pursuant to existing written Company Benefit Plans, (i) enter into or materially amend any collective
bargaining or other labor agreement with any labor organization or (ii) recognize or certify any labor organization or group of employees as the
bargaining representative for any employees of the Company or any of its Subsidiaries;

               (i) (i) acquire (including by merger, consolidation, or acquisition of stock or assets), except in respect of any merger, consolidation,
business combination among the Company and its wholly owned Subsidiaries or among the Company’s wholly owned Subsidiaries, any corporation,
partnership, limited liability company, other business organization or any division or material amount of assets thereof, or (ii) sell, lease, license,
abandon or otherwise subject to a Lien other than a Permitted Lien or otherwise dispose of any material properties, rights or assets of the Company or its
Subsidiaries other than (A) sales of inventory in the ordinary course of business, (B) licenses of Company Intellectual Property in the ordinary course of
business, or (C) pursuant to agreements existing as of the date of this Agreement or entered into after the date of this Agreement in accordance with the
terms of this Agreement;

                (j) incur, or amend in any material respect the terms of, any indebtedness for borrowed money for any of its Subsidiaries, or assume or
guarantee any such indebtedness for any Person (other than a Subsidiary), except for indebtedness incurred (i) under the Company’s existing credit
facilities or incurred to replace, renew, extend, refinance or refund any existing indebtedness of the Company or its Subsidiaries on terms and conditions
not materially less favorable to the Company and its Subsidiaries than, taken as a whole, the terms or conditions of the replaced, renewed, extended,
refinanced or refunded debt or otherwise are not inconsistent with prevailing market conditions for substantially similar indebtedness at such time, as
determined by the Company in good faith, (ii) pursuant to other agreements in effect prior to the execution of this Agreement, (iii) under capital leases,
purchase money financing, equipment financing and letters of credit in the ordinary course of business, (iv) between or among the Company and/or any
of its Subsidiaries or (v) otherwise in the ordinary course of business;

             (k) enter into, or amend in any material respect, any Company Material Contract with a term longer than one (1) year which cannot be
terminated without material penalty upon notice of ninety (90) days or less other than (x) in the ordinary course of business or (y) which would not have
a Company Material Adverse Effect;

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              (l) make any material change to its methods of accounting in effect at December 31, 2021, except (i) as required by GAAP (or any
interpretation thereof), Regulation S-X or a Governmental Authority or quasi-Governmental Authority (including the Financial Accounting Standards
Board or any similar organization), (ii) to permit the audit of the Company’s financial statements in compliance with GAAP, (iii) as required by a change
in applicable Law, (iv) as disclosed in the Company SEC Documents or (v) to the extent that such change would not have a Company Material Adverse
Effect;

              (m) make or change any Tax election or accounting method, settle or compromise any Tax claim or assessment, file any amended Tax
Return, or consent to any extension or waiver of any limitation period with respect to any Tax claim or assessment, except, in each case, that would not
have a Company Material Adverse Effect;

             (n) solely with respect to the Company, adopt or enter into a plan of complete or partial liquidation or dissolution;

             (o) settle or compromise any litigation other than (i) in the ordinary course of business or (ii) settlements or compromises of litigation
where the amount paid (less the amount reserved for such matters by the Company or otherwise covered by insurance) in settlement or compromise, in
each case, does not exceed $25 million;

              (p) adopt a stockholder rights plan (or other similar agreement, plan or arrangement having a similar intent, purpose or effect) that would
be triggered (or whose rights would be affected in any way) by the consummation of the transactions contemplated hereby, including the Merger; or

             (q) except as otherwise permitted by clauses (a) through (p) above, enter into any agreement to do any of the foregoing.

      Section 6.2 Preparation of the Proxy Statement; Company Stockholders’ Meeting.

               (a) As promptly as reasonably practicable after the date of this Agreement, (i) the Company shall prepare the Proxy Statement, (ii) Parent
and Acquisition Sub shall furnish to the Company all information concerning themselves and their Affiliates that is required to be included in the Proxy
Statement and shall promptly provide such other assistance in the preparation of the Proxy Statement as may be reasonably requested by the Company
from time to time, and (iii) subject to the receipt from Parent and Acquisition Sub of the information described in clause (ii) above, the Company shall
file the Proxy Statement with the SEC. The Company shall, as promptly as practicable after receipt thereof, provide Parent with copies of any written
comments, and advise Parent of any oral comments, with respect to the Proxy Statement received from the SEC. The Company shall use its reasonable
best efforts (with the assistance of, and after consultation with, Parent as provided by this Section 6.2(a)) to respond as promptly as reasonably
practicable to any comments from the SEC with respect to the Proxy Statement. No filing or mailing of, or amendment or supplement to, the Proxy
Statement will be made by the Company without providing Parent a reasonable opportunity to review and comment thereon (which comments shall be
considered by the Company in good faith) (except as required by applicable Law or in connection with and an Adverse Board Recommendation Change.

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               (b) If, at any time prior to the Company Stockholders’ Meeting, any information relating to Parent, Acquisition Sub or the Company, or
any of their respective Affiliates, officers or directors, is discovered by Parent, Acquisition Sub or the Company that should be set forth in an amendment
or supplement to the Proxy Statement so that the Proxy Statement shall not contain an untrue statement or omit to state any material fact required to be
stated therein or necessary to make the statements therein (in light of the circumstances under which they were made) not misleading, the party that
discovers such information shall promptly notify the other parties hereto, and, to the extent required by Law, an appropriate amendment or supplement
describing such information shall be promptly filed with the SEC and disseminated to the Company’s stockholders in accordance with applicable Law.

              (c) The Company shall, as promptly as practicable following the date on which the SEC confirms that it has no further comments on the
Proxy Statement, (i) establish a record date, for and give notice of a meeting of its stockholders, for the purpose of voting upon the approval of the
Merger, holding the Company Stockholder Advisory Vote and voting on customary matters of procedure (together with any postponement, adjournment
or other delay thereof, the “Company Stockholders’ Meeting”), (ii) cause the Proxy Statement to be mailed to the Company’s stockholders as of the
record date established for the Company Stockholders’ Meeting and (iii) duly call, convene and hold the Company Stockholders’ Meeting; provided that
the Company may postpone or adjourn the Company Stockholders’ Meeting (on one or more occasions) (A) with the consent of Parent and Acquisition
Sub, (B) for the absence of a quorum, (C) to allow reasonable additional time for any supplemental or amended disclosure that the Company has
determined in good faith is necessary under applicable Law and for such supplemental or amended disclosure to be disseminated and reviewed by the
Company’s stockholders prior to the Company Stockholders’ Meeting, (D) to allow additional solicitation of votes in order to obtain the Company
Stockholder Approval or (E) if required by applicable Law. Subject to the right of the Company Board to make an Adverse Board Recommendation
Change pursuant to Section 6.5, Company Board Recommendation include the Company Board Recommendation in the Proxy Statement, and, unless
there has been an Adverse Board Recommendation Change pursuant to Section 6.5, the Company shall use commercially reasonable efforts to solicit
proxies in favor of the Company Stockholder Approval at the Company Stockholders’ Meeting.

                (d) The Equity Investor, Parent and Acquisition Sub shall not sell or dispose any shares of Company Common Stock while this Agreement
is in effect, and shall cause their controlled Affiliates to, cause Parent Owned Shares and all other shares of Company Common Stock beneficially as of
the record date for the Company Stockholder Meeting owned by them to be (A) present at the Company Stockholder Meeting for quorum purposes; and
(B) voted at the Company Stockholder Meeting in favor of the adoption of this Agreement.

      Section 6.3 Efforts to Close; Regulatory Filings.

               (a) Subject to the terms and conditions of this Agreement (including the limitations set forth in Section 6.5), the parties hereto will use
their respective reasonable best efforts to consummate and make effective the transactions contemplated by this Agreement and to cause the conditions
to the Merger set forth in Article VII to be satisfied, including using reasonable best efforts to accomplish the following: (i) the obtaining of all necessary
actions or

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non-actions, Consents and approvals from Governmental Authorities necessary in connection with the consummation of the transactions contemplated
by this Agreement, including the Merger, and the making of all necessary registrations and filings (including filings with Governmental Authorities, if
any) and the taking of all reasonable steps as may be necessary to obtain an approval from, or to avoid an action or proceeding by, any Governmental
Authority necessary in connection with the consummation of the transactions contemplated by this Agreement, including the Merger; (ii) the obtaining
of all other necessary Consents, approvals or waivers from Third Parties; (iii) the defending of any lawsuits or other legal proceedings through the
Termination Date, whether judicial or administrative, challenging this Agreement or the consummation of the transactions contemplated by this
Agreement, including the Merger, performed or consummated by such party in accordance with the terms of this Agreement, including seeking to have
any stay or temporary restraining order entered by any court or other Governmental Authority vacated or reversed; and (iv) the execution and delivery of
any additional instruments reasonably necessary to consummate the Merger and any other transactions to be performed or consummated by such party in
accordance with the terms of this Agreement and to carry out fully the purposes of this Agreement. Each of the parties hereto shall (x) promptly (and in
no event later than ten (10) Business Days following the date that this Agreement is executed) make its respective filings under the HSR Act, and (y) as
promptly as reasonably practicable, make any other applications and filings as are mutually agreed by Parent and the Company, acting reasonably, to be
(i) material and (ii) required or advisable under any Antitrust Laws or Foreign Investment Laws with respect to the transactions contemplated by this
Agreement, including the Merger. Notwithstanding anything in this Agreement to the contrary, except as expressly provided in Section 7.1(b) or
Section 7.1(c), obtaining any Consent of any Third Party, approvals or waivers referenced in this Section 6.3(a) above or otherwise shall not be
considered a condition to the obligations of Parent and Acquisition Sub to consummate the Merger.

               (b) The Equity Investor, Parent and Acquisition Sub agree to take promptly any and all steps necessary to avoid or eliminate each and
every impediment and obtain all Consents, actions, non-actions, approvals or waivers (or, as applicable, expiration or termination of the waiting periods
with respect thereto) under any Antitrust Laws, Foreign Investment Laws (or, as applicable, expiration or termination of the waiting periods with respect
thereto) or other Law that may be required by any foreign or U.S. federal, state or local Governmental Authority, in each case, with competent
jurisdiction, so as to enable the parties to consummate the transactions contemplated by this Agreement, including the Merger, as promptly as
practicable, but prior to the Termination Date, including committing to or effecting, by consent decree, hold separate orders, trust, or otherwise, (i) the
sale or other disposition of such assets or businesses as are required to be divested or (ii) the acceptance of restrictions on freedom of action, conduct, or
operations with respect to the business of Company, in the case of the foregoing clauses (i) or (ii) in order to avoid the entry of, or to effect the
dissolution of or vacate or lift, any Order, that would otherwise have the effect of preventing or materially delaying the consummation of the Merger and
the other transactions contemplated by this Agreement as promptly as practicable. Further, the Equity Investor, Parent and Acquisition Sub will take
such actions as are necessary in order to ensure that (x) no requirement for any non-action by, or Consent or approval of, any foreign or U.S. federal,
state or local Governmental Authority, (y) no decree, judgment, injunction, temporary restraining order or any other Order in any suit or proceeding and
(z) no other matter relating to any Antitrust Laws or Foreign Investment Laws, would preclude consummation of the Merger by the Termination Date.
Notwithstanding the foregoing, nothing in Section 6.3(a), Section 6.3(b)

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(including with respect to the foregoing clauses (i) and (ii)), or any other part of this Agreement shall require or obligate Parent, Acquisition Sub, or any
of their respective Affiliates to (xx) propose, take, or agree to take any actions that would individually or in the aggregate have a material adverse effect
on the business, assets, or financial condition of the Company and its Subsidiaries, taken as a whole or (yy) propose, negotiate, effect or agree to, the
sale, divestiture, lease, license, hold separate, transfer, or disposition of, or any restriction on the freedom of action with respect to, any assets, business,
or equity holdings of, or held or controlled directly or indirectly by, Equity Investor or any Affiliate of Parent (other than Parent, Acquisition Sub or
Company after giving effect to the Merger and subject to the restrictions in subpart (xx) of this paragraph).

               (c) Each of the parties hereto will furnish to the other such necessary information and reasonable assistance as the other may reasonably
request in connection with the preparation of any required governmental filings or submissions and will cooperate in responding to any inquiry from a
Governmental Authority, including (i) promptly informing the other party of such inquiry, (ii) consulting in advance before making any presentations or
submissions to a Governmental Authority, (iii) cooperating in the filing of any analyses, presentations, memoranda, briefs, arguments, opinions or other
written communications explaining or defending the Merger, articulating any regulatory or competitive argument or responding to requests or objections
made by any Governmental Authority, (iv) providing each other with a reasonable advance opportunity to review and comment upon, and consider in
good faith the views of the other with respect to, all material written communications (including applications, analyses, presentations, memoranda,
briefs, arguments and opinions) with a Governmental Authority regarding the Merger or any other transactions, (v) giving the other party the opportunity
to attend and participate in any substantive meetings or discussions with any Governmental Authority, to the extent reasonably practical and not
prohibited by such Governmental Authority, and (vi) supplying each other with copies of all material correspondence, or communications between any
party and any Governmental Authority with respect to this Agreement (provided that such materials may be limited to counsel as required or advisable
under applicable Law and may be redacted to remove valuation material). The parties agree that Parent shall control the strategy for all filings,
notifications, submissions, and communications, proposals and litigation in connection with any filing, notice, petition, statement, registration,
submission of information, application or similar filing under the Antitrust Laws after consulting with, and considering in good faith the view of the
Company relating to such strategy.

       Section 6.4 Access to Information; Confidentiality. Upon reasonable notice, the Company shall (and shall cause each of its Subsidiaries to) afford
to the representatives, officers, directors, employees, agents, attorneys, accountants and financial advisors (“Representatives”) of Parent reasonable
access (at Parent’s sole cost and expense), in a manner not disruptive in any material respect to the operations of the business of the Company and its
Subsidiaries, during normal business hours and upon reasonable written notice throughout the period commencing on the date of this Agreement until
the earlier of the Effective Time and the termination of this Agreement pursuant to Article VIII, to the properties, books and records of the Company and
its Subsidiaries and, during such period, shall (and shall cause each of its Subsidiaries to) furnish promptly to such Representatives all information
concerning the business, properties and personnel of the Company and its Subsidiaries as may reasonably be requested in writing, in each case, for any
reasonable business purpose related to the consummation of the transactions contemplated by this Agreement; provided, however, that nothing herein
shall require the

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Company or any of its Subsidiaries to disclose any information to Parent or Acquisition Sub if such disclosure would, in the reasonable judgment of the
Company, (i) cause significant competitive harm to the Company or its Subsidiaries if the transactions contemplated by this Agreement are not
consummated, (ii) violate applicable Law or the provisions of any agreement to which the Company or any of its Subsidiaries is a party, or
(iii) jeopardize any attorney-client or other legal privilege. No investigation or access permitted pursuant to this Section 6.4 shall affect or be deemed to
modify any representation or warranty made by the Company hereunder. Each of Parent and Acquisition Sub agrees that it will not, and will cause its
Representatives not to, use any information obtained pursuant to this Section 6.4 (or otherwise pursuant to this Agreement) for any competitive or other
purpose unrelated to the consummation of the transactions contemplated by this Agreement. Parent will use its reasonable best efforts to minimize any
disruption to the respective business of the Company and its Subsidiaries that may result from requests for access under this Section 6.4 and,
notwithstanding anything to the contrary herein, the Company may satisfy its obligations set forth above by electronic means if physical access is not
reasonably feasible or would not be permitted under applicable Law as a result of COVID-19 or any COVID-19 Measures. Prior to any disclosure, the
Company and Parent shall enter into a customary confidentiality agreement with respect to any information obtained pursuant to this Section 6.4 (or
otherwise pursuant to this Agreement).

      Section 6.5 Non-Solicitation; Competing Proposals.

               (a) From the date of this Agreement until the earlier of the Effective Time or the date, if any, on which this Agreement is terminated
pursuant to Section 8.1, the Company shall, and shall cause each of its directors, executive officers and Subsidiaries to, and shall instruct its other
Representatives to, immediately cease and cause to be terminated any existing solicitation of, or discussions or negotiations with, any Third Party
relating to any Competing Proposal, and the Company further agrees that it shall promptly request that all non-public information previously provided in
the past twelve (12) months by or on behalf of the Company or any of its Subsidiaries to any Persons that might reasonably be expected to consider
making a Competing Proposal be promptly returned or destroyed in accordance with the terms of the applicable confidentiality agreement. Except as
otherwise provided in this Section 6.5, from the date of this Agreement until the earlier of the Effective Time or the date, if any, on which this
Agreement is terminated pursuant to Section 8.1, the Company shall not, shall cause each of its directors, executive officers and Subsidiaries not to, and
shall instruct its other Representatives not to, (i) solicit, initiate, knowingly encourage or knowingly facilitate, whether publicly or otherwise, any
substantive discussion, offer or request that constitutes, or would reasonably be expected to lead to, a Competing Proposal and (ii) engage in
negotiations or substantive discussions with (it being understood that the Company may inform Persons of the provisions contained in this Section 6.5),
or furnish any material non-public information to, any Person relating to a Competing Proposal or any inquiry or proposal that would reasonably be
expected to lead to a Competing Proposal; provided that, notwithstanding the foregoing, the Company shall be permitted to grant a waiver of or
terminate any “standstill” or similar obligation of any Person with respect to the Company or any of its Subsidiaries to allow such Person to submit a
Competing Proposal.

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              (b) From the date of this Agreement until the earlier of the Effective Time or the date, if any, on which this Agreement is terminated
pursuant to Section 8.1, as promptly as reasonably practicable, and in any event within one (1) Business Day of receipt by the Company or any of its
directors, executive officers or Subsidiaries of any Competing Proposal or any request that would reasonably be expected to lead to the making of a
Competing Proposal, the Company shall deliver to Parent a written notice setting forth: (i) the identity of the Person making such Competing Proposal
or request; and (ii) the material terms and conditions of any such Competing Proposal. The Company shall keep Parent reasonably informed of any
material amendment or other modification of any such Competing Proposal or request on a prompt basis, and in any event within two (2) Business Days
following the Company’s receipt in writing of such an amendment or modification.

               (c) Notwithstanding anything to the contrary in this Agreement, at any time prior to obtaining the Company Stockholder Approval, in the
event that the Company receives a Competing Proposal from any Person or group of Persons, (i) the Company and its Representatives may contact such
Person to clarify the terms and conditions thereof and (ii) the Company, the Company Board and their respective Representatives may engage in
negotiations or discussions with, or furnish any information and other access to, any Person or group of Persons making such Competing Proposal and
any of its Representatives or potential sources of financing if the Company Board determines in good faith (after consultation with its legal counsel and
financial advisors) that such Competing Proposal either constitutes a Superior Proposal or would reasonably be expected to result in a Superior
Proposal; provided that (x) prior to furnishing any material non-public information concerning the Company or its Subsidiaries, the Company receives
from such Person or group, to the extent that such Person or group is not already subject to a confidentiality agreement with the Company, an executed
confidentiality agreement containing customary confidentiality terms, it being understood that such confidentiality agreement need not contain a
standstill provision or otherwise restrict the making, or amendment, of a Competing Proposal (and related communications) to the Company or the
Company Board (such confidentiality agreement, an “Acceptable Confidentiality Agreement”) and (y) any such material non-public information so
furnished in writing shall be promptly made available to Parent to the extent that it was not previously made available to Parent or its Representatives.
For the avoidance of doubt, none of (A) the determination, in itself with no further action, by the Company Board that a Competing Proposal either
constitutes a Superior Proposal or would reasonably be expected to result in a Superior Proposal or (B) the public disclosure, in itself, of such
determination will constitute an Adverse Board Recommendation Change or violate this Section 6.5.

              (d) Except as otherwise provided in this Agreement, the Company Board shall not (i) (A) publicly recommend that the Company’s
stockholders vote against the adoption of this Agreement and the approval of the transactions contemplated by this Agreement, including the Merger, or
make any public statement or knowingly take any action with a similar intent, purpose or effect, or (B) approve or recommend, or propose publicly to
approve or recommend, to the Company’s stockholders any Competing Proposal (any action described in this clause (i) being referred to as an “Adverse
Board Recommendation Change”), or (ii) approve or recommend, or allow the Company or any of its Subsidiaries to execute or enter into, any letter
of intent, memorandum of understanding or definitive merger or similar agreement with respect to any Competing Proposal (other than an Acceptable
Confidentiality Agreement). Notwithstanding anything in this Agreement to the contrary, at any time prior to receipt of the Company Stockholder
Approval, the Company Board may (i) make an Adverse Board Recommendation Change in response to an event, occurrence, change, effect, condition,
development or state of facts or circumstances (other than related to a Competing Proposal or Superior Proposal, or any proposal

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that constitutes or would reasonably be expected to lead to a Competing Proposal or Superior Proposal) that was neither known to, nor reasonably
foreseeable by, the Company Board as of the date of this Agreement (or, if known, the consequences of which were not known or reasonably foreseeable
to the Company Board as of the date of this Agreement) (an “Intervening Event”) (where, for the avoidance of doubt, (x) the fact, in itself, that the
Company meets or exceeds projections, forecasts or estimates (it being understood that the underlying causes of (or contributors to) such performance
that are not otherwise excluded from the definition of Intervening Event may be taken into account) and (y) changes, in themselves, in the price of the
Company Common Stock or the trading volume thereof shall be considered known and reasonably foreseeable occurrences (it being understood that the
underlying causes of (or contributors to) such changes in price or trading volume that are not otherwise excluded from the definition of Intervening
Event may be taken into account)) if the Company Board has determined in good faith (after consultation with its legal counsel and financial advisors)
that the failure to take such action would reasonably be expected to be inconsistent with the Company’s directors’ fiduciary duties under applicable Law;
or (ii) (x) make an Adverse Board Recommendation Change if the Company has received a Competing Proposal that the Company Board has
determined in good faith (after consultation with its legal counsel and financial advisors) constitutes a Superior Proposal, and (y) authorize, adopt or
approve such Superior Proposal and cause or permit the Company to enter into a definitive agreement with respect to such Superior Proposal
substantially concurrently with the termination of this Agreement pursuant to Section 8.1(c)(ii); provided, however, that (1) no Adverse Board
Recommendation Change may be made and no termination of this Agreement pursuant to this Section 6.5(d) and Section 8.1(c)(ii) may be effected, in
each case, until the end of the fourth (4th) full Business Day following Parent’s receipt of a written notice from the Company advising Parent that the
Company Board intends to make an Adverse Board Recommendation Change (a “Notice of Adverse Board Recommendation Change”) or terminate
this Agreement pursuant to this Section 6.5(d) and Section 8.1(c)(ii) (a “Notice of Superior Proposal”); and (2) during such period, if requested by
Parent, the Company and its Representatives shall negotiate with Parent and its Representatives in good faith (to the extent Parent so desires to
negotiate) to make adjustments to the terms and conditions of this Agreement so that either the failure to make an Adverse Board Recommendation
Change in response to such Intervening Event would no longer reasonably be expected to be inconsistent with the Company’s directors’ fiduciary duties
under applicable Law or such Competing Proposal would cease to constitute a Superior Proposal, as appropriate, and (3) in determining whether to
make such Adverse Board Recommendation Change or terminate this Agreement pursuant to this Section 6.5(d) and Section 8.1(c)(ii), the Company
Board shall take into account any changes to the terms of this Agreement timely proposed by Parent in response to a Notice of Adverse
Recommendation or a Notice of Superior Proposal (as may be extended). Any material amendment to the financial terms or any other material
amendment of such Superior Proposal shall require a new Notice of Superior Proposal and the Company shall be required to comply again with the
requirements of this Section 6.5(d) with respect to such new Superior Proposal; provided that the new notice period shall be three (3) Business Days. For
the avoidance of doubt, none of (A) the delivery, in itself, of a Notice of Adverse Board Recommendation or a Notice of Superior Proposal or (B) the
public disclosure, in itself, of such delivery will constitute an Adverse Board Recommendation Change or violate this Section 6.5.

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               (f) Nothing in this Agreement shall restrict the Company or the Company Board from taking or disclosing a position contemplated by Rule
14d-9 or Rule 14e-2(a) under the Exchange Act, or otherwise making disclosure to comply with applicable Law (it being agreed that a “stop, look and
listen” communication by the Company Board to the Company’s stockholders pursuant to Rule 14d-9(f) under the Exchange Act or a factually accurate
public statement by the Company that describes the Company’s receipt of a Competing Proposal and the operation of this Agreement with respect
thereto shall not be deemed to be an Adverse Board Recommendation Change or give rise to a Parent termination right pursuant to Section 8.1(d)(ii)).
For the avoidance of doubt, a factually accurate public statement by the Company or the Company Board (or a committee thereof) that (A) describes the
Company’s receipt of a Competing Proposal; (B) identifies the Person or group of Persons making such Competing Proposal; (C) provides the material
terms of such Competing Proposal; or (D) describes the operation of this Agreement with respect thereto will not, in any case, be deemed to be (1) an
adoption, approval or recommendation with respect to such Competing Proposal; or (2) an Adverse Board Recommendation Change.

             (g) For purposes of this Agreement:
                 (i) “Competing Proposal” shall mean any proposal or offer made by any Person (other than Parent, Acquisition Sub or any Affiliate
      thereof) or group (as defined in Section 13(d)(3) of the Exchange Act) of Persons (i) to purchase or otherwise acquire, directly or indirectly, in one
      transaction or a series of transactions, (A) beneficial ownership (as defined under Section 13(d) of the Exchange Act) of fifteen percent (15%) or
      more of any class of equity securities of the Company pursuant to a merger, consolidation or other business combination, sale of shares of capital
      stock, tender offer, exchange offer or similar transaction; or (B) any one or more assets or businesses of the Company and its Subsidiaries that
      constitute fifteen percent (15%) or more of the revenues or assets of the Company and its Subsidiaries, taken as a whole; (ii) with respect to the
      issuance, sale or other disposition, directly or indirectly, to any Person (other than Parent, Acquisition Sub or any Affiliate thereof) or group (as
      defined in Section 13(d)(3) of the Exchange Act) of Persons of securities (or options, rights, or warrants to purchase, or securities convertible into
      or exchangeable for, such securities) representing fifteen percent (15%) or more of the voting power of the Company; or (z) with respect to any
      merger, consolidation, business combination, recapitalization, reorganization or other transaction involving the Company or its Subsidiaries
      pursuant to which any Person (as defined in Section 13(d)(3) of the Exchange Act) or group of Persons would have beneficial ownership (as
      defined pursuant to Section 13(d)(3) of the Exchange Act) of securities representing fifteen percent (15%) or more of the total outstanding equity
      securities of the Company after giving effect to the consummation of such transaction.
                (iii) “Superior Proposal” shall mean a Competing Proposal (with all percentages in the definition of Competing Proposal increased to
      ninety percent (90%)) made by a Third Party on terms that the Company Board determines in good faith (after consultation with its legal counsel
      and financial advisors) and considering such factors as the Company Board considers to be appropriate, are more favorable to the Company’s
      stockholders than the transactions contemplated by this Agreement (including any changes to the terms of this Agreement committed to by Parent
      to the Company in writing in response to such Competing Proposal under the provisions of Section 6.5(d)).

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      Section 6.6 Directors’ and Officers’ Indemnification and Insurance.
               (a) Parent and Acquisition Sub agree that all rights to exculpation and indemnification for acts or omissions occurring at or prior to the
Effective Time, whether asserted or claimed prior to, at or after the Effective Time (including any matters arising in connection with the transactions
contemplated by this Agreement), now existing in favor of the current or former directors, officers and employees, if any (the foregoing persons, the
“D&O Indemnified Parties”), as the case may be, of the Company or its Subsidiaries as provided in their respective organizational documents as in
effect on the date of this Agreement or in any Contract shall survive the Merger and shall continue in full force and effect. The Surviving Corporation
shall (and Parent shall cause the Surviving Corporation to) indemnify, defend and hold harmless, and advance expenses to D&O Indemnified Parties
with respect to all acts or omissions by them in their capacities as such at any time prior to the Effective Time (including any matters arising in
connection with this Agreement or the transactions contemplated by this Agreement), to the fullest extent that the Company or its Subsidiaries would be
permitted by applicable Law and to the fullest extent required by the organizational documents of the Company or its Subsidiaries as in effect on the
date of this Agreement. Parent shall cause the certificate of incorporation, bylaws or other organizational documents of the Surviving Corporation and its
Subsidiaries to contain provisions with respect to exculpation, indemnification, advancement of expenses and limitation of director, officer and
employee liability that are no less favorable to the D&O Indemnified Parties than those set forth in the Company’s and its Subsidiaries’ organizational
documents as of the date of this Agreement, which provisions thereafter shall not, for a period of six (6) years from the Effective Time, be amended,
repealed or otherwise modified in any manner that would adversely affect the rights thereunder of the D&O Indemnified Parties.
              (b) Without limiting the provisions of Section 6.6(a), to the fullest extent that the Company would be permitted by applicable Law to do
so, Parent shall or shall cause the Surviving Corporation to: (i) indemnify and hold harmless each D&O Indemnified Party against and from any costs or
expenses (including reasonable attorneys’ fees), judgments, fines, losses, claims, damages, liabilities and amounts paid in settlement in connection with
any claim, action, suit, proceeding or investigation, whether civil, criminal, administrative or investigative, to the extent such claim, action, suit,
proceeding or investigation arises out of or pertains to: (A) any alleged action or omission in such D&O Indemnified Party’s capacity as a director,
officer or employee of the Company or any of its Subsidiaries prior to the Effective Time; or (B) this Agreement or the transactions contemplated by this
Agreement and (ii) pay in advance of the final disposition of any such claim, action, suit, proceeding or investigation the expenses (including reasonable
attorneys’ fees) of any D&O Indemnified Party upon confirmation by the D&O Indemnified Party of his or her good faith belief that he or she has met
the standard of conduct necessary for indemnification applicable to him or her and a customary written undertaking by him or her or on his or her behalf
to repay the amount paid or reimbursed if it is ultimately determined that the standard of conduct for indemnification was not met. Any determination
required to be made with respect to whether the conduct of any D&O Indemnified Party complies or complied with any applicable standard shall be
made by independent legal counsel selected by the D&O Indemnified Party, which counsel shall be reasonably acceptable to the Surviving Corporation,
and the fees of such counsel shall be paid by the Surviving Corporation. Notwithstanding anything to the contrary contained in this Section 6.6(b) or
elsewhere in this Agreement, Parent shall not (and Parent shall cause the Surviving Corporation not to) settle or compromise or consent to the entry of
any judgment or otherwise seek termination with respect to any claim, action, suit, proceeding or investigation, unless such settlement, compromise,
consent or termination includes an unconditional release of all of the D&O Indemnified Parties covered by the claim, action, suit, proceeding or
investigation from all liability arising out of such claim, action, suit, proceeding or investigation.

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              (c) Unless the Company shall have purchased a “tail” policy prior to the Effective Time as provided below, for at least six (6) years after
the Effective Time, (i) Parent shall cause the Surviving Corporation and its other Subsidiaries to maintain in full force and effect the coverage provided
by the existing directors’ and officers’ liability insurance and fiduciary insurance in effect as of the date of this Agreement and maintained by the
Company or any of its Subsidiaries, as applicable (the “Existing D&O Insurance Policies”), or provide substitute policies for the Company and its
current and former directors and officers who are currently covered by such Existing D&O Insurance Policies, in either case, on terms and conditions no
less advantageous to the D&O Indemnified Parties, or any other Person entitled to the benefit of this Section 6.6, as applicable, than the Existing D&O
Insurance Policies, covering claims arising from facts, events, acts or omissions that occurred at or prior to the Effective Time, including the transactions
contemplated by this Agreement (provided that Parent or the Surviving Corporation, as applicable, shall not be required to pay an annual premium for
such insurance in excess of three hundred percent (300%) of the aggregate annual premiums currently paid by the Company or any of its Subsidiaries, as
applicable, on an annualized basis, but in such case shall purchase as much of such coverage as possible for such amount) and (ii) Parent shall not, and
shall not permit the Surviving Corporation or its other Subsidiaries to, take any action that would prejudice the rights of, or otherwise impede recovery
by, the beneficiaries of any such insurance, whether in respect of claims arising before or after the Effective Time. In lieu of such insurance, prior to the
Effective Time, the Company may purchase a six (6) year “tail” prepaid policy on such terms and conditions (provided that the premium for such
insurance shall not exceed three hundred percent (300%) of the aggregate annual premiums currently paid by the Company or any of its Subsidiaries, as
applicable, on an annualized basis), in which event Parent shall cease to have any obligations under the first sentence of this Section 6.6(c).

                (d) In the event that Parent, the Surviving Corporation, any of the Company’s Subsidiaries or any of their successors or assigns shall
(i) consolidate with or merge into any other Person and shall not be the continuing or surviving company or entity of such consolidation or merger or
(ii) transfer all or substantially all its properties and assets to any Person, then, and in each such case, Parent shall cause proper provision to be made so
that the successor and assign of Parent, the Surviving Corporation or any such Subsidiary assumes the obligations set forth in this Section 6.6.

              (e) The D&O Indemnified Parties to whom this Section 6.6 applies shall be third-party beneficiaries of this Section 6.6. The provisions of
this Section 6.6 are intended to be for the benefit of each D&O Indemnified Party and his or her successors, heirs or representatives. The Surviving
Corporation shall pay all reasonable expenses, including reasonable attorneys’ fees, that may be incurred by any D&O Indemnified Party in enforcing its
indemnity and other rights under this Section 6.6. The rights of each D&O Indemnified Party hereunder shall be in addition to, and not in limitation of,
any other applicable rights such D&O Indemnified Party may have under the respective organizational documents of the Company or any of its
Subsidiaries or the Surviving Corporation, any other indemnification arrangement, the DGCL or otherwise. Notwithstanding any other provision of this
Agreement, this Section 6.6 shall survive the consummation of the Merger indefinitely (or any earlier period actually specified in this Section 6.6) and
shall be binding, jointly and severally, on all successors and assigns of Parent and the Surviving Corporation, and shall be enforceable by the D&O
Indemnified Parties and their successors, heirs or representatives.

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               (f) Nothing in this Agreement is intended to, or will be construed to, release, waive or impair any rights to directors’ and officers’ insurance
claims pursuant to any applicable insurance policy or indemnification agreement that is or has been in existence with respect to the Company or any of
its Subsidiaries for any of their respective directors, officers or other employees, it being understood and agreed that the indemnification provided for in
this Section 6.6 is not prior to or in substitution for any such claims pursuant to such policies or agreements. Following the Effective Time, the
obligations of Parent and the Surviving Corporation under this Section 6.6 shall not be terminated or modified in any manner adverse to the rights of any
D&O Indemnified Party without the consent of such affected D&O Indemnified Party.

       Section 6.7 Notification of Certain Matters. From and after the date of this Agreement until the earlier of the Effective Time or the date, if any, on
which this Agreement is terminated pursuant to Section 8.1, the Company shall give prompt notice to Parent, and Parent shall give prompt notice to the
Company, of (a) any notice or other communication received by such party from any Governmental Authority in connection with this Agreement, the
Merger or the other transactions contemplated by this Agreement, or from any Person alleging that the consent of such Person is or may be required in
connection with the Merger or the other transactions contemplated by this Agreement, if the subject matter of such communication or the failure of such
party to obtain such consent could be material to the Company, the Surviving Corporation or Parent, and (b) any actions, suits, claims, investigations or
proceedings commenced or, to such party’s Knowledge, threatened against, relating to or involving or otherwise affecting such party or any of its
Subsidiaries which relate to this Agreement, the Merger or the other transactions contemplated by this Agreement. The parties agree and acknowledge
the Company’s, on the one hand, and Parent’s, on the other hand, compliance or failure of compliance with this Section 6.7 shall not be taken into
account for purposes of determining whether the condition referred to in Section 7.2(a) or Section 7.3(a), respectively, shall have been satisfied with
respect to performance in all material respects with this Section 6.7.

      Section 6.8 Public Announcements. Except as otherwise contemplated by Section 6.5, so long as this Agreement is in effect, the Company, Parent
and Acquisition Sub shall consult with each other before issuing any press release or otherwise making any public statements with respect to this
Agreement or the transactions contemplated by this Agreement, and none of the parties hereto or their Affiliates shall issue any such press release or
make any public statement prior to obtaining the other parties’ consent (which consent shall not be unreasonably withheld or delayed), except that no
such consent shall be necessary to the extent disclosure may be required by Law, Order or applicable stock exchange rule or any listing agreement to
which any party hereto is subject, in which case the party required to make such disclosure shall use its reasonable best efforts to allow, to the extent
legally permitted, each other party reasonable time to comment on such disclosure in advance of its issuance, or is consistent with prior communications
previously consented to by the other parties. In addition, the Company may, without Parent or Acquisition Sub’s consent, communicate to its employees,
customers, suppliers and consultants; provided that such communication is consistent with prior communications of the Company or any

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communications plan previously agreed to by Parent and the Company, in which case such communications may be made consistent with such plan.
Notwithstanding the foregoing, the restrictions set forth in this Section 6.8 shall not apply in connection with any Adverse Board Recommendation
Change or dispute between the parties regarding this Agreement or the transactions contemplated hereby. Notwithstanding the foregoing, the Equity
Investor shall be permitted to issue Tweets about the Merger or the transactions contemplated hereby so long as such Tweets do not disparage the
Company or any of its Representatives.

      Section 6.9 Employee Benefits.

               (a) Continuing Employee Benefits. Employees of the Company or its Subsidiaries immediately prior to the Effective Time who remain
employees of Parent, the Surviving Corporation or any of their Affiliates following the Effective Time are hereinafter referred to as the “Continuing
Employees.” For the period commencing at the Effective Time and ending on the one-year anniversary of the Effective Time (the “Continuation
Period”), Parent shall, or shall cause the Surviving Corporation or any of their Affiliates to, provide for each Continuing Employee (i) at least the same
base salary and wage rate, (ii) short- and long-term target incentive compensation opportunities that are no less favorable in the aggregate than those
provided to each such Continuing Employee immediately prior to the Effective Time (provided that Parent shall not be obligated to provide such
incentives in the form of equity or equity-based awards) and (iii) employee benefits (excluding equity and equity-based awards) which are substantially
comparable in the aggregate (including with respect to the proportion of employee cost) to those provided to such Continuing Employee immediately
prior to the Effective Time. Without limiting the generality of the foregoing, during the Continuation Period, Parent shall provide, or shall cause the
Surviving Corporation or any of their Affiliates to provide severance payments and benefits to each Continuing Employee whose employment is
terminated during such period that are no less favorable than those applicable to the Continuing Employee immediately prior to the Effective Time under
the Company Benefit Plans.

                (b) Parent agrees that the Surviving Corporation shall cause the Surviving Corporation’s employee benefit plans established following the
Closing Date (if any) and any other employee benefit plans covering the Continuing Employees following the Effective Time (collectively, the “Post-
Closing Plans”), to recognize the service of each Continuing Employee (to the extent such service was recognized by the Company) for purposes of
eligibility, vesting and determination of the level of benefits (but not for benefit accrual purposes under a defined benefit pension plan) under the Post-
Closing Plans, to the extent such recognition does not result in the duplication of any benefits.

               (c) For the calendar year including the Effective Time, the Continuing Employees shall not be required to satisfy any deductible,
co-payment, out-of-pocket maximum or similar requirements under the Post-Closing Plans that provide medical, dental and other welfare benefits
(collectively, the “Post-Closing Welfare Plans”) to the extent amounts were previously credited for such purposes under comparable Company Benefit
Plans that provide medical, dental and other welfare benefits.

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               (d) As of the Effective Time, any waiting periods, pre-existing condition exclusions and requirements to show evidence of good health
contained in such Post-Closing Welfare Plans shall be waived with respect to the Continuing Employees (except to the extent any such waiting period,
pre-existing condition exclusion or requirement to show evidence of good health was already in effect with respect to such employees and has not been
satisfied under the applicable Company Benefit Plan in which the participant then participates or is otherwise eligible to participate as of immediately
prior to the Effective Time).

              (e) Nothing contained in this Section 6.9, expressed or implied, shall (i) be treated as the establishment, amendment or modification of any
Company Benefit Plan, Post-Closing Plan or other employee benefit plan or constitute a limitation on rights to amend, modify, merge or terminate after
the Effective Time any Company Benefit Plan, Post-Closing Plan or other employee benefit plan, (ii) give any Company Service Provider (including
any beneficiary or dependent thereof) or other Person any third-party beneficiary or other rights or (iii) obligate Parent or any of its Affiliates to
(A) maintain any particular Company Benefit Plan, Post-Closing Plan or (B) retain the employment or services of any Company Service Provider.

      Section 6.10 Financing.

               (a) Each of the Equity Investor, Parent and Acquisition Sub shall take or cause to be taken, and shall cause their respective Affiliates and
its and their respective Representatives to take, or cause to be taken, all actions and to do, or cause to be done, all things necessary, proper or advisable
to arrange, obtain and consummate the Financing at or prior to the Closing on the terms and subject to the conditions set forth in the Financing
Commitments (including any “flex” provisions), including executing and delivering all such documents and instruments as may be reasonably required
thereunder and:

                    (i) complying with and maintaining in full force and effect the Financing and the Financing Commitments (and, once entered into,
      the Financing Agreements) in accordance with the terms and conditions thereof and negotiating and entering into definitive financing agreements
      with respect to the Debt Financing on the terms and conditions set forth in the Debt Commitment Letters (including any “flex” provisions) and
      containing no (I) conditions to the consummation of all or any portion of the Debt Financing other than the conditions set forth in Exhibit E to the
      Bank Debt Commitment Letter or Exhibit B to the Margin Loan Commitment Letter, as the case may be, in each case, as in effect on the date
      hereof, or (II) provisions that could reasonably be expected to prevent, impede, delay or adversely affect the availability of any of the Debt
      Financing or the consummation of the Merger and the other transactions contemplated by this Agreement (such definitive agreements, the
      “Financing Agreements”) so that the Financing Agreements are in full force and effect no later than the Closing;
                    (ii) satisfying, or obtaining the waiver of, as promptly as practicable and on a timely basis (and in any event, no later than the
      Closing) all conditions to the Debt Financing contemplated by the Debt Commitment Letters and Financing Agreements that are within its or their
      control, including, without limitation:
                          (A) on or prior to the Closing Date, transferring Tesla Shares to the Margin Loan Borrower and causing the Margin Loan
      Borrower to credit to collateral accounts pledged to the applicable Debt Financing Sources in respect of the Margin Loan Financing and held
      through the facilities of DTC, in each case, sufficient Tesla Shares, which shall be free from all transfer restrictions and restrictive conditions
      (other than permitted restrictions contemplated under the Financing Documents in respect of the Margin Loan Financing), to cause the LTV Ratio
      (as defined in the Margin Loan Commitment Letter) not to exceed 20% as of the Closing Date;

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                         (B) ensuring the absence of (1) any default or event of default (or any equivalent term) under the Financing Agreements in
      respect of the Margin Loan Financing, or (2) any Potential Adjustment Event or Mandatory Prepayment Event (in each case, under and as defined
      in the Margin Loan Commitment Letter);
                        (C) (x) maintaining the Margin Loan Borrower as a wholly owned subsidiary of Parent and Elon Musk, and (y) causing the
      organizational documents of the Margin Loan Borrower not to contain, and causing the Margin Loan Borrower not to enter into any Contract, that
      would (1) impede or prevent the Margin Loan Borrower or any of its Affiliates from enforcing or the Margin Loan Borrower’s rights in respect of
      the Debt Financing Sources under the Margin Loan Commitment Letter or any Financing Agreement in respect thereof or (2) impede or prevent
      the Margin Loan Borrower or any of its Affiliates from applying the proceeds of the loans to pay any Funding Obligations; and
                        (D) causing Elon Musk to (1) fully and unconditionally guarantee all obligations of the Margin Loan Borrower under the
      Margin Loan Financing to the extent required to consummate the Margin Loan Financing and (2) at all times through and including the Closing
      Date to own (beneficially and of record), directly or indirectly, all of the outstanding equity interests of, and Control, the Margin Loan Borrower;
                   (iii) accepting (and complying with) to the fullest extent all “flex” provisions contemplated by the Debt Commitment Letters;
                (iv) causing the Financing Sources to fund the Financing no later than the Closing (including by enforcing its rights under the Debt
      Commitment Letters and/or Financing Agreements, as applicable).
              (b) None of the Equity Investor, Parent, Acquisition Sub or the Margin Loan Borrower or any of their respective Affiliates shall agree to or
permit any amendment, supplement, modification or replacement of, or grant any waiver of, any condition, remedy or other provision under any
Financing Commitment or Financing Agreement, or permit any Financing Agreement to contain any provision, without the prior written consent of the
Company, if such amendment, supplement, modification, replacement, waiver or provision would or would reasonably be expected to (i) reduce (or
would reasonably be expected to have the effect of reducing) the aggregate amount of the Financing (or the cash proceeds available therefrom) from that
contemplated by the Financing Commitments delivered as of the date hereof, (ii) impose new or additional conditions or contingencies to the Financing
or otherwise expand, amend or modify any of the existing conditions to the receipt of the Financing, or otherwise add, expand, amend or modify any
other provision of, or remedies under, the Financing Commitments as in effect on the date hereof, in a manner that would reasonably be expected to
delay, impede or prevent the consummation

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or funding of the Financing (or satisfaction of the conditions to obtaining any portion of the Financing) at the Closing or impair the ability or likelihood
of the Closing or impair the ability of Parent and/or Acquisition Sub to timely consummate the Merger and the other transactions contemplated by this
Agreement, (iii) make it less likely that any portion of the Financing would be funded (including by making the satisfaction of the conditions to
obtaining any portion of the Financing less likely to occur) or otherwise prevent, impede or delay or impair the availability of any of the Financing or
impair the ability or likelihood of the Closing or Parent and/or Acquisition Sub to timely consummate the transactions contemplated by this Agreement
(including by requiring any additional filings, consents or approvals of any Governmental Authority) or (iv) adversely impact the ability of Parent,
Acquisition Sub or the Margin Loan Borrower, or any of their respective Affiliates, to enforce their respective rights against the other parties to the
Financing Commitments or the Financing Agreements; provided, however, subject to compliance with the other provisions of this Section 6.10, Parent,
Acquisition Sub or their respective Affiliates may amend, modify, supplement or waive any provision of any Debt Commitment Letter (A) to add
lenders, lead arrangers, bookrunners, syndication agents or similar entities that have not executed such Debt Commitment Letter as of the date hereof or
(B) amend any Debt Commitment Letters to implement any “market flex” provisions applicable thereto. The Equity Investor, Parent, Acquisition Sub,
the Margin Loan Borrower and their respective Affiliates shall not agree to the withdrawal, termination, repudiation or rescission of any Financing
Commitment without the prior written consent of the Company, and shall not release or consent to the termination of the commitments or obligations of
any Debt Financing Source under any Debt Commitment Letter, in each case, unless such Financing Commitment is contemporaneously replaced with a
new Financing Commitment that complies with the first sentence of this Section 6.10(b). Upon any permitted amendment, supplement, modification or
replacement of, or waiver of, any Financing Commitment in accordance with this Section 6.10(b), Parent shall promptly deliver to the Company a true,
correct and complete copy of each Financing Agreement and each amendment, supplement, modification, replacement or waiver to any Financing
Commitment or any Financing Agreement and references herein to “Financing Commitments”, “Bank Debt Commitment Letter”, “Margin Loan
Commitment Letter”, “Debt Commitment Letters”, “Equity Commitment Letter” and “Financing Agreements” shall include and mean such documents
as amended, supplemented, modified, replaced or waived in compliance with this Section 6.10(b), as applicable, and references to “Financing”, “Bank
Debt Financing”, “Margin Loan Financing” and “Equity Financing” shall include and mean the financing contemplated by the Financing Commitments
or Financing Agreements as amended, supplemented, modified, replaced or waived in compliance with this Section 6.10(b), as applicable.

               (c) In the event that (x) all or any portion of the Debt Financing expires, terminates, becomes or could reasonably be expected to become
unavailable on the terms and conditions (including any “flex” provisions) or from the sources contemplated in the applicable Debt Commitment Letters
or (y) any of the Debt Commitment Letters or the Financing Agreements shall be withdrawn, terminated, repudiated or rescinded, in whole or in part, for
any reason, (i) Parent shall promptly so notify the Company in writing and (ii) Parent and/or its Affiliates shall use their respective reasonable best
efforts to arrange and obtain, as promptly as practicable following the occurrence of such event (and in any event no later than the Closing),

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and to negotiate and enter into definitive agreements with respect to, alternative financing from the same or alternative sources with terms and
conditions (including market flex provisions) not less favorable taken as a whole to Parent than the terms and conditions set forth in the applicable Debt
Commitment Letter and which shall not include any conditions or contingencies to the Financing not otherwise included in the Debt Commitment
Letters as of the date hereof or include any provision that would reasonably be expected to materially delay or prevent the consummation or funding of
the Financing (or satisfaction of the conditions to obtaining any portion of the Financing) at the Closing or materially impair the ability or likelihood of
the Closing or Parent and/or Acquisition Sub to timely consummate the Merger and the other transactions contemplated by this Agreement (the
“Alternative Financing”) in an amount sufficient to consummate the transactions contemplated by this Agreement (or replace any unavailable portion
of the Debt Financing). In the event any Alternative Financing is obtained and any new debt commitment letters are entered into in accordance with this
Section 6.10(c) (each such letter, an “Alternative Financing Debt Commitment Letter”), Parent shall promptly deliver a copy thereof to the Company
(it being understood that any fee letters related thereto may be redacted in the same manner as the fee letters delivered on or prior to the date of this
Agreement) and references herein to (A) “Financing Commitments” and “Debt Commitment Letters” shall be deemed to include any Alternative
Financing Debt Commitment Letter to the extent then in effect, and (B) “Financing”, “Bank Debt Financing”, “Margin Loan Financing” or “Debt
Financing” shall include the debt financing contemplated by such Alternative Financing Debt Commitment Letter. Parent, Acquisition Sub and Elon
Musk shall be subject to the same obligations with respect to any Alternative Financing as set forth in this Agreement with respect to the Debt
Financing.

                (d) The Equity Investor, Parent, Acquisition Sub and/or the Margin Loan Borrower shall (i) give the Company prompt written notice of
any default, breach or threatened default or breach (or any event or circumstance that, with or without notice, lapse of time or both, would reasonably be
expected to give rise to any default or breach) by any party to any of the Financing Commitments or the Financing Agreements of which Parent or any
of its Affiliates or their respective Representatives becomes aware or any withdrawal, termination, repudiation or rescission or threatened withdrawal,
termination, repudiation or rescission thereof, (ii) give the Company prompt notice of any dispute or disagreement between or among any parties to the
Debt Commitment Letters, (iii) notify the Company promptly if for any reason Parent, Acquisition Sub or their respective Affiliates no longer believes
in good faith that it will be able to obtain all or any portion of the Financing contemplated by the Financing Commitments, (iv) promptly provide and
respond to any updates reasonably requested by the Company with respect to the status of Parent’s efforts to arrange and finalize the Financing (or any
Alternative Financing) and (v) otherwise keep the Company reasonably informed on a current basis of the status of its efforts to arrange and finalize the
Financing (or any Alternative Financing). In no event shall Parent or any of its Affiliates be required to provide access to or disclose information that
Parent or any of its Affiliates reasonably determines could jeopardize any attorney-client privilege of, or conflict with any confidentiality requirements
applicable to, Parent or any of its Affiliates.

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               (e) Each of Parent and the Equity Investor acknowledges and agrees that it shall be fully responsible for the Equity Financing and each
shall take (or cause to be taken) all actions, and do (or cause to be done) all things necessary, proper or advisable to obtain the Equity Financing,
including taking all actions necessary to (i) comply with the terms of and maintain in effect the Equity Commitment Letter, (ii) satisfy on a timely basis
all conditions and obligations in such Equity Commitment Letter and (iii) consummate and fund the Equity Financing at or prior to the Closing. Parent
further agrees that it shall take (or cause to be taken) all actions, and do (or cause to be done) all things necessary, proper or advisable to fully enforce its
rights (including through litigation) under the Equity Commitment Letter.

               (f) Parent acknowledges and agrees that neither the obtaining of the Financing or any alternative financing, nor the completion of any
issuance of securities contemplated by the Financing or any alternative financing (including the Alternative Financing), is a condition to the Closing, and
reaffirms its obligation to consummate the transactions contemplated by this Agreement irrespective and independently of the availability of the
Financing or any alternative financing (including the Alternative Financing), or the completion of any such issuance, subject to the applicable conditions
set forth in Article VII.

              (g) Each of the Equity Investor, Parent and the Acquisition Sub shall on or prior to the Closing Date cause the Margin Loan Borrower to
apply the cash proceeds of the Margin Loan Financing to payment of the Funding Obligations under this Agreement.

      Section 6.11 Financing Cooperation.

               (a) The Company shall and shall cause its Subsidiaries to, and shall use its commercially reasonable best efforts to cause each of its
Representatives to, at Parent’s sole expense, provide any reasonable cooperation reasonably requested by Parent in writing in connection with (i) the
arrangement of the Bank Debt Financing and any other debt financing expressly contemplated by the Bank Debt Commitment Letter, including senior
unsecured notes and senior secured notes, and (ii) subject to the requirements of Section 6.11(b), the payoff, redemption, defeasance, discharge or other
satisfaction of the Existing Credit Agreement and the Existing Senior Notes on or subsequent to the Closing Date, in each case as is necessary,
customary and reasonably requested in writing by Parent; provided that any notice of, or documentation with respect to, any such payoff, redemption or
other satisfaction of existing indebtedness of the Company pursuant to this Section 6.11(a)(ii) shall provide that the obligation to repay, redeem or
satisfy such indebtedness shall, as applicable, be subject to and is conditioned upon the occurrence of the Closing; provided, further, that such requested
cooperation with respect to clauses (i) and (ii) of this Section 6.11(a) does not unreasonably or materially interfere with the ongoing operations of the
Company and its Subsidiaries. Notwithstanding anything in this Agreement to the contrary, (A) neither the Company nor any of its Subsidiaries shall be
required to pay any commitment or other similar fee, incur or reimburse any costs or expenses, enter into any binding agreement or commitment or incur
any other liability, indemnity or obligation in connection with the Bank Debt Financing or the cooperation required by this Section 6.11(a) that would be
effective prior to the Closing, (B) no director, manager, officer or employee or other Representative or equityholder of the Company or any of its
Subsidiaries shall be required to execute, deliver, enter into, approve or perform any agreement, commitment, document, instrument or certificate or take
any other action pursuant to this Section 6.11(a) to the extent any such action could reasonably be expected to result in personal liability to such
Representative or equityholder, (C) neither the Company nor any of its Subsidiaries (nor any of their respective boards of directors (or similar governing
bodies) shall be required to adopt any resolutions, execute any consents or otherwise take any corporate or similar action or deliver any certificate,
document, instrument or agreement in connection to the Bank Debt Financing or the incurrence of

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indebtedness thereby or any cooperation required by this Section 6.11(a) and (D) no cooperation under this Section 6.11(a) shall (I) require the Company
or any of its Subsidiaries to provide, or cause to be provided, any information the disclosure of which is prohibited or restricted under applicable Law or
any binding agreement with a third party or is legally privileged or consists of attorney work product or could reasonably be expected to result in the
loss of any applicable legal privilege, (II) require the Company or any of its Subsidiaries to take any action that would reasonably be expected to conflict
with or violate its organizational documents or any Laws or would reasonably be expected to result in (with or without notice, lapse of time, or both) a
violation or breach of, or default under, or give rise to any right of termination, cancellation or acceleration of any right or obligation of such Person or
to a loss of any benefit or privilege to which such Person is entitled under, any agreement to which the Company or any of its Subsidiaries is a party or
result in the creation or imposition of any Lien on any asset of the Company or any of its Subsidiaries, except any Lien that becomes effective only upon
the Closing, (III) cause (or require the taking of any action that would cause) any representation or warranty in this Agreement to be breached or cause
any condition to Closing to fail to be satisfied or otherwise cause any breach of this Agreement or require the Company to waive or amend any terms of
this Agreement, (IV) require the Company to disclose any material, non-public information other than to recipients of such information that agree to
confidentiality arrangements as contemplated under Section 6.11(b) and Section 6.4 or any adjustments or assumptions used in connection therewith,
(V) require the Company to prepare or provide any financial statements or other financial information (other than those financial statements (and any
other financial information) from time to time filed by the Company with the SEC (and nothing in this Section 6.11(a) shall create or be implied to
create any obligation to make any such filings or other readily available financial information), (VI) waive or amend any terms of this Agreement,
(VII) require the Company or its Subsidiaries to take any action that, in the good faith determination of the Company or such Subsidiary would create a
risk of damage or destruction to any property or assets of the Company or such Subsidiary, (VIII) require the Company or any of its Subsidiaries or any
of their Representatives to deliver any legal opinions or reliance letters, (IX) file or furnish any reports or information with the SEC or change any fiscal
period or accelerate the Company’s preparation of its SEC reports or financial statements, or (X) prepare or provide any (1) information regarding
officers or directors prior to consummation of the Merger, executive compensation and related party disclosure or any Compensation Discussion and
Analysis or information required by Item 302 (to the extent not so provided in SEC filings) or 402 of Regulation S-K under the Securities Act and any
other information that would be required by Part III of Form 10-K (except to the extent previously filed with the SEC), (2) any description of all or any
component of the Bank Debt Financing or other information customarily provided by the Financing Sources or their counsel, (3) risk factors relating to
all or any component of the Bank Debt Financing, (4) information regarding affiliate transactions that may exist following consummation of the Merger,
or (5) other information that is not available to the Company without undue effort or expense. The parties hereto agree that any information with respect
to the prospects, projections and plans for the business and operations of the Company and its Subsidiaries in connection with the Financing will be the
sole responsibility of Parent, and none of the Company, any of its Subsidiaries or any of their respective Representatives shall be required to provide any
information or make any presentations with respect to capital structure, the incurrence of the Financing, other pro forma information relating thereto or
the manner in which Parent intends to operate, or cause to be operated, the business of the Company or its Subsidiaries after the Closing. Nothing
contained in this Section 6.11 or

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otherwise shall require the Company or any of its Subsidiaries, prior to the Closing, to be a borrower, an issuer, a guarantor or other obligor with respect
to the Debt Financing. For the avoidance of doubt, the parties hereto acknowledge and agree that the provisions contained in this Section 6.11, represent
the sole obligation of the Company, its Subsidiaries and their respective Representatives with respect to cooperation in connection with the arrangement
of any financing (including the Financing) to be obtained by the Equity Investor, Parent, Acquisition Sub, the Margin Loan Borrower or any of their
respective Affiliates with respect to the transactions contemplated by this Agreement and no other provision of this Agreement (including the Exhibits
and Schedules hereto) shall be deemed to expand or modify such obligations. In no event shall the receipt or availability of any funds or financing
(including, for the avoidance of doubt, the Financing) by the Equity Investor, Parent, Acquisition Sub, the Margin Loan Borrower or any of their
respective Affiliates or any other financing or other transactions be a condition to any of the Equity Investor’s, Parent’s, Acquisition Sub’s or the Margin
Loan Borrower’s obligations under this Agreement. Notwithstanding anything to the contrary contained in this Agreement, the Company will be deemed
to be in compliance with this Section 6.11(a), and neither Parent nor any of its Affiliates shall allege that the Company is or has not been in compliance
with this Section 6.11(a), unless Parent’s failure to obtain the Bank Debt Financing was due solely to a deliberate action or omission taken or omitted to
be taken by the Company in material breach of its obligations under this Section 6.11(a).

               (b) On or prior to any applicable date of the Company’s payoff, redemption or other satisfaction of the Existing Credit Agreement and/or
Existing Senior Notes contemplated by Section 6.11(a), or if applicable, date of satisfaction and discharge, Parent shall deposit or cause to be deposited
funds with the applicable paying agent sufficient to effect such payoff, redemption and/or satisfaction, as applicable, as required pursuant to the terms of
the agreements governing such indebtedness (and in the event of any delay of the anticipated Effective Time, Parent shall deposit additional funds with
the applicable paying agents sufficient to satisfy such payoff, redemption or other satisfaction of the Existing Credit Agreement and/or Existing Senior
Notes, as required pursuant to the terms of the agreements governing such indebtedness); provided that the release of any such funds shall be subject to
the occurrence of the Effective Time. Parent shall, promptly upon request by the Company, reimburse the Company for all reasonable and documented
out-of-pocket costs and expenses (including outside attorneys’ fees and disbursements) incurred by the Company, its Affiliates and their respective
Representatives in connection with the cooperation contemplated by Section 6.11(a). Parent acknowledges and agrees that the Company, its Affiliates
and their respective Representatives shall not have any responsibility for, or incur any liability to any Person under, any financing that Parent may raise
in connection with the transactions contemplated by this Agreement or any cooperation provided pursuant to Section 6.11(a), and shall indemnify and
hold harmless the Company, its Affiliates and their respective Representatives, from and against any and all losses suffered or incurred by any of them in
connection with the Debt Financing, any cooperation provided pursuant to Section 6.11(a) or any alternative financing and any information utilized in
connection therewith, except to the extent any such cost or expense, judgment, fine, loss, claim, or damage results directly from the bad faith, willful
misconduct or gross negligence of the Company or its Representatives or controlled Affiliates as determined by a court of competent jurisdiction in a
final and non-appealable judgment. All non-public or other confidential information provided by or behalf of the Company to Parent or its Affiliates or
any of their respective Representatives pursuant to this Section 6.11 shall be kept confidential in accordance with the terms of Section 6.4; provided that

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Parent and its Affiliates may share any confidential information with respect to the Company and its Subsidiaries with any Debt Financing Sources, and
that Parent, such Debt Financing Sources and their respective Affiliates may share such information with potential Debt Financing Sources in connection
with any marketing efforts with respect to the Debt Financing; provided, however, that the recipients of such confidential information contemplated to
be provided by the preceding proviso shall agree to be bound by confidentiality obligations no less restrictive than those set forth in Section 6.4.

      Section 6.12 Acquisition Sub. Parent and the Equity Investor shall take all actions necessary to (a) cause Acquisition Sub to perform its obligations
under this Agreement and to consummate the Merger on the terms and conditions set forth in this Agreement and (b) ensure that, prior to the Effective
Time, Acquisition Sub shall not conduct any business, or incur or guarantee any indebtedness or make any investments, other than as specifically
contemplated by this Agreement. Parent hereby (a) guarantees the due, prompt and faithful payment performance and discharge by Acquisition Sub of,
and compliance by Acquisition Sub with, all of the covenants and agreements of Acquisition Sub under this Agreement and (b) agrees to take all actions
necessary, proper or advisable to ensure such payment, performance and discharge by Acquisition Sub under this Agreement. Parent agrees that any
breach by Acquisition Sub of a representation, warranty, covenant or agreement in this Agreement shall also be a breach of such representation,
warranty, covenant or agreement by Parent.

      Section 6.13 Rule 16b-3 Matters. Prior to the Effective Time, the Company may take such further actions, if any, as may be reasonably necessary
or appropriate to ensure that the dispositions of equity securities of the Company (including any derivative securities) pursuant to the transactions
contemplated by this Agreement by any officer or director of the Company who is subject to Section 16 of the Exchange Act are exempt under
Rule 16b-3 promulgated under the Exchange Act.

      Section 6.14 Delisting of Company Common Stock. Parent shall, with the reasonable cooperation of the Company, take, or cause to be taken, all
actions reasonably necessary to cause the Company’s securities to be delisted from the New York Stock Exchange and deregistered under the Exchange
Act as soon as reasonably practicable following the Effective Time.


                                                                     ARTICLE VII

                                                          CONDITIONS TO THE MERGER

       Section 7.1 Conditions to the Obligations of Each Party. The respective obligations of each party hereto to consummate the Merger, are subject to
the satisfaction or waiver by the Company and Parent at or prior to the Effective Time of the following conditions:

             (a) the Company Stockholder Approval shall have been obtained;

               (b) any waiting period (or any extension thereof) applicable to the consummation of the Merger under the HSR Act shall have expired or
early termination thereof shall have been granted; and each Consent or approval that is required under any Antitrust Laws or Foreign Investment Laws
of the jurisdictions set forth on Schedule A with respect to the transactions contemplated by this Agreement, including the Merger shall have been made,
obtained or received (or, as applicable, the waiting periods with respect thereto shall have expired or been terminated); and

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             (c) no Governmental Authority of the jurisdictions set forth on Schedule A shall have enacted, issued, promulgated, enforced or entered
any Law or Order which is then in effect and has the effect of restraining, enjoining, rendering illegal or otherwise prohibiting consummation of the
Merger, or causing the Merger to be rescinded following the completion thereof.

       Section 7.2 Conditions to the Obligations of Parent and Acquisition Sub. The obligations of Parent and Acquisition Sub to consummate the
Merger, are, in addition to the conditions set forth in Section 7.1, further subject to the satisfaction or waiver by Parent at or prior to the Effective Time
of the following conditions:

             (a) the Company shall have performed or complied, in all material respects, with its obligations required under this Agreement to be
performed or complied with by the Company on or prior to the Closing Date;

               (b) (i) each of the representations and warranties of the Company contained in this Agreement (except for the representations and
warranties contained in Section 4.2(a) and Section 4.2(b)), without giving effect to any materiality or “Company Material Adverse Effect” qualifications
therein, shall be true and correct as of the Closing Date (except to the extent such representations and warranties are expressly made as of a specific date,
in which case such representations and warranties shall be so true and correct as of such specific date only), except for such failures to be true and
correct as would not have a Company Material Adverse Effect; and (ii) each of the representations and warranties contained in Section 4.2(a) and
Section 4.2(b) shall be shall be true and correct in all material respects as of the Closing Date (except to the extent such representations and warranties
are expressly made as of a specific date, in which case such representations and warranties shall be so true and correct in all material respects as of such
specific date only); and

              (c) no Company Material Adverse Effect shall have occurred and be continuing.

      Section 7.3 Conditions to the Obligation of the Company to Effect the Merger. The obligation of the Company to consummate the Merger, is, in
addition to the conditions set forth in Section 7.1, further subject to the satisfaction or waiver by the Company at or prior to the Effective Time of the
following conditions:

            (a) Parent and Acquisition Sub shall have performed or complied, in all material respects, with its obligations required under this
Agreement to be performed or complied with by Parent or Acquisition Sub, as the case may be, on or prior to the Closing Date; and

               (b) each of the representations and warranties of Parent and Acquisition Sub contained in this Agreement, without giving effect to any
materiality or “Parent Material Adverse Effect” qualifications therein, shall be true and correct as of the Closing Date, except for such failures to be true
and correct as would not have a Parent Material Adverse Effect (except to the extent such representations and warranties are expressly made as of a
specific date, in which case such representations and warranties shall be so true and correct as of such specific date only).

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                                                                      ARTICLE VIII

                                                   TERMINATION, AMENDMENT AND WAIVER
       Section 8.1 Termination. Notwithstanding anything contained in this Agreement to the contrary, this Agreement may be terminated at any time
prior to the Effective Time, whether before or after the Company Stockholder Approval is obtained (except as otherwise expressly noted), as follows:

             (a) by mutual written agreement of each of Parent and the Company;

             (b) by either Parent or the Company:
                   (i) if the Merger shall not have been consummated on or before 5:00 p.m. (Pacific Time) on October 24, 2022 (as such date may be
      extended pursuant to the terms hereof, the “Termination Date”); provided, however, that (x) the right to terminate this Agreement pursuant to this
      Section 8.1(b)(i) shall not be available to any party if the failure of such party to perform or comply with any of its obligations under this
      Agreement has been the principal cause of or resulted in the failure of the Closing to have occurred on or before such date and (y) the Termination
      Date shall be extended for an additional six (6) months if, as at the Termination Date, the condition set forth in Section 7.1(b) or Section 7.1(c)
      shall not have been satisfied;
                    (ii) if, prior to the Effective Time, any Governmental Authority of competent jurisdiction shall have enacted, issued, promulgated,
      enforced or entered any Law or Order or taken any other action permanently restraining, enjoining, rendering illegal or otherwise prohibiting the
      consummation of the transactions contemplated by this Agreement, and such Law or Order or other action shall have become final and
      non-appealable; provided, however, that the party seeking to terminate this Agreement pursuant to this Section 8.1(b)(ii) shall have used the
      efforts required by this Agreement to remove such Law, Order or other action; provided, further, that the right to terminate this Agreement under
      this Section 8.1(b)(ii) shall not be available to a party if the issuance of such Law or Order or taking of such action was primarily due to the failure
      of such party, and, in the case of Parent, the failure of Acquisition Sub or the Equity Investor, to perform any of their obligations under this
      Agreement; or
                    (iii) if the Company Stockholder Approval shall not have been obtained at the Company Stockholders’ Meeting duly convened
      therefor or at any adjournment or postponement thereof at which this Agreement and the transactions contemplated by this Agreement have been
      voted upon; or

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              (c) by the Company:
                    (i) if Parent, Acquisition Sub or the Equity Investor shall have breached or failed to perform any of their respective representations,
      warranties, covenants or other agreements set forth in this Agreement, which breach or failure to perform (A) would give rise to the failure of any
      condition set forth in Section 7.3(a) or Section 7.3(b) and (B) is not capable of being cured, or is not cured, by Parent, Acquisition Sub or the
      Equity Investor on or before the earlier of (x) the Termination Date and (y) the date that is thirty (30) calendar days following the Company’s
      delivery of written notice to Parent, Acquisition Sub or the Equity Investor, as applicable, of such breach; provided, however, that the Company
      shall not have the right to terminate this Agreement pursuant to this Section 8.1(c)(i) if the Company is then in material breach of any of its
      representations, warranties, covenants or agreements hereunder;
                    (ii) if the Company Board shall have authorized the Company to enter into a definitive agreement with respect to a Superior
      Proposal; provided that, substantially concurrently with such termination, the Company enters into such definitive agreement and pays (or causes
      to be paid) at the direction of Parent the Termination Fee as specified in Section 8.3(a); or
                    (iii) if (A) the conditions set forth in Section 7.1 and Section 7.2 (other than those conditions that by their nature are to be satisfied at
      the Closing, which conditions are capable of being satisfied if the Closing were to occur at such time) have been satisfied or waived in accordance
      with this Agreement and Parent and Acquisition Sub shall have been notified in writing of the same, (B) Parent and Acquisition Sub fail to
      consummate the Merger within three (3) Business Days following the date on which the Closing should have occurred pursuant to Section 2.2 and
      (C) during such three (3)-Business Days period described in clause (B), the Company stood ready, willing and able to consummate the Merger and
      the other transactions contemplated hereby;

              (d) by Parent:
                     (i) if the Company shall have breached or failed to perform any of its representations, warranties, covenants or other agreements set
      forth in this Agreement, which breach or failure to perform (A) would give rise to the failure of any condition set forth in Section 7.2(a) or
      Section 7.2(b), and (B) is not capable of being cured, or is not cured, by the Company on or before the earlier of (x) the Termination Date and
      (y) the date that is thirty (30) calendar days following Parent’s delivery of written notice to the Company of such breach; provided, however, that
      Parent shall not have the right to terminate this Agreement pursuant to this Section 8.1(d)(i) if Parent, Acquisition Sub or the Equity Investor is
      then in material breach of any of its representations, warranties, covenants or agreements hereunder; or
                (ii) prior to the receipt of the Company Stockholder Approval, if the Company Board shall have made an Adverse Board
      Recommendation Change.

       Section 8.2 Effect of Termination. In the event that this Agreement is terminated and the Merger abandoned pursuant to Section 8.1, written notice
thereof shall be given to the other party or parties, specifying the provisions of this Agreement pursuant to which such termination is made, and this
Agreement shall forthwith become null and void and of no effect without liability on the part of any party hereto (or any of its Representatives), and all
rights and obligations of any

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party hereto shall cease; provided, however, that, except as otherwise provided in Section 8.3 or in any other provision of this Agreement, no such
termination shall relieve any party hereto of any liability or damages (which the parties acknowledge and agree shall not be limited to reimbursement of
Expenses or out-of-pocket costs, and, in the case of liabilities or damages payable by Parent and Acquisition Sub, would include the benefits of the
transactions contemplated by this Agreement lost by the Company’s stockholders) (taking into consideration all relevant matters, including lost
stockholder premium, other combination opportunities and the time value of money), which shall be deemed in such event to be damages of such party,
resulting from any knowing and intentional breach of this Agreement prior to such termination, in which case, except as otherwise provided in
Section 8.3, the aggrieved party shall be entitled to all rights and remedies available at law or in equity; and provided, further, that the expense
reimbursement and indemnification obligations contained in Section 6.11 and Section 6.12, and the provisions of this Section 8.2, Section 8.3,
Section 8.6 and Article IX shall survive any termination of this Agreement pursuant to Section 8.1 in accordance with their respective terms.

      Section 8.3 Termination Fee.

             (a) In the event that:
                    (i) (A) a Third Party shall have made a Competing Proposal after the date of this Agreement, (B) this Agreement is subsequently
      terminated by (x) the Company or Parent pursuant to Section 8.1(b)(iii) or (y) Parent pursuant to Section 8.1(d)(i), and at the time of such
      Company Stockholders’ Meeting in the case of clause (x) or at the time of such breach in the case of clause (y), a Competing Proposal has been
      publicly announced and has not been withdrawn, and (C) within twelve (12) months of such termination of this Agreement, the Company
      consummates a transaction involving a Competing Proposal or enters into a definitive agreement providing for the consummation of a Competing
      Proposal and such Competing Proposal is subsequently consummated; provided, however, that for purposes of this Section 8.3(a)(i), the
      references to “fifteen percent (15%)” in the definition of Competing Proposal shall be deemed to be references to “fifty percent (50%)”;
                   (ii) this Agreement is terminated by the Company pursuant to Section 8.1(c)(ii); or
                   (iii) this Agreement is terminated by Parent pursuant to Section 8.1(d)(ii), then
      the Company shall (A) in the case of clause (i) above, no later than two (2) Business Days following the date of the consummation of such
      transaction involving a Competing Proposal, (B) in the case of clause (ii) above, prior to or substantially concurrently with such termination, and
      (C) in the case of this clause (iii), no later than two (2) Business Days after the date of such termination, pay, or cause to be paid, by wire transfer
      of immediately available funds, at the direction of Parent, the Termination Fee; it being understood that in no event shall the Company be required
      to pay the Termination Fee on more than one occasion.

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              (b) In the event that:
                    (i) the Agreement is terminated by the Company pursuant to Section 8.1(c)(i);
                    (ii) the Agreement is terminated by the Company pursuant to Section 8.1(c)(iii), then
      Parent shall no later than two (2) Business Days after the date of such termination, pay, or cause to be paid, by wire transfer of immediately
      available funds, at the direction of the Company, the Parent Termination Fee; it being understood that in no event shall Parent be required to pay
      the Parent Termination Fee on more than one occasion.

               (c) Notwithstanding anything to the contrary set forth in this Agreement, but subject to Section 9.9, (i) except in the case of a knowing and
intentional breach of this Agreement by the Company (in which case Parent shall be entitled to seek monetary damages, recovery or award from the
Company in an amount not to exceed the amount of the Termination Fee in the aggregate), Parent’s right to receive payment from the Company of the
Termination Fee pursuant to Section 8.3(a), shall constitute the sole and exclusive monetary remedy of Parent and Acquisition Sub against the Company
and its Subsidiaries and any of their respective former, current or future general or limited partners, stockholders, members, managers, directors,
officers, employees, agents, Affiliates or assignees of any of the foregoing (collectively, the “Company Related Parties”) for all losses and damages
suffered as a result of the failure of the transactions contemplated by this Agreement to be consummated or for a breach or failure to perform hereunder,
and upon payment of such amount, none of the Company Related Parties shall have any further liability or obligation relating to or arising out of this
Agreement or the transactions contemplated by this Agreement (except that the Company shall also be obligated with respect to Section 8.6); provided,
that, in no event shall the Company be subject to an aggregate amount for monetary damages (including any payment of the Termination Fee) in excess
of an aggregate amount equal to the Termination Fee (except in all cases that the Company shall also be obligated with respect to its applicable
obligations under Section 8.3(d) and Section 8.6), and (ii) except in the case of a knowing and intentional breach of this Agreement by the Equity
Investor, Parent or Acquisition Sub (in which case the Company shall be entitled to seek monetary damages, recovery or award from the Equity Investor,
Parent or Acquisition Sub in an amount not to exceed the amount of the Parent Termination Fee, in the aggregate), the Company’s right to receive
payment from Parent of the Parent Termination Fee pursuant to Section 8.3(b), shall constitute the sole and exclusive monetary remedy of the Company
against the Parent, Acquisition Sub and the Equity Investor and any of their respective former, current or future general or limited partners, stockholders,
members, managers, directors, officers, employees, agents, Affiliates or assignees of any of the foregoing (collectively, the “Parent Related Parties”)
for all losses and damages suffered as a result of the failure of the transactions contemplated by this Agreement, the Equity Commitment Letter or the
Parent Guarantee to be consummated or for a breach or failure to perform the applicable provisions hereunder, and upon payment of such amount, none
of the Parent Related Parties shall have any further liability or obligation relating to or arising out of this Agreement, the Equity Commitment Letter or
the Parent Guarantee or the transactions contemplated by thereby (except in all cases that Parent shall also be obligated with respect to its expense
reimbursement and indemnification obligations contained in Section 6.11 and its

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applicable obligations under Section 8.3(d)(iii) and Section 8.6(b)); provided, that, in no event shall Equity Investor, Parent or Acquisition Sub
collectively be subject to an aggregate amount for monetary damages (including any payment of the Parent Termination Fee) in excess of an aggregate
amount equal to the Parent Termination Fee (except in all cases that Parent shall also be obligated with respect to its expense reimbursement and
indemnification obligations contained in Section 6.11 and its applicable obligations under Section 8.3(d)(iii) and Section 8.6(b)). For the avoidance of
doubt, any liability or obligation of the Parent, Acquisition Sub or Equity Investor hereunder shall be subject to the terms of the Equity Commitment
Letter and the Parent Guarantee.

               (d) Each of the parties hereto acknowledges that (i) the agreement contained in this Section 8.3 is an integral part of the transactions
contemplated by this Agreement, (ii) the Termination Fee is not a penalty, but is liquidated damages, in a reasonable amount that will compensate Parent
and its Affiliates in the circumstances in which such fee is payable for the efforts and resources expended and opportunities foregone while negotiating
this Agreement and in reliance on this Agreement and on the expectation of the consummation of the transactions contemplated by this Agreement,
which amount would otherwise be impossible to calculate with precision, and (iii) without the agreement contained in this Section 8.3, the parties would
not enter into this Agreement, accordingly, if the Company or Parent, as the case may be, fails to timely pay any amount due pursuant to this Section 8.3
and, in order to obtain such payment, either Parent or the Company, as the case may be, commences a suit that results in a judgment against the other
party for the payment of any amount set forth in this Section 8.3, such paying party shall pay the other party its costs and Expenses in connection with
such suit, together with interest on such amount at the annual rate of five percent (5%) plus the prime rate as published in The Wall Street Journal in
effect on the date such payment was required to be made through the date such payment was actually received, or such lesser rate as is the maximum
permitted by applicable law.

      Section 8.4 Amendment. This Agreement may be amended by mutual agreement of the parties hereto by action taken by or on behalf of their
respective boards of directors at any time before or after receipt of the Company Stockholder Approval; provided, however, that (i) after the Company
Stockholder Approval has been obtained, there shall not be any amendment that by Law or in accordance with the rules of any stock exchange requires
further approval by the Company’s stockholders without such further approval of such stockholders nor any amendment or change not permitted under
applicable Law and (ii) any amendment of this Section 8.4, Section 8.3(b), Section 8.3(c), Section 9.4, Section 9.7, Section 9.8, Section 9.10,
Section 9.12 or Section 9.13, in each case, to the extent such amendment would adversely affect the rights of a Debt Financing Source party to the Debt
Commitment Letter under such Section, shall also be approved by such Debt Financing Source. This Agreement may not be amended except by an
instrument in writing signed by each of the parties hereto.

       Section 8.5 Extension; Waiver. At any time prior to the Effective Time, subject to applicable Law, the Company may (a) extend the time for the
performance of any obligation or other act of Parent or Acquisition Sub, (b) waive any inaccuracy in the representations and warranties of Parent or
Acquisition Sub contained herein or in any document delivered pursuant hereto and (c) waive compliance with any agreement or condition by Parent or
Acquisition Sub contained herein. Any such extension or waiver shall only be valid if set forth in an instrument in writing signed by the party or parties
to be bound thereby. Notwithstanding the foregoing, no failure or delay by the Company, Parent or Acquisition Sub in exercising any right hereunder
shall operate as a waiver thereof nor shall any single or partial exercise thereof preclude any other or further exercise of any other right hereunder. Any
agreement on the part of a party hereto to any such extension or waiver shall be valid only if set forth in an instrument in writing signed on behalf of
such party.

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      Section 8.6 Expenses; Transfer Taxes.

            (a) Except as expressly set forth herein, all Expenses incurred in connection with this Agreement and the transactions contemplated by this
Agreement shall be paid by the party incurring such Expenses.

              (b) Parent shall timely and duly pay all (i) transfer, stamp and documentary Taxes or fees, (ii) sales, use, gains, real property transfer and
other similar Taxes or fees arising out of or in connection with entering into and carrying out this Agreement and (iii) filing fees incurred in connection
with any applications and filings under any Antitrust Laws or Foreign Investment Laws.


                                                                       ARTICLE IX

                                                                GENERAL PROVISIONS
       Section 9.1 Non-Survival of Representations, Warranties and Agreements. The representations, warranties, covenants and agreements in this
Agreement and any certificate delivered pursuant hereto by any Person shall terminate at the Effective Time or, except as provided in Section 8.2, upon
the termination of this Agreement pursuant to Section 8.1, as the case may be, except that this Section 9.1 shall not limit any covenant or agreement of
the parties which by its terms contemplates performance after the Effective Time or after termination of this Agreement, including those contained in
Section 6.6 and Section 6.9.

      Section 9.2 Notices. All notices, consents and other communications hereunder shall be in writing and shall be given (and shall be deemed to have
been duly given upon receipt) by hand delivery, by prepaid overnight courier (providing written proof of delivery) or by confirmed electronic mail,
addressed as follows:
                    if to Parent or Acquisition Sub:
                                  ***
                                  Attn: Elon Musk
                    with a copy (which shall not constitute notice) to:
                                  Skadden, Arps, Slate, Meagher & Flom LLP
                                  525 University Ave, Suite 1400
                                  Palo Alto, California 94301
                                  Attn: Mike Ringler
                                         Sonia K. Nijjar
                                         Dohyun Kim

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                                  Email: ***
                                         ***
                                         ***
                    if to the Company:
                                  Twitter, Inc.
                                  1355 Market Street, Suite 900
                                  San Francisco, California 94103
                                  Attn: General Counsel
                                  Email: ***
                    with a copy (which shall not constitute notice) to:
                                  Wilson Sonsini Goodrich & Rosati
                                  Professional Corporation
                                  650 Page Mill Road
                                  Palo Alto, CA 94304-1050
                                  Attn:     Katharine A. Martin
                                           Martin W. Korman
                                           Douglas K. Schnell
                                           Remi P. Korenblit
                                  Email: ***
                                          ***
                                          ***
                                          ***
                                  and
                                  Simpson Thacher & Bartlett LLP
                                  425 Lexington Avenue
                                  New York, New York 10017
                                  Attn: Alan Klein
                                      Anthony F. Vernace
                                      Katherine M. Krause
                                  Email: ***
                                          ***
                                          ***

or to such other address or electronic mail address for a party as shall be specified in a notice given in accordance with this Section 9.2; provided that
any notice received by electronic mail or otherwise at the addressee’s location on any Business Day after 5:00 p.m. (addressee’s local time) or on any
day that is not a Business Day shall be deemed to have been received at 9:00 a.m. (addressee’s local time) on the next Business Day; provided, further,
that notice of any change to the address or any of the other details specified in or pursuant to this Section 9.2 shall not be deemed to have been received
until, and shall be deemed to have been received upon, the later of the date specified in such notice or the date that is five (5) Business Days after such
notice would otherwise be deemed to have been received pursuant to this Section 9.2.

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      Section 9.3 Interpretation; Certain Definitions.

              (a) The parties have participated jointly in the negotiation and drafting of this Agreement. In the event an ambiguity or question of intent or
interpretation arises, this Agreement shall be construed as if drafted jointly by the parties, and no presumption or burden of proof shall arise favoring or
disfavoring any party by virtue of the authorship of any provisions of this Agreement.

              (b) Disclosure of any fact, circumstance or information in any Section of the Company Disclosure Letter or Parent Disclosure Letter shall
be deemed to be disclosure of such fact, circumstance or information with respect to any other Section of the Company Disclosure Letter or Parent
Disclosure Letter, respectively, only if it is reasonably apparent that such disclosure relates to any such other Section. The inclusion of any item in the
Company Disclosure Letter or Parent Disclosure Letter shall not be deemed to be an admission or evidence of materiality of such item, nor shall it
establish any standard of materiality for any purpose whatsoever.

                (c) The words “hereof,” “herein,” “hereby,” “hereunder” and “herewith” and words of similar import shall refer to this Agreement as a
whole and not to any particular provision of this Agreement. References to articles, sections, paragraphs, exhibits, annexes and schedules are to the
articles, sections and paragraphs of, and exhibits, annexes and schedules to, this Agreement, unless otherwise specified, and the table of contents and
headings in this Agreement are for reference purposes only and shall not affect in any way the meaning or interpretation of this Agreement. Whenever
the words “include,” “includes” or “including” are used in this Agreement, they shall be deemed to be followed by the phrase “without limitation.”
Words describing the singular number shall be deemed to include the plural and vice versa, words denoting any gender shall be deemed to include all
genders, words denoting natural persons shall be deemed to include business entities and vice versa, and references to a Person are also to its permitted
successors and assigns. The phrases “the date of this Agreement” and “the date of this Agreement” and terms or phrases of similar import shall be
deemed to refer to April 25, 2022, unless the context requires otherwise. When used in reference to the Company or its Subsidiaries, the term “material”
shall be measured against the Company and its Subsidiaries, taken as a whole. References to any statute shall be deemed to refer to such statute as
amended from time to time and to any rules or regulations promulgated thereunder (provided that for purposes of any representations and warranties
contained in this Agreement that are made as of a specific date or dates, references to any statute shall be deemed to refer to such statute, as amended,
and to any rules or regulations promulgated thereunder, in each case, as of such date). Terms defined in the text of this Agreement have such meaning
throughout this Agreement, unless otherwise indicated in this Agreement, and all terms defined in this Agreement shall have the meanings when used in
any certificate or other document made or delivered pursuant hereto unless otherwise defined therein. Any Law defined or referred to herein or in any
agreement or instrument that is referred to herein means such Law as from time to time amended, modified or supplemented, including (in the case of
statutes) by succession of comparable successor Laws (provided that for purposes of any representations and warranties contained in this Agreement that
are made as of a specific date or dates, references to any statute shall be deemed to refer to such statute, as amended, and to any rules or regulations
promulgated thereunder, in each case, as of such date). All references to “dollars” or “$” refer to currency of the U.S. Nothing contained in Article IV or
Article V may be construed as a covenant under the terms of this Agreement, other than the acknowledgments and agreements set forth in Section 4.25
and Section 5.10 to the extent necessary to give full effect to the acknowledgments and agreements set forth therein.

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      Section 9.4 Severability. If any term, provision, covenant or restriction of this Agreement is held by a court of competent jurisdiction or other
authority to be invalid, void, illegal, unenforceable or against its regulatory policy, the remainder of the terms, provisions, covenants and restrictions of
this Agreement shall remain in full force and effect and shall in no way be affected, impaired or invalidated. Upon such determination that any term or
other provision is invalid, void, illegal, unenforceable or against its regulatory policy, the parties hereto shall negotiate in good faith to modify this
Agreement so as to effect the original intent of the parties hereto as closely as possible in a mutually acceptable manner in order that the transactions
contemplated by this Agreement, including the Merger, be consummated as originally contemplated to the fullest extent possible.

      Section 9.5 Assignment. Neither this Agreement nor any of the rights, interests or obligations hereunder shall be assigned by any of the parties
hereto (whether by operation of Law or otherwise) without the prior written consent of the other parties. Subject to the preceding sentence, this
Agreement will be binding upon, inure to the benefit of and be enforceable by the parties and their respective permitted successors and assigns. Any
attempted assignment in violation of this Section 9.5 shall be null and void.

       Section 9.6 Entire Agreement. This Agreement (including the exhibits, annexes and appendices hereto) constitutes, together with the Company
Disclosure Letter and the Parent Disclosure Letter, the entire agreement, and supersedes all other prior agreements and understandings, both written and
oral, among the parties, or any of them, with respect to the subject matter hereof.

      Section 9.7 No Third-Party Beneficiaries. Subject to Section 9.13, this Agreement is not intended to and shall not confer upon any Person other
than the parties hereto any rights or remedies hereunder; provided, however, that it is specifically intended that (A) the D&O Indemnified Parties (with
respect to Section 6.6 from and after the Effective Time), (B) the Company Related Parties (with respect to Section 8.3) are third-party beneficiaries and
(C) the Parent Related Parties (with respect to Section 8.3) are third-party beneficiaries.

       Section 9.8 Governing Law. This Agreement and all actions, proceedings or counterclaims (whether based on contract, tort or otherwise) arising
out of or relating to this Agreement, or the actions of Parent, Acquisition Sub or the Company in the negotiation, administration, performance and
enforcement thereof, shall be governed by, and construed in accordance with, the laws of the State of Delaware, without giving effect to any choice or
conflict of laws provision or rule (whether of the State of Delaware or any other jurisdiction) that would cause the application of the Laws of any
jurisdiction other than the State of Delaware.

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      Section 9.9 Specific Performance.

              (a) The parties hereto agree that irreparable damage for which monetary damages, even if available, would not be an adequate remedy,
would occur in the event that the parties hereto do not perform the provisions of this Agreement (including failing to take such actions as are required of
it hereunder to consummate this Agreement) in accordance with its specified terms or otherwise breach such provisions. Accordingly, the parties hereto
acknowledge and agree that the parties hereto shall be entitled to an injunction, specific performance and other equitable relief to prevent breaches of
this Agreement and to enforce specifically the terms and provisions hereof, in addition to any other remedy to which they are entitled at law or in equity.
Each of the parties hereto agrees that it will not oppose the granting of an injunction, specific performance and other equitable relief on the basis that
any other party has an adequate remedy at law or that any award of specific performance is not an appropriate remedy for any reason at law or in equity.
Any party seeking an injunction or injunctions or any other equitable relief to prevent breaches of this Agreement and to enforce specifically the terms
and provisions of this Agreement shall not be required to show proof of actual damages or provide any bond or other security in connection with any
such order or injunction.

              (b) Notwithstanding anything herein to the contrary, including the availability of the Parent Termination Fee or other monetary damages,
remedy or award, it is hereby acknowledged and agreed that the Company shall be entitled to specific performance or other equitable remedy to enforce
Parent and Acquisition Sub’s obligations to cause the Equity Investor to fund the Equity Financing, or to enforce the Equity Investor’s obligation to fund
the Equity Financing directly, and to consummate the Closing if and for so long as, (i) all of the conditions set forth in Section 7.1 and Section 7.2 (other
than those conditions that are to be satisfied at the Closing; provided, that such conditions are capable of being satisfied if the Closing were to occur at
such time) have been satisfied or waived and Parent has failed to consummate the Closing on the date required pursuant to the terms of Section 2.2, (ii)
the Debt Financing (or, as applicable, the Alternative Financing) has been funded or will be funded at the Closing if the Equity Financing is funded at
the Closing, and (iii) the Company has confirmed that, if specific performance or other equity remedy is granted and the Equity Financing and Debt
Financing are funded, then the Closing will occur. For the avoidance of doubt, (A) while the Company may concurrently seek (x) specific performance
or other equitable relief, subject to the terms of this Section 9.9, and (y) payment of the Parent Termination Fee or other monetary damages, remedy or
award if, as and when required pursuant to this Agreement), under no circumstances shall the Company be permitted or entitled to receive both a grant
of specific performance to cause the Equity Financing to be funded, on the one hand, and payment of the Parent Termination Fee or other monetary
damages, remedy or award, on the other hand; provided, however, that in no event shall the Company be permitted or entitled to receive aggregate
monetary damages in excess of the Parent Termination Fee (except in all cases that Parent shall also be obligated with respect to its expense
reimbursement and indemnification obligations contained in Section 6.11 and its applicable obligations under Section 8.3(d)(iii) and Section 8.6(b)).

              (c) To the extent any party hereto brings an action, suit or proceeding to specifically enforce the performance of the terms and provisions
of this Agreement (other than an action to enforce specifically any provision that expressly survives the termination of this Agreement), the Termination
Date shall automatically be extended to (i) the twentieth (20th) Business Day following the resolution of such action, suit or proceeding or (ii) such
other time period established by the court presiding over such action, suit or proceeding.

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      Section 9.10 Consent to Jurisdiction.

              (a) Each of the parties hereto hereby (i) expressly and irrevocably submits to the exclusive personal jurisdiction of the Delaware Court of
Chancery, any other court of the State of Delaware or any federal court sitting in the State of Delaware in the event any dispute arises out of this
Agreement or the transactions contemplated by this Agreement, (ii) agrees that it will not attempt to deny or defeat such personal jurisdiction by motion
or other request for leave from any such court, (iii) agrees that it will not bring any action relating to this Agreement or the transactions contemplated by
this Agreement in any court other than the Delaware Court of Chancery, any other court of the State of Delaware or any federal court sitting in the State
of Delaware, (iv) waives, to the fullest extent it may legally and effectively do so, any objection which it may now or hereafter have to the laying of
venue of any suit, action or proceeding arising out of or relating to this Agreement and (v) agrees that each of the other parties shall have the right to
bring any action or proceeding for enforcement of a judgment entered by the state courts of the Delaware Court of Chancery, any other court of the State
of Delaware or any federal court sitting in the State of Delaware. Each of the Equity Investor, Parent, Acquisition Sub and the Company agrees that a
final judgment in any action or proceeding shall be conclusive and may be enforced in other jurisdictions by suit on the judgment or in any other manner
provided by Law.

               (b) Each party hereto irrevocably consents to the service of process outside the territorial jurisdiction of the courts referred to in
Section 9.10(a) in any such action or proceeding by mailing copies thereof by registered or certified U.S. mail, postage prepaid, return receipt requested,
to its address as specified in or pursuant to Section 9.2. However, the foregoing shall not limit the right of a party to effect service of process on the other
party by any other legally available method.

      Section 9.11 Counterparts. This Agreement may be executed in multiple counterparts, all of which shall together be considered one and the same
agreement. Delivery of an executed signature page to this Agreement by electronic transmission shall be as effective as delivery of a manually signed
counterpart of this Agreement.

     Section 9.12 WAIVER OF JURY TRIAL. EACH OF THE EQUITY INVESTOR, PARENT, ACQUISITION SUB AND THE COMPANY
HEREBY IRREVOCABLY WAIVES ALL RIGHT TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM (WHETHER
BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE ACTIONS OF PARENT,
ACQUISITION SUB OR THE COMPANY IN THE NEGOTIATION, ADMINISTRATION, PERFORMANCE AND ENFORCEMENT THEREOF
(INCLUDING THE DEBT FINANCING).

      Section 9.13 Debt Financing Source Related Party. Notwithstanding anything in this Agreement to the contrary, but in all cases subject to and
without in any way limiting the rights and claims of Parent or any of its Affiliates under and pursuant to any debt commitment letter or other applicable
definitive document relating to the Debt Financing, the Company hereby:

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               (a) agrees that any claim, action, suit, investigation or other proceeding, whether in law or in equity, whether in contract or in tort or
otherwise, involving the Debt Financing Sources, arising out of or relating to, this Agreement and/or the Debt Financing or any of the agreements
entered into in connection therewith or any of the transactions contemplated hereby or thereby or the performance of any services thereunder shall be
subject to the exclusive jurisdiction of the Supreme Court of the State of New York, County of New York, or, if under applicable law exclusive
jurisdiction is vested in the Federal courts, the United States District Court for the Southern District of New York sitting in New York County (and
appellate courts thereof) and each party hereto irrevocably submits itself and its property with respect to any such claim, action, suit, investigation or
other proceeding to the exclusive jurisdiction of such court;

              (b) agrees that any such claim, action, suit, investigation or other proceeding shall be governed by the laws of the State of New York
(without giving effect to any conflicts of law principles that would result in the application of the laws of another state), except as otherwise provided in
any debt commitment letter or other applicable definitive document relating to the Debt Financing;

               (c) agrees not to bring or support or permit any of its respective Affiliates to bring or support any claim, action, suit, investigation or other
proceeding of any kind or description, whether in law or in equity, whether in contract or in tort or otherwise, against any Debt Financing Source in any
way arising out of or relating to, this Agreement or the Debt Financing or any of the transactions contemplated hereby or the performance of any
services thereunder in any forum other than the Supreme Court of the State of New York, County of New York, or, if under applicable law exclusive
jurisdiction is vested in the Federal courts, the United States District Court for the Southern District of New York sitting in New York County (and
appellate courts thereof);

              (d) irrevocably waives, to the fullest extent that it may effectively do so, the defense of an inconvenient forum to the maintenance of such
claim, action, suit, investigation or other proceeding in any such court;

         (e) KNOWINGLY, INTENTIONALLY AND VOLUNTARILY WAIVES TO THE FULLEST EXTENT PERMITTED BY
APPLICABLE LAW TRIAL BY JURY IN ANY CLAIM, ACTION, SUIT, INVESTIGATION OR OTHER PROCEEDING BROUGHT
AGAINST ANY DEBT FINANCING SOURCE RELATED PARTY IN ANY WAY ARISING OUT OF OR RELATING TO, THIS
AGREEMENT OR THE DEBT FINANCING OR ANY OF THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY OR THE
PERFORMANCE OF ANY SERVICES THEREUNDER;

               (f) agrees that no Debt Financing Source Related Party will have any liability to the Company or any its Affiliates or Representatives
relating to or arising out of this Agreement or the Debt Financing or any of the transactions contemplated hereby or thereby or the performance of any
services thereunder, whether in law or in equity, whether in contract or in tort or otherwise; and

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              (g) agrees that the Debt Financing Sources are express third party beneficiaries of, and may enforce, any of the provisions of this
Section 9.13 and that such provisions and the definitions of “Debt Financing Sources” and “Debt Financing Source Related Party” shall not be amended
or waived in any way adverse to the rights of any Debt Financing Source without the prior written consent of such Debt Financing Source.

                                                    [Remainder of page intentionally left blank.]

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      IN WITNESS WHEREOF, each of Parent, Acquisition Sub, the Company and, solely with respect to the Specified Provisions, the undersigned
individual, have caused this Agreement to be executed as of the date first written above in their individual capacity or by their respective officers
thereunto duly authorized, as applicable.

                                                                                           X HOLDINGS I, INC.

                                                                                           By: /s/ Elon R. Musk
                                                                                               Name: Elon R. Musk
                                                                                               Title: President, Secretary and Treasurer

                                                                                           X HOLDINGS II, INC.

                                                                                           By: /s/ Elon R. Musk
                                                                                               Name: Elon R. Musk
                                                                                               Title: President, Secretary and Treasurer

                                                   [Signature Page to Agreement and Plan of Merger]
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                                                               TWITTER, INC.

                                                               By: /s/ Bret Taylor
                                                                   Name: Bret Taylor
                                                                   Title: Chair of the Board of Directors

                         [Signature Page to Agreement and Plan of Merger]
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                                                               SOLELY WITH RESPECT TO THE SPECIFIED
                                                               PROVISIONS:

                                                               ELON R. MUSK

                                                               /s/ Elon R. Musk

                         [Signature Page to Agreement and Plan of Merger]
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                                                                      SCHEDULE A
                                                                   Specified Jurisdictions
With respect to Section 7.1(b):
      Any Consent or approval that is required under any Antitrust Laws or Foreign Investment Laws of the following jurisdictions, including as a result
      of any interventions by a Governmental Authority or voluntary filings under any Antitrust Laws or Foreign Investment Laws that Parent
      determines to make (for the avoidance of doubt, an approval shall be deemed to be required once the Parent determines it will make a voluntary
      filing in that jurisdiction, but only if an approval is typically granted for a filing of such a type in such a jurisdiction, whether through a decision or
      deemed by expiry of any applicable waiting periods):
      1.      The federal government of the United States
      2.      The State of Delaware
      3.      Japan
      4.      The United Kingdom
      5.      The European Commission (but not any member states)

With respect to Section 7.1(c):
      1.      The federal government of the United States
      2.      The State of Delaware
      3.      Japan
      4.      The United Kingdom
      5.      The European Commission (but not any member states)
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                                                                                                                Exhibit 2 1




                                                AGREEMENT AND PLAN OF MERGER

                                                               by and between

                                               INTERCONTINENTALEXCHANGE INC.,

                                       BOARD OF TRADE OF THE CITY OF NEW YORK, INC.

                                                                     and

                                                         CFC ACQUISITION CO.

                                                      Dated as of September 14, 2006




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                                                 AGREEMENT AND PLAN OF MERGER

        This AGREEMENT AND PLAN OF MERGER (this “Agreement”), dated as of September 14, 2006, is by and among
  IntercontinentalExchange, Inc., a Delaware corporation (“ICE”), CFC Acquisition Co., a Delaware corporation (“Merger Sub“) and Board
  of Trade of the City of New York, Inc., a New York not-for-profit corporation (“NYBOT”).


                                                                RECITALS
       WHEREAS, in accordance with and subject to the New York Not-For-Profit Corporation Law (the “N-PCL”) and the bylaws of
  NYBOT, all record owners of regular memberships in NYBOT other than NYBOT and its Subsidiaries (the “Members”) own (i) Equity
  Memberships (as defined under the bylaws and rules of NYBOT) (the “Membership Interests”) and (ii) Trading Rights (as hereinafter
  defined) associated with such Membership Interests;

       WHEREAS, ICE desires to acquire all of the Membership Interests on the terms and subject to the conditions set forth in this
  Agreement and to leave certain Trading Rights outstanding and exercisable from and after the Effective Time through the Surviving
  Corporation (as hereinafter defined) on the terms and subject to the conditions set forth in the Bylaws and the Rules (as hereinafter
  defined);

        WHEREAS, the Boards of Directors of ICE, Merger Sub and NYBOT have each determined that it is advisable and in the best
  interests of their respective members (in the case of NYBOT) and stockholders (in the case of ICE and Merger Sub) to consummate, and
  have approved, the business combination transaction provided for herein in which NYBOT would merge with and into Merger Sub and
  Merger Sub would continue to be a wholly owned subsidiary of ICE (the “Merger”);

        WHEREAS, it is intended that, for United States federal income tax purposes, the Merger shall qualify as a “reorganization” under
  the provisions of Section 368(a) of the Internal Revenue Code of 1986, as amended (the “Code”); and

        WHEREAS, each of ICE and NYBOT desires to make certain representations, warranties, covenants and agreements in connection
  with this Agreement.

       NOW, THEREFORE, in consideration of the premises, and of the representations, warranties, covenants and agreements contained
  herein, the parties hereto agree as follows:


                                                                  ARTICLE I
                                                     Formation of Surviving Corporation

             1.1. Organization of the Surviving Corporation. The certificate of incorporation (the “Charter”) of Merger Sub (the “Surviving
       Corporation”) and the bylaws of the Surviving Corporation (the “Bylaws”) shall be substantially in the forms attached hereto as
       Exhibit A and Exhibit B, respectively. Promptly after the date hereof, and in any event prior to the mailing of the Proxy
       Statement/Prospectus to the Members, ICE and NYBOT shall cooperate to prepare a draft of the rules of the Surviving Corporation
       (the “Rules”); provided, however, that such draft Rules shall be identical to the rules of NYBOT as in effect as of the date of this
       Agreement with only such changes as are reasonably necessary to conform such Rules to the Bylaws and this Agreement and such
       other changes as the parties mutually agree. Notwithstanding the foregoing, ICE may (but shall not be required to) modify or amend
       the Charter, Bylaws and/or the Rules, subject to the restrictions contained in Article XVI of the Bylaws, in response to requirements
       imposed by, or comments received from, the Commodities Futures Trading Commission (“CFTC”) or its staff or any other
       governmental authority with lawful jurisdiction without the consent of




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       NYBOT after giving NYBOT notice of such proposed modification or amendment, unless, within five business days of receiving
       such notice, NYBOT notifies ICE that it has determined in good faith that the modifications or amendments are reasonably likely to
       have a material adverse effect on the Surviving Corporation.
             1.2. Directors of the Surviving Corporation.
             (a) From and after the Effective Time, each of the members of the Board of Directors of the Surviving Corporation shall be
       appointed by ICE, subject to compliance by ICE with all applicable legal, regulatory and listing requirements relating to the
       composition of the Surviving Corporation’s Board of Directors and subject to Section 1.2(b). Each such director shall remain in
       office until his or her successors are duly elected or appointed, as the case may be, and qualified in accordance with the Charter, the
       Bylaws and applicable Law or until his or her earlier death, resignation or removal in accordance with the Charter and the Bylaws.
            (b) As of the Effective Time, ICE shall elect, as members of the Board of Directors of the Surviving Corporation, the
       individuals identified in Annex 1.2(b)(x). ICE shall take all requisite action to ensure that two of the individuals (determined in ICE’s
       discretion) identified in Annex 1.2(b)(y) (the “NYBOT Designees”) shall serve as members of the Board of Directors of the
       Surviving Corporation for one two-year term from and after the Effective Time.
            (c) As of the Effective Time, ICE shall take all requisite action to ensure that four of the individuals (determined in ICE’s
       discretion) identified in Annex 1.2(b)(y) (the “Public Directors”) shall serve as members of the Board of Directors of the Surviving
       Corporation for four one-year terms from and after the Effective Time.
            1.3. Officers of the Surviving Corporation. At the Effective Time, ICE shall cause the officers and directors of NYBOT
       immediately prior to the Effective Time (other than the Chief Executive Officer of NYBOT) to be the executive officers of the
       Surviving Corporation. The Chief Executive Officer of Merger Sub prior to the Effective Time shall become the Chief Executive
       Officer of the Surviving Corporation. Each officer of the Surviving Corporation shall remain in office until his or her successor is
       duly appointed in accordance with the Bylaws and applicable Law or until his or her earlier death, resignation or removal in
       accordance with the Charter and the Bylaws.


                                                                  ARTICLE II
                                                                  The Merger

            2.1. The Merger. Upon the terms and subject to the conditions set forth in this Agreement, at the Effective Time, NYBOT shall
       be merged with and into the Surviving Corporation, and the separate corporate existence of NYBOT shall thereupon cease. The
       Surviving Corporation shall be the surviving entity in the Merger and shall continue its existence under the laws of the State of
       Delaware, with all its rights, privileges, immunities, powers and franchises. After the Merger, the Surviving Corporation shall
       continue to be a wholly owned Subsidiary of ICE. The Merger shall have the effects specified in the Delaware General Corporation
       Law, as amended (the “DGCL”) and the N-PCL.
             2.2. Closing. Unless otherwise mutually agreed in writing between ICE and NYBOT, the closing for the Merger (the “Closing”)
       shall take place at the offices of Sullivan & Cromwell LLP, 125 Broad Street, New York, New York 10004, at 10:00 a m. on the last
       business day (the “Closing Date”) of the week in which the last to be fulfilled or waived of the conditions set forth in Article VII
       (other than those conditions that by their nature are to be satisfied at the Closing, but subject to the fulfillment or waiver of those
       conditions) shall be satisfied or waived in accordance with this Agreement, unless another time, date or place is agreed to in writing.

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             2.3. Effective Time.
             (a) As soon as practicable following the satisfaction or waiver (subject to applicable Law) of the conditions set forth in Article
       VII, on the Closing Date, the parties shall file or deliver, as appropriate, the Certificates of Merger with or to the Secretary of State of
       Delaware and with the Department of State of New York in such form as is required by and executed and acknowledged in
       accordance with the relevant provisions of the N-PCL and DGCL, as appropriate, and make all other filings or recordings required
       under the N-PCL and DGCL, as appropriate.
              (b) The Merger shall become effective at (i) the date and time on which a certificate of merger relating to the Merger (the
       “Delaware Certificate of Merger”) is duly filed with the Secretary of State of Delaware as required to effect such merger and a
       certificate of merger relating to the Merger (the “New York Certificate of Merger” and, together with the Delaware Certificate of
       Merger, the “Certificates of Merger”) is duly filed by the Department of State of New York as required to effect such merger, or
       (ii) such subsequent time as ICE and NYBOT shall agree and as shall be specified in the Certificates of Merger (such time that the
       Merger shall become effective being the “Effective Time”).


                                                                   ARTICLE III
                                     Certificate of Incorporation and Bylaws of the Surviving Corporation

            3.1. Certificate of Incorporation. The Charter as in effect immediately prior to the Effective Time shall be the certificate of
       incorporation of the Surviving Corporation, until duly amended as provided therein or by applicable Law.
           3.2. Bylaws. The parties hereto shall take all actions necessary so that the Bylaws in effect immediately prior to the Effective
       Time shall be the bylaws of the Surviving Corporation (subject to any mutually agreeable changes to conform the terminology in the
       Bylaws and the Rules) until thereafter amended as provided therein or by applicable Law.
             3.3. Rules. The parties hereto shall take all actions necessary so that the draft Rules as mutually agreed pursuant to Section 1.1
       shall be the Rules until thereafter amended as provided in the Bylaws or by applicable Law.


                                                                   ARTICLE IV
                                        Effect of the Merger on Membership Interests and Capital Stock

          4.1. Effect on Membership Interests. As a result of the Merger and without any action on the part of the holder of any
       Membership Interest:
            (a) At the Effective Time, each Membership Interest issued and outstanding immediately prior to the Effective Time shall
       automatically be converted into and constitute the right to receive, at the election of the Member that is the holder of such
       Membership Interest as provided in and subject to the provisions of Section 4.3, either:
             (i) (A) 17,025 shares of newly issued, fully paid and nonassessable shares of common stock, par value $.01 per share, of ICE
       (“ICE Common Stock”), plus (B) at the time and in the manner set forth in Section 4.7, the right to receive the Per Interest Excess
       Consideration (as hereinafter defined), if any, plus (C) the Per Interest Additional Stock Consideration (as hereinafter defined), if any
       (collectively, the “Stock Consideration”); or
            (ii) (A) the right to receive an amount of cash equal to $1,074,719, plus (B) at the time and in the manner set forth in
       Section 4.7, the right to receive the Per Interest Excess Consideration (as hereinafter

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       defined), if any, plus (C) the Per Interest Additional Cash Consideration (as hereinafter defined), if any (collectively, the “Cash
       Consideration” and, together with the Stock Consideration, the “Merger Consideration”).
             (b) From and after the Effective Time, no Membership Interests shall remain outstanding, in treasury or authorized but
       unissued, and all Membership Interests shall be cancelled and retired and shall cease to exist. Each entry in the Member records of
       NYBOT formerly representing an issued and outstanding Membership Interest (a “Book Entry Interest”) shall thereafter represent
       only (i) the right to receive the Merger Consideration, (ii) the right, if any, to receive pursuant to Section 4.4(e) cash in lieu of
       fractional shares and (iii) the right to receive any distribution or dividend pursuant to Section 4.4(c), if any.
             (c) Each right to execute trades in Commodity Contracts (as defined in NYBOT’s rules as of the date of this Agreement) on the
       Exchange (as defined in NYBOT’s rules as of the date of this Agreement), whether granted as a Trading Permit (as defined in
       NYBOT’s rules as of the date of this Agreement), belonging to a Membership Interest, a Lessee Member (as hereinafter defined), or
       as otherwise shall have been in existence (a “Trading Right”) shall be and become, automatically at the Effective Time, solely the
       right and privilege to trade futures, futures option contracts and similar instruments on the Exchange (as defined in the Rules) to the
       extent expressly provided for in, and subject to, the Bylaws and the Rules.
            4.2. Effect on Surviving Corporation Common Stock. At the Effective Time, each share of Surviving Corporation common
       stock issued and outstanding immediately prior to the Effective Time (the “Surviving Corporation Common Stock“) shall remain
       outstanding and each certificate therefor shall continue to evidence one share of Surviving Corporation Common Stock.
             4.3. Election Procedures.
            (a) An election form and other appropriate and customary transmittal materials in such form as ICE and NYBOT shall mutually
       agree (the “Election Form”) shall be mailed on the same date as the Proxy Statement/Prospectus is mailed to the Members or on such
       other date as ICE and NYBOT shall mutually agree (the “Mailing Date”) to each Member as of the close of business on the fifth
       business day prior to the Mailing Date (the “Election Form Record Date”). Prior to the Mailing Date, ICE shall appoint, with the
       reasonable consent of NYBOT, a commercial bank or trust company, or a Subsidiary thereof, to act as paying and exchange agent
       under this Agreement (the “Exchange Agent”).
             (b) Each Election Form shall (A) permit the Member to specify (i) the number of Membership Interests, or the percentage of
       any one or more Membership Interests, held by such Member with respect to which such Member elects to receive the Stock
       Consideration (“Stock Election Shares”), (ii) the number of Membership Interests, or the percentage of any one or more Membership
       Interests, held by such Member with respect to which such Member elects to receive the Cash Consideration (“Cash Election
       Shares”) and/or (iii) the number of Membership Interests, or the percentage of any one or more Membership Interests, held by such
       Member with respect to which such Member makes no election referred to in clause (i) or (ii) of this Section 4.3(b) (“No Election
       Shares”) and (B) indicate that a Member making an election under clause (A) of this paragraph (b) may do so only with respect to a
       whole Membership Interest or a percentage of a Membership Interest representing at least 10%, or any whole multiple of 10%, of
       any Membership Interest). Any Membership Interests with respect to which the Exchange Agent has not received an effective,
       properly completed Election Form on or before 5:00 p.m. on the fifth day before the NYBOT Members Meeting (or such other time
       and date as ICE and NYBOT may mutually agree) (the “Election Deadline”) shall also be deemed to be No Election Shares.
            (c) ICE shall make available one or more Election Forms as may reasonably be requested from time to time by any person who
       becomes a Member between the Election Form Record Date and the close of business on the business day prior to the Election
       Deadline, and NYBOT shall provide to the Exchange Agent all information reasonably necessary for it to perform as specified
       herein.
           (d) Any such election shall have been properly made only if the Exchange Agent shall have actually received a properly
       completed Election Form by the Election Deadline. An Election Form shall be deemed

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       properly completed only if duly executed and delivered in accordance with the instructions thereto. Any Election Form may be
       revoked or changed by the person submitting such Election Form only by written notice received by the Exchange Agent prior to the
       Election Deadline. In the event an Election Form is revoked prior to the Election Deadline, unless a subsequent properly completed
       Election Form is submitted and actually received by the Exchange Agent by the Election Deadline, the Membership Interests
       represented by such Election Form shall become No Election Shares. Subject to the terms of this Agreement and of the Election
       Form, the Exchange Agent shall have reasonable discretion to determine whether any election, revocation or change has been
       properly or timely made and to disregard immaterial defects in the Election Forms, and any good faith decisions of the Exchange
       Agent regarding such matters shall be binding and conclusive. Neither ICE nor the Exchange Agent shall be under any obligation to
       notify any person of any defect in an Election Form.
          (e) Within ten business days after the Effective Time, ICE shall cause the Exchange Agent to effect the allocation among the
       Members of rights to receive ICE Common Stock and/or cash in the Merger in accordance with the Election Forms as follows:
             (i) Cash Oversubscribed. If the aggregate Cash Consideration that would otherwise be paid upon the conversion in the Merger
       of the Cash Election Shares (not taking into account any cash payable pursuant to Section 4.7 in connection with the Closing Cash
       Amount) plus any cash to be paid in lieu of fractional shares (the “Cash Outlay”) is greater than (A) $400 million minus (B) the
       Awarded Cash Consideration (the “Closing Aggregate Cash Consideration”), then:
                  (A) all Stock Election Shares and No Election Shares shall be converted into the right to receive the Stock Consideration,
                  (B) the Exchange Agent shall then determine, pro rata from among the Cash Election Shares, a sufficient percentage of
             Cash Election Shares to receive the Stock Consideration (“Stock Designated Shares”) such that the aggregate cash amount that
             will be paid in the Merger equals as closely as practicable the Closing Aggregate Cash Consideration, and all Stock Designated
             Shares shall be converted into the right to receive the Stock Consideration, and
                 (C) the Cash Election Shares that are not Stock Designated Shares will be converted into the right to receive the Cash
             Consideration.
             (ii) Cash Undersubscribed. If the Cash Outlay is less than the Closing Aggregate Cash Consideration, then:
                  (A) all Cash Election Shares shall be converted into the right to receive the Cash Consideration,
                  (B) the Exchange Agent shall then determine first, pro rata from among the No Election Shares, and then (if necessary),
             pro rata from among the Stock Election Shares, a sufficient percentage of Stock Election Shares to receive the Cash
             Consideration (“Cash Designated Shares”) such that the aggregate cash amount that will be paid in the Merger equals as closely
             as practicable the Closing Aggregate Cash Consideration, and all Cash Designated Shares shall be converted into the right to
             receive the Cash Consideration, and
                 (C) the Stock Election Shares that are not Cash Designated Shares and the No Election Shares that are not Cash
             Designated Shares shall be converted into the right to receive the Stock Consideration.
             (iii) Cash Subscriptions Sufficient. If the Cash Outlay is equal or nearly equal (as determined by the Exchange Agent) to the
       Closing Aggregate Cash Consideration, then subparagraphs (A) and (B) above shall not apply and all Cash Election Shares shall be
       converted into the right to receive the Cash Consideration and all Stock Election Shares and No Election Shares shall be converted
       into the right to receive the Stock Consideration.
            (f) The pro ration process to be used by the Exchange Agent shall consist of such equitable pro ration processes as determined
       by ICE in accordance with this Agreement.

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            (g) Notwithstanding any other provision of this Agreement to the contrary, a sufficient number of Cash Election Shares may be
       converted into the right to receive Stock Consideration (including in connection with the Closing Cash Amount), but only to the
       extent necessary to secure the tax ruling required by Sections 7.2(c) and 7.3(c).
             4.4. Exchange of Certificates.
             (a) Exchange Agent. On or prior to the Effective Time, ICE shall deposit, or cause to be deposited, with the Exchange Agent,
       for the benefit of holders of record of Membership Interests as of immediately prior to the Effective Time, (i) an amount of cash
       sufficient to pay the Closing Aggregate Cash Consideration, and (ii) an amount of cash sufficient to be paid pursuant to
       Section 4.4(e) in respect of any cash in lieu of fractional shares of ICE Common Stock, in each case in exchange for outstanding
       Membership Interests upon delivery to the Exchange Agent of instructions regarding the transfer and cancellation of Book Entry
       Interests (the “Instructions”) (such cash being hereinafter referred to as the “Exchange Fund”).
             (b) Exchange Procedures. ICE shall cause appropriate transmittal materials, in such form as reasonably agreed upon by ICE and
       NYBOT, to be provided by the Exchange Agent to holders of record of Membership Interests as soon as practicable after the
       Effective Time advising such holders of the effectiveness of the Merger and the procedure for providing the Instructions to the
       Exchange Agent. Upon the delivery to the Exchange Agent of the Instructions, the holder of such Book Entry Interests shall be
       entitled to receive in exchange therefor (i) evidence in book entry form of the issuance of that number of whole shares of ICE
       Common Stock in respect of the aggregate Stock Consideration that such holder is entitled to receive pursuant to Section 4.1(a) and
       Section 4.3 (after taking into account all Membership Interests then held by such holder) and (ii) a check in the amount (after giving
       effect to any required Tax withholdings) equal to the sum of (x) any cash in lieu of fractional shares and (y) any cash in respect of the
       Cash Consideration (after taking into account all Membership Interests then held by such holder), and the Book Entry Interests which
       are the subject of such Instructions shall forthwith be cancelled. No interest will be paid or accrued on any amount payable upon such
       transfer and cancellation of any Book Entry Interests. In the event of a transfer of ownership of Membership Interests that is not
       registered in the transfer records of NYBOT, evidence in book entry form of the issuance of the proper number of shares of ICE
       Common Stock, together with a check for any cash to be paid upon the delivery to the Exchange Agent of the Instructions, may be
       issued and/or paid to such a transferee if written instructions authorizing the transfer of any Book Entry Interests are presented to the
       Exchange Agent, accompanied by all documents required to evidence and effect such transfer and to evidence that any applicable
       stock transfer Taxes have been paid. If any shares of ICE Common Stock are to be issued in a name other than that in which any
       Book Entry Interest is registered, it shall be a condition of such exchange that the Person requesting such exchange shall pay any
       transfer or other Taxes required by reason of the issuance of shares of ICE Common Stock in a name other than that of the registered
       holder of such Book Entry Interests, or shall establish to the satisfaction of ICE or the Exchange Agent that such Tax has been paid or
       is not applicable.

        For the purposes of this Agreement, the term “Person” shall mean any individual, corporation (including not-for-profit), general or
  limited partnership, limited liability company, joint venture, estate, trust, association, organization, Governmental Entity or Self-
  Regulatory Organization or other entity of any kind or nature.

        As used in this Agreement, (i) the term “Tax” (including the plural form “Taxes” and, with correlative meaning, the terms “Taxable”
  and “Taxation”) includes all U.S. federal, state, local and foreign income, profits, windfall profits, franchise, gross receipts, environmental,
  customs duty, capital stock, severances, stamp, payroll, sales, employment, unemployment, disability, use, property, withholding, excise,
  production, value added, occupancy and other taxes, duties or assessments of any nature whatsoever, together with all interest, penalties
  and additions imposed with respect to such amounts and any interest in respect of such penalties and additions, (ii) the term “Tax Return”
  includes all returns and reports (including elections, declarations, disclosures, schedules, estimates and information returns) required to be
  filed with a Tax Authority relating to Taxes, and (iii) the term “Tax Authority” includes any Governmental Entity responsible for the
  assessment, collection or enforcement of Laws relating to Taxes (including the IRS and any similar state or local revenue agency).

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             (c) Distributions with Respect to Unexchanged Shares; Voting.
             (i) All shares of ICE Common Stock to be issued pursuant to the Merger shall be deemed issued and outstanding as of the
       Effective Time and whenever a dividend or other distribution is declared by ICE in respect of ICE Common Stock, the record date
       for which is at or after the Effective Time, that declaration shall include dividends or other distributions in respect of all shares
       issuable pursuant to this Agreement. No dividends or other distributions in respect of the ICE Common Stock shall be paid to any
       holder of any Book Entry Interests until the Instructions have been delivered to the Exchange Agent. Subject to the effect of
       applicable Laws, following delivery to the Exchange Agent of such Instructions, there shall be issued and/or paid to the holder of
       shares of ICE Common Stock issued in exchange for Membership Interests, without interest, (A) promptly after the time of such
       delivery of such Instructions, the dividends or other distributions with a record date after the Effective Time theretofore payable with
       respect to such whole shares of ICE Common Stock and not paid and (B) at the appropriate payment date, the dividends or other
       distributions payable with respect to such whole shares of ICE Common Stock with a record date after the Effective Time but with a
       payment date subsequent to such delivery.
            (ii) Holders of Book Entry Interests in respect of which such Instructions have not been delivered shall be entitled to vote after
       the Effective Time at any meeting of ICE stockholders the number of whole shares of ICE Common Stock represented by such Book
       Entry Interests, regardless of whether such holders have delivered such Instructions to the Exchange Agent.
            (d) Transfers. At or after the Effective Time, there shall be no transfers on the Member records of the Surviving Corporation of
       the Membership Interests that were outstanding immediately prior to the Effective Time.
             (e) Fractional Shares. Notwithstanding any other provision of this Agreement, no fractional shares of ICE Common Stock will
       be issued and any holder of Membership Interests entitled to receive a fractional share of ICE Common Stock but for this
       Section 4.4(e) shall be entitled to receive a cash payment in lieu thereof, which payment shall be calculated by the Exchange Agent
       and shall represent such holder’s proportionate interest in net proceeds from the sale by the Exchange Agent on behalf of all holders
       of the aggregate fractional shares of ICE Common Stock that such holders otherwise would be entitled to receive. Any such sale shall
       be made by the Exchange Agent within five business days after the date upon which the issuance of such fractional shares of ICE
       Common Stock would have otherwise occurred pursuant to the Instructions received by the Exchange Agent.
            (f) Termination of Exchange Fund. Any portion of the Exchange Fund (including the proceeds of any investments thereof) that
       remains unclaimed by the former Members of NYBOT for 180 days after the Effective Time shall be delivered to ICE. Any former
       Members of NYBOT who have not theretofore complied with this Article IV shall thereafter look only to ICE for delivery of
       evidence in book entry form of the issuance of shares of ICE Common Stock to such stockholders and payment of cash and any
       dividends and other distributions in respect of ICE Common Stock of such stockholders payable and/or issuable pursuant to Sections
       4.1(a), 4.4(e) and 4.6 upon delivery to the Exchange Agent of the Instructions, without any interest thereon. Notwithstanding the
       foregoing, none of ICE, NYBOT, the Surviving Corporation, the Exchange Agent or any other Person shall be liable to any former
       holder of Membership Interests for any amount properly delivered to a public official pursuant to applicable abandoned property,
       escheat or similar Laws.
             (g) Affiliates. Notwithstanding anything herein to the contrary, Book Entry Interests in respect of which instructions for transfer
       and cancellation have been delivered to the Exchange Agent for exchange for the Merger Consideration by any Member that may be
       deemed to be an “affiliate” (as determined pursuant to Section 6.7 of this Agreement) of NYBOT shall not be exchanged until ICE
       has received an Affiliates Letter from such Person as provided in Section 6.7 of this Agreement.
            4.5. Adjustments. Notwithstanding anything in this Agreement to the contrary, if, between the date of this Agreement and the
       Effective Time, the issued and outstanding shares of ICE Common Stock or

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       securities convertible or exchangeable into or exercisable for ICE Common Stock shall have been changed into a different number of
       shares or a different class by reason of any reclassification, stock split (including a reverse stock split), stock dividend or distribution,
       recapitalization, redenomination, issuer tender or exchange offer, or other similar transaction, then the Merger Consideration shall be
       equitably adjusted and as so adjusted shall, from and after the date of such event, be the Merger Consideration.
             4.6. Bonus Pool.
            (a) Prior to the Mailing Date, NYBOT shall deliver to ICE and the Exchange Agent, in writing, a schedule (the “Allocation
       Schedule”) setting forth an allocation of up to an aggregate amount in cash and up to an aggregate number of shares of ICE Common
       Stock, in each case as set forth on Annex 4.6, to certain directors and employees of NYBOT and its Subsidiaries (in the aggregate,
       the “Bonus Pool”). With respect to the Bonus Pool, the Allocation Schedule shall identify the full name and such other identifying
       information as ICE may reasonably request with respect to each of the directors and employees of NYBOT and its Subsidiaries that
       NYBOT desires to receive a portion of the Bonus Pool, together with details of the amount of cash (in the aggregate, the “Awarded
       Cash Consideration”) and number of shares of ICE Common Stock (in the aggregate, the “Awarded Share Number”) in the Bonus
       Pool to be provided to each such director and employee. If any of the Bonus Pool has not been allocated to such directors and
       employees of NYBOT, the amount of (i) any unallocated cash plus (ii) any unallocated shares of ICE Common Stock shall be
       allocated to the Members (the “Members’ Allocation”).
            (b) ICE shall cause the Exchange Agent to include in the transmittal materials to be provided to Members pursuant to
       Section 4.4(b) a notice of the amount of the aggregate Members’ Allocation divided by the number of Membership Interests then
       issued and outstanding (the “Per Interest Additional Consideration”). The Per Interest Additional Consideration shall be payable to
       the Members in the relative proportions of cash and shares of ICE Common Stock in which such Member is entitled to receive the
       other Merger Consideration pursuant to Section 4.3, taking into account the Exchange Agent’s pro ration process pursuant to
       Section 4.3. The “Per Interest Additional Cash Consideration” means the cash portion of such Per Interest Additional Consideration.
       The “Per Interest Additional Stock Consideration” means the ICE Common Stock portion of such Per Interest Additional
       Consideration.
             (c) Promptly after the Effective Time, ICE shall cause the Surviving Corporation to distribute the Awarded Cash Consideration
       and the Awarded Share Number to the directors and employees of NYBOT who are employed in such positions as of the Effective
       Time and who (other than those listed on Section 4.6(c) of the NYBOT Disclosure Letter) have executed a non-competition
       agreement in a form reasonably acceptable to ICE, substantially similar to ICE’s standard non-competition agreements and having
       the limits set forth on Section 4.6(c) of the NYBOT Disclosure Letter in accordance with the Allocation Schedule; provided,
       however, that in no event shall ICE be required to distribute the Awarded Cash Consideration or the Awarded Share Number to the
       extent such distribution would not be fully deductible by ICE, NYBOT or the Surviving Corporation under Section 162(m) or
       Section 280G of the Code and any such Awarded Cash Consideration or Awarded Share Number not so distributed shall be treated as
       Members’ Allocation and promptly paid to Members using the procedures set forth in Section 4.6(b) hereof.
             4.7. Closing Cash Amount.
            (a) Within 30 days after the Closing Date, ICE shall prepare a calculation (the “Calculation”) of the Closing Cash Amount.
       “Closing Cash Amount” means the aggregate working capital of NYBOT and its Subsidiaries, on a consolidated basis, as of the
       Closing Date, as determined applying the same principles, practices, methodologies and policies used in the preparation of the
       sample calculation set forth on Section 4.7(a) of the NYBOT Disclosure Letter.
             (b) The Closing Cash Amount divided by the number of Membership Interests issued and outstanding as of the Effective Time
       shall be the “Per Interest Excess Consideration”.
            (c) Promptly after ICE prepares the Calculation (and in any event within 30 days after the Closing Date), ICE shall pay, or
       cause to be paid, to the former Members of NYBOT, with respect to each

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       Membership Interest formerly held by each such Member, the Per Interest Excess Consideration in cash. Any amount payable
       pursuant to this Section 4.7(c) shall give effect to any required Tax withholdings. To the extent ICE elects to engage the Exchange
       Agent, or any other representative, in connection with the payments and issuances pursuant to this Section 4.7(c), Section 4.4 will
       apply mutatis mutandi to the extent reasonably applicable.
             (d) Notwithstanding any other provision of this Agreement to the contrary, the Closing Cash Amount shall be payable in shares
       of ICE Common Stock (based on a price per share of ICE Common Stock determined based on the average closing price for the ten
       trading days ending on the business day immediately prior to the actual Closing Cash Amount payment date), but only to the extent
       necessary to cause the Merger to be treated for United States federal income tax purposes as a reorganization within the meaning of
       Section 368(a) of the Code.
             (e) In the event that the Surviving Corporation, or its successors, assigns or Affiliates, receives any payment pursuant to Article
       35 of the lease set forth on Section 4.7(e) of the NYBOT Disclosure Letter (the “Lease Payment”), ICE shall pay, or cause to be paid,
       to each holder of a NYBOT Membership (as defined in the Bylaws) existing as of the date of any such Lease Payment, an amount
       equal to 60% of such Lease Payment divided by the total number of such NYBOT Memberships. Any amount payable pursuant to
       this Section 4.7(e) shall give effect to any required Tax withholdings. To the extent ICE elects to engage any representative in
       connection with payments pursuant to this Section 4.7(e), Section 4.4 will apply mutatis mutandi to the extent reasonably applicable.


                                                                  ARTICLE V
                                                        Representations and Warranties

             5.1. Representations and Warranties of NYBOT. Except as set forth in the corresponding sections or subsections of the
       disclosure letter dated as of the date hereof, delivered to ICE by NYBOT on or prior to entering into this Agreement (the “NYBOT
       Disclosure Letter”), or in such other section or subsection of the NYBOT Disclosure Letter where the applicability of such exception
       is reasonably apparent, NYBOT hereby represents and warrants to ICE as set forth in this Section 5.1. The mere inclusion of any
       item in the NYBOT Disclosure Letter as an exception to a representation or warranty of NYBOT in this Agreement shall not be
       deemed to be an admission that such item is a material exception, fact, event or circumstance, or that such item, individually or in the
       aggregate, has had or is reasonably expected to have, a NYBOT Material Adverse Effect or trigger any other materiality
       qualification.
             (a) Organization, Good Standing and Qualification. NYBOT is a Type A not-for-profit corporation duly organized, validly
       existing and in good standing under the N-PCL. Each of NYBOT’s Subsidiaries is a corporation or limited liability company duly
       organized, validly existing and in good standing under the laws of its respective jurisdiction of organization. Each of NYBOT and its
       Subsidiaries has all requisite corporate or similar power and authority to own and operate its properties and assets and to carry on its
       business as presently conducted and is qualified to do business and is in good standing as a foreign corporation in each jurisdiction
       where the ownership or operation of its assets or properties or conduct of its business requires such qualification, except where the
       failure to be so organized, existing and in good standing or to have such power or authority when taken together with all other such
       failures, individually or in the aggregate, has not had and is not reasonably expected to have a NYBOT Material Adverse Effect.
       NYBOT has made available to ICE a complete and correct copy of the NYBOT Organizational Documents and NYBOT Subsidiary
       Organizational Documents, in effect as of the date hereof. The NYBOT Organizational Documents and the NYBOT Subsidiary
       Organizational Documents so delivered are in full force and effect.

       “NYBOT Organizational Documents” means the articles of incorporation, bylaws and rules of NYBOT.

      “NYBOT Subsidiary Organizational Documents” means the certificates of incorporation, bylaws, rules and similar organizational
  documents of all Subsidiaries of NYBOT.

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        “NYBOT Material Adverse Effect” means a material adverse effect on (a) the business, results of operations or financial condition of
  (x) NYBOT and its Subsidiaries, taken as a whole, or (y) NYBOT Clearing Corporation, or (b) the ability of NYBOT to consummate the
  Merger in accordance with the terms of this Agreement prior to the Termination Date; provided, however, that the following shall not be
  considered in determining whether a NYBOT Material Adverse Effect has occurred: (A) any change or development in economic,
  business or commodities exchange conditions generally to the extent that such change or development does not affect NYBOT and its
  Subsidiaries, taken as a whole, or NYBOT Clearing Corporation, separately, in a materially disproportionate manner relative to other
  commodities exchanges; (B) any change or development to the extent resulting from the execution or announcement of this Agreement or
  the transactions contemplated hereby; (C) any change or development to the extent proximately resulting from any action or omission by
  NYBOT or any of its Subsidiaries that is required by this Agreement; (D) the announcement, commencement or continuation of any war or
  armed hostilities or the occurrence of any act or acts of terrorism; or (E) any effect arising from or relating to any change in United States
  generally accepted accounting principles (“GAAP”) or any change in applicable laws, rules or regulations or the interpretation thereof.

        “Subsidiary” means, with respect to any party, a Person of which at least a majority of the securities or ownership interests thereof
  having by their terms voting power to elect a majority of the board of directors or other persons performing similar functions is directly or
  indirectly owned or controlled by such party or by one or more of its respective Subsidiaries.
             (b) Memberships and Trading Rights.
             (i) As of September 12, 2006, there are 967 issued and outstanding Membership Interests, all of which are held by Members. As
       of September 12, 2006, 292 of the Membership Interests have been leased by a “Lessor“ (as such term is defined in NYBOT’s rules)
       (such lessor, a “Lessor Member”) to a “Lessee” (as such term is defined in NYBOT’s rules) (such lessee, a “Lessee Member”)
       pursuant to a lease agreement (each, a “Membership Lease”). As of September 12, 2006, there are issued and outstanding 123 option
       trading permits, 483 FINEX trading permits and 125 FINEX European trading permits (the holders thereof, the “Trading Permit
       Holders”). Section 5.1(b)(i) of the NYBOT Disclosure Letter sets forth true and complete lists, as of September 12, 2006, of each of
       the following: all Members, Lessor Members, Lessee Members, Member Firms as defined in NYBOT’s rules in effect as of the date
       of this Agreement, Clearing Members (as hereinafter defined) and Trading Permit Holders (collectively, the “Members/Holders”).
       Except as set forth in the NYBOT Organizational Documents or the NYBOT Subsidiary Organizational Documents, NYBOT and its
       Subsidiaries are not parties to any agreements with, and have not granted any rights to, waived any rights for the benefit of or taken
       any similar action with respect to, any Members/Holders. The only rights or entitlements of any Member/Holder with respect to
       NYBOT and its Subsidiaries are those rights and entitlements provided for in the NYBOT Organizational Documents or the NYBOT
       Subsidiary Organizational Documents, respectively.
             (ii) All of the outstanding Membership Interests in NYBOT have been duly authorized and are validly issued, fully paid and
       non-assessable. Section 5.1(b)(ii) of the NYBOT Disclosure Letter contains a correct and complete list of all Subsidiaries of
       NYBOT, and each jurisdiction where NYBOT and each of its Subsidiaries is organized and qualified to do business. Each of the
       outstanding shares of capital stock or other securities of each of the NYBOT’s Subsidiaries is duly authorized, validly issued, fully
       paid and nonassessable and owned by NYBOT or by a direct or indirect wholly owned Subsidiary of NYBOT, free and clear of any
       lien, pledge, security interest, claim or other encumbrance.
             (iii) Except as set forth above, there are no preemptive or other outstanding rights, options, phantom equity, warrants,
       conversion rights, stock appreciation rights, redemption rights, repurchase rights, agreements, arrangements, calls, commitments or
       rights of any kind that obligate NYBOT or any of its Subsidiaries to issue or sell any Membership Interests or Trading Rights, shares
       of capital stock or other securities of NYBOT or any of its Subsidiaries or any securities or obligations convertible or exchangeable
       into or exercisable for, or giving any Person a right to subscribe for or acquire, any Membership Interests or other securities of
       NYBOT or any of its Subsidiaries, or Trading Rights, and no securities or obligations

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       evidencing such rights are authorized, issued or outstanding. NYBOT does not have outstanding any bonds, debentures, notes or
       other obligations the holders of which have the right to vote (or convertible into or exercisable for securities having the right to vote)
       with the Members or holders of any other equity interests in NYBOT on any matter. Except as set forth above, (i) there are no
       Trading Rights, similar permits or trading rights that will permit any Person to trade on NYBOT, the Surviving Corporation or any
       Affiliate of the Surviving Corporation outstanding and (ii) no Person, other than each Member, is entitled to any Merger
       Consideration. Except as set forth in the NYBOT Subsidiary Organizational Documents of NYBOT Clearing Corporation, no Person
       has any right to clear through NYBOT Clearing Corporation.

        “Affiliate” means, with respect to any Person, any other Person that directly or indirectly through one or more intermediaries
  controls, is controlled by or is under common control with that Person. As used in this definition, “control” (including, with correlative
  meanings, “controlled by” and “under common control with”) shall mean the possession, directly or indirectly, of the power to direct or
  cause the direction of management or policies of a Person (whether through ownership of securities or partnership or other ownership
  interests, by contract or otherwise).
             (c) Corporate Authority.
            (i) NYBOT has all requisite corporate power and authority and has taken all corporate action necessary in order to authorize,
       execute, deliver and perform its obligations under this Agreement, and to consummate the Merger and the other transactions
       contemplated hereby (including all actions by the Board of Directors of NYBOT set forth in clause (ii)(A) and (B) below), subject
       only to the adoption and approval of this Agreement by two-thirds of the votes cast by the Members entitled to vote thereon at a
       meeting at which a quorum is present (the “NYBOT Requisite Vote”). This Agreement is a valid and binding agreement of NYBOT,
       enforceable against NYBOT in accordance with its terms, subject, as to enforcement, to the Bankruptcy and Equity Exception (as
       hereinafter defined).
             (ii) The Board of Directors of NYBOT: (A) has approved, adopted and declared advisable this Agreement and the other
       transactions contemplated hereby and (B) has received the opinion of its financial advisor, Houlihan Lokey Howard & Zukin, to the
       effect that the Merger Consideration is fair from a financial point of view, as of the date of such opinion, to the Members, a copy of
       which opinion has been delivered to NYBOT.
             (d) No Conflicts.
             (i) (A) Neither the execution and delivery by NYBOT of this Agreement, the compliance by it with all of the provisions of and
       the performance by it of its obligations under this Agreement, nor the consummation of the Merger and the other transactions herein
       contemplated by this Agreement will conflict with, or result in a breach or violation of, or result in any acceleration of any rights or
       obligations or the payment of any penalty under or the creation of a lien, pledge, security interest or other encumbrance on assets
       (with or without the giving of notice or the lapse of time) pursuant to, or permit any other party any improvement in rights with
       respect to or permit it to exercise, or otherwise constitute a default under, any provision of any Contract in effect as of the date
       hereof, or result in any change in the rights or obligations of any party under any Contract in effect as of the date hereof, to which
       NYBOT or any of its Subsidiaries is a party or by which NYBOT or any of its Subsidiaries or any of their respective assets is bound,
       (B) nor, subject to any required approval of the Merger by the CFTC, will such execution and delivery, compliance, performance or
       consummation (x) result in any breach or violation of, or a default under, the provisions of (i) the NYBOT Organizational Documents
       or the NYBOT Subsidiary Organizational Documents, or (ii) any U.S. federal, state, local or foreign law, statute, ordinance, rule,
       regulation, judgment, order, injunction, decree, arbitration award, agency requirement, writ, franchise, variance, exemption,
       approval, license or permit (each, a “Law” and collectively “Laws”) or Permit applicable to it, or (y) to the knowledge of NYBOT,
       subject NYBOT or any Subsidiaries of NYBOT, ICE or any Subsidiaries of ICE, or any of their respective Affiliates, to any claim of,
       or any liability or obligation with respect to, any Member, any Lessee Member, any Trading Permit Holder or any Person having the
       right to clear through NYBOT Clearing

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       Corporation, other than as set forth in this Agreement, or to any penalty or sanction, in the case of clauses (A) and (B) above, except
       for such conflicts, breaches, violations, defaults, payments, accelerations, creations or changes that (other than with respect to clause
       (B)(x)(i) above), individually or in the aggregate, have not had and are not reasonably expected to have, a NYBOT Material Adverse
       Effect.
                   (ii) (A) Neither the implementation by the Surviving Corporation or any of its Affiliates of electronic trading after the
             Closing in accordance with the Bylaws nor the clearing by NYBOT Clearing Corporation of products of ICE and its Affiliates
             that are not currently cleared through NYBOT Clearing Corporation will conflict with, or result in a breach or violation of, or
             result in any acceleration of any rights or obligations or the payment of any penalty under or the creation of a lien, pledge,
             security interest or other encumbrance on assets (with or without the giving of notice or the lapse of time) pursuant to, or permit
             any other party any improvement in rights with respect to or permit it to exercise, or otherwise constitute a default under, any
             provision of any Contract in effect as of the date hereof, or result in any change in the rights or obligations of any party under
             any Contract in effect as of the date hereof, to which NYBOT or any of its Subsidiaries is a party or by which NYBOT or any
             of its Subsidiaries or any of their respective assets is bound, and (B) nor, to the knowledge of NYBOT, will such
             implementation or clearing subject NYBOT or any Subsidiaries of NYBOT, ICE or any Subsidiaries of ICE, or any of their
             respective Affiliates, to any claim of, or any liability or obligation with respect to, any Member, any Lessee Member, any
             Trading Permit Holder or any Person having the right to clear through NYBOT Clearing Corporation, or to any penalty or
             sanction.

       “Contract” means, with respect to any Person, any agreement, indenture, loan agreement, undertaking, note or other debt instrument,
  contract, lease, mortgage, deed of trust, permit, license, understanding, arrangement, commitment or other obligation to which such Person
  or any of its subsidiaries is a party or by which any of them may be bound or to which any of their properties may be subject.
              (e) Governmental Approvals and Consents. Other than (i) the filings and/or notices under the HSR Act (as hereinafter defined),
       (ii) the filings, notices, approvals and/or consents to be obtained from the CFTC and under the Commodity Exchange Act, as
       amended, and (iii) other foreign approvals, state securities, takeover and “blue sky” laws, no authorizations, consents, approvals,
       orders, permits, notices, reports, filings, registrations, qualifications and exemptions of, with or from, or other actions are required to
       be made by NYBOT or any of its Subsidiaries with, or obtained by NYBOT or any of its Subsidiaries from, any Governmental Entity
       (as hereinafter defined) or Self-Regulatory Organization in connection with the execution and delivery by NYBOT of this
       Agreement, the performance by NYBOT of its obligations hereunder, and the consummation of the transactions contemplated
       hereby.

         For purposes of this Agreement, “Self-Regulatory Organization” shall mean any U.S. or foreign commission, board, agency or body
  that is not a Governmental Entity but is charged with the supervision or regulation of brokers, dealers, securities underwriting or trading,
  stock exchanges, commodities exchanges, ECNs, insurance companies or agents, investment companies or investment advisers.
             (f) NYBOT Reports; Financial Statements. NYBOT has made available to ICE its annual reports and proxy statements
       delivered to its Members since December 31, 2004 (collectively, the “NYBOT Reports”). Neither NYBOT nor any of its Subsidiaries
       files with any Governmental Entity or Self-Regulatory Organization any NYBOT Report. As of their respective dates (or if amended,
       as of the date of such amendment), the NYBOT Reports did not contain any untrue statement of a material fact or omit to state a
       material fact required to be stated therein or necessary to make the statements made therein, in light of the circumstances in which
       they were made, not misleading. NYBOT has delivered to ICE true and complete copies of the audited consolidated financial
       statements of NYBOT for the fiscal year ended December 31, 2005 (the “NYBOT Audited Financial Statements”) and the unaudited
       consolidated financial statements of NYBOT for the six months ended June 30, 2006 (the “NYBOT Interim Financial Statements”
       and, together with the NYBOT Audited Financial Statements, the “NYBOT Financial Statements”). NYBOT has delivered to ICE a
       true and complete copy of the unaudited management report of NYBOT for the month ended July 31, 2006 (the “Management
       Report”). Each of the consolidated balance sheets included in the NYBOT

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       Financial Statements and the Management Report (including the related notes and schedules) fairly presents the consolidated
       financial position of NYBOT and its Subsidiaries as of its date and each of the consolidated statements of revenues, expenses,
       changes in members’ equity and cash flows included in the NYBOT Financial Statements and the Management Report (including
       any related notes and schedules) fairly presents the results of operations, members’ equity and cash flows, as the case may be, of
       NYBOT and its Subsidiaries for the periods set forth therein, in each case in conformity with GAAP consistently applied during the
       periods involved, except as may be noted therein. Except for liabilities and obligations incurred in the ordinary course of business
       since December 31, 2005, neither NYBOT nor any of its Subsidiaries has any liabilities or obligations of any nature required by
       GAAP to be set forth on a consolidated balance sheet of NYBOT or any of its Subsidiaries or in the notes thereto which, individually
       or in the aggregate, could reasonably be expected to have a NYBOT Material Adverse Effect. The NYBOT Financial Statements and
       the Management Report have been compiled from, and were prepared in accordance with, the books and records of NYBOT and its
       Affiliates. The books and records of NYBOT and its Affiliates are true, complete and correct in all material respects and have been
       maintained in accordance with sound business practices. NYBOT has designed and maintained a system of internal accounting
       controls sufficient to provide reasonable assurances regarding the reliability of financial reports and the preparation of annual
       financial statements for external purposes in accordance with GAAP.
             (g) Absence of Certain Changes. Since December 31, 2005, NYBOT and its Subsidiaries have conducted their respective
       businesses only in, and have not engaged in any material transaction other than according to, the ordinary and usual course of such
       businesses and there has not been (i) any change or development that, individually or in the aggregate, has had or is reasonably
       expected to have, a NYBOT Material Adverse Effect; (ii) any material damage, destruction or other casualty loss with respect to any
       material asset or property owned, leased or otherwise used by NYBOT or any of its Subsidiaries, whether or not covered by
       insurance; or (iii) any change by NYBOT in financial accounting principles, practices or methods that is not required by GAAP.
       Since December 31, 2005, except as provided for herein, there has not been any increase in the compensation payable or that could
       become payable by NYBOT or any of its Subsidiaries to officers or key employees or any amendment of or other modification to any
       of the NYBOT Benefit Plans other than increases or amendments in the ordinary and usual course consistent with past practice.
             (h) Compliance The businesses of NYBOT and each of its Subsidiaries have been conducted in compliance in all material
       respects with all Laws and the applicable rules of any Self-Regulatory Organization. Neither NYBOT nor any of its Subsidiaries is in
       conflict with, or in default or violation of, any Contract to which NYBOT or any of its Subsidiaries is a party or by which NYBOT or
       any of its Subsidiaries or its or any of their respective properties is bound or affected, except for any such conflicts, defaults or
       violations that, individually or in the aggregate, have not had and are not reasonably expected to have a NYBOT Material Adverse
       Effect. No investigation, review, audit or similar procedure by any Governmental Entity or any Self-Regulatory Organization with
       respect to NYBOT or any of its Subsidiaries is pending or, to the knowledge of NYBOT, threatened, nor has any Governmental
       Entity or any Self-Regulatory Organization indicated an intention to conduct the same, except, in each case, for those the outcome of
       which, individually or in the aggregate, have not had and are not reasonably expected to have a NYBOT Material Adverse Effect.
       Except as, individually or in the aggregate, is not reasonably expected to have a NYBOT Material Adverse Effect, (x) no material
       change is required in NYBOT’s or any of its Subsidiaries’ processes, properties or procedures to comply with any Laws in effect on
       the date hereof or enacted as of the date hereof and scheduled to be effective after the date hereof, and (y) NYBOT has not received
       any written notice or written communication of any noncompliance with any Laws and no Governmental Entity has otherwise
       identified any instance in which NYBOT or any of its Subsidiaries is or may be in violation of applicable Laws. Each of NYBOT and
       its Subsidiaries has all permits, licenses, franchises, variances, exemptions, orders and other authorizations, consents and approvals
       (together, “Permits”) of all Governmental Entities and Self-Regulatory Organizations necessary to conduct its business as presently
       conducted, except where the failure to have such Permits, individually or in the aggregate, has not had and is not reasonably expected
       to have a NYBOT Material Adverse Effect.

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             (i) Litigation and Liabilities. There are no (i) civil, criminal or administrative actions, suits, claims, hearings, investigations or
       proceedings pending or, to the knowledge of NYBOT, threatened against NYBOT, any of its Subsidiaries or any of their respective
       directors or officers, or (ii) obligations or liabilities, whether or not accrued, contingent or otherwise and whether or not required to
       be disclosed, including those relating to, or any other facts or circumstances of which, to the knowledge of NYBOT, could result in
       any claims against, or obligations or liabilities of, NYBOT or any of its Affiliates, except, in both cases, for those that, individually or
       in the aggregate, have not had and are not reasonably expected to have a NYBOT Material Adverse Effect.
             (j) Employee Benefits.
             (i) All benefit and compensation plans, contracts, policies or arrangements covering current or former employees of NYBOT
       and its Subsidiaries (the “NYBOT Employees”) and current or former directors of NYBOT, in each case sponsored, maintained or
       contributed to by NYBOT or its Subsidiaries or with respect to which NYBOT or its Subsidiaries may have any liability, including,
       but not limited to, “employee benefit plans” within the meaning of Section 3(3) of the Employee Retirement Income Security Act of
       1974, as amended (“ERISA”), and deferred compensation, severance, stock option, stock purchase, stock appreciation rights, stock
       based, incentive and bonus plans (the “NYBOT Benefit Plans”) are listed in Section 5.1(j) of the NYBOT Disclosure Letter, and each
       NYBOT Benefit Plan which has received a favorable opinion letter or favorable determination letter from the Internal Revenue
       Service National Office, including any master or prototype plan, has been separately identified. True and complete copies of all
       NYBOT Benefit Plans, including, but not limited to, any trust instruments, insurance contracts and, with respect to any employee
       stock ownership plan, loan agreements forming a part of any NYBOT Benefit Plans, and all amendments thereto, have been provided
       or made available to ICE.
            (ii) All NYBOT Benefit Plans, other than “multiemployer plans” within the meaning of Section 3(37) of ERISA (each, an
       “NYBOT Multiemployer Plan”) are in substantial compliance with ERISA and the Code and other applicable Laws. Each NYBOT
       Benefit Plan which is subject to ERISA (an “NYBOT ERISA Plan”) that is an “employee pension benefit plan” within the meaning
       of Section 3(2) of ERISA (an “NYBOT Pension Plan”) intended to be qualified under Section 401(a) of the Code, either (A) has
       received a favorable determination letter from the IRS covering all Tax law changes prior to the Economic Growth and Tax Relief
       Reconciliation Act of 2001 or has applied to the IRS for such favorable determination letter within the applicable remedial
       amendment period under Section 401(b) of the Code, and NYBOT is not aware of any circumstances likely to result in the loss of the
       qualification of any such NYBOT Pension Plan under Section 401(a) of the Code, or (B) is entitled to rely upon an opinion letter
       issued to the sponsor of a prototype plan. Neither NYBOT nor any of its Subsidiaries has engaged in a transaction with respect to any
       NYBOT ERISA Plan that, assuming the Taxable period of such transaction expired as of the date hereof, could subject NYBOT or
       any Subsidiary to a material Tax or penalty imposed by either Section 4975 of the Code or Section 502(i) of ERISA in an amount
       which would be material. Neither NYBOT nor any of its Subsidiaries has incurred or reasonably expects to incur a Tax or penalty
       imposed by Section 4980 of the Code or Section 502 of ERISA or any material liability under Section 4071 of ERISA.
            (iii) No liability under Subtitle C or D of Title IV of ERISA has been or is expected to be incurred by NYBOT or any of its
       Subsidiaries with respect to any ongoing, frozen or terminated “single-employer plan”, within the meaning of Section 4001(a)(15) of
       ERISA, currently or formerly maintained by any of them, or the single-employer plan of any entity which is considered one
       employer with NYBOT under Section 4001 of ERISA or Section 414 of the Code (a “NYBOT ERISA Affiliate”). NYBOT and its
       Subsidiaries have not incurred and do not expect to incur any withdrawal liability with respect to a NYBOT Multiemployer Plan
       under Subtitle E of Title IV of ERISA (regardless of whether based on contributions of a NYBOT ERISA Affiliate). No notice of a
       “reportable event”, within the meaning of Section 4043 of ERISA for which the reporting requirement has not been waived or
       extended, other than pursuant to Pension Benefit Guaranty Corporation (“PBGC”) Reg. Section 4043.33 or 4043.66, has been
       required to be filed for any NYBOT Pension Plan or by any NYBOT ERISA Affiliate within the 12-month period ending on the date
       hereof or will be required to be filed in connection with the transaction contemplated by this Agreement. No notices

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       have been required to be sent to participants and beneficiaries or the PBGC under Section 302 or 4011 of ERISA or Section 412 of
       the Code, including Section 412(m).
             (iv) All contributions required to be made under each NYBOT Benefit Plan, as of the date hereof, have been timely made and
       all obligations in respect of each NYBOT Benefit Plan have been properly accrued and reflected in the NYBOT Financial Statements
       except for contributions that individually or in the aggregate would not be material. Neither any NYBOT Pension Plan nor any
       single-employer plan of a NYBOT ERISA Affiliate has an “accumulated funding deficiency” (whether or not waived) within the
       meaning of Section 412 of the Code or Section 302 of ERISA and no NYBOT ERISA Affiliate has an outstanding funding waiver.
       Neither any NYBOT Pension Plan nor any single-employer plan of a NYBOT ERISA Affiliate has been required to file information
       pursuant to Section 4010 of ERISA for the current or most recently completed plan year. It is not reasonably anticipated that required
       minimum contributions to any NYBOT Pension Plan under Section 412 of the Code will be increased by application of
       Section 412(l) of the Code. Neither NYBOT nor any of its Subsidiaries has provided, or is required to provide, security to any
       NYBOT Pension Plan or to any single-employer plan of a NYBOT ERISA Affiliate pursuant to Section 401(a)(29) of the Code.
             (v) Under each NYBOT Pension Plan which is a single-employer plan, as of the date hereof, the actuarially determined present
       value of all “benefit liabilities”, within the meaning of Section 4001(a)(16) of ERISA (as determined on the basis of the actuarial
       assumptions contained in such NYBOT Pension Plan’s most recent actuarial valuation), did not exceed the then current value of the
       assets of such NYBOT Pension Plan, and there has been no change in the financial condition, whether or not as a result of a change
       in the funding method, of such NYBOT Pension Plan since the last day of the most recent plan year that would reasonably be
       expected to have a NYBOT Material Adverse Effect.
            (vi) As of the date hereof, there is no material pending or, to the knowledge of NYBOT threatened, litigation relating to
       NYBOT Benefit Plans. Neither NYBOT nor any of its Subsidiaries has any obligations for retiree health and life benefits under any
       NYBOT ERISA Plan or collective bargaining agreement (other than COBRA continuation coverage pursuant to applicable Law).
       NYBOT or its Subsidiaries may amend or terminate any such plan at any time without incurring any liability thereunder other than in
       respect of claims incurred prior to such amendment or termination.
             (vii) There has been no amendment to, announcement by NYBOT or any of its Subsidiaries relating to, or change in employee
       participation or coverage under, any NYBOT Benefit Plan which would increase materially the expense of maintaining such plan
       above the level of the expense incurred therefor for the most recent fiscal year. Neither the execution of this Agreement, Member
       approval of this Agreement nor the consummation of the transactions contemplated hereby will (A) entitle any NYBOT Employees
       to severance pay or any increase in severance pay upon any termination of employment after the date hereof, (B) accelerate the time
       of payment or vesting or result in any payment or funding (through a grantor trust or otherwise) of compensation or benefits under,
       increase the amount payable or result in any other material obligation pursuant to, any of the NYBOT Benefit Plans, (C) limit or
       restrict the right of NYBOT or, after the consummation of the Merger or any other transactions contemplated hereby, ICE or any of
       its Subsidiaries to merge, amend or terminate any of the NYBOT Benefit Plans or (D) result in payments under any of NYBOT
       Benefit Plans which would not be deductible under Section 280G of the Code.
           (k) Tax Matters. Neither NYBOT nor any of its Affiliates has taken or agreed to take any action, nor, to the knowledge of
       NYBOT, does there exist any fact or circumstance, that would prevent or impede, or would be reasonably likely to prevent or
       impede, the Merger from qualifying as a “reorganization” within the meaning of Section 368(a) of the Code.
             (l) Taxes.
            (i) Except as would not, individually or in the aggregate, reasonably be expected to have a NYBOT Material Adverse Effect:
       (A) all Tax Returns that are required to be filed by NYBOT or any of its Subsidiaries have been timely filed (taking into account any
       extension of time within which to file), and all

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       such Tax Returns are true and complete; (B) all Taxes that are shown as due on such filed Tax Returns or that NYBOT or any of its
       Subsidiaries are obligated to withhold from amounts owing to any NYBOT Employee, creditor or third party have been timely paid,
       except with respect to matters for which adequate reserves have been established; (C) neither NYBOT nor any of its Subsidiaries
       have waived any statute of limitations with respect to Taxes or agreed to any extension of time with respect to a Tax assessment or
       deficiency; (D) all Taxes due and payable by NYBOT or any of its Subsidiaries have been adequately provided for in the financial
       statements of NYBOT and its Subsidiaries for all periods ending through the date hereof (including the NYBOT Financial
       Statements) and, as of the date hereof, no material deficiency with respect to any Tax has been proposed, asserted or assessed against
       NYBOT or any of its Subsidiaries; (E) neither NYBOT nor any of its Subsidiaries has constituted a “distributing corporation” or a
       “controlled corporation” (within the meaning of Section 355(a)(1)(A) of the Code) in a distribution of stock intended to qualify for
       tax-free treatment under Section 355 of the Code in the three years prior to the date of this Agreement; and (F) none of NYBOT or
       any of its Subsidiaries has any liability for Taxes of any Person (other than NYBOT or any of its Subsidiaries) under Treasury
       Regulation §1.1502-6 (or any similar provision of state, local or foreign law), as a transferee or successor, by contract, or otherwise.
            (ii) No claim has been made by a Taxing Authority in a jurisdiction where NYBOT or any of its Subsidiaries does not file Tax
       Returns that NYBOT or any of its Subsidiaries is or may be subject to Taxation in that jurisdiction.
            (iii) No private letter rulings, technical advice memoranda or similar agreements or rulings have been entered into or issued by
       any Taxing Authority with respect to NYBOT or any of its Subsidiaries for any taxable year for which the statute of limitations has
       not yet expired.
            (iv) None of NYBOT or any of its Subsidiaries will be required, as a result of (A) a change in accounting method for a Tax
       period beginning on or before the Closing, to include any material adjustment under Section 481(c) of the Code (or any similar
       provision of state, local or foreign Law) in Taxable income for any Tax period beginning on or after the Closing Date, or (B) any
       “closing agreement” as described in Section 7121 of the Code (or similar provision of state, local or foreign Law), to include any
       material item of income in or exclude any material item of deduction from any Tax period beginning on or after the Closing Date;
            (v) None of NYBOT or any Subsidiary has engaged in any transactions that is a “reportable transaction” for purposes of §
       1.6011-4(b).
             (vi) Neither the execution of this Agreement nor the consummation of the Merger or any other transactions contemplated by this
       Agreement, either alone or in conjunction with any other event, will result in any payment under any compensation plans or
       otherwise which alone or together with all other payments would constitute a “parachute payment” to any “disqualified individual”
       as those terms are defined in Section 280G of the Code (whether or not such payment is considered to be reasonable compensation
       for services rendered).
             (m) Labor Matters.
             (i) There are no collective bargaining agreements binding on NYBOT or any of its Subsidiaries.
             (ii) None of the NYBOT Employees is represented by a labor union, and, to the knowledge of NYBOT, no petition has been
       filed, nor has any proceeding been instituted by any NYBOT Employee or group of NYBOT Employees with any labor relations
       board or commission seeking recognition of a collective bargaining representative.
            (iii) To the knowledge of NYBOT, (a) there is no organizational effort currently being made or threatened by or on behalf of
       any labor organization or trade union to organize any NYBOT Employees, and (b) no demand for recognition of any NYBOT
       Employees has been made by or on behalf of any labor organization or trade union in the past five (5) years.
            (iv) There has been no pending or, to the knowledge of NYBOT, threatened employee strike, work stoppage, slowdown,
       picketing or material labor dispute with respect to any NYBOT Employees in the past five (5) years.

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             (v) NYBOT and its Subsidiaries, except as would not, individually or in the aggregate, reasonably be expected to have a
       Material Adverse Effect, (a) are and for the past five years have been in compliance in all material respects with (i) all federal and
       state laws respecting employment and employment practices, terms and conditions of employment, collective bargaining,
       immigration, wages, hours and benefits, non-discrimination in employment, workers’ compensation and the collection and payment
       of withholding and/or payroll taxes and similar taxes, including but not limited to the Civil Rights Act of 1964, the Age
       Discrimination in Employment Act of 1967, the Equal Employment Opportunity Act of 1972, the Employee Retirement Income
       Security Act of 1974, the Equal Pay Act, the National Labor Relations Act, the Americans with Disabilities Act of 1990, the Vietnam
       Era Veterans Reemployment Act, and any and all similar applicable state and local laws; and (ii) all material applicable requirements
       of the Occupational Safety and Health Act of 1970 within the United States and comparable regulations and orders thereunder; and
       (b) are not, and for the past five years have not been, engaged in any unfair labor practice.
             (vi) There is no charge pending or, to the knowledge of NYBOT, threatened before any court or agency alleging unlawful
       discrimination in employment practices or any unfair labor practice by NYBOT or any of its Subsidiaries.
             (vii) During the preceding two years, (i) neither NYBOT nor any of its Subsidiaries has effectuated a “plant closing” (as defined
       in the Worker Adjustment and Retraining Notification Act (the “WARN Act”) affecting any site of employment or one or more
       facilities or operating units within any site of employment or facility, (ii) there has not occurred a “mass layoff” (as defined in the
       WARN Act) in connection with NYBOT or any of its Subsidiaries affecting any site of employment or one or more facilities or
       operating units within any site of employment or facility, and (iii) neither NYBOT nor any of its Subsidiaries has been affected by
       any transaction or engaged in layoffs or employment terminations sufficient in number to trigger application of any similar state,
       local or foreign law.
             (n) Insurance. All insurance policies maintained by NYBOT and its Subsidiaries provide coverage for those risks reasonably
       foreseeable with respect to the business of NYBOT and its Subsidiaries, and their respective properties and assets as is customary for
       companies conducting the business conducted by NYBOT and its Subsidiaries during such time period, are in character and amount
       at least equivalent to industry standards for similar businesses, of a similar size, and subject to the same or similar perils or hazards,
       and are sufficient for compliance with all Laws currently applicable to NYBOT and its Subsidiaries. None of NYBOT or any of its
       Subsidiaries has received any notice of cancellation or termination with respect to any insurance policy of NYBOT or its
       Subsidiaries. The insurance policies of NYBOT and its Subsidiaries are valid and enforceable policies in all respects. No claims have
       been made under NYBOT’s directors’ and officers’ liability insurance policies since December 31, 2002, and, as of the date of this
       Agreement, no such claims are pending.
             (o) Intellectual Property.
             (i) For the purposes of this Agreement, (i) “Intellectual Property” means all inventions (whether patentable or not), discoveries,
       patents, patent applications, registered and unregistered trademarks and service marks and all goodwill associated therewith and
       symbolized thereby, trademark applications and service mark applications, Internet domain names, registered and unregistered
       copyrights (including without limitation databases and other compilations of information), confidential information, trade secrets and
       know-how, including processes, schematics, business methods, formulae, drawings, prototypes, models, designs, customer lists and
       supplier lists, computer software programs, and all other intellectual property and proprietary rights; and (ii) “IT Assets” means
       computers, computer software, firmware, middleware, servers, workstations, routers, hubs, switches, data communications lines, and
       all other information technology equipment and elements, and all associated documentation, used in the businesses of NYBOT or
       any of its Subsidiaries as currently conducted.
             (ii) Except as has not had or is not reasonably expected to have a NYBOT Material Adverse Effect, (A) NYBOT or at least one
       of its Subsidiaries is sole and exclusive owner of, is licensed under or otherwise

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       possesses sufficient and legally enforceable rights to practice or otherwise use all Intellectual Property which is necessary to the
       operation of the business of NYBOT as currently conducted (the “NYBOT Intellectual Property”), (B) all such licenses and legally
       enforceable rights relating to the NYBOT Intellectual Property are freely transferable by NYBOT and its Subsidiaries without
       restriction; and (C) the consummation of the transactions contemplated by this Agreement will not alter or impair such rights. Set
       forth on Section 5.1(o)(x) of the NYBOT Disclosure Letter is a true and correct list of all NYBOT Intellectual Property that is owned
       by NYBOT or any of its Subsidiaries. Set forth on Section 5.1(o)(y) of the NYBOT Disclosure Letter is a true and correct list of all
       NYBOT Intellectual Property that is not owned by, but is used by, NYBOT or any of its Subsidiaries under license, other than with
       respect to commercially available software products under standard end-user object code license agreements. Set forth on
       Section 5.1(o)(z) of the NYBOT Disclosure Letter is a true and correct list of all license agreements relating to the NYBOT
       Intellectual Property listed in Section 5.1(o)(y) of the NYBOT Disclosure Letter. Except as has not had or is not reasonably expected
       to have a NYBOT Material Adverse Effect: (A) the NYBOT Intellectual Property owned by NYBOT and/or its Subsidiaries is valid,
       subsisting and enforceable, (B) NYBOT’s and/or its Subsidiaries’ ownership of and right to practice or otherwise use the NYBOT
       Intellectual Property is free and clear of any lien, pledge, security interest or other encumbrance and (C) no other Person has the right
       to practice or otherwise use any of the owned NYBOT Intellectual Property owned by NYBOT or its Subsidiaries, except pursuant to
       non-exclusive license grants made in writing by NYBOT. All material Contracts under which NYBOT or any of its Subsidiaries
       licenses or otherwise permits another Person, or is licensed or otherwise permitted by another Person, to practice or otherwise use
       any NYBOT Intellectual Property (the “NYBOT Intellectual Property Contracts”) are legal, valid, binding and enforceable against
       the other party, and are in full force and effect, subject to the Bankruptcy and Equity Exception. Except as has not had or is not
       reasonably expected to have a NYBOT Material Adverse Effect, (A) no claim has been made that NYBOT or any of its Subsidiaries,
       or to the knowledge of NYBOT, another person, has breached or is otherwise in violation of any NYBOT Intellectual Property
       Contract and (B) NYBOT does not have knowledge of any unasserted claims that may be made that NYBOT or any of its
       Subsidiaries or another Person has breached or is otherwise in violation of any NYBOT Intellectual Property Contract.
             (iii) There are no pending or, to the knowledge of NYBOT, threatened or unasserted claims by any Person alleging
       infringement, misappropriation or violation of any of such Person’s Intellectual Property, as a result of the use of any NYBOT
       Intellectual Property by NYBOT or its Subsidiaries, that are reasonably expected to have a NYBOT Material Adverse Effect. Except
       as has not had or is not reasonably expected to have a NYBOT Material Adverse Effect, to the knowledge of NYBOT, the conduct of
       the business of NYBOT and its Subsidiaries as currently conducted and the NYBOT Intellectual Property do not infringe upon,
       misappropriate or violate any Intellectual Property rights or any other proprietary right of any Person. To the knowledge of NYBOT,
       the implementation of electronic trading on the Exchange and the clearing, from and after the Effective Time, of additional products
       by NYBOT Clearing Corporation that are not currently cleared by NYBOT Clearing Corporation would not infringe upon,
       misappropriate or violate any Intellectual Property rights or any other proprietary right of any Person to the extent such Intellectual
       Property right or other proprietary right is currently used by NYBOT or any of its Subsidiaries. To the knowledge of NYBOT, there
       is no unauthorized use, infringement, misappropriation or other violation of NYBOT Intellectual Property by any Person, including
       any Employee of NYBOT or any of its Subsidiaries, except as would not reasonably be likely to have a NYBOT Material Adverse
       Effect. NYBOT and its Subsidiaries have taken commercially reasonable steps to maintain the confidentiality of the trade secrets,
       know-how and other non-public information owned by NYBOT or its Subsidiaries, or received from third Persons which NYBOT or
       its Subsidiaries is obligated to treat as confidential, except for such steps the failure of which to have taken has not, individually or in
       the aggregate, had or reasonably be expected to have a NYBOT Material Adverse Effect.
            (iv) To the knowledge of NYBOT and except as has not had or is not reasonably expected to have a NYBOT Material Adverse
       Effect, the IT Assets operate and perform in all material respects in accordance with their documentation and functional
       specifications, to the extent available, or as otherwise required by

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       Subsidiaries has implemented reasonable backup and disaster recovery measures consistent with industry standards.
            (p) NYBOT Clearing Corporation. No clearing member of NYBOT Clearing Corporation (each, a “Clearing Member”) is
       currently in default under and, to NYBOT’s knowledge, there are no circumstances that would reasonably be expected to lead a
       Clearing Member of NYBOT Clearing Corporation to default on or otherwise fail to make any required payment to NYBOT
       Clearing Corporation under, any contract or obligation to NYBOT Clearing Corporation.
             (q) Material Contracts.
             (i) As of the date of this Agreement, neither NYBOT nor any of its Subsidiaries is a party to or bound by:
                  (A) any lease of real or personal property providing for annual rentals of $250,000 or more;
                 (B) any Contract that is reasonably likely to require either (x) annual payments to or from NYBOT and its Subsidiaries of
             more than $250,000 or (y) aggregate payments to or from NYBOT and its Subsidiaries of more than $250,000;
                  (C) other than with respect to any entity that is wholly-owned by NYBOT or any wholly-owned Subsidiary of NYBOT,
             any partnership, joint venture or other similar agreement or arrangement relating to the formation, creation, operation,
             management or control of any partnership or joint venture material to NYBOT or any of its Subsidiaries or in which NYBOT
             owns any interest;
                  (D) any Contract (other than among direct or indirect wholly-owned Subsidiaries of NYBOT) relating to indebtedness for
             borrowed money or the deferred purchase price of property (in either case, whether incurred, assumed, guaranteed or secured
             by any asset) (i) in excess of $100,000 or (ii) that would not be included in the calculation of the Closing Cash Amount
             pursuant to Section 4.7;
                   (E) any non-competition Contract or other Contract that (I) purports to limit in any material respect either the type of
             business in which NYBOT or its Subsidiaries (or, after the Effective Time, ICE or its Subsidiaries) may engage or the manner
             or locations in which any of them may so engage in any business (including, without limitation, any Contract that purports to
             limit in any material respect NYBOT’s or its Subsidiaries’ ability to employ an electronic trading platform); (II) could require
             the disposition of any material assets or line of business of NYBOT or its Subsidiaries or, after the Effective Time, ICE or its
             Subsidiaries, (III) grants “most favored nation” status that, following the Merger, would apply to ICE and its Subsidiaries,
             including NYBOT and its Subsidiaries or (IV) prohibits or limits the right of NYBOT or any of its Subsidiaries to make, sell or
             distribute any products or services or use, transfer, license, distribute or enforce any of their respective Intellectual Property
             rights;
                  (F) any Contract to which NYBOT or any of its Subsidiaries is a party containing a standstill or similar agreement
             pursuant to which one party has agreed not to acquire assets or securities of the other party or any of its Affiliates;
                 (G) any Contract providing for indemnification by NYBOT or any of its Subsidiaries of any Person, except for any such
             Contract that is (x) not material to NYBOT or any of its Subsidiaries and (y) entered into in the ordinary course of business;
                  (H) any Contract that contains a put, call or similar right pursuant to which NYBOT or any of its Subsidiaries could be
             required to purchase or sell, as applicable, any equity interests of any Person or assets that have a fair market value or purchase
             price of more than $100,000; and
                 (I) any other (i) Contract or (ii) group of related Contracts with the same counterparty (or affiliates of the such
             counterparty) or entered into pursuant to a master agreement that, in each case, if

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             terminated or subject to a default by any party thereto, would, individually or in the aggregate, reasonably be expected to result
             in a NYBOT Material Adverse Effect (the Contracts described in clauses (A) – (I), together with all exhibits and schedules to
             such Contracts, being the “Material Contracts”).
            (ii) A copy of each Material Contract has previously been delivered to ICE and each such Contract is a valid and binding
       agreement of NYBOT or one of its Subsidiaries, as the case may be, and is in full force and effect, and neither NYBOT nor any of its
       Subsidiaries nor, to the knowledge of NYBOT, any other party thereto is in default or breach in any respect under the terms of any
       such agreement, contract, plan, lease, arrangement or commitment.
            (r) Brokers and Finders. None of NYBOT, its Subsidiaries nor any of their respective officers, directors or employees has
       employed any broker or finder or incurred any liability for any brokerage fees, commissions or finders fees in connection with the
       Merger or the other transactions contemplated by this Agreement, except that NYBOT has employed Brown Brothers Harriman,
       Houlihan Lokey Howard & Zukin and Parthenon Group as its financial advisor, the arrangements with which have been disclosed in
       writing to ICE prior to the date hereof.
             5.2. Representations and Warranties of ICE and Merger Sub. Except as disclosed in the ICE Reports or as set forth in the
       corresponding sections or subsections of the disclosure letter dated as of the date hereof, delivered to NYBOT by ICE on or prior to
       entering into this Agreement (the “ICE Disclosure Letter”), or in such other section or subsection of the ICE Disclosure Letter where
       the applicability of such exception is reasonably apparent, ICE and Merger Sub hereby represent and warrant to NYBOT as set forth
       in this Section 5.2. The mere inclusion of any item in the ICE Disclosure Letter as an exception to a representation or warranty of
       ICE in this Agreement shall not be deemed to be an admission that such item is a material exception, fact, event or circumstance, or
       that such item, individually or in the aggregate, has had or is reasonably expected to have, a ICE Material Adverse Effect or trigger
       any other materiality qualification.
             (a) Organization, Good Standing and Qualification. Each of ICE and Merger Sub is a corporation duly organized, validly
       existing and in good standing under the laws of the State of Delaware. Each of ICE and Merger Sub has all requisite corporate or
       similar power and authority to own and operate its properties and assets and to carry on its business as presently conducted and is
       qualified to do business and is in good standing as a foreign corporation in each jurisdiction where the ownership or operation of its
       assets or properties or conduct of its business requires such qualification, except where the failure to be so organized, existing and in
       good standing or to have such power or authority when taken together with all other such failures, individually or in the aggregate,
       has not had and is not reasonably expected to have a ICE Material Adverse Effect. Merger Sub was formed solely for the purpose of
       engaging in the transactions contemplated by this Agreement, has engaged in no other business activities and has conducted its
       operations only as contemplated hereby.

        “ICE Material Adverse Effect” means a material adverse effect on (a) the business, results of operations or financial condition of ICE
  and its Subsidiaries, taken as a whole, or (b) the ability of ICE to consummate the Merger in accordance with the terms of this Agreement
  prior to the Termination Date; provided, however, that the following shall not be considered in determining whether a ICE Material
  Adverse Effect has occurred: (A) any change or development in economic, business or commodities markets conditions generally to the
  extent that such change or development does not affect ICE and its Subsidiaries, taken as a whole, in a materially disproportionate manner
  relative to other commodities exchanges or trading markets; (B) any change or development to the extent resulting from the execution or
  announcement of this Agreement or the transactions contemplated hereby; (C) any change or development to the extent proximately
  resulting from any action or omission by ICE or any of its Subsidiaries that is required by this Agreement; (D) the announcement,
  commencement or continuation of any war or armed hostilities or the occurrence of any act or acts of terrorism; or (E) any effect arising
  from or relating to any change in GAAP or any change in applicable laws, rules or regulations or the interpretation thereof.

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             (b) Capital Structure of ICE.
             (i) The authorized capital stock of ICE consists of (i) 194,275,000 shares of ICE Common Stock, of which 57,005,020 shares
       are outstanding as of September 1, 2006, (ii) 80,725,000 shares of Class A common stock, par value $.01 per share (“ICE Class A
       Common Shares”), of which 3,211 shares are outstanding as of September 1, 2006, and (iii) 25,000,000 shares of Preferred Stock par
       value $.01 per share (the “ICE Preferred Shares”), of which no shares are outstanding as of the date hereof. All of the outstanding
       shares of ICE Common Stock have been duly authorized and are validly issued, fully paid and nonassessable. ICE has no shares of
       ICE Common Stock, ICE Class A Common Shares or ICE Preferred Shares reserved for issuance, except that, as of June 30, 2006,
       there were 4,211,631 shares of ICE Common Stock reserved for issuance pursuant to the 2000 Stock Option Plan, there were
       2,125,000 shares of ICE Common Stock reserved for issuance pursuant to the 2005 Equity Incentive Plan, there were 250,000 shares
       of ICE Common Stock reserved for issuance pursuant to the 2003 Restricted Stock Deferral Plan for Outside Directors and there
       were 1,475,000 shares of ICE Common Stock reserved for issuance pursuant to the 2004 Restricted Stock Plan. Each of the
       outstanding shares of capital stock or other equity interests of each of ICE’s Subsidiaries is duly authorized, validly issued, fully paid
       and nonassessable and owned by ICE or by a direct or indirect wholly owned Subsidiary of ICE, free and clear of any lien, pledge,
       security interest, claim or other encumbrance. Except as set forth above, there are no preemptive or other outstanding rights, options,
       warrants, conversion rights, stock appreciation rights, redemption rights, repurchase rights, agreements, arrangements, calls,
       commitments or rights of any kind that obligate ICE or any of its Subsidiaries to issue or sell any shares of capital stock or other
       securities of ICE or any of its Subsidiaries or any securities or obligations convertible or exchangeable into or exercisable for, or
       giving any Person a right to subscribe for or acquire, any shares of ICE Common Stock or other securities of ICE or any of its
       Subsidiaries, and no securities or obligations evidencing such rights are authorized, issued or outstanding. ICE does not have
       outstanding any bonds, debentures, notes or other obligations the holders of which have the right to vote (or convertible into or
       exercisable for securities having the right to vote) with the stockholders of ICE on any matter.
            (ii) All shares of ICE Common Stock to be issued in connection with the Merger, when issued as contemplated herein, will be
       duly authorized, validly issued, fully paid and nonassessable and will not be in violation of any preemptive rights.
             (iii) The authorized capital stock of Merger Sub consists of 100 shares of common stock, par value $.01 per share, all of which
       shares are issued and outstanding. ICE is the legal and beneficial owner of all of the issued and outstanding shares of Merger Sub. All
       of the outstanding shares of capital stock of Merger Sub have been duly authorized and validly issued, and are fully paid and
       nonassessable and not subject to any preemptive rights.
             (c) Corporate Authority. Each of ICE and Merger Sub has all requisite corporate power and authority and has taken all corporate
       action necessary in order to authorize, execute, deliver and perform its obligations under this Agreement and to consummate the
       Merger and the other transactions contemplated hereby. The execution, delivery and performance of this Agreement by each of ICE
       and Merger Sub and the consummation by each of ICE and Merger Sub of the transactions contemplated hereby have been duly and
       validly approved by its Board of Directors and by ICE in its capacity as the sole stockholder of Merger Sub. This Agreement is a
       valid and binding agreement of each of ICE and Merger Sub enforceable against ICE in accordance with its terms, subject, as to
       enforcement, to bankruptcy, insolvency, fraudulent transfer, reorganization, moratorium and similar laws of general applicability
       relating to or affecting creditors’ rights and to general equity principles (the “Bankruptcy and Equity Exception”).
            (d) No Conflicts. Neither the execution and delivery by each of ICE and Merger Sub of this Agreement, the compliance by each
       of ICE and Merger Sub with all of the provisions of and the performance by each of ICE and Merger Sub of its obligations under this
       Agreement, nor the consummation of the Merger and the other transactions herein contemplated will conflict with, or result in a
       breach or violation of, or result in any acceleration of any rights or obligations or the payment of any penalty under or

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       the creation of a lien, pledge, security interest or other encumbrance on assets (with or without the giving of notice or the lapse of
       time) pursuant to, or permit any other party any improvement in rights with respect to or permit it to exercise, or otherwise constitute
       a default under, any provision of any Contract in effect as of the date hereof, or result in any change in the rights or obligations of
       any party under any Contract in effect as of the date hereof, to which ICE or any of its Subsidiaries is a party or by which ICE or any
       of its Subsidiaries or any of their respective assets is bound, nor, subject to any required approval of the Merger by the CFTC, will
       such execution and delivery, compliance, performance or consummation result in any breach or violation of, or a default under, the
       provisions of the articles of incorporation or bylaws of ICE, or any Law applicable to it, except in each case for such conflicts,
       breaches, violations, defaults, payments, accelerations, creations or changes that, individually or in the aggregate, have not had and
       are not reasonably expected to have, a ICE Material Adverse Effect.
             (e) Governmental Approvals and Consents. Other than (i) the filings and/or notices under the Hart-Scott-Rodino Antitrust
       Improvement Act of 1976, as amended (the “HSR Act”), the Exchange Act and the Securities Act, (ii) the filings, notices, approvals
       and/or consents to be obtained from the CFTC and under the Commodity Exchange Act, as amended, and (iii) other foreign
       approvals, state securities, takeover and “blue sky” laws, no authorizations, consents, approvals, orders, permits, notices, reports,
       filings, registrations, qualifications and exemptions of, with or from, or other actions are required to be made by ICE or any of its
       Subsidiaries with, or obtained by ICE or any of its Subsidiaries from, any governmental or regulatory authority, agency, commission,
       body or other governmental or regulatory entity, domestic or foreign, other than ICE or any of its Subsidiaries (“Governmental
       Entity”), in connection with the execution and delivery by ICE of this Agreement, the performance by ICE of its obligations
       hereunder, and the consummation of the transactions contemplated hereby.
             (f) ICE Reports; Financial Statements. ICE has filed or furnished, as applicable, on a timely basis all forms, statements,
       certifications, reports and documents required to be filed or furnished by it with the SEC under the Exchange Act or the Securities
       Act of 1933, as amended (the “Securities Act”) since December 31, 2005 (collectively, the “ICE Reports”). Each of the ICE Reports,
       at the time of its filing or being furnished complied, or if not yet filed or furnished, will comply in all material respects with the
       applicable requirements of the Securities Act, the Exchange Act and the Sarbanes-Oxley Act of 2002 (as amended, the “Sarbanes-
       Oxley Act”), and any rules and regulations promulgated thereunder applicable to the ICE Reports. As of their respective dates (or, if
       amended prior to the date hereof, as of the date of such amendment) the ICE Reports did not, and any ICE Reports filed or furnished
       with the SEC subsequent to the date hereof will not, contain any untrue statement of a material fact or omit to state a material fact
       required to be stated therein or necessary to make the statements made therein, in light of the circumstances in which they were
       made, not misleading. Each of the consolidated balance sheets included in the financial statements included in the ICE Reports
       (including the related notes and schedules) fairly presents the consolidated financial position of ICE and its Subsidiaries as of its date
       and each of the consolidated statements of income, retained earnings, and cash flows and of changes in financial position included in
       the financial statements included in the ICE Reports (including any related notes and schedules) fairly presents the results of
       operations, retained earnings, members’ equity, cash flows and changes in financial position, as the case may be, of ICE and its
       Subsidiaries for the periods set forth therein, in each case in conformity with GAAP consistently applied during the periods involved,
       except as may be noted therein. Except for liabilities and obligations incurred in the ordinary course of business since December 31,
       2005, neither ICE nor any of its Subsidiaries has any liabilities or obligations of any nature required by GAAP to be set forth on a
       consolidated balance sheet of ICE or any of its Subsidiaries or in the notes thereto which, individually or in the aggregate, could
       reasonably be expected to have a ICE Material Adverse Effect.
            (g) Absence of Certain Changes. Since December 31, 2005, ICE and its Subsidiaries have conducted their respective businesses
       only in, and have not engaged in any material transaction other than according to, the ordinary and usual course of such businesses
       and there has not been (i) any change or development that, individually or in the aggregate, has had or is reasonably expected to
       have, a ICE Material Adverse Effect; or (ii) any change by ICE in financial accounting principles, practices or methods that is not
       required by GAAP.

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            (h) Compliance The businesses of ICE and each of its Subsidiaries have been conducted in compliance in all material respects
       with all Laws and the applicable rules of any Self-Regulatory Organization. Neither ICE nor any of its Subsidiaries is in conflict
       with, or in default or violation of, any Contract to which ICE or any of its Subsidiaries is a party or by which ICE or any of its
       Subsidiaries or its or any of their respective properties is bound or affected, except for any such conflicts, defaults or violations that,
       individually or in the aggregate, would not reasonably be expected to prevent or materially impair or delay the consummation of the
       Merger. ICE is in compliance in all material respects with the applicable listing and corporate governance rules and regulations of the
       NYSE.
             (i) Litigation and Liabilities. There are no (i) civil, criminal or administrative actions, suits, claims, hearings, investigations or
       proceedings pending or, to the knowledge of ICE, threatened against ICE, any of its Subsidiaries or any of their respective directors
       or officers or (ii) obligations or liabilities, whether or not accrued, contingent or otherwise and whether or not required to be
       disclosed, including those relating to, or any other facts or circumstances of which, to the knowledge of ICE, could result in any
       claims against, or obligations or liabilities of, ICE or any of its Affiliates, except, in both cases, for those that, individually or in the
       aggregate, have not had and are not reasonably expected to have a ICE Material Adverse Effect or would not reasonably be expected
       to prevent or materially impair or delay the consummation of the Merger.
             (j) Tax Matters. Neither ICE nor any of its Affiliates has taken or agreed to take any action, nor, to the knowledge of ICE, does
       there exist any fact or circumstance, that would prevent or impede, or would be reasonably likely to prevent or impede, the Merger
       from qualifying as a “reorganization” within the meaning of Section 368(a) of the Code.
             (k) Brokers and Finders. None of ICE, its Subsidiaries nor any of their respective officers, directors or employees has employed
       any broker or finder or incurred any liability for any brokerage fees, commissions or finders fees in connection with the Merger or
       the other transactions contemplated by this Agreement, except that ICE has employed Evercore Partners as its financial advisor.


                                                                   ARTICLE VI
                                                                     Covenants

             6.1. Interim Operations. ICE and NYBOT each covenants and agrees as to itself and its Subsidiaries that, after the date hereof
       and until the earlier of the Effective Time or the termination of this Agreement in accordance with its terms (unless ICE (in the case
       of NYBOT) or NYBOT (in the case of ICE) shall otherwise approve in writing, and except as otherwise expressly contemplated by
       this Agreement or, in the case of NYBOT, except as otherwise set forth in Section 6.1 of the NYBOT Disclosure Letter or, in the case
       of ICE, except as otherwise set forth in Section 6.1 of the ICE Disclosure Letter):
             (a) the business of it and its Subsidiaries shall be conducted in the ordinary and usual course consistent with past practice and,
       to the extent consistent therewith, it and its Subsidiaries shall use their respective reasonable best efforts to preserve its business
       organization intact and maintain its existing relations and goodwill with all Governmental Entities, Self-Regulatory Organizations,
       providers of order flow, customers, suppliers, distributors, creditors, lessors, Employees, business associates, Members and
       stockholders, as appropriate;
            (b) it shall not declare, set aside or pay any type of dividend, whether payable in cash, stock or property, in respect of any
       Membership Interests or capital stock, as appropriate, other than, in the case of ICE, dividends payable by direct or indirect wholly
       owned Subsidiaries of ICE to ICE or other direct or indirect wholly owned Subsidiaries of ICE and, in the case of NYBOT,
       dividends payable by direct or indirect wholly owned Subsidiaries of NYBOT to NYBOT or other direct or indirect wholly owned
       Subsidiaries of NYBOT;

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             (c) in the case of NYBOT, neither it nor its Subsidiaries shall:
             (i) issue any new Membership Interests, other membership interests, capital stock or any securities convertible into or
       exchangeable or exercisable for any membership interests or shares of capital stock, Trading Rights, other trading permits or trading
       rights, or any lease rights;
             (ii) sell, pledge, dispose of or encumber, split, combine or reclassify, or repurchase, redeem or acquire any outstanding
       Membership Interests, other membership interests, capital stock or any securities convertible into or exchangeable or exercisable for
       any membership interests or shares of capital stock, Permits, Trading Rights, other trading permits or trading rights, or any lease
       rights;
             (iii) make any structural changes to NYBOT Clearing Corporation, agree to (other than in the ordinary course of business) list
       or clear any additional products or markets, change its risk policies or reduce its guaranty fund, liquidity or credit resources;
             (iv) except as required by applicable Law or as set forth on Section 6.1(c)(iv) of the NYBOT Disclosure Letter, (A) terminate,
       establish, adopt, enter into, make any new grants or awards under, amend or otherwise modify, any NYBOT Benefit Plan, as the case
       may be, or any other arrangement that would be a NYBOT Benefit Plan if in effect on the date hereof, or (B) increase the salary,
       wage, bonus, pension, welfare, severance or other compensation of any employees or fringe benefits of any director, officer or
       employee or enter into any contract, agreement, commitment or arrangement to do any of the foregoing, except increases occurring
       in the ordinary and usual course of business consistent with past practice, or (C) provide for the grant of any stock option, restricted
       stock, restricted stock unit or other equity-related award, or (D) pay any change of control or severance benefits to any NYBOT
       director or Employee in connection with the Merger, or grant or provide for any severance, change in control or termination
       payments or benefits to any director, officer or employee of NYBOT or any of its Subsidiaries, or (E) take any action to accelerate
       the vesting or payment, or fund or in any way secure the payment, of compensation or benefits under any NYBOT Benefit Plan, to
       the extent not already provided in the any such NYBOT Benefit Plan, or (F) change any actuarial or other assumptions used to
       calculate funding obligations with respect to the manner in which contributions to such plans are made or the basis on which such
       contributions are determined, except as may be required by GAAP, or (G) establish, adopt, enter into or amend any collective
       bargaining agreement or (H) terminate any officer, other than for cause, in which case NYBOT shall promptly notify ICE of such
       termination;
              (v) except in the ordinary and usual course of business consistent with past practice, settle or compromise any material claims
       or litigation or modify, amend or terminate any of its material Contracts or waive, release or assign any material rights or claims;
            (vi) other than in the ordinary and usual course of business, transfer, lease, license, guarantee, sell, mortgage, pledge, dispose of
       or encumber any other material property or assets (including membership interests or capital stock of any of its Subsidiaries);
            (vii) incur additional material indebtedness or other liability or modify any material indebtedness or other liability or modify
       any material indebtedness or other liability other than in the ordinary course of business;
             (viii) make or authorize or commit to any capital expenditures (other than under its current business plan as disclosed to ICE
       prior to the date of this Agreement), acquisitions or other types of non-ordinary-course transactions;
             (ix) except for a platform license and service agreement with ICE, which shall provide that ICE shall license ICE’s electronic
       trading platform to NYBOT for a minimum period of 18 months from and after the date of this Agreement and that the costs of
       operation shall not exceed $3 million per year, and which shall contain such other commercially reasonable terms as mutually agreed
       by ICE and NYBOT as soon as reasonably practicable after the date of this Agreement (and in any event within 45 days after the date
       of this Agreement) (the “Platform License Agreement”), enter into any agreement to trade any products on an

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       electronic trading platform or that would restrict NYBOT’s or its Subsidiaries’ ability to trade any product on an electronic trading
       platform; provided, however, if ICE and NYBOT are not able to reach agreement on the terms of the Platform License Agreement in
       accordance with the foregoing, NYBOT may, at its own expense, license an electronic trading platform from an alternate system
       vendor, provided that (A) such license agreement is terminable by NYBOT as of the Closing and (B) all costs associated with such
       license agreement from and after the Closing shall be deducted from the calculation of the Closing Cash Amount;
             (x) change any material Tax election, change any material method of Tax accounting, file any materially amended Tax Return,
       or settle or compromise any material audit or proceeding relating to Taxes or permit any insurance policy naming it as a beneficiary
       or loss-payable payee to be cancelled or terminated except in the ordinary and usual course of business;
             (xi) permit any change in its credit practices or accounting principles, policies or practice (including any of its practices with
       respect to accounts receivable or accounts payable), except to the extent that any such changes in accounting principles, policies or
       practices shall be required by changes in GAAP;
             (xii) enter into any “non-compete” or similar Contract that would restrict the business of the Surviving Corporation or any of its
       Affiliates following the Effective Time;
            (xiii) except as permitted pursuant to Section 6.1(c)(iv) of the NYBOT Disclosure Letter, enter into any Contract between itself,
       on the one hand, or any of its Affiliates, employees, officers or directors, on the other hand;
             (xiv) (A) amend or modify any of the NYBOT Organizational Documents or the NYBOT Subsidiary Organizational
       Documents, except for rule amendments or modifications that are consistent with past practice, that are not material and that would
       not become Core Rights (as defined in the Bylaws) or (B) file with the CFTC any notice of such amendment or modification unless it
       shall simultaneously provide a written copy of such application to ICE; and
            (xv) neither NYBOT nor any of its Subsidiaries will authorize or enter into an agreement to do any of the foregoing set forth in
       Sections 6.1(c)(i) – (xiv) if NYBOT would be prohibited by the terms of Sections 6.1(c)(i) – (xiv) from doing the foregoing.
       Notwithstanding anything to the contrary in this Agreement, ICE shall have the right to agree to and to consummate any acquisitions
       of another Person, including by agreeing to issue equity interests in ICE to such Person.
             (d) In the case of NYBOT, it shall, and shall cause its Subsidiaries to, preserve their respective existing regulatory status in all
       jurisdictions, and shall not make any material change to their respective regulatory status in any jurisdiction.
            (e) Prior to making any written or oral communications to the directors, officers or employees of NYBOT or any of its
       Subsidiaries pertaining to compensation or benefit matters that are affected by the transactions contemplated by this Agreement,
       NYBOT shall provide ICE with a copy of the intended communication, ICE shall have a reasonable period of time to review and
       comment on the communication, and ICE and NYBOT shall cooperate in providing any such mutually agreeable communication
             6.2. Acquisition Proposals.
             (a) Without limitation on any of NYBOT’s other obligations under this Agreement, NYBOT agrees that, from and after the date
       hereof until the earlier of the Closing and the termination of this Agreement in accordance with its terms, neither it nor any of its
       Subsidiaries nor any of the officers and directors of it or its Subsidiaries shall, and that it shall direct and use its reasonable best
       efforts to cause its and its Subsidiaries’ employees, agents and representatives (including any investment banker, attorney or
       accountant retained by it or any of its Subsidiaries) not to, directly or indirectly, (i) initiate, solicit, knowingly encourage (including
       by way of furnishing information), facilitate, or induce any inquiries or the making, submission or announcement of, any proposal or
       offer that constitutes, or could reasonably be expected to result in, an Acquisition Proposal, (ii) have any discussion with or provide
       any confidential information or data to any Person relating to an Acquisition Proposal, or engage in any negotiations

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       concerning an Acquisition Proposal, or knowingly facilitate any effort or attempt to make or implement an Acquisition Proposal,
       (iii) approve or recommend, or propose publicly to approve or recommend, any Acquisition Proposal or (iv) approve or recommend,
       or propose to approve or recommend, or execute or enter into, any letter of intent, agreement in principle, merger agreement,
       acquisition agreement, option agreement or other similar agreement or propose publicly or agree to do any of the foregoing related to
       any Acquisition Proposal.

       An “Acquisition Proposal” means any offer or proposal for, or any indication of interest in, (i) any direct or indirect acquisition or
  purchase of NYBOT, NYBOT Clearing Corporation or any NYBOT Subsidiary that constitutes 10% or more of the consolidated gross
  revenue or consolidated gross assets of NYBOT and its Subsidiaries, taken as a whole (NYBOT Clearing Corporation and each such
  Subsidiary, a “Major Subsidiary”); (ii) any direct or indirect acquisition or purchase of (A) 10% or more of any class of equity securities or
  voting power or 10% or more of the consolidated gross assets of NYBOT, or (B) 50% or more of any class of equity securities or voting
  power of any of its Major Subsidiaries; (iii) any tender offer that, if consummated, would result in any Person beneficially owning 10% or
  more of any class of equity securities or voting power of NYBOT; (iv) any merger, reorganization, share exchange, consolidation, business
  combination, recapitalization, liquidation, dissolution or similar transaction involving NYBOT or any Major Subsidiary of NYBOT, in
  each case other than the transactions contemplated by this Agreement.
             (b) Within two business days after receipt of an Acquisition Proposal or any request for nonpublic information or inquiry that
       NYBOT reasonably believes could lead to an Acquisition Proposal for NYBOT, NYBOT shall provide the other party hereto with
       oral and written notice of the material terms and conditions of such Acquisition Proposal, request or inquiry, and the identity of the
       Person making any such Acquisition Proposal, request or inquiry. Thereafter, NYBOT shall provide ICE, as promptly as practicable,
       with oral and written notice setting forth all such information as is reasonably necessary to keep ICE informed in all material respects
       of the status and details (including material amendments or proposed material amendments) of any such Acquisition Proposal,
       request or inquiry.
             (c) Notwithstanding anything in this Agreement to the contrary, NYBOT or its Board of Directors shall be permitted to (A) to
       the extent applicable, comply with Rule 14d-9 and Rule 14e-2 promulgated under the Exchange Act with regard to an Acquisition
       Proposal, (B) effect a Change in NYBOT Recommendation prior to the receipt of the NYBOT Requisite Vote to the extent permitted
       to do so by Section 6.4(b), or (C) prior to the receipt of the NYBOT Requisite Vote, engage in any discussions or negotiations with,
       or provide any information to, any Person in response to an unsolicited bona fide written Acquisition Proposal by any such Person, if
       and only to the extent that, (i) in the case of clause (B) above, it has received an unsolicited bona fide written Acquisition Proposal
       from a third party and its Board of Directors concludes in good faith (after consultation with its outside legal counsel and financial
       advisors) that such Acquisition Proposal constitutes a Superior Proposal, (ii) in the case of clause (C) above, its Board of Directors
       concludes in good faith (after consultation with its outside legal counsel and financial advisors) that there is a reasonable likelihood
       that such Acquisition Proposal would result in a Superior Proposal, (iii) in the case of clause (B) or (C) above, its Board of Directors,
       after consultation with its outside legal counsel, determines in good faith that the failure to take such action would be inconsistent
       with its fiduciary duties under applicable Law, (iv) in the case of clause (C) above, prior to providing any information or data to any
       Person in connection with an Acquisition Proposal by any such Person, its Board of Directors receives from such Person an executed
       confidentiality agreement with terms no less restrictive, in the aggregate, than those contained in the Confidentiality Agreement, and
       (v) in the case of clause (C) above, NYBOT is not then in material breach of its obligations under this Section 6.2. NYBOT shall, and
       shall cause its senior officers, directors and representatives to, immediately cease and cause to be terminated any activities,
       discussions or negotiations existing as of the date of this Agreement with any parties conducted heretofore with respect to any
       Acquisition Proposal. NYBOT shall use reasonable best efforts to promptly inform its directors, officers, agents and representatives
       of the obligations undertaken in this Section 6.2. Nothing in this Section 6.2 shall (x) permit NYBOT to terminate this Agreement
       (except as specifically provided in Article VIII hereof) or (y) affect any other obligation of NYBOT under this Agreement, except as
       otherwise

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       expressly set forth in this Agreement. Prior to any termination of this Agreement, NYBOT shall not submit to the vote of its
       Members any Acquisition Proposal.

        “Superior Proposal” means, with respect to NYBOT, a bona fide written Acquisition Proposal obtained not in breach of this
  Section 6.2 for or in respect of all of the outstanding voting power of and economic interest in the Membership Interests or any other
  capital stock of NYBOT or all of the assets of NYBOT and its Subsidiaries, on a consolidated basis, on terms that the Board of Directors
  of NYBOT in good faith concludes (following receipt of the advice of its financial advisors and outside legal counsel), taking into account,
  among other things, all legal, financial, regulatory, structural and other aspects of the Acquisition Proposal and this Agreement, and taking
  into account any improved terms that ICE has offered pursuant to Section 8.3 deemed relevant by such Board of Directors, including
  conditions to and expected timing and risks of consummation and the ability of the party making such proposal to obtain financing for
  such Acquisition Proposal) are more favorable from a financial point of view to the Members of NYBOT than the Merger and the other
  transactions contemplated by this Agreement (after taking into account any such improved terms).
             6.3. Preparation of Proxy Statements; Information Supplied.
             (a) As promptly as reasonably practicable following the date hereof, ICE and NYBOT shall cooperate in preparing mutually
       acceptable proxy materials of NYBOT which shall constitute the proxy statement/prospectus relating to the matters to be submitted
       to the NYBOT Members at the NYBOT Members Meeting (such proxy statement/prospectus, and any amendments or supplements
       thereto, the “Proxy Statement/Prospectus”), and ICE shall prepare and file with the SEC a registration statement on Form S-4 with
       respect to the issuance of ICE Common Stock in the Merger (such Form S-4, and any amendments or supplements thereto, the “S-4
       Registration Statement”). The Proxy Statement/Prospectus will be included as a prospectus in and will constitute a part of the S-4
       Registration Statement as ICE’s prospectus.
            (b) Each of ICE and NYBOT shall use reasonable best efforts to have the S-4 Registration Statement declared effective by the
       SEC and to keep the S-4 Registration Statement effective as long as is necessary to consummate the Merger and the transactions
       contemplated thereby. ICE shall, as promptly as practicable after receipt thereof, provide NYBOT copies of any written comments
       and advise NYBOT of any oral comments received from the SEC with respect to the S-4 Registration Statement. The parties shall
       cooperate and provide the other with a reasonable opportunity to review and comment on any amendment or supplement to the Proxy
       Statement/Prospectus and the S-4 Registration Statement prior to filing such with the SEC or providing such to the Members and will
       provide each other with a copy of all such filings made with the SEC or provided to the Members.
             (c) Notwithstanding any other provision herein to the contrary, no amendment or supplement (including by incorporation by
       reference) to the Proxy Statement/Prospectus or the S-4 Registration Statement shall be made without the approval of both parties,
       which approval shall not be unreasonably withheld or delayed; provided that NYBOT, in connection with a Change in the NYBOT
       Recommendation, may amend or supplement the Proxy Statement/Prospectus pursuant to a Qualifying Amendment to effect such a
       Change, and in such event, this right of approval shall apply only with respect to information relating to the other party or its
       business, financial condition or results of operations, and shall be subject to the right of each party to have its Board of Directors’
       deliberations and conclusions to be accurately described. A “Qualifying Amendment” means an amendment or supplement to the
       Proxy Statement/Prospectus (including by incorporation by reference) to the extent that it contains (i) a Change in the NYBOT
       Recommendation, (ii) a statement of the reasons of the Board of Directors of NYBOT for making such Change in the NYBOT
       Recommendation and (iii) additional information reasonably related to the foregoing.
           (d) NYBOT will use reasonable best efforts to cause the Proxy Statement/Prospectus to be mailed to NYBOT’s Members as
       promptly as practicable after the S-4 Registration Statement is declared effective under the Securities Act.
            (e) Each party will advise the other party, promptly after it receives notice thereof, of the time when the S-4 Registration
       Statement has become effective, the issuance of any stop order, the suspension of the

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       qualification of the ICE Common Stock issuable in connection with the Merger for offering or sale in any jurisdiction, or any request
       by the SEC for amendment of the S-4 Registration Statement.
             (f) ICE and NYBOT each agrees, as to itself and its Subsidiaries, that none of the information, supplied or to be supplied by it
       or its Subsidiaries and solely to the extent that such information pertains to it, its Subsidiaries, Affiliates, directors, officers,
       stockholders or Members, for inclusion or incorporation by reference in (i) the S-4 Registration Statement will, at the time the S-4
       Registration Statement becomes effective under the Securities Act, contain any untrue statement of a material fact or omit to state
       any material fact required to be stated therein or necessary to make the statements therein, in light of the circumstances under which
       they were made, not misleading, and (ii) the Proxy Statement/Prospectus and any amendment or supplement thereto will, at the date
       of mailing and at the time of the NYBOT Members Meeting, contain any untrue statement of a material fact or omit to state any
       material fact required to be stated therein or necessary in order to make the statements therein, in light of the circumstances under
       which they were made, not misleading. ICE will cause the S-4 Registration Statement to comply as to form in all material respects
       with the applicable provisions of the Securities Act and the rules and regulations thereunder. If at any time prior to the Effective Time
       any information relating to ICE or NYBOT, or any of their respective Affiliates, officers or directors, should be discovered by ICE or
       NYBOT which should be set forth in an amendment or supplement to any of the S-4 Registration Statement or the Proxy
       Statement/Prospectus so that any of such documents would not include any misstatement of a material fact or omit to state any
       material fact necessary to make the statements therein, in light of the circumstances under which they were made, not misleading, the
       party which discovers such information shall promptly notify the other party hereto and, to the extent required by law, rules or
       regulations, an appropriate amendment or supplement describing such information shall be promptly filed with the SEC and
       disseminated to the Members of NYBOT.
             (g) ICE and NYBOT each shall use its reasonable best efforts to cause to be delivered to the other party and its directors a letter
       of its independent auditors, dated (i) the date on which the S-4 Registration Statement shall become effective and (ii) the Closing
       Date, and addressed to the other party and its directors, in form and substance customary for “comfort” letters delivered by
       independent public accountants in connection with registration statements similar to the S-4 Registration Statement.
             6.4. Members’ Meeting. NYBOT will take, in accordance with applicable Law and its certificate of incorporation and bylaws,
       all action necessary to convene a meeting of its Members (the “NYBOT Members Meeting”) on a date determined in accordance
       with the mutual agreement of ICE and NYBOT (the “Meeting Date”), which date shall be as promptly as practicable (but in no event
       more than 35 calendar days) after the S-4 Registration Statement is declared effective, to consider and vote upon the adoption and
       approval of this Agreement. Subject to fiduciary obligations under applicable Law, the Board of Directors of NYBOT shall
       recommend such adoption or approval, as the case may be, and shall take all lawful action to solicit such adoption and approval.
       Prior to the NYBOT Members Meeting, the Board of Directors of NYBOT may withhold, withdraw, qualify or modify its
       recommendation of the adoption or approval of this Agreement and the Merger if the Board of Directors of NYBOT determines in
       good faith, after consultation with outside counsel, that failure to do so would be inconsistent with its fiduciary obligations under
       applicable Law (a “Change in NYBOT Recommendation”); provided, however, that no Change in NYBOT Recommendation may be
       made until after at least 48 hours following ICE’s receipt of notice from NYBOT advising that management of NYBOT intends to
       recommend to the Board of Directors of NYBOT that it take such action and the basis therefor. In determining whether to make a
       NYBOT Change in Recommendation in response to a Superior Proposal or otherwise, the Board of Directors of NYBOT shall take
       into account any changes to the terms of this Agreement proposed by ICE and any other information provided by ICE in response to
       such notice. Any material amendment to any Acquisition Proposal will be deemed to be a new Acquisition Proposal for purposes of
       this Section 6.4, including with respect to the notice period referred to in this Section 6.4. In the event of a Change in NYBOT
       Recommendation, NYBOT shall nevertheless submit this Agreement to its Members for adoption at the NYBOT Members Meeting
       unless this Agreement shall have been terminated in accordance with its terms prior to the NYBOT Members Meeting.

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             6.5. Reasonable Best Efforts; Regulatory Filings and Other Actions.
             (a) Reasonable Best Efforts; Regulatory Filings. ICE and NYBOT shall cooperate with each other and use (and shall cause their
       respective Subsidiaries to use) their respective reasonable best efforts to take or cause to be taken all actions, and do or cause to be
       done all things, necessary, proper or advisable on its part under this Agreement and applicable Laws to consummate and make
       effective the Merger and the other transactions contemplated by this Agreement as soon as practicable, including preparing and filing
       as promptly as practicable all documentation to effect all necessary notices, reports and other filings and to obtain as promptly as
       practicable all consents, registrations, approvals, authorizations and other Permits (including all approvals and consents to be
       obtained from the CFTC) (collectively, “Consents”) necessary or advisable to be obtained from any third party and/or any
       Governmental Entity or Self-Regulatory Organization (if any) in order to consummate the transactions contemplated by this
       Agreement; provided, however, that nothing in this Section 6.5 shall require, or be construed to require, ICE to proffer to, or agree to,
       sell or hold separate and agree to sell, before or after the Effective Time, any assets, businesses, or interests in any assets or
       businesses of ICE or any of its Affiliates (or to consent to any sale, or agreement to sell, by NYBOT or any of its Subsidiaries, of any
       of its assets or businesses), if such action would, individually or in the aggregate, reasonably be expected to result in a ICE
       Substantial Detriment. Subject to applicable Law and the instructions of any Governmental Entity, ICE and NYBOT shall keep each
       other apprised of the status of matters relating to the completion of the transactions contemplated by this Agreement, including
       promptly furnishing the other with copies of notices or other communications received by ICE or NYBOT, as the case may be, or
       any of their respective Subsidiaries, from any third party and/or any Governmental Entity with respect to such transactions.

        “ICE Substantial Detriment” means a material adverse effect on the business, results of operations or financial condition of ICE and
  its Subsidiaries, taken as a whole, or on the Surviving Corporation and its Subsidiaries, taken as a whole.
             (b) Prior Review of Certain Information. Subject to applicable Laws relating to the sharing of information, ICE and NYBOT
       shall have the right to review in advance, and to the extent practicable, each will consult the other on any filing made with, or written
       materials submitted to, any third party and/or any Governmental Entity and Self-Regulatory Organization in connection with the
       Merger and the other transactions contemplated by this Agreement (including the Proxy Statement/Prospectus). ICE and NYBOT
       shall provide the other party with the opportunity to participate in any meeting with any Governmental Entity or any Self-Regulatory
       Organization in respect of any filings, investigation or other inquiry in connection with the transactions contemplated hereby.
             (c) Furnishing of Information. ICE and NYBOT each shall, upon request by the other, furnish the other with all information
       concerning itself, its Subsidiaries, Affiliates, directors, officers and stockholders and such other matters as may be reasonably
       necessary or advisable in connection with the Proxy Statement/Prospectus, the S-4 Registration Statement or any other statement,
       filing, notice or application made by or on behalf of ICE, NYBOT or any of their respective Subsidiaries to any third party and/or
       any Governmental Entity in connection with the Merger and the other transactions contemplated by this Agreement.
            (d) Status Updates and Notice. Subject to applicable Law and the instructions of any Governmental Entity or any Self-
       Regulatory Organization, ICE and NYBOT each shall keep the other apprised of the status of matters relating to completion of the
       transactions contemplated hereby, including promptly furnishing the other with copies of notices or other communications received
       by ICE or NYBOT, as the case may be, or any of its Subsidiaries, from any third party and/or any Governmental Entity and/or any
       Self-Regulatory Organization, with respect to such transactions and copies of any written claim or threatened claim by any Member
       or Trading Permit Holder with respect to such transactions.
            6.6. Access. Subject to applicable Law relating to the sharing of information, upon reasonable notice, and except as may
       otherwise be required by applicable Law, ICE and NYBOT each shall (and shall cause its

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       Subsidiaries to) afford the other’s officers, employees, counsel, accountants, consultants and other authorized representatives
       (“Representatives”) reasonable access, during normal business hours throughout the period prior to the Effective Time, to its
       properties, books, contracts and records and, during such period, each shall (and shall cause its Subsidiaries to) furnish promptly to
       the other all information concerning its business, properties and personnel as may reasonably be requested; provided that no
       investigation pursuant to this Section 6.6 shall affect or be deemed to modify any representation or warranty made by ICE or
       NYBOT; provided, further, that the foregoing shall not require ICE or NYBOT (i) to permit any inspection, or to disclose any
       information, that in the reasonable judgment of ICE or NYBOT, as the case may be, would result in the disclosure of any trade
       secrets of third parties or violate any of its obligations with respect to confidentiality if ICE or NYBOT, as the case may be, shall
       have used reasonable best efforts to obtain the consent of such third party to such inspection or disclosure, (ii) to disclose any
       privileged information of ICE or NYBOT, as the case may be, or any of its Subsidiaries, or (iii) in the case of ICE, to permit any
       inspection, or to disclose any information relating to any regulatory enforcement, investigations or inquiries conducted by ICE or any
       other regulatory activities that the Chief Regulatory Officer of ICE determines, in his or her sole discretion, is confidential and
       inappropriate to disclose to NYBOT. All requests for information made pursuant to this Section 6.6 shall be directed to an executive
       officer of ICE or NYBOT, as the case may be, or such Person as may be designated by either of their executive officers, as the case
       may be, with a copy to the General Counsel of such party. All such information shall be governed by the terms of the Confidentiality
       Agreement.
             6.7. Affiliates. Section 6.7 of the NYBOT Disclosure Letter contains a list of those Persons who, as of the date of this
       Agreement, may be deemed to be “affiliates” of NYBOT for purposes of Rule 145 under the Securities Act. Not less than 45 days
       prior to the Meeting Date, NYBOT shall update Section 6.7 of the NYBOT Disclosure Letter to add to such list the names of any
       other Person subsequently identified by NYBOT as a Person who may be deemed to be such an affiliate of NYBOT. NYBOT shall
       keep such list updated as necessary to reflect changes from the Meeting Date and shall use reasonable best efforts to cause each
       person identified on such list to deliver to ICE, not less than 30 days prior to the Effective Time, a customary “affiliates” letter, dated
       as of the Closing Date, in form and substance satisfactory to ICE and NYBOT (the “Affiliates Letter”).
             6.8. Exchange Listing. ICE shall use its reasonable best efforts to cause the shares of ICE Common Stock to be issued in the
       Merger pursuant to Article IV of this Agreement to be approved for listing on the NYSE, subject to official notice of issuance, prior
       to the Closing Date.
             6.9. Publicity. The initial press release regarding the Merger shall be a joint press release and thereafter ICE and NYBOT shall
       use reasonable best efforts to develop a joint communications plan and each party shall use reasonable best efforts to ensure that all
       press releases and other public statements with respect to the transactions contemplated hereby shall be consistent with such joint
       communications plan. Notwithstanding the foregoing, without ICE’s prior written consent, unless otherwise required by applicable
       Law, NYBOT shall not, and shall not permit its Affiliates, agents or Representatives to, issue any press release or other written
       statement or, to the extent practical, otherwise make any public statement with respect to this Agreement or the transactions
       contemplated hereby. In addition to the foregoing, except to the extent disclosed in or consistent with the Proxy Statement/Prospectus
       in accordance with the provisions of Section 6.3, neither ICE nor NYBOT shall issue any press release or otherwise make any public
       statement or disclosure concerning the other party or the other party’s business, financial condition or results of operations without
       the consent of the other party, which consent shall not be unreasonably withheld or delayed.
             6.10. Employment and Benefit Levels.
            (a) During the period commencing as of the Effective Time and ending on the second anniversary thereof, ICE shall provide, or
       cause to be provided, (i) to each Employee (as hereinafter defined), pension and welfare benefits under employee benefit plans that
       are no less favorable in the aggregate than those currently provided by NYBOT and its Subsidiaries to such Employee, and (ii) to
       each Employee, salary and

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  RA—Euro/Australian Dollar                                                               Future/Option




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         EXHIBIT 3
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                                                   EFiled: Jul 29 2022 02:57PM EDT
                                                   Transaction ID 67859708
                                                   Case No. 2022-0666-
     IN THE COURT OF CHANCERY IN THE STATE OF DELAWARE
  LUIGI CRISPO,                             )
                                            )
               Plaintiff,                   )
                                            )
        v.                                  ) C.A. No. _______________
                                            )
  ELON R. MUSK, X HOLDINGS I,               )
  INC. AND X HOLDINGS II, INC.              )
                                            )
               Defendants.                  )

         VERIFIED SHAREHOLDER CLASS ACTION COMPLAINT

       Luigi Crispo (“Plaintiff”) brings this Verified Shareholder Class Action

 Complaint (the “Complaint”) individually on behalf of himself as a stockholder of

 Twitter, Inc. (“Twitter” or the “Company”), and as a class action on behalf of Twitter

 stockholders as of April 25, 2022 (excluding Defendants) and their successors and

 assignees (the “Class”). Plaintiff asserts individual and class claims for specific

 performance of the obligation of Elon R. Musk (“Musk”) and Musk’s acquisition

 vehicles, X Holdings I, Inc., (“Parent”) and X Holdings II, Inc. (“Acquisition Sub”)

 under the April 25, 2022 Agreement and Plan of Merger by and among Twitter,

 Musk (as to certain provisions), Parent and Acquisition Sub (the “Merger

 Agreement”) to purchase their Twitter shares. Plaintiff also asserts individual and

 class claims that Defendants’ self-interested refusal to purchase the Twitter shares

 and related conduct is a breach of the fiduciary duty Defendants owe to Twitter’s

 public stockholders as a result of their ownership and control of the Company. The
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  allegations of the Complaint are based on Plaintiff’s knowledge as to himself and as

  to all other matters on information and belief, including from the public filings of

  Twitter and Musk with the United States Securities and Exchange Commission (the

  “SEC”) and the investigation of counsel.

                                           INTRODUCTION

            1.           Plaintiff holds 5,500 shares of Twitter, Inc. (“Twitter” or the

  “Company”) stock.               Under the Agreement and Plan of Merger (the “Merger

  Agreement”), defendants agreed to purchase Plaintiff’s Twitter shares for $54.20 per

  share (the “Merger”), which entitles him to a cash payment of $298,100 when the

  Merger closes.

            2.           The Merger Agreement is a binding contract with Defendants signed

  for Twitter by Brett Taylor, Chair of Twitter’s board of directors (the “Board”), for

  the benefit of Plaintiff and other Twitter stockholders. Because the purpose of the

  Merger Agreement is for Defendants to purchase the Twitter shares of Plaintiff and

  the Class, they are third-party beneficiaries of the Merger Agreement and have

  individual and class rights to enforce Defendants’ obligation under that agreement

  to purchase those shares.

            3.           Through their ownership of 9.6% of Twitter’s stock, their beneficial

  ownership as a result of the Merger Agreement, and their continued rights under the

  Merger Agreement, and actions taken by Defendants and Twitter based on the



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  Merger Agreement, Defendants have obtained majority ownership and a controlling

  interest over Twitter.

            4.           Elon R. Musk and his corporate acquisition entities planned to finance

  their purchase of Twitter stock from Plaintiff and the Class through a combination

  of bank debt, a margin loan and equity financing. Merger Agreement § 5.4. The

  sale and pledge of Musk’s personal Tesla, Inc. (“Tesla”) stock holdings would

  provide the majority of the margin and equity funding. After the signing of the

  Merger Agreement, Musk’s sources of financing dwindled and the value of his Tesla

  stock declined significantly. The $54.20 per-share cash consideration for Twitter

  stock under the Merger Agreement remained unchanged. Musk developed cold feet

  and decided to walk away from the deal. But, having agreed to take on the

  foreseeable risk of a market decline (including a drop in the price of Tesla’s shares),

  Musk is contractually prohibited from reneging on the Merger Agreement.

            5.           In an effort to circumvent his clear contractual obligation under Section

  5.4 of the Merger Agreement to finance the Merger Consideration, Musk has

  fabricated several excuses which he claims let him back out of the deal. His lame

  rationales for reneging on his contract are without merit. On July 12, 2022, Twitter

  sued Musk and his acquisition entities for specific performance of their obligations

  to Twitter under the Merger Agreement.




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            6.           In the Merger Agreement, Defendants agreed to purchase Plaintiff’s

  Twitter stock, but they are refusing to do so. Therefore, Plaintiff and the Class seek

  specific performance of Defendants’ obligation to purchase their stock for $54.20

  per share. They also assert that Defendants have breached their fiduciary duty of

  loyalty as controlling stockholders by pursuing their financial self-interest through

  reneging on their contractual promise to buy the Twitter shares of Plaintiff and the

  Class. In addition, Plaintiff and the Class seek damages against Defendants for the

  harm their breaches of contract and fiduciary duty has caused and will cause the

  Twitter stockholders.

                                               PARTIES

            7.           Plaintiff Luigi Crispo is a Twitter stockholder and has continuously

  held shares since the time the Merger was first publicly disclosed to Twitter

  stockholders.

            8.           Defendant Elon R. Musk (“Musk”) is the direct owner of 9.6% of

  Twitter’s stock. Musk is referred to in the Merger Agreement as “Equity Investor.”

  He is the President, Secretary, Treasurer and sole shareholder of both Parent and

  Acquisition Sub, and agreed to be a party to the Merger Agreement in his individual

  capacity as Equity Investor with respect to his unqualified obligation to fund the

  Merger, among other provisions.




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            9.           Defendant X Holdings, I, Inc. is a Delaware corporation formed on

  April 19, 2022, for the sole purpose of engaging in, and arranging financing for, the

  transactions contemplated by the Merger Agreement.                   Parent will provide the

  funding for the purchase of the Twitter stock in the Merger, but Musk must provide

  that funding to Parent.

            10.          Defendant X Holdings II, Inc. is a Delaware corporation and a wholly

  owned subsidiary of Parent. Acquisition Sub was formed on April 19, 2022 solely

  for the purpose of engaging in, and arranging financing for, the transactions

  contemplated by the Merger Agreement.

            11.          Musk, Parent and Acquisition Sub are collectively referred to herein as

  “Defendants” and because of Musk’s ownership and control of Parent and

  Acquisition Sub, they are sometimes referred together herein as simply “Musk.”

                                             JURISDICTION

            12.          This Court has subject matter jurisdiction under 10 Del. C. § 341, 8 Del

  C. § 111(a), and 6 Del. C. § 2708.

            13.          Personal jurisdiction over Parent and Acquisition Sub is proper because

  both are incorporated under the laws of Delaware and have consented to jurisdiction

  by agreeing to “expressly and irrevocably submit[] to the exclusive personal

  jurisdiction of the Delaware Court of Chancery . . . in the event any dispute arises




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  out of [the merger agreement] or the transactions contemplated by [the merger

  agreement].” Merger Agreement § 9.10(a).

            14.          Personal jurisdiction over Musk is proper pursuant to 10 Del. C. §

  3104(c)(1), because, among other reasons: (a) Musk wholly owns and formed two

  Delaware corporations, Parent and Acquisition Sub, and which he created for the

  sole purpose of acquiring Twitter, a Delaware corporation; (b) Musk agreed to

  undertake “reasonable best efforts” to complete the Merger, which includes the

  delivery of a Certificate of Merger to the Delaware Secretary of State by Parent and

  Acquisition Sub. Merger Agreement §§ 2.3(a), 6.3(a). In addition, through his

  shareholdings and power under the Merger Agreement and actions pursuant to the

  Merger Agreement, Musk is a majority beneficial owner and controlling stockholder

  of Twitter.

                                  SUBSTANTIVE ALLEGATIONS

            A.           Musk’s Pursuit of Twitter
            15.          Musk has been a Twitter user since 2010. Since then, he has tweeted

  approximately 18,700 times and has accrued over 100 million followers, making

  him one of Twitter’s most prolific, and most followed, users.

            16.          In January 2022, Musk began secretly purchasing Twitter stock. In

  March 2022, Musk issued a series of tweets soliciting his followers’ support for




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  fundamental changes in how Twitter conducted its operations. His comments made

  his negative view of Twitter and its content modification policies clear.

            17.          Also in March 20222, Musk began publicly and privately

  communicating with Twitter directors and officers, musing about joining Twitter’s

  Board, purchasing the Company, or starting a competitor. On April 4, 2022, Musk

  filed a Schedule 13G indicating he owned 9.2% of Twitter’s outstanding stock. Also

  on April 4, 2022, Musk and Twitter entered into a letter agreement for Musk to

  become a director of the Company. Musk agreed that while he served as a director

  and for 90 days thereafter, he would not become the beneficial owner of more than

  14.9% of Twitter’s outstanding stock. Twitter and Musk announced the letter

  agreement providing that Musk was joining Twitter’s board of directors. On April

  9, 2022, Musk notified Twitter that he would not be joining Twitter’s board, but

  would instead make an offer to take Twitter private.

            18.          On April 13, 2022, Musk delivered a “best and final” offer “to buy

  100% of Twitter stock $54.20 per share in cash” proclaiming he would “unlock”

  Twitter’s “extraordinary potential” as a platform for free speech. Musk’s initial offer

  was conditioned on regulatory approval, confirmatory diligence, execution of a

  definitive agreement and completion of financing.              On April 14, 2022, Musk

  publicly announced his offer. In response, Twitter’s Board approved a so-called

  poison pill (or shareholders’ rights) plan. In a Schedule 13D filed April 21, 2022,



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  Musk announced a debt commitment letter for $13 billion, a separate margin loan

  commitment letter for $12.5 billion and an equity commitment letter from Musk for

  $21 billion, all dated April 20, 2022. Musk also publicly proclaimed that his $54.20

  offer was no longer conditioned on financing or diligence. He publicly tweeted

  about the possibility of launching a hostile tender offer, if his offer was not accepted.

            19.          On April 24, 2022, Musk indicated to Twitter that his $54.20 per share

  offer was “binary – my offer will either be accepted or I will exit my position.”

  Musk recognized his $54.20 offer was for the benefit of Twitter’s stockholders and

  even said he would explore a rollover transaction “to provide further value and

  choice to shareholders.”              On April 25, 2022, the parties signed the Merger

  Agreement. In the joint press release issued by Twitter and Musk, Musk stated:

                         Under the terms of the agreement, Twitter stockholders
                         will receive $54.20 in cash for each share of Twitter
                         common stock that they own upon closing of the proposed
                         transaction.

  Twitter Board Chair Bret Taylor said the Merger Agreement was “the best path

  forward for Twitter’s stockholders.” Musk described his plans for Twitter, including

  “defeating the spam bots.” In further materials filed with the SEC and shared with

  Twitter employees, the Twitter Board stated that the Merger Agreement “delivers a

  substantial cash premium to stockholders [and] is the best path forward for Twitter’s

  stockholders.”




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            20.          On April 26, 2022, Musk filed Amendment No. 5 to his Schedule 13D

  statement of beneficial ownership, stating that under the Merger Agreement Twitter

  would become wholly owned by Parent, which is wholly owned by Musk.

            B.           The Merger Agreement

            21.          Musk (as to certain provisions), Parent, Merger Sub and Twitter are

  parties to the Merger Agreement. At the time the Merger becomes effective (the

  “Effective Time”), Twitter will merge with Acquisition Sub, with Twitter surviving

  the Merger, keeping its name and remaining a Delaware corporation. Merger

  Agreement § 2.1. Under Sections 2.4 and 2.5, the parties agreed that the certificate

  of incorporation and bylaws of Acquisition Sub would become the certificate and

  bylaws of Twitter and Acquisition Sub’s board of directors would become Twitter’s

  board. The Twitter shares of Plaintiff and the Class “shall be converted into the right

  to receive $54.20 per share of Company common stock in cash” (the “Merger

  Consideration”). Merger Agreement § 3.1(c). Each share of Acquisition Sub shall

  be converted into one share of Twitter. Merger Agreement § 3.1(a).

            22.          Twitter will not receive any of the Merger Consideration. Parent will

  deposit the Merger Consideration with a paying agent “for the benefit of the holders

  of Company Common Stock” to be applied promptly to payment of the Merger

  Consideration to those Twitter stockholders. Merger Agreement § 3.2(a). If there

  is any investment loss on the fund containing the Merger Consideration, Parent is



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  required to deposit additional funds “for the benefit of the holders of Company

  Common Stock.” Merger Agreement § 3.2(f). The paying agent will pay Plaintiff

  and the Class the Merger Consideration. Merger Agreement §§ 3.2(b)-(c).

            23.          Musk is a party to Sections 5.4, 6.2(d), 6.3, 6.8, 6.10, 6.11, 6.12 and 9.9

  of the Merger Agreement. Section 5.4 of the Merger Agreement provides for the

  Bank Debt Financing, Margin Loan Financing and Equity Financing and further

  provides that these Financing Commitments “are legal, valid and binding obligations

  of the Equity Investor, Parent and Acquisition Sub” and are enforceable against

  them. Section 6.10 reinforces the obligation of Musk, Parent and Acquisition Sub

  to finance the purchase of the Twitter shares of Plaintiff and the Class. The Merger

  Agreement requires Musk to transfer Tesla shares to support the Margin Loan at an

  LTY Ratio not to exceed 20%. Merger Agreement § 6.10(a)(ii)(A). He is also bound

  by Section 6.3, which requires reasonable best efforts to consummate the

  transactions contemplated by the Merger Agreement and cause the conditions to the

  Merger to be satisfied. Under Section 6.8, Musk is not permitted to issue Tweets

  about the Merger which disparage Twitter or its representatives. Section 6.12

  requires Musk and Parent to cause Acquisition Sub to consummate the Merger.

            24.          The Merger Agreement contains several provisions to ensure

  Defendants cannot walk away from the deal. Section 5.2(a) provides that the Merger

  Agreement “constitutes a legal, valid and binding obligation of Parent and



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  Acquisition Sub, enforceable against Parent and Acquisition Sub.” There is no

  financing condition and few conditions to closing. See, e.g., Merger Agreement §§

  7.1; 7.2. Section 6.10(e) imposes a hell-or-highwater obligation for Defendants,

  including Musk personally, to “take (or cause to be taken) all actions, and do (or

  cause to be done) all things necessary, proper or advisable to obtain the Equity

  Financing.” Most importantly, Musk, Parent and Acquisition Sub agreed in Section

  9.9 that the Merger Agreement would be specifically enforceable against them.

            25.          Section 8.2 of the Merger Agreement, which concerning as the effect

  of termination of the Merger Agreement provides in pertinent part:

            . . . except as otherwise provided in Section 8.3 or in any other provision
            of this Agreement, no such termination shall relieve any party hereto of
            any liability or damages (which the parties acknowledge and agree shall
            not be limited to reimbursement of Expenses or out-of-pocket costs,
            and, in the case of liabilities or damages payable by Parent and
            Acquisition Sub, would include the benefits of the transactions
            contemplated by this Agreement lost by the Company’s stockholder)
            (taking into consideration all relevant matters, including lost
            stockholder premium, other combination opportunities and the time
            value of money), which shall be deemed in such event to be damages
            of such party, resulting from any knowing and intentional breach of this
            Agreement prior to such termination, in which case, except as otherwise
            provided in Section 8.3, the aggrieved party shall be entitled to all rights
            and remedies available at law or in equity.
  Thus, the Merger Agreement specifically recognizes that the Twitter stockholders

  are intended recipients of “the benefits of the transactions contemplated by this

  Agreement” and are “entitled to all rights and remedies available at law or in equity”

  for “any knowing and intentional breech” of the Merger Agreement, including the


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  loss of benefits to them contemplated by the Merger Agreement, such as the “lost

  stockholder premium.”

            C.           The Merger Agreement Benefits Twitter Stockholders

            26.          The Merger Agreement does not provide any financial benefit directly

  to Twitter. Twitter itself survives the merger and continues to operate. Merger

  Agreement § 2.1.                Instead, the Merger Agreement provides for Twitter’s

  stockholders to sell their shares to Musk, Parent and Acquisition Sub. Indeed,

  Twitter’s July 12, 2022 Complaint 1 against Defendants notes the Merger

  Agreement’s assurances that the “agreement would stick” were included “for the

  benefit of stockholders.” Twitter Complaint ¶ 38. That Complaint acknowledges

  that “Musk refuses to honor his obligations to Twitter and its stockholders.” Id. ¶ 1

  (emphasis added). Twitter further recognizes that Defendants’ conduct creates

  “uncertainty and delay that harm Twitter and its stockholders and deprive them of

  their bargained-for rights.” Id. ¶146 (emphasis added).

            27.          The Merger Agreement includes numerous provisions described above

  that are for the benefit of the Twitter stockholders, including Sections 3.1, 3.2, 5.4,

  6.3, 6.10, 6.12, 8.2 and 9.9.

            28.          Twitter filed preliminary proxy materials concerning the Merger on

  May 17, June 21 and July 15, 2022. Under Section 6.2 of the Merger Agreement,


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  Parent has the right to review and comment on the proxy statement. Thus, Musk

  and his affiliates and counsel presumably reviewed the contents of the preliminary

  proxy materials.

            29.          In the July 15, 2022 Preliminary Proxy Statement (“PPS”), Twitter and

  its Board repeatedly recognize that Musk’s acquisition of Twitter was “for the

  benefit of our stockholders.” PPS at 54, 56. The Twitter Board acknowledged “the

  financial benefit of the transaction to our stockholders.” PPS at 57. In a June 20,

  2022 letter from Twitter’s counsel to Musk’s counsel, Twitter brought up Musk’s

  April 24, 2022 threat to make his $54.20 offer directly to the Twitter stockholders

  “without giving them the benefit of the definitive merger agreement to protect their

  interest.” PPS at 68.

            D.           Musk Is the Majority Owner and Controller of Twitter

            30.          Before and after the signing of the Merger Agreement, Musk directly

  owned 9.6% of Twitter’s outstanding shares. The only larger Twitter stockholder is

  The Vanguard Group, a passive investor.

            31.          Through the signing of the Merger Agreement, Musk gained significant

  additional beneficial ownership and influence over Twitter. The Merger Agreement

  gave Musk the right to acquire the 90.4% of Twitter’s stock he does not already own.

  The Merger Agreement is an agreement for the purpose of acquiring the Twitter




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  stock owned by the other Twitter stockholders. As a result of the Merger Agreement,

  Musk became the owner of a majority of Twitter’s stock.

            32.          Through the Merger Agreement, Musk obtained veto power over

  numerous matters ordinarily reserved for the Board and Twitter’s stockholders under

  Twitters’ certificate of incorporation (the “Certificate”), bylaws (the “Bylaws”) and

  Delaware law.

            33.          Pursuant to 8 Del. C. § 242(b), the Board and Twitter’s stockholders

  can amend the Certificate. Under the Merger Agreement, the Certificate cannot be

  amended in any material respect without Defendants’ consent (§ 6.1(a)).

            34.          Per Article VI.A. of the Certificate, the Board can amend the Bylaws.

  Under the Merger Agreement, the Board cannot amend the Bylaws in any material

  respect without Defendants’ consent (§ 6.1(a)).

            35.          Per Article XI of the Bylaws, Twitter’s stockholders can repeal, adopt

  and amend bylaws. Under the Merger Agreement, the stockholders cannot amend

  the Bylaws in any material respect without Defendants’ consent (§ 6.1(a)).

            36.          Under the Delaware General Corporation Law Twitter may issue, split,

  combine, reclassify, repurchase or amend the terms of its stock. Pursuant to the

  Merger Agreement, Twitter cannot take such actions without Defendants’ consent

  (§§ 6.1(b)-(c)).




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            37.          Under 8 Del. C. §170, the Board can cause Twitter to issue dividends.

  Under the Merger Agreement, dividends cannot be issued without Defendants’

  consent (§ 6.1(d)).

            38.          Under Article V.A. of the Certificate, Section 3.1 of the Bylaws, and 8

  Del. C. § 141(a), the Board manages Twitter. Under the Merger Agreement, without

  Defendants’ consent, the Board cannot:

                         a.     increase employee salaries unless “consistent with past practice”

       (§ 6.1(e));

                         b.    acquire any companies (§ 6.1(i));

                         c.    incur material debt (§ 6.1(j)); or

                         d.    communicate with its employees, customers, suppliers and

       consultants unless “consistent with prior communications” (§ 6.8)).

            39.          Notably, Twitter, which had adopted a stockholders’ rights plan on

  April 15, 2022, to protect stockholders from Musk’s takeover, now cannot do so

  without his consent. Merger Agreement § 6.1(p).

            E.           Musk Walks Away from the Merger Agreement

            40.          Musk himself is largely required to finance the Merger, through a

  margin loan secured with his Tesla stock, a huge equity commitment, and loans

  made directly to Twitter. Since Musk is using Tesla shares to help finance the

  Merger, the more Tesla’s stock price declines, the more Tesla shares Musk has to



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  sell or pledge to fund the Merger. Musk is well-known for his reluctance to sell

  Tesla shares because he wants to continue to maintain control of that company.

            41.          On April 23, 2022, the last trading day before the Merger Agreement

  was signed on April 25, 2022, the closing trading price for a share of Tesla stock

  was $1,005.05. After the signing of the Merger Agreement, as Musk started to sell

  his holdings to finance the Merger, the price of Tesla stock began to fall. By the end

  of the week, April 29, 2022, Tesla stock was trading at $870.76 per share. In other

  words, the portion of the Merger that Musk was financing through Tesla stock got

  13% more expensive for Musk by the week’s end.

            42.          On May 4, 2022, the Margin Loan Commitment was cut from $13.5

  billion to $6.25 billion and Musk’s Equity Funding Commitment was increased by

  $6.25 billion to $27.25 billion. In Amendment No. 6 to his 13D, Musk announced

  Co-Investor Equity Commitment Letters for approximately $7.139 billion in cash

  from investors on Twitter shares (valued at $54.20 per share) to provide part of the

  equity financing for the purchase of the Twitter stock of Plaintiff and the Class.

  Thus, Musk was attempting to reduce his obligation to use his Tesla stock to support

  the margin debt and reduce his obligation to provide equity financing which would

  require sale of Tesla stock.

            43.          Tesla’s stock price kept falling, closing at $728.00 per share on May

  12, 2022.



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            44.          Musk wanted an out. But Defendants’ ability to terminate the Merger

  Agreement was (and is) highly restricted by the terms of the Merger Agreement.

  One of Defendants’ few possible grounds for terminating the Merger Agreement is

  showing that Twitter’s representations in the Merger Agreement are not true and

  correct, causing a Material Advise Effect (an “MAE”). Merger Agreement §§

  7.2(b), 8.1(d)(i).           One of Twitter’s representations in the Merger Agreement,

  contained in Section 4.6(a), is that Twitter’s filings with the SEC are materially

  accurate.

            45.          On May 13, 2022, Musk tweeted “Twitter deal temporarily on hold,”

  and linked to a story about Twitter’s May 2, 2022 disclosure in a Form 10-Q that it

  estimated fewer than 5% of its monetizable daily active users were “fake or spam

  accounts.” Under the Merger Agreement, Musk had no right or authority to put the

  merger “on hold.” This tweet violated Musk’s agreement in Section 6.3 of the

  Merger Agreement to use reasonable best efforts to consummate the purchase of the

  Twitter shares.

            46.          To lay the groundwork for an exit from the Merger Agreement, Musk

  publicly claimed that the 10-Q disclosure was an admission that Twitter’s SEC

  filings were false and misleading. On May 13, 2022, Musk made more tweets about

  fake accounts, misleadingly contending Twitter’s estimates are based upon a




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  sampling of only 100 accounts. In reality, the estimates are made through review of

  thousands of accounts.

            47.          Musk continued to try to derail the Merger. On May 15, 2022, in

  response to another Twitter user’s tweet about fake accounts, Musk tweeted that fake

  accounts may comprise “over 90% of daily active users.” Musk repeated this

  statement the next day at an industry conference, hosted by the All-In podcast.

            48.          When Musk appeared at the All-In podcast’s May 16, 2022 conference,

  he stated he believes the number of fake Twitter accounts is “four to five times” the

  5% figure contained in Twitter’s SEC disclosures. He further stated: “I am still

  waiting for some sort of logical explanation for the number of sort of fake or spam

  accounts on Twitter, and Twitter is refusing to tell us. So you know, this just seems

  like a strange thing. . . .they claim that they do know. And they claim they have this

  complex methodology that only they can understand. . . . This is a material public

  statement, is a Material Adverse Misstatement.”

            49.          On May 17, 2022, Musk claimed in a tweet that at least 20% of Twitter

  accounts are fake and the deal could not move forward until Twitter’s Chief

  Executive Officer publicly proved that less than 5% of accounts were fake. But the

  most egregious tweet came later that day when Musk, in a reply to his own post

  about fake accounts, tweeted “Hello @SECGov, anyone home?”




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            50.          Tesla’s share price continued to decline. On May 24, 2022, Musk

  scrapped entirely the margin loan secured by his Tesla stock, and increased his

  equity commitment to $33.5 billion. Tesla stock continued to decline, closing at

  $628.16 per share that day. On May 25, 2022, Musk’s lawyers claimed Musk was

  surprised by what he considered Twitter’s “tax methodologies” for determining fake

  or spam accounts and demanded “rigorous computer-aided and third-party testing.”

  The letter did not explain why Musk has not conducted analysis of Twitter’s

  methodologies and requested testing before he signed the Merger Agreement.

            51.          It was Musk and his tweets, not Twitter, that attracted the SEC’s

  scrutiny. On May 18, 2022 the SEC issued comments to Musk’s legal counsel

  concerning his 13D filings. When Musk did not respond, the SEC issued a June 2,

  2022 letter reiterating those comments in writing. The SEC observed that Musk’s

  May 17, 2022 tweet that “[t]his deal cannot move forward” suggested Musk was

  “exercising a legal right under the terms of the merger agreement to suspend

  completion of the acquisition of Twitter or otherwise do not intent to complete the

  acquisition.” Thus, the SEC recognized that Musk was trying to back out of the

  Merger Agreement and demanded that he amend his 13D.

            52.          On June 6, 2022, Musk filed a 13D amendment attaching a letter from

  his counsel to Twitter, which repeated Musk’s demands for information on spam and

  fake accounts and asserted he had a right to such information under Section 6.4 and



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  6.11 of the Merger Agreement. The letter asserted that Musk had the right “not to

  consummate the transaction” and the “right to terminate the merger agreement.”

  Thus, Musk confirmed what was increasingly clear since mid-May: he had no

  intention of honoring his contractual commitment and fiduciary obligation to buy

  the Twitter stock of Plaintiff and the Class.

            53.          From late May, 2022 through early July, 2022, Musk’s lawyers and

  Twitter’s lawyers exchanged letter volleys arguing over who had breached the

  Merger Agreement. Not surprisingly, Twitter’s efforts to provide information could

  not satisfy Musk, who was merely trying to fabricate an excuse for defaulting on his

  agreement to buy Twitter’s stock.

            54.          Despite his clear obligation under the Merger Agreement to fund the

  purchase of Twitter’s stock and the lack of any financing condition, during June

  2022 Musk raised doubts about the Bank Debt Financing being available to allow

  the Merger to be consummated, including stating on June 21, 2022 that the Bank

  Debt Financing “need[ed] to be resolved before the transaction can complete.”

            55.          On July 8, 2022, with Tesla stock opening at only $727.00 per share,

  Musk purported to terminate the Merger Agreement in a letter from his counsel to

  Twitter. Musk’s grounds for doing so were a pretext.

            56.          Musk claimed Twitter violated Section 6.4 of the Merger Agreement

  by failing to provide Musk with information he needed to consummate the Merger,



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  but, as described at length in Twitter’s Complaint against Defendant, Musk’s

  information requests related to fake users were reasonably satisfied and, in any

  event, were for the purpose of not consummating the Merger. Musk’s letter admitted

  that he chose not to seek data and information on fake users before entering into the

  Merger Agreement.

            57.          Musk also contended Twitter’s disclosures about fake accounts

  contained in SEC filings “may have also caused, or is reasonably likely to result in,”

  an MAE and be untrue, because, Musk believes, more than 5% of Twitter accounts

  may be spam of fake. Musk Termination Letter. But even if Musk is correct (and

  Musk provides no reason to believe he is), this does not contradict Twitter’s SEC

  filings about spam and fake accounts, which merely disclose that Twitter’s own

  estimate is that less than 5% of accounts are spam or fake, and Musk does not

  contend that is not Twitter’s true estimate. Indeed, Twitter’s disclosures of “false or

  spam accounts” being less than 5% of Twitter’s mDAU have been consistently

  qualified by statements that the mDAU calculation “may not accurately reflect the

  actual number of people or organizations using our platform” and that the calculation

  of spam or false accounts involves “significant judgement” and “may not accurately

  represent the actual number . . . .”

            58.          Finally, Musk contends Twitter violated Section 6.1 of the Merger

  Agreement since some employees have resigned and Twitter implemented layoffs,



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  fired two employees, and implemented a hiring freeze, all without Musk’s consent.

  But, as detailed in Twitter’s Complaint, Twitter tried to engage with Musk on these

  issues, without any cooperation or substantive response, even though his consent

  cannot be “unreasonably withheld, delayed or conditioned.” Merger Agreement §

  6.1. Musk cannot create a breach of Section 6.1 by breaching it himself. Twitter’s

  Complaint details the factual and legal reasons that Twitter has not breached the

  Merger Agreement.

            59.          Later that day, Bret Taylor, Twitter’s Board Chair tweeted: “The

  Twitter Board is committed to closing the transaction on the price and terms agreed

  upon with Mr. Musk and plans to pursue legal action to enforce the merger

  agreement. We are confident we will prevail in the Delaware Court of Chancery.”

            60.          On July 10, 2022, Twitter’s counsel advised Musk’s counsel that

  Musk’s purported termination of the Merger Agreement “is invalid and wrongful,

  and it constitutes a repudiation of their obligation under the Agreement.” Twitter

  asserted that Musk “knowingly, intentionally, willingly, and materially breached”

  Sections 6.3, 6.8 and 6.10 of the Merger Agreement.

            61.          Apparently aware that his termination letter would not be effective,

  Musk continued to try to create an MAE. On July 11, 2022, Musk tweeted images

  of himself with the text “THEY SAID I COULDN’T BUY TWITTER; THEN

  THEY WOULDN’T DISCLOSE THE BOT INFO; NOW THEY WANT TO



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  FORCE ME TO BUY TWITTER IN COURT; NOW THEY HAVE TO DISCLOSE

  BOT INFO IN COURT.” This was followed by a picture of Chuck Norris and the

  text “Chuckmate.”




            62.          That same day, Musk once again encouraged the SEC to investigate

  Twitter’s disclosures, responding to a tweet suggesting that more than 5% of

  Twitter’s users were fake by writing “Hello???@SECGov.”

            63.          Also on July 11, 2022, Musk tweeted “Problematic” in response to a

  tweet about Twitter’s May 2, 2022 Form 10-Q’s explanation that Twitter identified,

  and corrected, a technical error in calculating its mDAU figures. None of the


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  adjustments to historical mDAU figures exceeded 0.88% of the previously reported

  mDAU figures.

            64.          Only after exhausting its options, on July 12, 2022, Twitter filed its

  action against Musk and his acquisition entities, seeking to enforce the Company’s

  rights under the Merger Agreement. Twitter’s Complaint acknowledges that the

  Twitter stockholders also have rights under the Merger Agreement.

                                   CLASS ACTION ALLEGATIONS

            65.          Plaintiff brings this Action pursuant to Rule 23 of the Rules of the Court

  of Chancery, individually and on behalf of all other holders of Twitter common stock

  on or after April 25, 2022 (except Defendants and any person, firm, trust, corporation

  or other entity related to or affiliated with them and their successors in interest)

  (previously defined as the “Class”).

            66.          This Action is properly maintainable as a class action. The Class is so

  numerous that joinder of all members is impracticable. According to Section 4.2 of

  the Merger Agreement, as of March 31, 2022, there were 763,577,530 shares of

  Twitter common stock issued and outstanding. Thus, upon information and belief,

  there are at least thousands of Twitter stockholders scattered throughout the United

  States.

            67.          There are questions of law and fact common to the Class, including,

  inter alia, whether:



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                         a.    Plaintiff and the Class are intended beneficiaries of the Merger

       Agreement and, therefore, have standing to sue for specific performance and

       breach of the Merger Agreement;

                         b.    Defendants breached the Merger Agreement;

                         c.    Musk breached his individual and personal obligation to fund the

       Merger;

                         d.    Musk violated the Section 6.8 of the Merger Agreement and his

       fiduciary duties though his tweets and public statements, including those on May

       13, 14, 15 and 17, and July 11, 2022;

                         e.    Musk’s control of Twitter through his large stock holding, his

       influence over investors (including through his tweets), his ownership and rights

       under the Merger Agreement and his actions since the signing of the Merger

       Agreement, impose fiduciary duties to Twitter stockholders on him;

                         f.    Plaintiff and the Class are entitled to specific performance of the

       Merger Agreement; and

                         g.    Plaintiff and the other members of the Class were injured by the

       wrongful conduct alleged herein, and, if so, what is the proper measure of

       damages.

            68.          Plaintiff is committed to prosecuting this Action and has retained

  competent counsel experienced in litigation of this nature. Plaintiff’s claims are



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  typical of the claims of the other members of the Class, and Plaintiff has the same

  interests as the other members of the class. Plaintiff is an adequate representative of

  the Class.

            69.          The prosecution of separate actions by individual members of the Class

  would create the risk of inconsistent or varying adjudications with respect to

  individual members of the Class. Such inconsistent or varying adjudications that

  would establish incompatible standards of conduct for Defendants and/or with

  respect to individual members of the Class would, as a practical matter, be

  dispositive of the interests of the other members not party to the adjudication and/or

  would substantially impair or impede their ability to protect their interests.

            70.          In purporting to terminate the Merger Agreement and refusing to

  consummate the purchase of Twitter shares in the Merger, Defendants have acted

  and refused to act on grounds generally applicable to the Class, making appropriate

  final injunctive relief, misleading an order of specific performance, and related

  declaration relief with respect to the Class as a whole.

            71.          Defendants have acted or refused to act on grounds generally applicable

  to the Class, thereby making appropriate final injunctive relief or corresponding

  declaratory relief with respect to the Class as a whole.




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                                                  COUNT I

               Direct Claim for Specific Performance and Breach of Contract
                                  (Against All Defendants)

            72.          Plaintiff repeats and realleges the allegations above as if fully set forth

  herein.

                                  Plaintiff and the Class Are Third-Party
                                  Beneficiaries of the Merger Agreement

            73.          Twitter and Musk intended for the Merger Agreement to confer a

  material benefit on the Plaintiff and the Class. Therefore, Plaintiff and the Class are

  intended beneficiaries of that agreement and have enforceable rights thereunder.

  The Merger Agreement manifests an unambiguous intent to benefit Twitter

  stockholders because it provides compensation for their stock, which is to be

  converted into $54.20 in cash in the Merger. Furthermore, stockholder approval of

  the Merger Agreement was required. The specific benefits to the stockholders

  override the Merger Agreement’s disclaimer of third-party beneficiary rights.

            74.          Plaintiff and the Class seek to enforce a right specifically and explicitly

  granted in the Merger Agreement: the right to sell their stock to Musk for cash. That

  right is not incidental—the overriding purpose of the Merger Agreement is for Musk

  to purchase the stockholders’ shares through the Merger.




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            75.          As detailed above, the terms of the Merger Agreement, the Preliminary

  Proxy Statement and other public statements by Twitter and Musk admit that the

  Merger Agreement is for the benefit of Twitter’s stockholders.

            76.          Twitter’s Complaint against Musk confirms that the Twitter

  stockholders are intended beneficiaries of the Merger Agreement who will be

  harmed by Musk’s breach. E.g., Twitter Complaint ¶ 1 (recognizing Musk’s

  obligations to the Twitter stockholders and that Musk’s breach is destroying

  stockholder value); id. ¶ 6 (Musk’s breach seeks to shift the cost of the market

  downturn to the Twitter stockholders); id. ¶ 11 (the Twitter stockholders are entitled

  to “the benefit of Musk’s bargain”); id. ¶ 36 (Musk agreed to specific performance

  requiring him to buy the shares of the Twitter stockholders); ¶ 38 (the Twitter Board

  obtained assurances in the Merger Agreement “[f]or the benefit of stockholders” in

  order that “the agreement would stick”); id. ¶ 40 (“Under the [Merger Agreement] .

  . . Twitter stockholders will receive $54.20 per share in cash”).

            77.          The Merger Agreement affects the rights of the Twitter stockholders

  and gives them rights. Section 3.1(c) provides that their stock can be taken from

  them but as a substitute creates the right for them to receive $54.20 in cash as

  compensation. Under Section 3.5, even dissenting shares will no longer be

  outstanding and the right to appraisal will be substituted for the shares. Section 6.1

  restricts inter alia the stockholders’ rights to (a) amend the certificate or bylaws; (b)



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  have their shares repurchased; (c) receive dividends; (d) participate in a stockholder

  rights plan. Section 6.2(c) and Section 6.5 impinges on rights relating to notice,

  voting and alienability. Section 8.3 further limits the remedies available to Plaintiff

  and the Class if Defendants violate the Merger Agreement. The right of Twitter

  stockholders to have their shares purchased in the Merger is in substitution for these

  pre-existing rights, which are restricted by the terms of the Merger Agreement.

   Plaintiff and the Class Have a Right to Specific Performance of the Obligation of
                      Defendants to Purchase Their Twitter Shares

            78.          The Merger Agreement is a valid contract and Plaintiff and the Class

  are intended beneficiaries of that contract for the sale of their Twitter shares to the

  Defendants for $54.20 per share in cash. Plaintiff and the Class are ready, willing

  and able to sell their shares to Defendants for $54.20 per share in cash pursuant to

  the Merger Agreement. The balance of equites tips in favor of Plaintiff and the

  Class. They are victims of Musk’s machinations and efforts to avoid his contractual

  obligation.            Based on changed market circumstances, Musk suffered buyer’s

  remorse, sought to trash Twitter, knowingly and intentionally breached the Merger

  Agreement and reneged on his obligation under the Merger Agreement to purchase

  the Twitter shares. Defendants have knowingly and intentionally breached Sections

  3.1(c), 3.2, 5.4, 6.3(a), 6.10 and 6.12 of the Merger Agreement.

            79.          In Section 9.9 of the Merger Agreement, Defendants agreed that their

  failure to perform the Merger Agreement, including consummating the Merger by

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  buying the shares of Plaintiff and the Class, would cause irreparable harm for which

  monetary damages would not be an adequate remedy and that an injunction, specific

  performance and other equitable relief would be warranted.                 Defendants are

  sophisticated parties represented by sophisticated counsel and have agreed that

  specific performance is an appropriate remedy for their failure to consummate the

  purchase of the Twitter shares of Plaintiff and the Class pursuant to the Merger

  Agreement.

            80.          Plaintiff and the Class have suffered and will continue to suffer

  irreparable harm as a result of Defendants knowing and intentional breaches of the

  Merger Agreement and refusal to complete the purchase of their Twitter shares.

            81.          Plaintiff and the Class also seek damages resulting from Defendants’

  breaches of the Merger Agreement, including the time value of money. If specific

  performance of Defendants’ obligation to purchase the Twitter share of Plaintiff and

  the Class is not ordered and accomplished, then in the alternative Plaintiff and the

  Class seek damages, including the lost stockholder premium, resulting from

  Defendants’ knowing and intentional breaches of the Merger Agreement.




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                                                 COUNT II

                               Direct Claim for Breach of Fiduciary Duty

                                          (Against All Defendants)

            82.          Plaintiff repeats and realleges the allegations above as if fully set forth

  herein.

                         Musk Owes Fiduciary Duties to the Twitter Stockholders

            83.          Because of his direct share ownership, his right to acquire shares under

  the Merger Agreement, his contract rights under the Merger Agreement and his

  actions after the signing of the Merger Agreement, Musk and his acquisition entities

  are the majority /controlling stockholder of Twitter and owe fiduciary duties to the

  Twitter stockholders.

            84.          Musk acknowledges he is the owner of 9.6% of Twitter’s outstanding

  shares. The Merger Agreement gives him the contractual right to acquire the

  remaining shares of Twitter. Under Delaware law, Musk is the beneficial owner of

  a majority of Twitter’s outstanding stock. See, e.g., 8 Del. C. § 203 (definition of

  beneficial ownership). The Merger Agreement contains few conditions. Twitter has

  acknowledged that: “As of July 13, 2022, stockholder approval of the Merger

  Agreement [was] the only remaining approval or regulatory condition to

  consummating the closing of the Merger under the Merger Agreement.” As Twitter




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  has acknowledged at paragraph 37 of its Complaint, there is a “high level of closing

  certainty.”

            85.          The Merger Agreement gives Musk substantial control of Twitter’s

  operations and activities. Section 6.1 requires Musk’s approval for a wide array of

  corporate actions and permits him to require Twitter to operate its business only in

  the ordinary course. Section 6.2 gives Musk contractual rights as to a stockholder

  meeting, proxy statement and proxy solicitation. Section 6.5 gives Musk contractual

  rights as to a sale of Twitter and recommendations of the Twitter Board. Musk thus

  holds veto power over stockholders’ votes on certain matters, and the ability of

  Twitter’s stockholder-elected Board to exercise its powers.

                     Defendants Have Breached Their Fiduciary Duty of Loyalty

            86.          In reneging on the Merger Agreement, acting to undermine the

  transaction and seeking to shift the market risk to Twitter stockholders, Defendants

  have pursued their own self-interest at the expense of Plaintiff and the Class. This

  violates Defendants’ duty of loyalty.

            87.          Defendants’ breach of loyalty will result in irreparable harm to Plaintiff

  and the Class and entitles them to injunctive and other equitable relief and damages.

  Defendants’ duty of loyalty requires that they fulfill their commitment to purchase

  the Twitter shares or be liable for damages, including the lost stockholder premium.




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                                       PRAYER FOR RELIEF

                         WHEREFORE, Plaintiff demands judgment and relief in his favor and

  in favor of the Class, and against the Defendants as follows:

                         A.   Declaring that this Action is properly maintainable as a class

  action and certifying the proposed Class;

                         B.   Finding Plaintiff and the Class to be intended beneficiaries of

  the Merger Agreement;

                         C.   Issuing an order of specific performance, requiring Defendants

  to comply with the Merger Agreement and effectuate the Merger;

                         D.   Finding that Defendants violated the Merger Agreement;

                         E.   Finding Defendant Elon Musk liable for breaches his fiduciary

  duties owed to Plaintiff and the Class;

                         F.   Awarding damages to Plaintiff and the Class against all

  Defendants for all losses and damages suffered as a result of Defendants’

  wrongdoing alleged herein, in an amount to be determined at trial; together with

  interest thereon;

                         G.   Awarding the Class members damages together with pre- and

  post-judgment interest;

                         H.   Awarding Plaintiff the costs, expenses, and disbursements of

  this Action, including all reasonable attorneys’ and experts’ fees; and



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                         I.   Awarding Plaintiff and the Class such other relief as this Court

  deems just and equitable.

                                                 PRICKETT, JONES & ELLIOTT, P.A.

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         That is why I bought Twitter. I didn’t do it because it would be easy. I didn’t do it to make
         more. I did it to try to help humanity, whom I love. And I do so with humility, recognizing
         that failure in pursuing this goal, despite our best efforts, is a very real possibility.
         That said, Twitter obviously cannot become a free-for-all hellscape, where anything can
         be said with no consequences! In addition to adhering to the laws of the land, our
         platform must be warm and welcoming to all, where you can choose your desired
         experience according to your preferences, just as you can choose, for example, to see
         movies or play video games ranging from all ages to mature.
         I also very much believe that advertising, when done right, can delight, entertain and
         inform you; it can show you a service or product or medical treatment that you never
         knew existed, but is right for you. For this to be true, it is essential to show Twitter users
         advertising that is as relevant as possible to their needs. Low relevancy ads are spam,
         but highly relevant ads are actually content!
         Fundamentally, Twitter aspires to be the most respected advertising platform in the world
         that strengthens your brand and grows your enterprise. To everyone who has partnered
         with us, I thank you. Let us build something extraordinary together.”
  Updates as of October 24, 2022
  Reposting this information that was published in a companywide FAQ from a team@ email on
  May 13, 2022.
  What is our general severance package if a position is eliminated?
              ​ Generally speaking, in the event of a position elimination, our current severance
                  package includes a lump sum cash amount in exchange for signing a separation
                  agreement; the package would include at least:
                      ​ Two months base salary or On Target Earnings for employees on the
                          Sales Incentive Plan
                      ​ Pro-rated Performance Bonus Plan compensation at target
                      ​ Cash value of equity that would have vested within three months from the
                          separation date
                      ​ A cash contribution for health care continuation.
              ​ For Tweeps who are on a work-related visa, we also consider an extended notice
                  period to enable additional time to transfer their visa to a new employer.
              ​ Of course, we also comply with local employment laws and apply any additional
                  statutory severance for redundancies that may occur outside of the United
                  States.
  Updates as of October 21, 2022
              ​ All vested TWTR shares and cash held in EAC accounts have been transferred
                  to your connected Charles Schwab brokerage accounts. Please note that the
                  trading window will remain closed for current employees.
  Updates as of October 20, 2022
              ​ With the anticipated closing of the merger agreement, there are a lot of teams
                  working in the background to prepare for the transition. We will continue to
                  update go/AcquisitionFAQ on a rolling basis and also send proactive updates and
                  answers to overarching questions.
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             ​    Please know, as we get closer to deal close, there will continue to be tons of
                  public rumors and speculation. Two things to clarify.
                        ​ First, we do not have any confirmation of the buyer’s plans following close
                            and recommend not following rumors or leaked documents but rather wait
                            for facts from us and the buyer directly.
                        ​ Second, earlier in the year and as we have shared in public proxy filings,
                            there were targeted cost savings discussions and planning. Those
                            discussions stopped once the merger agreement was signed. As we’ve
                            shared at #OneTeam meetings, since the merger agreement has been in
                            place, there have been no plans for any company-wide layoffs.
              ​ We will continue to keep you all updated with relevant information and updates
                  as we approach closing.
  Updates as of October 17, 2022
  From the Twitter Equity Award Center (posted October 17, 2022):
  We are writing to let you know of an update related to our Equity Award Center. There is no
  immediate action for you to take.
  In anticipation of the closing of the pending acquisition of Twitter by an entity controlled by Elon
  Musk (the "Acquisition"), it will be necessary to freeze all activity in the Equity Award Center
  (EAC) beginning at close of the market today, October 17, 2022. This freeze allows Schwab to
  perform final reconciliation of employee accounts prior to close of the Acquisition. You will not be
  able to access balances or transact in the EAC any longer. All vested TWTR shares and cash
  held in EAC accounts will be transferred to your connected Charles Schwab brokerage
  accounts and available to you by end of day on Monday, October 24, 2022; however the trading
  window will remain closed for current employees.
  When the Acquisition closes your vested TWTR shares will be automatically converted into the
  right to receive $54.20 per share in cash in accordance with the terms of the Merger Agreement
  for the Acquisition. More information about this can be found in go/AcquisitionFAQ.
  Participants may also wish to download any personal documents including a copy of their grant
  agreement PDFs for future reference (watch the tutorial for instructions starting at 1:03). We
  expect that access to the EAC will cease upon the closing of the Acquisition as Twitter will no
  longer be a public company and the related equity plans will be terminated. Please note that
  participants will still have access to their Charles Schwab brokerage accounts after the
  Acquisition is completed.
  From “ESPP Supplemental Update” (sent October 12, 2022):
  In connection with the execution of the agreement involving the pending acquisition by an entity
  owned by Elon Musk (the “Acquisition”), participants in Twitter’s Employee Stock Purchase Plan
  (ESPP) previously received an ESPP Update that summarized the treatment of the ESPP
  leading up to the closing of the Acquisition. The ESPP Update described, in part, that due to the
  Acquisition, the ESPP offering period that began on November 15, 2021, may have a final
  purchase date that occurs earlier than its normally scheduled purchase date of November 15,
  2022, and that a follow-up notice about any final purchase date would be provided at a later
  date. Additional information regarding the Acquisition is included in Twitter’s definitive proxy
  statement dated July 26, 2022, filed with the Securities and Exchange Commission (the “SEC”)
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  in connection with the solicitation of proxies to approve the Acquisition and in other relevant
  documents filed by Twitter with the SEC.

  In anticipation of the possible closing of the Acquisition, the final purchase date under
  the ESPP for the offering period that began November 15, 2021, has been set to be
  October 14, 2022.

  Any Tweep who is enrolled in this offering period and remains an ESPP participant through this
  date will have his or her accumulated ESPP contributions applied to the purchase of shares on
  October 14, 2022, and then cease participating after such final purchase. No additional ESPP
  contributions will be deducted after this date, and any accumulated ESPP deductions remaining
  in any ESPP accounts after the purchase of shares on the final purchase date will be returned
  to the appropriate participants, in cash, promptly after the final purchase occurs.

  The purchase price on the final purchase date will be 85% of the lower of the closing price of a
  share of Twitter’s common stock on (i) November 15, 2021, or (ii) the final purchase date.

  More details regarding treatment of the ESPP in connection with the Acquisition can be found in
  the previous ESPP Update. You also can review the FAQs at go/AcquisitionFAQ if you have any
  more questions.
  Updates as of October 6, 2022
             ​ The Chancellor has ordered a stay on our trial, meaning that we will no longer be
                 going to court on October 17. We will work with our buyer to close the acquisition
                 by October 28, per the order.
             ​ If the buyer is unable or unwilling to close by then, we will reconvene with the
                 Chancellor to reschedule the trial for November.
             ​ Our intention remains the same: to close the acquisition at the price and terms in
                 the original merger agreement.
  Updates as of October 4, 2022
             ​ We received the letter from the Musk parties which they have filed with the SEC.
                 Our intention is to close the transaction at $54.20 per share.
             ​ We are still continuing to litigate this matter in the Delaware Court of Chancery to
                 compel Mr. Musk to complete the acquisition. As a reminder, our five-day trial is
                 scheduled to begin October 17, 2022.
  Updates as of September 13, 2022
  What was the result of the stockholder vote?
             ​ Our stockholders approved the adoption of the Merger Agreement between
                 Twitter and affiliates of Elon Musk for $54.20 per share in cash. You can see our
                 press release here.
             ​ Based on a preliminary tabulation following the Special Meeting of Stockholders,
                 approximately 98.6% of the votes cast at the Special Meeting approved the
                 proposal. The approval of our stockholders satisfies the final condition precedent
                 to the closing of the merger (other than those conditions that by their nature are
                 to be satisfied at closing). After certification by the Special Meeting’s inspector of
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                 elections, the final voting results will be filed with the SEC. We do not expect that
                 the voting outcome will change after certification.
             ​ Obtaining stockholder approval is an important step forward in this process,
                 however we are still continuing to litigate this matter in the Delaware Court of
                 Chancery to compel Mr. Musk to complete the acquisition. As a reminder, our
                 five-day trial is scheduled to begin October 17, 2022.
  What is happening with Elon Musk’s purported termination of the merger agreement?
             ​ As previously announced, affiliates of Mr. Musk have delivered notices purporting
                 to terminate the merger agreement. Twitter continues to believe that Mr. Musk's
                 purported termination of the merger agreement is invalid and without merit, and
                 that the Musk parties continue to be bound by the merger agreement and
                 obligated to complete the merger on the agreed terms and conditions. Twitter has
                 filed a lawsuit in the Delaware Court of Chancery to compel Mr. Musk to complete
                 the acquisition, and Twitter remains committed to doing so on the price and terms
                 agreed upon with Mr. Musk.
  Updates as of August, 30, 2022
  What is our response to the buyer’s second termination letter?
             ​ The buyer sent a second termination letter, and we responded, which you can
                 read in full here. As was the case with the buyer's previous termination letter, his
                 second termination letter is invalid and wrongful. Twitter has breached none of its
                 representations or obligations under the Agreement, and Twitter has not suffered
                 and is not likely to suffer a Company Material Adverse Effect. We remain
                 committed to closing the transaction on the price and terms agreed upon with Mr.
                 Musk.
  Updates as of August 4, 2022
  What is mDAU?
             ​ Twitter defines monetizable daily active usage or users (mDAU) as people,
                 organizations, or other accounts who logged in or were otherwise authenticated
                 and accessed Twitter on any given day through twitter.com, Twitter applications
                 that are able to show ads, or paid Twitter products, including subscriptions.
             ​ Monetizable means they could see ads or pay Twitter through a subscription, not
                 that they will see ads on any given day. As our filings state, they are on a
                 monetizable client or application.
  How does Twitter determine mDAU?
             ​ When an account logs in or is otherwise authenticated on Twitter on any given
                 day through twitter.com, Twitter applications that are able to show ads, or paid
                 Twitter products, including subscriptions.
             ​ Average mDAU for a period represents the number of mDAU on each day of
                 such period divided by the number of days for such period. Changes in mDAU
                 are a measure of changes in the size of our daily “logged in” or otherwise
                 authenticated active total accounts.
  Why do we measure mDAU?
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             ​ Audience metrics are seldom one size fits all but some form of daily active usage
               is a typical metric in our industry. Different products have different definitions they
               employ tailored to their specific service.
           ​ mDAU (monetizable daily active user) is designed to be our baseline to gauge
               broad usage and growth on the Twitter platform.
           ​ Monetizable means they could see ads or pay for a subscription, not that they will
               see ads. They are on a monetizable client or application.
           ​ We are committed to providing something valuable to people on Twitter every
               day.
           ​ As stated in our SEC filings, “We believe that mDAU, and its related growth, is
               the best way to measure our success against our objectives and to show the size
               of our audience and engagement."
           ​ Our goal is not to disclose the largest user number we can but rather one that
               has more relevance. mDAU is designed to provide relevance and context to
               external stakeholders that reflects our goal of delivering value to people on
               Twitter every day and monetizing that usage.
  Why do advertisers trust Twitter?
           ​ Twitter has historically built integrity through transparency and consistent
               operating principles. This approach is unwavering and something that
               differentiates us.
           ​ Twitter has never been more important to our customers around the world. We
               are working closely with our clients and partners, who can continue to expect our
               best-in-class customer service, client solutions and commitment to brand safety.
           ​ We remain focused on delivering priority solutions in areas such as performance
               marketing, measurement, shopping, brand strategy and more.
           ​ We stand by our reporting methods and are transparent with the process for
               estimating our mDAU, accounts that are spam within mDAU and when updates
               are made.
           ​ As stated in our SEC filings, “We believe that mDAU, and its related growth, is
               the best way to measure our success against our objectives and to show the size
               of our audience and engagement."
  How do advertisers measure success on Twitter?
           ​ The results and metrics associated with campaign objectives are what best
               determines advertiser ROI.
                    ​ Campaign objectives could focus on areas such as reach, video views,
                        website traffic, app installs, followers, engagements, etc.
                    ​ Targeting can focus on: followers, custom audiences, geography,
                        language, interests, device type, etc.
                    ​ Success metrics may include: Video views, impressions, Site visits,
                        number of app downloads, various cost per data points (i.e. CPI, CPM,
                        CPC, CPE), conversions, brand sentiment, etc.
                    ​ We work with a variety of first and third party measurement companies to
                        help validate.
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          ​   Twitter has solutions that help advertisers measure the success of a campaign,
              maintain privacy, and brand safety:
                 ​ Twitter First-Party Measurement Solutions
                         ​ Advertisers can leverage Twitter’s suite of first-party measurement
                             solutions to garner learnings such as brand lift, media metrics,
                             viewability, conversions, and more.
                 ​ Third-Party Measurement Solutions
                         ​ Advertisers know their ads are being seen using third-party
                             accredited viewability reporting partners
                         ​ See more here for information on our partners who help
                             advertisers with measurement, Ad analytics, targeting, creative
                             and more.
                 ​ Twitter + Third-Party Brand Lift Surveys
                         ​ We help advertisers measure the impact of campaigns on key
                             brand metrics such as awareness, association, favorability, and
                             consideration, using our first-party and third-party Brand Lift
                             Surveys.
                 ​ Third-Party Viewability — Moat, IAS, DV Direct Integration
                         ​ We help brands measure the quality of impressions and video
                             views of their media buys with our third-party partners such as
                             MOAT, IAS, and DV.
                 ​ Advertiser audience targeting:
                         ​ Via a suite of intuitive, performant, and privacy-compliant tools, we
                             enable advertisers to refine campaign delivery and reach the
                             people that are most likely to be receptive to a brand’s message.
                             Advertisers on Twitter can:
                                 ​ Reach people based on who they are with Demographic
                                     targeting.
                                 ​ Reach people based on how they access Twitter with
                                     Device targeting.
                                 ​ Reach people based on how they engage on Twitter with
                                     Audience Features.
                                 ​ Leverage off-platform data to build Custom Audiences on
                                     Twitter.
                                 ​ Let Twitter find the people most likely to drive results with
                                     Automated Targeting.
                                 ​ Extend reach to people similar to core audience with
                                     Audience Expansion.
                 ​ Enriched Twitter Audiences and Account Based Marketing
                         ​ Twitter can help advertisers drive even more results with powerful
                             ways to reach our audiences.
                         ​ Enriched Twitter Audiences are hyper-targeted custom audiences
                             that expand reach, increase engagement, and improve overall
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                                 performance. These custom audiences are created by trusted
                                 partners using Twitter’s data.
                             ​ For B2B advertisers, Account Based Marketing campaigns identify
                                 business decision makers and their influential communities on
                                 Twitter.
                             ​ Across many verticals including gaming, fashion, and pharma,
                                 these solutions are making it easier for customers to drive results.
                      ​ Campaign Planner: New as of June 2022
                             ​ The tool enables customers to forecast reach, impressions,
                                 average frequency, and CPM against a specific audience,
                                 campaign duration, frequency setting, placement, and budget for
                                 auction-based campaigns.
                             ​ We've also made it easier than ever to execute reach campaigns
                                 by allowing advertisers to start and save a draft campaign directly
                                 from the tool.
                             ​ Campaign Planner is available to advertisers in the United States,
                                 United Kingdom, and Japan.
                      ​ Partners can also tap into tools such as Audience Estimate.
                      ​ See more here for examples of successful advertising campaigns that
                         include key campaign metrics.
  How does Twitter calculate spam?
              ​ We shared a comprehensive blog post and Tweet thread about how we define
                 and calculate spam/bots here and here, respectively.
              ​ Customers org: If clients have questions, you can use this client-facing language
                 reactively.
  Does Twitter use AI and ML to identify spam and bots on the platform?
              ​ We do! Specifically, Twitter deploys spam detection capabilities that have
                 resulted, and continue to result, in the suspension of typically more than one
                 million spam accounts every day, including both automated and manual reviews
                 of accounts and activity on the Twitter platform during and after sign-up. Twitter
                 also locks millions of accounts each week that cannot pass human-verification
                 challenges, such as CAPTCHAs or phone verifications.
              ​ Our processes encompass a mix of human engagement and automation to
                 identify malicious spam and bots.
              ​ We are always testing and exploring ways to further advance our systems for
                 detection and remediation.
              ​ Separate from these automated and manual spam-detection processes, Twitter
                 estimates the prevalence of false and spam accounts within mDAU through
                 multiple human reviews (in replicate) of thousands of randomly selected accounts
                 each quarter using both public and private data.
  Did Twitter cooperate by providing the Buyer’s team the information they were requesting?
              ​ Yes. Twitter has continuously shared information with the buyer to consummate
                 the transaction in accordance with the terms of the merger agreement.
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             ​  Throughout this process we have and will continue to protect proprietary and
                confidential information of Twitter advertisers and our customers’ private user
                data.
  Why didn’t Twitter choose to redact any information from the acquirer’s countersuit?
             ​ We fully stand by our SEC filings, the methodologies we use to calculate mDAU,
                and our statements about the percentage of spam accounts on our platform.
  What is our public response to the countersuit?
             ​ The counterclaims are factually inaccurate, legally insufficient, and commercially
                irrelevant.
  Why did Twitter recast its mDAU values three days after signing the agreement?
             ​ The updated values for mDAU reflected a change of less than 1% for each
                impacted period.
             ​ Twitter has historically built integrity through transparency and consistent
                operating principles. We reported this out of an abundance of transparency.
             ​ Twitter disclosed this recast when we announced Q1 2022 Earnings in April.
  Why did Twitter move from disclosing MAU to mDAU in 2019?
             ​ We want to provide something valuable to people on Twitter every day, and we
                believe that mDAU, and its related growth, are the best ways to measure the
                success of our objectives and to show the size of our audience and engagement.
  Updates as of July 26, 2022
  What’s the schedule for our case?
             ​ The judge set a schedule for our case in the Delaware Court of Chancery for a
                five-day trial in October.
  Does our Board of Directors recommend how stockholders should vote?
             ​ Yes, the Twitter Board of Directors recommends that stockholders vote in favor of
                the transaction (“FOR”).
  When is the Special Meeting of Stockholders?
             ​ The meeting is scheduled for September 13, 2022 at 10am PT. Anyone who
                owns TWTR stock (including Tweeps) as of July 22, 2022 is entitled to vote prior
                to or during the meeting.
  What should stockholders expect?
             ​ Each stockholder will receive voting materials in the very near future. The
                materials describe easy ways to vote electronically, over the phone, or by mail. If
                you received your voting materials by email, you can simply click the “Vote Now”
                button in the email. Otherwise, the easiest way to vote your shares is to go to
                proxyvote.com and enter the Control Number(s) provided to you in the materials.
                Please note that if you hold Twitter shares in more than one account (e.g., in our
                employee share purchase plan (ESPP), in registered name, or through a
                personal bank or brokerage account), you’ll receive separate emails or hard
                copies of voting materials for each account. To make sure that all your shares are
                represented, you must submit a vote for each account in which you hold Twitter
                shares. You will receive a separate Control Number for each account in which
                you own shares.
  What communications will stockholders receive from Innisfree, our proxy solicitor?
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             ​ We asked Innisfree to work with us to ensure our shareholders are educated
               about this important proposal, so you will likely receive more communications
               from them over the coming weeks via email, phone call and traditional mail. If you
               have any questions, please call Innisfree at +1 (877) 750-8338 (US/Canada) or
               +1 (412) 232-3651 (all other countries).
  Updates as of July 13, 2022


  What does Mr. Musk’s notice mean? Is the deal now officially off?

             ​   No. Mr. Musk’s purported termination is invalid and wrongful.
             ​   As we noted in our press release and commentary from the Chairperson of our
                 Board, the Twitter Board is committed to closing the merger on the $54.20 price
                 and terms agreed upon with Mr. Musk and plans to pursue legal action to
                 specifically enforce the merger agreement.
             ​   Please understand that the Twitter Board and executive management team are
                 continuing to actively manage the process related to the acquisition. We will
                 share information with you as we can, but this is an evolving situation and we
                 may not have, or be able to share, answers to all of your questions.

  What is Mr. Musk’s goal?

             ​   We are not in a position to speculate about Mr. Musk’s objectives.

  Given that we plan to pursue legal action to enforce the merger agreement, how long will it take
  to resolve that?

             ​   As with many legal matters, it is difficult to predict the duration of this process.
             ​   We have a group of internal team members and external advisers who are
                 dedicated to this workstream. It is important to remember that during this
                 process, it is business as usual for all of us at Twitter. That means we should
                 continue the important and meaningful work of driving Twitter forward and
                 continuing to deliver value to our users and customers.

  Have we shared bot information with Mr. Musk as requested?

             ​ We have met our obligations under the merger agreement.
  Has Twitter breached the merger agreement?

             ​ As stated in the letter attached to our 8-K filing from July 11, 2022, “Twitter has
               breached none of its obligations under the Agreement,” and “As it has done,
               Twitter will continue to provide information reasonably requested by Mr. Musk
               under the Agreement and to diligently take all measures required to close the
               transaction.
  Anything more you can share with us about the complaint that we filed on July 12, 2022?
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             ​   The complaint is public and details why Twitter believes that Mr. Musk’s
                 purported termination is invalid and wrongful.
             ​   Given this is active litigation, we are limited in what we can say beyond our public
                 filings.
             ​   We have a group of internal team members and external advisers who are
                 dedicated to this workstream. It is important to remember that during this
                 process, it is business as usual for all of us at Twitter. That means we should
                 continue the important and meaningful work of driving Twitter forward and
                 continuing to deliver value to our users and customers.

  What is the likelihood of a settlement? What is our desired outcome?

             ​   The Twitter Board is committed to closing the merger on the $54.20 price and
                 terms agreed upon with Mr. Musk.

  Why haven’t we implemented retention packages or similar for Tweeps?

             ​   Tweeps are the heart of Twitter and will always be essential to our success. On
                 June 20, 2022, we sent Mr. Musk a formal request for consent to two tailored
                 employee retention programs that had been vetted by the board and the
                 compensation committee with the assistance of an outside compensation
                 consultant. Mr. Musk has not provided his consent to implement these programs.

  How do we plan to retain talent?

             ​   Our attrition is slightly higher than best practice for normal macroeconomic times,
                 but remains inline with current industry trends. We will continue to monitor it to
                 ensure that we can quickly identify any areas of concern and help mitigate where
                 possible.

  What’s the plan to support the transition of our current projects and work?
             ​ Until the transaction closes, we’ll be focused on continuing to drive the business
                forward. We are confident plans for transition will be properly created.

  Is there a possibility for layoffs, now or post-close?

             ​   We’re not looking at company-wide layoffs. However, teams from across the
                 company are reprioritizing and making changes to ensure we are operating
                 responsibly and efficiently in the current operating environment. We may
                 continue to see restructuring and org changes as we continue to align with our
                 revised business needs (as we always have in the past).

  What regulatory agencies will need to approve the transaction?
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             ​As of July 13, 2022, stockholder approval of the Merger Agreement is the only
              remaining approval or regulatory condition to consummating the closing of the
              Merger under the Merger Agreement.
  FAQs previously provided on May 19, 2022
  What’s happening?

             ​   Twitter has entered into a definitive agreement to be acquired by a private entity
                 affiliated with Elon Musk. The purchase price is $54.20 per share. We expect the
                 transaction to close in 2022, subject to the satisfaction of customary closing
                 conditions. Upon completion of the transaction (or the “closing”), Twitter will
                 become a privately held company.
             ​   Twitter’s board of directors (the “Board”) undertook a thoughtful, comprehensive,
                 and deliberate process to review the proposal and unanimously determined the
                 transaction was in the best interests of our stockholders.
             ​   There are still several steps to close. Completion of the transaction is subject to
                 the approval of Twitter stockholders, the receipt of applicable regulatory
                 approvals, and the satisfaction of other customary closing conditions.
             ​   Upon the closing, Twitter equity awards will be canceled and converted into the
                 right to receive a cash amount of $54.20 (less any applicable exercise price) for
                 each underlying share. The cash amount payable for unvested Twitter equity
                 awards will be payable over the same pre-transaction vesting schedule as the
                 award that was canceled.
             ​   The terms of the agreement specifically provide for Tweep annual base salary,
                 bonus opportunities (short/long term incentive (excluding equity) opportunities)
                 and employee benefits so that, in each case, they are no less favorable in the
                 aggregate than the comparable opportunities or benefits, as applicable for at
                 least one year from the closing date.
             ​   Between now and closing, we generally will operate Twitter in normal course -
                 just like we always have. In general, we do not expect any changes to Tweep
                 compensation programs and benefits. Twitter RSUs and other equity awards will
                 vest as they normally have. Business decisions will continue to be made by
                 Twitter’s leadership.

  Process and timeline
  Why did Twitter enter into this transaction and why do we feel it is still best for stockholders?

             ​   The Twitter Board undertook a thoughtful and comprehensive process to review
                 Elon Musk’s proposal, with a deliberate focus on value, certainty, and financing.
             ​   The Twitter Board considered, among other things, Twitter’s go-forward
                 prospects in the current market as well as other potential value-creating
                 opportunities.
             ​   The Board still believes this transaction, which delivers a substantial cash
                 premium to stockholders, is the best path forward for Twitter’s stockholders.
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  Why did we announce the transaction when we did?

             ​   We announced the deal to employees and the public at the same time as we had
                 a legal and fiduciary responsibility as a public company to do so.

  How long will it take for this deal to close?

             ​   We expect the transaction to close in 2022 subject to the satisfaction of
                 customary closing conditions.

  Why did we implement a Shareholder Rights Plan (“poison pill”)?

             ​   The Board adopted the Shareholder Rights Agreement on April 15, which has
                 been referred to as a “poison pill” in the press. The Board adopted the rights plan
                 to enable all stockholders to realize the full value of their investment in Twitter by
                 reducing the likelihood that any entity, person or group gains control of Twitter
                 through open market accumulation without paying all stockholders an appropriate
                 control premium or without providing the Board sufficient time to make informed
                 judgments and take actions that are in the best interests of shareholders.

  Is there a go-shop provision?

             ​   No. All of these details are laid out in the merger agreement that has been filed
                 with the SEC.

  What does it mean to become a privately held company? What are the benefits?

             ​   Generally, private companies’ shares are not publicly traded or held by a broad
                 group of shareholders.
             ​   Private companies typically do not have to incur costs related to public reporting
                 and may have more flexibility to operate.
             ​   Until the transaction closes, it remains business as usual, and we are continuing
                 to operate normally as an independent, publicly traded company.

  Once the deal closes, is there a test for the debt coverage capabilities?
            ​ In an acquisition like this one, it is common for the party acquiring a target
                company to add debt to the target’s balance sheet. In assessing the deal,
                prospective lenders have considered the leverage ratio, which is one of the credit
                metrics used to measure the ability of the target company to use its cash flows to
                repay all its debt obligations, including principal and interest payments.
  What does the acquisition mean for our debt?
            ​ The debt balance on our balance sheet will be higher. If you are reading news
                externally, you have probably seen that Mr. Musk’s affiliates received $13B of
                commitments from banks for loans to partially finance the deal. Twitter will
                ultimately incur such loans after the transaction closes. A portion of Twitter’s
                existing debt balance, which is $5.2B today, is expected to be repaid in
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                 connection with the closing, and new debt securities are expected to be issued
                 by Twitter.
  What are the upcoming major milestones of the deal and when will Tweeps find out?
             ​ We expect the transaction to close in 2022, subject to satisfaction of customary
                 closing conditions, including required regulatory and stockholder approvals. In
                 terms of next milestones, we expect to file a preliminary proxy statement in the
                 near future relating to the special meeting of stockholders to vote to approve the
                 merger agreement. Once that document clears SEC review, we will file a
                 definitive proxy statement and then hold the special meeting on the timeline
                 specified in the proxy statement. We will aim to keep you informed of major
                 updates.
  Where are we in the acquisition cycle? Do the changes to hiring and cost savings have any
  implications on this?
             ​ We’re still on track and working to close the transaction in a timely manner. We
                 expect the transaction to close in 2022, subject to satisfaction of customary
                 closing conditions, including required regulatory and stockholder approval.
  The Board
  What factors did the Board use to evaluate whether this would be in the best interest of
  stockholders?

             ​   As mentioned above, the Board undertook a thoughtful and comprehensive
                 process to review the proposal, with a deliberate focus on value, certainty and
                 financing. The Board’s vote to approve the transaction was unanimous.
             ​   The Board considered the proposal in light of the company’s go-forward
                 prospects and the current market environment, among numerous other
                 considerations.
             ​   Additional details of the Board’s process will be made available in our future SEC
                 filings.

  Did the Board get a fairness opinion? From whom?

             ​   Yes, Goldman Sachs and JP Morgan each provided a fairness opinion.

  Did the Board lose confidence in the business?

             ​   Absolutely not. The Twitter Board considered the proposal in light of Twitter’s
                 go-forward prospects and the current market environment, among numerous
                 other considerations.
             ​   This transaction is a great outcome for stockholders and demonstrates the
                 tremendous value of Twitter.

  Leadership
  What will Twitter’s leadership team look like post-close?

             ​   It’s too early to speculate on that right now.
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             ​   For now, our team is focused on continuing to operate our business as we have
                 and taking steps to secure the approvals we need to close the transaction and
                 set Twitter up for continued success as a private company.

  Will we have a board of directors post-close? Who will hold our new owner accountable?

             ​   Private companies are operated differently than public companies, but they are
                 also subject to many of the same governance requirements and regulations as a
                 public company. Twitter is incorporated in Delaware, which provides rules that
                 dictate our governance.

  Are the recent changes to Staff, cost savings, and hiring pause connected to the acquisition?
              ​ These changes are ones that Twitter has been contemplating and is driving as
                 part of our ordinary course operations and operational improvements. In order to
                 responsibly manage the organization as we sharpen our roadmaps and our work,
                 we need to continue to be intentional about our teams, hiring, and costs. We will
                 continue to remain focused on strengthening our work through increased
                 accountability and execution to make Twitter everything it can be.
  Compensation and Equity Awards
  Will this announcement impact promotion decisions and related compensation increases?

             ​   No. Until the deal closes, it is business as usual for Twitter, including with respect
                 to promotion decisions or related comp changes.

  What will our compensation program look like without RSUs? How will we stay competitive?

             ​   Tweeps are the heart of Twitter and will always be essential to our success. We
                 expect our compensation program will reflect that.
             ​   It is too early to determine the future of our incentive programs as a private
                 company, but we will share more information as soon as it becomes available.
             ​   We currently expect to continue to offer competitive rewards (regardless of the
                 underlying currency of those rewards) to attract and retain talent.

  Will we grant new Twitter equity awards between now and deal close for promotions and role
  changes?

             ​   We will continue to grant Twitter equity awards until the transaction closes, as we
                 normally would for promotions and role changes. After the transaction closes, we
                 expect our compensation program will be reviewed and updated to account for
                 the fact that we will operate as a privately-held company. We will share more
                 information when it becomes available.

  Existing Twitter Shares and Equity Awards
  Will the trading window change as a result of this announcement?
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             ​   No, the trading window will not change. We’re still a public company and we will
                 still report quarterly earnings on the same cadence that we did before, so we
                 expect our calendars generally will be the same. We expect this to be the case
                 until the deal closes.

  Should I or can I sell Twitter stock that I own?

             ​   As long as you are not in possession of any material nonpublic information
                 (MNPI) regarding Twitter, you are free to trade Twitter stock when trading
                 windows are open. You are still bound by all black-out periods and the other
                 terms of our insider trading policy.

  What happens to my existing Twitter equity awards if the transaction closes?

             ​   Unless and until the transaction closes, the terms of your Twitter equity awards
                 will remain the same.
             ​   Once the transaction closes, then your Twitter equity awards (whether granted
                 under our 2013 Equity Incentive Plan or assumed in an acquisition of your prior
                 employer) will be treated as described below:

     RSUs

             ​   Each vested RSU will be converted into the right to receive the $54.20 purchase
                 price in cash as described below. If RSUs were subject to performance-based
                 vesting, the number of vested RSUs subject to that award will be based on actual
                 achievement.
             ​   Each unvested RSU will be converted into the right to receive an amount in cash
                 equal to $54.20. This cash amount will vest in installments on the same vesting
                 schedule that applied to the canceled unvested RSUs it is replacing, subject to
                 continued service through the applicable vesting date. If unvested RSUs were
                 subject to performance-based vesting, the number of RSUs subject to that award
                 will be deemed earned at the target level of achievement.

                     ​  For example, if you have 100 RSUs that vest on November 1, 2022
                        (assuming the transaction closes before that date), then you will receive a
                        cash amount equal to $5,420, less applicable tax withholding, on
                        November 1, 2022 through payroll.
        Under the terms of the deal, all unvested RSU awards are converted into the right to
        receive cash in an amount equal to the product of the total number of unvested RSUs
        and the per share purchase price ($54.20). The resulting cash amount then vests and
        will be paid to you according to the original vesting schedule subject to your continued
        service through the applicable vesting dates, which will remain in place.
     Options
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             ​   Each vested option will be converted into the right to receive an amount in cash
                 equal to the difference between $54.20 and the option exercise price for each
                 underlying share.
             ​   Each unvested option will be converted into the right to receive an amount in
                 cash equal to the difference between $54.20 and the option exercise price for
                 each underlying share. This cash amount will vest on the same vesting schedule
                 that applied to those canceled unvested options it is replacing, subject to
                 continued service through the applicable vesting date.

     Restricted Stock Awards

             ​   Each restricted stock award will be converted into the right to receive $54.20 in
                 cash. This cash amount will vest on the same vesting schedule that applied to
                 the canceled award it is replacing, subject to continued service through the
                 applicable vesting date.

  When will the cash amounts for my Twitter equity awards described be paid?

             ​   Generally, amounts payable to you for your vested equity awards will be paid to
                 you, less applicable tax withholding, within five business days after the closing of
                 the transaction.
             ​   Generally, amounts payable to you for your unvested Twitter equity awards will
                 be paid to you, less applicable tax withholding, through payroll on the same
                 vesting schedule that applied to those equity awards before the transaction,
                 subject to your continued service through the applicable vesting date.
             ​   Please consult with your tax advisor as to the tax consequences to you of these
                 payments.

  What happens to cash amounts payable for unvested Twitter equity awards if a Tweep departs
  before the cash amounts are vested?

             ​   The cash amounts payable in respect of your unvested Twitter equity awards will
                 only vest and be paid to you if you remain in continuous service with Twitter
                 through the applicable vesting date. If your service with Twitter (or a subsidiary)
                 ends before a portion of such cash amount is vested, you will not receive that
                 portion of the cash amount and it will be forfeited to Twitter.

  Do Twitter RSUs have a “change in control” clause that will accelerate vesting if layoffs occur
  within one year?

             ​   Generally, no. Unless you are party to a separate agreement with Twitter, your
                 Twitter equity awards (or the cash amounts payable for such equity awards) will
                 not receive accelerated vesting if your employment is involuntarily terminated
                 following the closing of the transaction (known colloquially as a “double trigger”).
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                 As is customary in our industry, only a few of our executives and other senior
                 employees currently have a “double trigger” provision.

  Do all Tweeps have the same vesting schedule?

             ​   Generally, Twitter equity awards are granted through the annual refresh process
                 or promotion process vest on a quarterly vesting schedule (with vesting dates in
                 February, May, August, and November); however, depending on when a Tweep
                 was hired, their new hire grant may vest outside of those normal dates. The
                 award agreement provided to you upon the grant of your Twitter equity award will
                 contain your applicable vesting schedule.

  Will the $54.20 purchase price change with the fluctuation of Twitter’s current stock price or
  because of inflation?

             ​   No, the transaction price of $54.20 per share is fixed, including for purposes of
                 future cash payouts for equity awards on the same vesting schedule.

  For International Tweeps, as individual RSUs convert into the cash equivalent of $54.20
  post-close, will international Tweeps receive this in U.S. dollars through their brokerage account
  (ex: Schwab) or will it be converted into local currency and deposited into their payroll?
             ​ Finance and Payroll are working on this now, however, the merger agreement
                  provides that cash amounts paid in respect of unvested Twitter equity awards will
                  be paid in U.S. dollars. We will share more information when it becomes
                  available.

  New hires and offers
  Will new hires continue to receive RSUs?

             ​   Yes, we expect we will continue our current practices for new hire grants up until
                 the close.

  Are there any changes to the methodology for how new hire grants are converted to shares?

             ​   No, until the closing of the transaction, we expect we will continue our current
                 equity granting practices.

  How will this announcement affect new Tweeps who have signed an offer letter with RSUs, but
  have not yet joined the company? What should we tell candidates that have equity in their
  current offer letters?

             ​   New Tweeps will still be granted their RSUs subject to the terms of their offer
                 letters, however depending on the timeline of closing and their vesting schedule,
                 they may receive equivalent cash payments in respect of those RSUs.
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  What do we tell candidates if they ask us about this announcement during an interview?

            ​   Please point them to the press release (Parag Tweeted a link to it) for all of the
                specific details related to the announcement.
            ​   You may use this FAQ to answer questions for candidates and use the What’s
                happening? section of this doc for key messages to third parties.

  ESPP

            ​   I​f you are a current ESPP participant, your accumulated ESPP contributions will
                 be used to purchase shares on May 16, 2022, unless you withdraw in advance of
                 the purchase date. There will not be a new offering period beginning on May 16,
                 2022, and any current ESPP participant who is enrolled in the ESPP offering
                 period that began on May 15, 2021 will cease participating in the ESPP after May
                 16, 2022.
            ​    If you are a current ESPP participant who is enrolled in the offering period that
                 began on November 15, 2021, you may continue to participate in the ESPP
                 following May 16, 2022. The final purchase date is scheduled to occur on
                 November 15, 2022, or, if earlier, a date that is at least 10 business days prior to
                 the date on which the transaction closes. Following the final purchase date, the
                 ESPP will then terminate, subject to the closing of the transaction.
            ​    If you are a current ESPP participant, you may not make any increases to your
                 ESPP contribution rate.
            ​    ​Shares received through the exercise of an ESPP purchase right will be
                  converted at the closing of the transaction into the right to receive $54.20 per
                  share in cash.
            ​     You may opt out of the ESPP at any time through Charles Schwab. If you opt out
                  of the ESPP prior to a purchase date, you will be refunded the accumulated but
                  unused contributions in your ESPP account.

  Customers/Advertisers/Business Partners
  Tweeps: *Please see the email from Sarah Personette with an email template to send to clients
  and partners*
  How will this transaction impact business partners? Customers?

            ​   The service has never been more important to our customers around the world,
                and the work of our teams is critical.
            ​   Partners can continue to expect our best-in-class customer service, client
                solutions, and commitment to brand safety.
            ​   We cannot speculate on changes Elon Musk may make post closing.
            ​   While Twitter has signed the deal, there are still more steps to take in order to
                close, which is expected to be in 2022.
            ​   For now, there will be no changes as a result of this announcement.
            ​   Any changes will be communicated as they always have.
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  Will there be changes to how advertisers potentially leverage Twitter?

             ​   During the period until closing, Twitter will operate as it always has.
             ​   Advertisers can continue to turn to Twitter to drive awareness and consideration
                 for their products and services when they want to launch something new or
                 connect with what’s happening.
             ​   We remain focused on delivering priority solutions in areas such as performance
                 marketing, measurement, shopping, brand strategy, and more.
             ​   Any changes will be communicated as they always have.

  Will there be any changes to our advertising model?

             ​   Until the transaction closes, it is business as usual for us.
             ​   We remain committed to our product roadmap that helps businesses Launch
                 something, connect with what’s happening, and help people buy their products or
                 services.
             ​   We continue to support businesses - big and small - to be able to do this with
                 both our native and paid solutions.
             ​   Our commitment to our customers remains unchanged.

  Will there be any changes to our commitment to brand safety in light of freedom of speech
  comments?

             ​   Until the transaction closes, it is business as usual for us, including with respect
                 to our terms of service.
             ​   Everything we do centers around people.
             ​   At the core of Twitter, we are an organization focused on how we create a space
                 for all voices to have a chance to participate in the public conversation.
             ​   For us, we seek to tackle it by focusing on our Policies, Products, and
                 Partnerships.
             ​   We have no planned changes to our commitment to brand safety and will
                 continue to lead in products that protect, policies that lead, and partnerships that
                 matter.

  Company culture and benefits
  How will our acquisition impact our IDEA goals, and how can we ensure that Twitter maintains
  its values and commitment to social responsibility?

             ​   Twitter is an open service that’s home to a world of diverse people, perspectives,
                 ideas, and information, and our IDEA principles and commitment to social
                 responsibility will continue to be an integral part of our company’s core.
             ​   Our Tweepforce representation goals remain in place, and we are committed to
                 delivering on our IDEA roadmap during this period.

  Benefits/perks
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  What does the future hold for reimbursements, allowances, and other perks?

             ​   We do not expect any changes to these programs at the moment.

  Are there any changes to parental leave benefits or medical, dental, and vision benefits?

             ​   We do not expect any changes to these programs at the moment.
             ​   The agreement provides for Tweep benefits, base salary, and bonus
                 opportunities (short/long term incentives) to continue on a comparable basis for
                 at least one year following the close of the transaction.

  Are there any plans to adjust benefits for hourly employees prior to the closing?
             ​ We do not expect any benefits to change for our hourly Tweeps at this time.
  Remote work
  Will our commitment to flexible/remote work change?

             ​   We do not expect our policies around remote work to change at this time. A
                 significant portion of our workforce is either fully or partially remote. That is how
                 we have worked the last several years and that is how we currently expect to
                 work going forward during this time.

  Contractors and Interns
  How will this announcement affect contractors? Will their contracts be cut short upon close?

             ​   We do not expect any changes to our contingent workforce at this time.

  Will contractor conversions to FTE be considered in 2022 while we wait for the deal to close?

             ​   These decisions will be handled on a case-by-case basis. As always, please stay
                 close to your S&O and FP&A partners, as well as your Staff lead for hiring and
                 conversion decisions.

  Are there any changes to our intern program?

             ​   We have no current plans to change our intern program.

  Immigration/Visas
  What impact will there be for employees being sponsored through work visas?

             ​   There is no impact to employer-sponsored visas at this time. When the deal
                 closes, we anticipate that your employing entity will remain the same, and thus
                 there will be no impact to your visa status. If you have questions about your
                 individual immigration status, please contact talentmobility@twitter.com.

  Communications
  What are we doing to prevent leaks?
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             ​   Employees are held to the standards laid out in our Playbook, which includes
                 communications guidelines.
             ​   Leaks hurt the company’s ability to communicate in the best way possible.
             ​   We do our part to investigate how information leaks and handle accordingly.

  Why do Twitter employees find out big news like this at the same time as the public?

             ​   We do our best to share information with all of you as soon as we’re able.
             ​   In this case, there are laws in place (such as Regulation FD) that require we
                 disclose information to all members of the investment community at the same
                 time. These laws help to ensure investors receive information at the same time.
                 Given employees are also shareholders, we cannot selectively disclose
                 information ahead of other audiences.

  I’m being approached by the press, or people I don’t know, for comments on Twitter. What
  should I do?
             ​ Please continue to handle any inquiries in accordance with Twitter’s policies.
                 Press or other inquiries should be directed to the appropriate parties within
                 Twitter for response. Please raise any concern to CorpSec@, even if you're
                 unsure about the intention of the question. If you are approached by the press,
                 please forward any inquiries to press@twitter.com.
  Future of Twitter
  How will the product be impacted? Will there be any changes to the user experience?

             ​    Until the transaction closes, it is business as usual for us, including with respect
                  to our products. We are always iterating to make Twitter the best it can be for
                  people on the service. When there are changes, we will be sure to communicate
                  as we always have.
  Will our policies around content moderation change?

             ​ Until the transaction closes, it is business as usual for us, including with respect
               to our terms of service. As we always do, we will continue evolving and iterating
               to improve the product and the health of the public conversation during this time.
  Should we be prepared to dial back our work over the next few months, and correspondingly our
  budgets?

             ​   Between now and close, we should continue operating Twitter in normal course
                 as a public company.
             ​   We should always be mindful of our expenses and ensure we’re seeing a
                 corresponding return on investment.

  Are our priorities changing as a company, or should we continue working on existing projects?
  Should we still focus on our current OKRs?

             ​   Until the transaction closes, it remains business as usual and we are continuing
                 to operate normally as an independent, publicly-traded company.
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             ​   While the deal is still pending, we must continue to execute and advance our
                 existing strategy.

  Protections
  How will the closing of the transaction affect employee benefits and compensation?

             ​   The merger agreement provides special protection for Tweep compensation and
                 benefits for one year following the closing of the transaction.
             ​   Specifically, the agreement specifically provides that, for one year following the
                 closing of the transaction, the purchasing entity will:
                     ​ Maintain existing base salary and wage rates of continuing Tweeps
                     ​ Provide continuing Tweeps with short- and long-term target incentive
                         compensation opportunities that are no less favorable in the aggregate
                         than those than existing compensation opportunities, although equity
                         compensation may or may not be granted in the future
                     ​ Provide continuing Tweeps with employee benefits (excluding equity and
                         equity-based awards) that are substantially comparable in the aggregate
                         to existing benefits
                     ​ Provide continuing Tweeps whose employment are terminated during
                         such period with severance payments and benefits that are no less
                         favorable than those applicable to an applicable employee prior to the
                         closing of the transaction
                     ​ Recognize continuing Tweeps’ service to Twitter in determining eligibility,
                         vesting and determination of the level of benefits applicable to such
                         employees following the closing of the transaction
                     ​ Waive requirements for continuing Tweeps to satisfy any deductible,
                         co-payment, out-of-pocket maximum or similar requirements under the
                         acquiring entity’s benefits plans to the extent the employee has made
                         correlating previously credited payments under a Twitter benefit plan
                     ​ Waive waiting periods, preexisting condition exclusions and requirements
                         to show evidence of good health for continuing Tweeps

  What will happen to Twitter user data/IP after the deal closes? Will any of our policies regarding
  data protection, including with regard to employee specific information, be impacted by this
  announcement?

             ​   We will continue to treat information with the utmost protection and operate
                 consistent with the laws.

  If I’m on a company sponsored visa, are there any risks if I travel outside of the country during
  the closing period?
              ​ We recognize that there are a lot of questions about Tweeps working on a
                 company sponsored visa. For specific questions about your individual status,
                 please contact talentmobility@twitter.com.
  Compliance
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  Do we expect any potential risks as a private social media company from a regulatory
  standpoint?

             ​   As a private company, Twitter will still have to comply with any rules and
                 regulations that govern the activities of social media companies. The same risks
                 apply as they do now and if you have any questions, you should consult with the
                 Compliance team.



  Additional Information and Where to Find It
  On May 17, 2022, Twitter Inc. (“Twitter”) filed a preliminary proxy statement in connection with
  its Special Meeting of Stockholders (the “Special Meeting”) related to the pending acquisition of
  Twitter (the “Transaction”). Prior to the Special Meeting, Twitter will furnish a definitive proxy
  statement to its stockholders, together with a proxy card. STOCKHOLDERS ARE URGED TO
  READ THE DEFINITIVE PROXY STATEMENT (INCLUDING ANY AMENDMENTS OR
  SUPPLEMENTS THERETO) AND ANY OTHER RELEVANT DOCUMENTS WHEN THEY
  BECOME AVAILABLE BECAUSE THEY WILL CONTAIN IMPORTANT INFORMATION.
  Detailed information regarding the names, affiliations and interests of individuals who are
  participants in the solicitation of proxies of Twitter’s stockholders is available in Twitter’s
  preliminary proxy statement.
  Stockholders may obtain, free of charge, Twitter’s proxy statement (in both preliminary and
  definitive form), any amendments or supplements thereto, and any other relevant documents
  filed by Twitter with the U.S. Securities and Exchange Commission (the “SEC”) in connection
  with the Special Meeting at the SEC’s website (http://www.sec.gov). Copies of Twitter’s definitive
  proxy statement, any amendments or supplements thereto, and any other relevant documents
  filed by Twitter with the SEC in connection with the Special Meeting will also be available, free of
  charge, at Twitter’s investor relations website (https://investor.twitterinc.com) or by writing to
  Twitter, Inc., Attention: Investor Relations, 1355 Market Street, Suite 900, San Francisco,
  California 94103.
  Forward-Looking Statements
  This communication contains forward-looking statements that involve risks and uncertainties,
  including statements regarding: the Transaction, including the expected timing of the closing of
  the Transaction; considerations taken into account by Twitter’s Board of Directors in approving
  the Transaction; and expectations for Twitter following the closing of the Transaction. If any of
  these risks or uncertainties materialize, or if any of Twitter’s assumptions prove incorrect,
  Twitter’s actual results could differ materially from the results expressed or implied by these
  forward-looking statements. Additional risks and uncertainties include those associated with: the
  possibility that the conditions to the closing of the Transaction are not satisfied, including the risk
  that required approvals from Twitter’s stockholders for the Transaction or required regulatory
  approvals to consummate the Transaction are not obtained; potential litigation relating to the
  Transaction; uncertainties as to the timing of the consummation of the Transaction; the ability of
  each party to consummate the Transaction; possible disruption related to the Transaction to
  Twitter’s current plans and operations, including through the loss of customers and employees;
  and other risks and uncertainties detailed in the periodic reports that Twitter files with the SEC,
  including Twitter’s Annual Report on Form 10-K filed with the SEC on February 16, 2022, and
  Quarterly Report on Form 10-Q filed with the SEC on May 2, 2022, which may be obtained on
  the investor relations section of Twitter’s website (https://investor.twitterinc.com). All
  forward-looking statements in this communication are based on information available to Twitter
  as of the date of this communication, and Twitter does not assume any obligation to update the
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  forward-looking statements provided to reflect events that occur or circumstances that exist after
  the date on which they were made, except as required by law.
